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                      EXHIBIT 4
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  I, Lieutenant Colonel Theresa Long, MD, MPH, FS, declare under the penalty of perjury of the

  laws of the United States of America, and state upon personal knowledge that:

  I am an adult of sound mind, 47 years old, and declare that the information herein is true, correct

  and complete and that I have voluntarily affirmed this affidavit based upon my own personal

  knowledge, education, and experience, and under the penalty of perjury of the laws of the United

  States of America.




  SUBSCRIBED AND SWORN TO BEFORE ME on the 22nd_ day of _September___ 2021, to

  certify which witness my hand and official seal.



                                                       /S/    Nicholas S. Babel
                                                Notary Public for the Judge Advocates General,
                                                Alabama




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  DANIEL ROBERT                         *
  SSGT, U.S. ARMY                       *
                                        *
  HOLLI MULVIHILL                       *
  SSGT, USMC                            *
                                        *
         Plaintiffs,                    *
                                        *
                v.                      *
                                        *   Civil Action No. 1:21-cv-002228
  LLOYD AUSTIN                          *
  Secretary of Defense,                 *
  U.S. DEPARTMENT OF DEFENSE            *
  Washington, D.C. 20301                *
                                        *
         and                            *
                                        *
  XAVIER BECERRA                        *
  Secretary of the U.S. Department of   *
  Health and Human Services             *
  U.S. DEPARTMENT OF HEALTH             *
  AND HUMAN SERVICES                    *
                                        *
         and                            *
                                        *
  JANET WOODCOCK, Acting                *
  Commissioner of the Food & Drug       *

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  Administration                                *
  U.S. FOOD AND                                 *
  DRUG ADMINISTRATION                           *
                                                *
  UNITED STATES OF AMERICA                      *
                                                *
         Defendants.                            *




      _________________________________________________________________________

      AFFIDAVIT OF LTC. THERESA LONG M.D. IN SUPPORT OF A MOTION FOR A

                             PRELIMINARY INJUNCTION ORDER




  I, Lieutenant Colonel Theresa Long, MD, MPH, FS being duly sworn, depose and state as

  follows:

         1. I make this affidavit, as a whistle blower under the Military Whistleblower Protection

  Act, Title 10 U.S.C. § 1034, in support of the above referenced MOTION as expert testimony in

  support thereof.

         2. The expert opinions expressed here are my own and arrived at from my persons,

  professional and educational experiences taken in context, where appropriate, by scientific data,

  publications, treatises, opinions, documents, reports and other information relevant to the subject

  matter and are not necessarily those of the Army or Department of Defense.



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         Experience & Credentials



         3.      I am competent to testify to the facts and matters set forth herein. A true and

  accurate copy of my curriculum vitae is attached hereto as Exhibit A.

         4.      After receiving a bachelor’s degree from the University of Texas Austin,

  completed my medical degree from the University of Texas Health Science Center at Houston

  Medical School in 2008. I served as a Field Surgeon for ten years and went          on to complete

  a residency in Aerospace and Occupational Medicine at the United States Army School of

  Aviation Medicine, Fort Rucker, AL. I hold a Master’s in Public Health, and I have been trained

  by the Combat Readiness Center at Ft. Rucker as an Aviation Safety Officer. Additionally, I

  have trained in the Medical Management of Chemical and Biological Causalities at Fort Detrick

  and USAMIIRD.

         5.      I am board certified in flight Aerospace Medicine and board eligible in

  Occupational Medicine.

         6.      I am currently serving as the Brigade Surgeon for the 1st Aviation Brigade Ft.

  Rucker, Alabama and am responsible for certifying the health, mental and physical ability, and

  readiness for all nearly 4,000 individuals on flight status on this post.

         7.      My appended curriculum vitae further demonstrates my academic and scientific

  achievements by me over the past thirteen years.

         8.      Prior to the outset of the pandemic, I received specialized military training from

  Infectious Disease doctors from the Army, Navy and Air Force on emerging infectious disease

  threats, FEMA training, Emergency preparedness training, Medical effects of Ionizing Radiation,

  OSHA, Aerospace Toxicology, Epidemiology, Biostatistics, medical research and disaster


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  planning. More recently I have functioned as a medical and scientific advisor to an Aviation

  training Brigade seeking to identify risk mitigation strategies, and bio statistical analysis of SARS-

  Cov-2 (“Covid 19”) infections in both vaccinated and unvaccinated Soldiers. In so doing, I have

  identified, diagnosed and treated Covid 19 pathogenic infections. I have observed vaccine adverse

  events following the administration of EUA vaccines, and followed the success of Soldiers who

  obtained various Covid 19 therapies outside the military. The majority of the service members

  within the DOD population are young and in good physical condition. Military aviators are a

  subset of the military population that has to meet the most stringent medical standards to be on

  flight status. The population of student pilots I take care of are primarily in their 20s-30s, males

  and in excellent physical condition. The risk of serious illness or death in this population from

  SARs-CoV-2 is minimal, with a survival rate of 99.997%.

            9.     In observing, studying and analyzing all the available data, information, samples,

  experiences, histories and results of these treatments and inoculations provided, I have formulated

  a professional opinion, which requires me to report those findings to superiors in the chain of

  command and colleagues in the military. I have done so with mixed results in terms of acceptance,

  rejection and threats of punishment for so sharing.

            10.    The application of risk management is critical to the safety and success in both

  medicine and aviation. Aerospace Medicine is a specialty devoted to safety of flight by the

  aeromedical dispositioning and treatment of flight crew members, as accomplished by the

  consistent and careful application of risk mitigation and management strategies. ATP 5-19, 1-3.

  Risk Management (RM)1 outlines a disciplined approach to express a risk level in terms readily

  understood at all echelons.


  1
      adminpubs.tradoc.army.mil/regulations/TR385-2withChange1.docx

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          11.     1-6. States, “A risk decision is a commander, leader, or individual’s determination

  to accept or not accept. The risk(s) associated with an action he or she will take or will direct others

  to take. RM is only effective when specific information about hazards and risks is passed to the

  appropriate level of command for a risk decision. Subordinates must pass specific risk information

  up the chain of command.”

          12.     “When the specific information about hazards and risks is passed to the appropriate

  level of command for a risk decision. Subordinates must pass specific risk information up the chain

  of command. Conversely, the higher command must provide subordinates making risk decisions

  or implementing controls with the established risk tolerance—the level of risk the responsible

  commander is willing to accept. RM application must be inclusive; those executing an operation

  and those directing it participate in an integrated process”.

          13.     1-7. States, “In the context of RM, a control is an action taken to eliminate a hazard

  or to reduce its risk. Commanders establish local policies and regulations if appropriate”.

          14.     The five steps of Risk management include; 1. Identify the hazards, 2. Assess the

  hazards, 3. Develop controls and make risk decisions, 4. Implement controls, 5. Supervise and

  evaluate.

          15.     It is therefore my responsibility and that of every leaders to apply the steps of risk

  management to the current pandemic and countermeasures used. The CDC and the FDA are

  civilian agencies that do not have the mission of National Defense that the DOD has.

  Guidance and recommendations made by these civilian agencies must be filtered through strategic

  perspective of national defense and the potential risks recommendations may have on the health




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  of the entire fighting force. Ensuring that the health of the fighting force is not compromised is a

  strategic imperative, for which every military physician is responsible to ensure.

            16.     Step 1: Identify the hazards: As defined by FM 1-02.1 Operational Terms, pg. 1-

  48, hazard is a condition with the potential to cause injury, illness, or death of personnel; damage

  to or loss of equipment or property; or mission degradation.

            17.     Step 2: Assess the Hazards: There are numerous therapeutic agents that have been

  proven to significantly reduce infection and therefore provide protection from the harmful effects

  of SARs-CoV-2.

            18.     Literature has demonstrated that natural immunity is durable, completed, and

  superior to vaccination immunity to SARs-CoV-2. mRNA vaccines produced by Pfizer

  and Moderna both have been linked to myocarditis, especially in young males between 16-24 years

  old,2 The majority of young new Army aviators are in their early twenties. We know there is a

  risk of myocarditis with each mRNA vaccination. We additionally now know that vaccination

  does not necessarily prevent infection or transmission of SARs-CoV-2Therefore individuals fully

  vaccinated with mRNA vaccines have at least two independent risk factors for myocarditis after

  vaccination. Additional boaster shots add more risk.     It is impossible to perform a risk/benefit

  analysis on the use of mRNA as counter measures to SARs-CoV-2 without further data... Use of

  mRNA vaccines in our fighting force, presents a risk of undetermined magnitude, in a population

  in which less than 20 active-duty personnel out of 1.4 million, died of the underlying SARs-

  CoV-2.

            19.     Aircrew Training Program (ATP) 5-19, 1-8. Accept No Unnecessary Risk, states,

  “An unnecessary risk is any risk that, if taken, will not contribute meaningfully to mission



  2
      https://www.fda.gov/media/151733/download
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  accomplishment or will needlessly endanger lives or resources. Army leaders accept only a

  level of risk in which the potential benefit outweighs the potential loss.

         20.     Research shows that most individuals with myocarditis do not have any

  symptoms. Complications of myocarditis include dilated cardiomyopathy, arrhythmias, sudden

  cardiac death and carries a mortality rate of 20% at one year and 50% at 5 years. According to the

  National Center for Biotechnology Information, U.S. National Library of Medicine, “despite

  optimal medical management, overall mortality has not changed in the last 30 years”.

         21.     Step 3: Develop controls and make risk decisions: Because vaccination with

  mRNA increase the risk of myocarditis, a comprehensive screening program should be

  implemented immediately to identify individuals who have been affected and attempt to mitigate

  immediate risks and long-term disability.

         22.     Step 4: Implement Controls: Send out clear guidance to all DOD healthcare

  professionals on risks of-vaccination myocarditis. Compulsory SARs-CoV-2 mRNA vaccination

  program should be immediately suspended until research can be done to determine the true

  magnitude of risk of myocarditis in individuals who have been vaccinated. We must evaluate and

  immediately implement alternatives to mRNA vaccines, to include Ivermectin (FDA approved

  1996), Remdesivir (FDA approved 2020), Hydroxychloroquine (FDA approved 1955), Regeneron

  (FDA EU approved 2020). Review VAERS data for deaths from COVID for age-matched data

  and data from active duty COVID deaths within the DOD to perform a risk/benefit analysis.

         23.     Step 5: Supervise and evaluate: We must establish a screening program to

  identify those at increased risk of myocarditis, i.e. those that have, received mRNA vaccinations

  with Comirnaty, BioNTech or Moderna, or have any of the following symptoms chest pain,

  shortness of breath or palpitations They should have screening tested performed in accordance


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   with the CDC recommendations prior to return to flight duties. Per the CDC guidelines the initial

   evaluation of individuals identified according to the above criteria include; ECG, troponion level,

   inflammatory markers such as the C-reactive protein and erythrocyte sedimentation rate. It should

   be noted that the gold standard for diagnosis of myocarditis is end myocardial biopsy (EMB).

           24.      Given that the labels for Comirnaty and BioNtech clearly state that the vaccination

   should not be given to individuals that are allergic to ingredients. I have noted that one of the

   primary ingredients of the Lipid Nanoparticle delivery system is “ALC 1035” (two attachments,

   parts highlighted) in the Pfizer shots. The forth attachment is the toxicity report on ALC-1035,

   which comprises between 30-50% of the total ingredients.3 The Safety Data Sheet, (attached as

   Exhibit B) for this primary ingredient states that it is Category 2 under the OSHA HCS regulations

   (21 CFR 1910) and includes several concerning warnings, including but not limited to:

           a. Seek medical attention if it comes into contact with your skin;

           b. If inhaled and If breathing is difficult, give cardiopulmonary resuscitation

           c. Evacuate if there is an environmental spill

           d. the chemical, physical, and toxicological properties have not been

                 completely investigated

           e. Caution: Product has not been fully validated for medical applications. For research

                 use only

           25.      Other journals and scientific papers also denote that this particular ingredient has

           never been used in humans before.4 To be abundantly clear, one of the listed primary



   3
     https://thetattyjournal.org/2021/07/17/expert-evidence-regarding-comirnaty-pfizer-covid-19-mrna-vaccine-for-
   children/
   4
     https://www.verywellhealth.com/peg-compound-in-covid-19-vaccine-5119161#citation-2
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           ingredients of these injectables is Polyethylene glycol (“PEG”) which is a derivative of

           ethylene oxide. Polyethylene Glycol is the active ingredient in antifreeze. While it is

           hard to believe this is a key ingredient in these vaccines, it would explain the increased

           cardiovascular risk to users of the BioNTech or Comirnaty shots. I cannot discern what

           form of alchemy Pfizer and the FDA have discovered that would make antifreeze into a

           healthful cure to the human body. Others seem to agree my point per recent scientific

           studies that caused a group of 57 doctors and scientists to call for an immediate halt to the

           vaccination program.5 In short, this antifreeze ingredient is being studied for the first

           time in human injectables. According to the VAERS data, which admittedly

           underreports by as much as 100 times the actual SAE’s, there are well more than 600,000

           documented Serious Adverse Events (ones requiring medical attention) alone and more

           than 13,000 fatalities directly linked to this particular vaccine. I cannot understand how

           this vaccine remains on the list of available options to treat Covid, when there are so

           many other non-deadly or injurious options available.

           26. As such, I believe it is reasonable to conclude that many humans are allergic to these

           dangerous and deadly toxins and therefore should not take vaccinations with either

           Comirnaty or BioNtech. Again, I have identified an agent that possess a significant

           hazard to Soldiers, which would fall under DA Pam 385-61 Toxic Safety Standards cited

           in 2-11.

           27.   My assessment is that ALC 0315 is a known toxin with little study, specifically

           restricted to “research only“ and effectively has no prior use history, with the SDS



   5
    https://en-volve.com/2021/05/08/57-top-scientists-and-doctors-release-shocking-study-on-covid-vaccines-and-
   demand-immediate-stop-to-all-vaccinations/”
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         designation of (GHS02), listed as H315 and H319, in other words, hazardous if inhaled,

         ingested or in contact with skin and a health hazard with the designation (P313). A

         review of the SDS outlines that it is not for human or veterinary use,

         28.    I have not taken significant time to delineate the risks of other Covid 19 Vaccines

         other than the Safety Data Sheet of Moderna’s key ingredient, SM-102 (attached as

         Exhibit C). Suffice it to say that SM-102 is significantly more dangerous than the Pfizer

         ALC 3015 and it appears that the DOD is not actively acquiring or distributing this

         IND/EUA. If the DOD were to undertake use of the Moderna vaccine, one can expect a

         much higher Serious Adverse Event and fatality rate given that SM-102 carries an

         express warning “Skull and Crossbones” characterized under the GHS06 and GHS08. In

         other words, this Moderna ingredient is deadly.

         29.    Given that these Covid 19 Vaccines were both Investigational New Drugs and

         Emergency Use Authorization vaccines, I have taken considerable time to understand

         potential risks, hazards and dangers these and any new drug or Investigational New Drug

         will may have on the health, safety and operational readiness or ability of pilots under my

         care and at this post. I have sought to research military records and track systems for

         recording events and Serious Adverse Events and fatalities associated with vaccines, new

         vaccines and Emergency Use, investigational vaccines in computer data systems

         recommended by the General Accounting Office in 2002 and ordered to be developed

         and implemented by the Secretary of Defense in 2003.

         30.    A weekly MEDSITREP report fails to report the CDC data from VAERS or

         internal data regarding vaccine adverse events. Despite recommendation made by the

         Government Accountability Office in the GAO’s survey of Guard and Reserve Pilots and

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          Aircrew GAO-02-445, published Sep 20,2002, in which it was recommended that the

          Secretary of Defense should direct the establishment of an active surveillance program

          (unlike the passive VAERS) to identify and monitor adverse events, was not

          implemented. I have been unable to locate, access or asses any data, data base or internal

          system to track, store, evaluate or research the effects of vaccines on our military

          members or pilots.

          31.    I have also reviewed scientific data and peer reviewed studies that discuss,

          analyze results and conclude that natural immunity is at least as good if not far superior to

          any Covid Vaccine available at this time. I have also reviewed Dr. Peter McCullough’s

          sworn affidavit in support of and in relation to the Complaint filed in this case and have

          reviewed its supporting data. An additional peer-reviewed study not referenced in Dr.

          McCullough’s materials also supports the same conclusions drawn and reports that

          natural immunity provides a 13 fold better protection against Covid 19 infections than

          any currently available Covid 19 Vaccine6. More recently, in a meeting of the FDA

          Advisory Committee on September 17 of this year, fourteen of seventeen members voted

          against the authorization of any Covid booster vaccines in the juvenile age group having

          noted that the vaccine program has breached the defining test under the EUA statute as to

          whether the experimental treatment benefits outweigh the risks; in fact, they found the

          shots are far more dangerous than helpful in this age group and some voiced concerns

          that this would apply generally to all age groups.7


   6
     https://www.sciencemag.org/news/2021/08/having-sars-cov-2-once-confers-much-greater-immunity-
   vaccine-no-infection-parties
   7 https://www.thegatewaypundit.com/2021/09/fda-hearing-doctors-experts-testify-government-data-

   demonstrates-covid-shots-dangerous-may-kill-save-video/ & https://www.youtube.com/watch?v=WFph7-
   6t34M

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         32.    I am also aware of the Secretary of Defense Austin’s order in relation to Covid

         Vaccine mandates made this week. In an information paper, it was stated that, “Unit

         personnel should use only as much force as necessary to assist medical personnel with

         immunizations.” The use of force to administer a medical treatment or therapy against

         the will of a mentally competent individual constitutes medical battery and universally

         violates medical ethics. Currently, I am not aware of the Comirnaty available within the

         DOD. Emergency Use Authorized vaccines, despite the attempt to characterize some of

         them as approved despite such approved versions not being available and regardless of a

         military member’s prior immunity to Covid 19; even where it may be demonstrated with

         a recent antibody test.

         33.    Finally, I have reviewed a recent study entitled “US COVID-19 Vaccines Proven

         to Cause More Harm than Good Based on Pivotal Clinical Trial Data Analyzed Using

         the Proper Scientific Endpoint, All Cause Severe Morbidity,” by J. Bart Classen, MD

         and published in Trends in Internal Medicine; August 25, 2021. Attached as Exhibit D.

         34.    I have also seen policies, memoranda and guidance as it relates to exemptions for

         vaccinations as fully detailed in Army Regulation 40-562, which purport to eliminate any

         exemption for prior immunity by our military personnel.




         Opinion




         35.    I have reviewed the Motion for a Preliminary Injunction which discusses the issue

         of prior immunity benefits outweighing the risks of using experimental Covid 19

         Vaccines, together with proposed exhibits and materials cited therein. In opinion on this
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         subject matter, I am also drawing my own conclusions that will be put into practice in my

         current role as an Army flight surgeon knowing full well the horrific repercussions this

         decision may befall me in terms of my career, my relationships and life as an Army

         doctor.

         36.       I personally observed the most physically fit female Soldier I have seen in over 20

         years in the Army, go from Colligate level athlete training for Ranger School, to being

         physically debilitated with cardiac problems, newly diagnosed pituitary brain tumor,

         thyroid dysfunction within weeks of getting vaccinated. Several military physicians have

         shared with me their firsthand experience with a significant increase in the number of

         young Soldiers with migraines, menstrual irregularities, cancer, suspected myocarditis

         and reporting cardiac symptoms after vaccination. Numerous Soldiers and DOD civilians

         have told me of how they were sick, bed-ridden, debilitated, and unable to work for days

         to weeks after vaccination. I have also recently reviewed three flight crew members’

         medical records, all of which presented with both significant and aggressive systemic

         health issues. Today I received word of one fatality and two ICU cases on Fort Hood; the

         deceased was an Army pilot who could have been flying at the time. All three

         pulmonary embolism events happened within 48 hours of their vaccination. I cannot

         attribute this result to anything other than the Covid 19 vaccines as the source of these

         events. Each person was in top physical condition before the inoculation and each

         suffered the event within 2 days post vaccination. Correlation by itself does not equal

         causation, however, significant causal patterns do exist that raise correlation into a

         probable cause; and the burden to prove otherwise falls on the authorities such as the




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         CDC, FDA, and pharmaceutical manufacturers. I find the illnesses, injuries and fatalities

         observed to be the proximate and causal effect of the Covid 19 vaccinations.

         38.      I can report of knowing over fifteen military physicians and healthcare providers

         who have shared experiences of having their safety concerns ignored and being

         ostracized for expressing or reporting safety concerns as they relate to COVID

         vaccinations. The politicization of SARs-CoV-2, treatments and vaccination strategies

         have completely compromised long-standing safety mechanisms, open and honest

         dialogue, and the trust of our service members in their health system and healthcare

         providers.

         39.      The subject matter of this Motion for a Preliminary Injunction and its devastating

         effects on members of the military compel me to conclude and conduct accordingly as

         follows:

         a) None of the ordered Emergency Use Covid 19 vaccines can or will provide better

               immunity than an infection-recovered person;

         b) All three of the EUA Covid 19 vaccines (Comirnaty is not available), in the age group

               and fitness level of my patients, are more risky, harmful and dangerous than having

               no vaccine at all, whether a person is Covid recovered or facing a Covid 19 infection;

         c) Direct evidence exists and suggests that all persons who have received a Covid 19

               Vaccine are damaged in their cardiovascular system in an irreparable and irrevocable

               manner;

         d) Due to the Spike protein production that is engineered into the user’s genome, each

               such recipient of the Covid 19 Vaccines already has micro clots in their

               cardiovascular system that present a danger to their health and safety;

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         e) That such micro clots over time will become bigger clots by the very nature of the

            shape and composition of the Spike proteins being produced and said proteins are

            found throughout the user’s body, including the brain;

         f) That at the initial stage of this damage the micro clots can only be discovered by a

            biopsy or Magnetic Resonance Image (“MRI”) scan;

         g) That due to the fact that there is no functional myocardial screening currently being

            conducted, it is my professional opinion that substantial foreseen risks currently exist,

            which require proper screening of all flight crews.

         h) That, by virtue of their occupations, said flight crews present extraordinary risks to

            themselves and others given the equipment they operate, munitions carried thereon

            and areas of operation in close proximity to populated areas.

         i) That, without any current screening procedures in place, including any Aero Message

            (flight surgeon notice) relating to this demonstrable and identifiable risk, I must and

            will therefore ground all active flight personnel who received the vaccinations until

            such time as the causation of these serious systemic health risks can be more fully and

            adequately assessed.

         j) That, based on the DOD’s own protocols and studies, the only two valuable

            methodologies to adequately assess this risk are through MRI imaging or cardio

            biopsy which must be carried-out.

         k) That, in accordance with the foregoing, I hereby recommend to the Secretary of

            Defense that all pilots, crew and flight personnel in the military service who required

            hospitalization from injection or received any Covid 19 vaccination be grounded

            similarly for further dispositive assessment.


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          l) That this Court should grant an immediate injunction to stop the further harm to all

                military personnel to protect the health and safety of our active duty, reservists and

                National Guard troops.




          40.        I am competent to opine on the medical and flight readiness aspects of these

          allegations based upon my above-referenced education and professional medical, aviation

          and military experience and the basis of my opinions are formed as a result of my

          education, practice, training and experience.




          41         As an Aerospace Medicine Specialist, and flight surgeon responsible for the

          lives of our Army pilots, I confirm and attest to the accuracy and truthfulness of my

          foregoing statements, analysis and attachments or references hereto:




                                                          _______________/S/__________________

                                                          LTC Theresa Long, MD, MPH, FS



   State of Alabama                        §

                                           §

   County of ____Dale_______               §



   The undersigned, being duly sworn, deposes and says:

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   I, Lieutenant Colonel Theresa Long, MD, MPH, FS, declare under the penalty of perjury of the

   laws of the United States of America, and state upon personal knowledge that:

   I am an adult of sound mind, 47 years old, and declare that the information herein is true, correct

   and complete and that I have voluntarily affirmed this affidavit based upon my own personal

   knowledge, education, and experience, and under the penalty of perjury of the laws of the United

   States of America.




   SUBSCRIBED AND SWORN TO BEFORE ME on the 22nd_ day of _September___ 2021, to

   certify which witness my hand and official seal.



                                                        /S/    Nicholas S. Babel
                                                 Notary Public for the Judge Advocates General,
                                                 Alabama




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                                                THERESA MARIE LONG, MD, MPH, FS
                                                 LTC, MEDICAL CORPS, U.S. Army
                                                     Mobile Phone: 512-554-xxxx
                                                     theresa.m.long.mil@mail.mil


Medical Education
United States Army School of Aviation Medicine
Aerospace/Occupational Medicine Residency
University of West Florida
Graduate Student -MPH
06/2019-6/2021

Carl R. Darnall Army Medical Center, Fort Hood, Texas
Family Medicine Internship
06/2008-11/2010
Unrestricted Medical License, IN

09/2003 - 06/2008
University of Texas Medical School at Houston, Houston, Texas
06/2008 M.D.

08/2001 - 08/2004
Undergraduate - University of Texas at Austin, Austin, TX
05/2004 B.S. Neurobiology

Research Experience
08/2018 – 5/2020
School of Aviation Medicine
University of West Florida MPH program
https://tml526.wixsite.com/website
Performed a cross-sectional study on Intervertebral Disc Disease Among Army Aviators and Air Crew

08/2002 - 05/2003
University of Texas at Austin, Texas
Research Assistant, Dr. Dee Silverthorn
Performed academic research in effort to update medical facts and the latest research information for the publication of the fourth
edition of Human Physiology

09/2000 - 11/2000
Neuropharmacology Research, Texas
Lab Tech, Dr. Silverthorn
Acquisition of rat cerebellums for research in gene sequencing. The focus of the project was to determine the DNA sequence of the
receptor in the developing fetal brain that binds to ethanol and induces apoptosis leading to fetal alcohol syndrome.

Publications/Presentations/Poster Sessions
Presentations/Posters

Poster: Intervertebral Disc Disease Among Army Aviators and Air Crew, presented during the 2021 American Occupational Healthcare
Conference.
Long, Theresa M., Sorensen, Christian, Victoria Zumberge. (2003, May). Sodium dependent transport of Chlorophenol red uptake by
Malpighian tubules of acheta domesticus. Poster presented at: University of Texas at Houston; Austin, TX.

Volunteer Experience
08/ 2005 - 09/2005
University of Texas - Houston, Health Science Ctr, Texas
Medical Student -Provided medical aid and support for Acute Care and triage of Hurricane Katrina evacuees.

Work Experience

06/2021- Present
1st Aviation Brigade TOMS Surgeon
Serve as the Medical Advisor to the 1st Aviation Brigade Commander regarding health and fitness of over 3600 officers, warrant
officers and Soldiers. The Brigade is comprised of three aviation training battalions, responsible for initial entry rotary wing/ fixed wing
flight training, advanced aircraft training. as well as Specific duties include ensuring safety of flight in Army Aviation operations by
functioning as Flight Surgeon, while ensuring the health and fitness of military police, firefighters and military working dogs that
support Ft. Rucker. Tasked with conducting epidemiological and biostatistical analysis of injuries and illnesses (SARs CoV-2) and
medical trends that occur during training and identify and implement strategies to mitigate delays or lost training time.
05/2018-06/2021
Aerospace and Occupational Medicine Resident
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Graduate Medical Education training in Aerospace and Occupational Medicine while obtaining a Master’s in Public Health. Specialty
training included the Flight surgeon course, The Instructor/Trainer course, Space Cadre Course, Medical Effects of Ionizing Radiation,
Medical Management of Chemical and Biological Casualties course at USAMIIRD, Ft. Detrick, NASA, 7th Special Forces, Aviation Safety
Officer Course, Global Medicine Symposium, OSHA, Dept of Transportation, Textron Bell Helicopters, Brigade Healthcare Course,
Preventative Medicine Senior Leaders Course, Joint Enroute Critical Care Course, Army Aeromedical Activity, research on
Intervertebral Disc Disease.

05/2015-05/2018
Department of Rehabilitation Services
General Medical Officer
Assigned to Carl R. Darnall Army Medical Center Physical Medicine clinic with special duties Function as General Medical Officer, to
mitigate the number of high risk patients get referred off-post to Pain management and PM&R clinics. Functioned as the Performance
Improvement officer for PM&R, the Chiropractic Clinic OIC, and the MEB/IDES Subject Matter Expert to IPMC multi-disciplinary team.
Significantly increased access to care to the Physical Medicine clinic. Was instrumental in leading the hospital transition for the
Chiropractic clinic, contributing to the subsequent successful Joint Commission inspection. Increased access to care in the Chiropractic
clinic by 500%.

9/2013- 5/2015
Department of Pediatrics/ Department of Deployment & Operational Medicine
General Medical Officer
Assigned to the Carl R. Darnall Army Medical center Pediatric Clinic with special duties within the Department of Deployment &
Operational Medicine. Provided acute and routine medical care for newborn to age 18 and collaborated with Lactation Team Leader to
develop research matrix to ensure effective use of resources to meet Perinatal Core Measures PC-05 for Joint Commission
Accreditation. Demonstrated initiative by providing emergency medical care to one of the victims of the April 2, 2014 FT Hood
shooting.

10/2012-9/2013
Department of Deployment Medicine/ Emergency Medicine
General Medical Officer
Assigned to the Department of Deployment & Operational Medicine at Carl R Darnall Army Medical Center (CRDAMC) with specific
duties directed by the CRDAMC DCCS. Supported soldier deployment/redeployment from combat, while also performing clinical
rotations within the Emergency and Internal Medicine Departments to increase access to care for acutely ill patients. Improved
productivity of the SMRC by conducting ETS, Chapter, Special Forces, Airborne, Ranger, SERE, and OCS/WOCS physicals. Ensured
DODM success with 90% CRDAMC staff compliance of their annual PHA's. Selected to become an ACLS instructor.

06/2012-10/01/2012
Department of the Army Inspector General Agency
Disability Medicine Subject Matter Expert (SME) - Temporary Dept of the Army Inspector General
Assistant Inspector General on Medical Disability (Subject Matter Expert)
Selected above my peers, from across the Army AMEDD as one of three medical NARSUM Subject Matter Experts to function as a
temporary assistant Inspector General, in a SECARMY directed inspection of the MEB/IDES system. Planed, coordinated, and
conducted inspections of agencies/commands and to gather required data and perspectives relevant to the inspection topic.
Developed inspection concepts, objectives, methodologies while coordinating inspection site requirements with major Army
Commands ASCC, DRUs, Installations and Components. Identified trends, analyzed root causes to systemic problems and proposed
solutions to the IG, Army Chief of Staff and Secretary of the Army for service-wide implementation.

06/2011-06/2012
Carl R. Darnall Army Medical Center
Integrated Disability Evaluation System
Increased patient access to care by conducting 203 acute care appointments in four months. Increased productivity by 25% by
completing 202 NARSUMs, 12 TDRLs, 42 Psychiatric addendums in nine months with only a single case returned from the PEB.
Performed duties of MEB chief and QA physician in their absence by performing QA on seven NARSUMS, and reviewing 13 cases for
initial intake. Functioned as IDES Physician Training officer, applying PDA training to develop a comprehensive training program for
new MEB/IDES NARSUM physicians.

11/2010-05/2011
Carl R. Darnall Army Medical Center, Hospital Operations, Clinical Plans and Medical Operations Officer
Served as Clinical Plans and Medical Operations Officer for Hospital Operation (HOD), responsible for the synchronization of external
and internal MEDCEN operations supporting over 3,000 MEDCEN employee as well as the DoD’s largest military installation and
surrounding civilian population; assisted in development and execution of medical plans supporting Installation, Garrison, MEDCEN
and Civilian AT/FP and MASCAL events

06/2005 - 07/2005
United States Army, Texas, Officer Basic Course - Class 1st Sergeant
Supervised 306 medical, dental, and veterinarian HPSP scholarship recipients for Officer Basic training.

10/2002 - 08/2003
United States Army - Texas National Guard, Texas Flight Medic -EMT/BCLS Instructor Training

10/2001 - 10/2002
United States Army Reserve, Texas, Instructor/Trainer
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Instructor/ Trainer of the Total Army Instructor Trainer Course and Instructor Candidate for NCO leadership development courses.
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                                                                                            Safety Data Sheet




                                                                                                                                    Inhibitors
                                                                                                Revision Date:       Mar.-23-2021




                                                                                                                                    •
                                                                                                Print Date:          Sep.-9-2021




                                                                                                                                    Agonists
1. PRODUCT AND COMPANY IDENTIFICATION

1.1 Product identifier




                                                                                                                                    •
    Product name :                       ALC-0315




                                                                                                                                    Screening Libraries
    Catalog No. :                        HY-138170
    CAS No. :                            2036272-55-4
1.2 Relevant identified uses of the substance or mixture and uses advised against
    Identified uses :                    Laboratory chemicals, manufacture of substances.
1.3 Details of the supplier of the safety data sheet
    Company:                             MedChemExpress USA
    Tel:                                 609-228-6898
    Fax:                                 609-228-5909
    E-mail:                              sales@medchemexpress.com
1.4 Emergency telephone number
    Emergency Phone #:                   609-228-6898

2. HAZARDS IDENTIFICATION

2.1 Classification of the substance or mixture
    GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
    Skin corrosion/irritation (Category 2),H315
    Serious eye damage/eye irritation (Category 2A),H319
2.2 GHS Label elements, including precautionary statements



     Pictogram



    Signal word     Warning
    Hazard statement(s)
    H315 Causes skin irritation
    H319 Causes serious eye irritation
    Precautionary statement(s)
    P264 Wash hands thoroughly after handling
    P280 Wear protective gloves/protective clothing/eye protection/face protection.
    P302+P352 IF ON SKIN: Wash with plenty of soap and water.
    P305+P351+P338 IF IN EYES: Rinse cautiously with water for several minutes. Remove contact lenses, if present and easy to do.
    Continue rinsing.
    P313 Get medical advice/attention.

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    P332+P313 If skin irritation occurs: Get medical advice/attention.
    P337+P313 If eye irritation persists: Get medical advice/attention.
    P362 Take off contaminated clothing and wash before reuse.
2.3 Other hazards
    None.

3. COMPOSITION/INFORMATION ON INGREDIENTS

3.1 Substances
    Formula:                             C48H95NO5
    Molecular Weight:                    766.27
    CAS No. :                            2036272-55-4

4. FIRST AID MEASURES

4.1 Description of first aid measures
    Eye contact
    Remove any contact lenses, locate eye-wash station, and flush eyes immediately with large amounts of water. Separate eyelids
    with fingers to ensure adequate flushing. Promptly call a physician.
    Skin contact
    Rinse skin thoroughly with large amounts of water. Remove contaminated clothing and shoes and call a physician.
    Inhalation
    Immediately relocate self or casualty to fresh air. If breathing is difficult, give cardiopulmonary resuscitation (CPR). Avoid mouth-
    to-mouth resuscitation.
    Ingestion
    Wash out mouth with water; Do NOT induce vomiting; call a physician.
4.2 Most important symptoms and effects, both acute and delayed
    The most important known symptoms and effects are described in the labelling (see section 2.2).
4.3 Indication of any immediate medical attention and special treatment needed
    Treat symptomatically.

5. FIRE FIGHTING MEASURES

5.1 Extinguishing media
    Suitable extinguishing media
    Use water spray, dry chemical, foam, and carbon dioxide fire extinguisher.
5.2 Special hazards arising from the substance or mixture
    During combustion, may emit irritant fumes.
5.3 Advice for firefighters
    Wear self-contained breathing apparatus and protective clothing.

6. ACCIDENTAL RELEASE MEASURES

6.1 Personal precautions, protective equipment and emergency procedures
    Use full personal protective equipment. Avoid breathing vapors, mist, dust or gas. Ensure adequate ventilation. Evacuate

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    personnel to safe areas.
    Refer to protective measures listed in sections 8.
6.2 Environmental precautions
    Try to prevent further leakage or spillage. Keep the product away from drains or water courses.
6.3 Methods and materials for containment and cleaning up
    Absorb solutions with finely-powdered liquid-binding material (diatomite, universal binders); Decontaminate surfaces and
    equipment by scrubbing with alcohol; Dispose of contaminated material according to Section 13.

7. HANDLING AND STORAGE

7.1 Precautions for safe handling
    Avoid inhalation, contact with eyes and skin. Avoid dust and aerosol formation. Use only in areas with appropriate exhaust
    ventilation.
7.2 Conditions for safe storage, including any incompatibilities
    Keep container tightly sealed in cool, well-ventilated area. Keep away from direct sunlight and sources of ignition.
    Recommended storage temperature:                 4°C, protect from light
                                                     * In solvent : -80°C, 6 months; -20°C, 1 month (protect from light)


    Shipping at room temperature if less than 2 weeks.
7.3 Specific end use(s)
    No data available.

8. EXPOSURE CONTROLS/PERSONAL PROTECTION
8.1 Control parameters
    Components with workplace control parameters
    This product contains no substances with occupational exposure limit values.
8.2 Exposure controls
    Engineering controls
    Ensure adequate ventilation. Provide accessible safety shower and eye wash station.
    Personal protective equipment
              Eye protection                                        Safety goggles with side-shields.
              Hand protection                                       Protective gloves.
              Skin and body protection                              Impervious clothing.
              Respiratory protection                                Suitable respirator.
              Environmental exposure controls                       Keep the product away from drains, water courses or the soil. Clean
                                                                    spillages in a safe way as soon as possible.

9. PHYSICAL AND CHEMICAL PROPERTIES
9.1 Information on basic physical and chemical properties
    Appearance                                                      Viscous liquid
    Odor                                                            No data available
    Odor threshold                                                  No data available

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    pH                                                             No data available
    Melting/freezing point                                         No data available
    Boiling point/range                                            No data available
    Flash point                                                    No data available
    Evaporation rate                                               No data available
    Flammability (solid, gas)                                      No data available
    Upper/lower flammability or explosive limits                   No data available
    Vapor pressure                                                 No data available
    Vapor density                                                  No data available
    Relative density                                               No data available
    Water Solubility                                               No data available
    Partition coefficient                                          No data available
    Auto-ignition temperature                                      No data available
    Decomposition temperature                                      No data available
    Viscosity                                                      No data available
    Explosive properties                                           No data available
    Oxidizing properties                                           No data available
9.2 Other safety information
    No data available.

10. STABILITY AND REACTIVITY
10.1 Reactivity
     No data available.
10.2 Chemical stability
     Stable under recommended storage conditions.
10.3 Possibility of hazardous reactions
     No data available.
10.4 Conditions to avoid
     No data available.
10.5 Incompatible materials
     Strong acids/alkalis, strong oxidising/reducing agents.
10.6 Hazardous decomposition products
     Under fire conditions, may decompose and emit toxic fumes.
     Other decomposition products - no data available.

11.TOXICOLOGICAL INFORMATION
11.1 Information on toxicological effects
     Acute toxicity
     Classified based on available data. For more details, see section 2
     Skin corrosion/irritation
     Classified based on available data. For more details, see section 2

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     Serious eye damage/irritation
     Classified based on available data. For more details, see section 2
     Respiratory or skin sensitization
     Classified based on available data. For more details, see section 2
     Germ cell mutagenicity
     Classified based on available data. For more details, see section 2
     Carcinogenicity
     IARC: No component of this product present at a level equal to or greater than 0.1% is identified as probable, possible or
     confirmed human carcinogen by IARC.
     ACGIH: No component of this product present at a level equal to or greater than 0.1% is identified as a potential or confirmed
     carcinogen by ACGIH.
     NTP: No component of this product present at a level equal to or greater than 0.1% is identified as a anticipated or confirmed
     carcinogen by NTP.
     OSHA: No component of this product present at a level equal to or greater than 0.1% is identified as a potential or confirmed
     carcinogen by OSHA.
     Reproductive toxicity
     Classified based on available data. For more details, see section 2
     Specific target organ toxicity - single exposure
     Classified based on available data. For more details, see section 2
     Specific target organ toxicity - repeated exposure
     Classified based on available data. For more details, see section 2
     Aspiration hazard
     Classified based on available data. For more details, see section 2
     Additional information
     This information is based on our current knowledge. However the chemical, physical, and toxicological properties have not been
     completely investigated.

12. ECOLOGICAL INFORMATION
12.1 Toxicity
     No data available.
12.2 Persistence and degradability
     No data available.
12.3 Bioaccumlative potential
     No data available.
12.4 Mobility in soil
     No data available.
12.5 Results of PBT and vPvB assessment
     PBT/vPvB assessment unavailable as chemical safety assessment not required or not conducted.
12.6 Other adverse effects
     No data available.


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13. DISPOSAL CONSIDERATIONS
13.1 Waste treatment methods
      Product
      Dispose substance in accordance with prevailing country, federal, state and local regulations.
      Contaminated packaging
      Conduct recycling or disposal in accordance with prevailing country, federal, state and local regulations.

14. TRANSPORT INFORMATION
    DOT (US)
    Proper shipping name: Not dangerous goods
    UN number: -
    Class: -
    Packing group: -


    IMDG
    Proper shipping name: Not dangerous goods
    UN number: -
    Class: -
    Packing group: -


    IATA
    Proper shipping name: Not dangerous goods
    UN number: -
    Class: -
    Packing group: -

15. REGULATORY INFORMATION
    SARA 302 Components:
    No chemicals in this material are subject to the reporting requirements of SARA Title III, Section 302.
    SARA 313 Components:
    This material does not contain any chemical components with known CAS numbers that exceed the threshold (De Minimis)
    reporting levels established by SARA Title III, Section 313.
    SARA 311/312 Hazards:
    No SARA Hazards.
    Massachusetts Right To Know Components:
    No components are subject to the Massachusetts Right to Know Act.
    Pennsylvania Right To Know Components:
    No components are subject to the Pennsylvania Right to Know Act.
    New Jersey Right To Know Components:
    No components are subject to the New Jersey Right to Know Act.


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    California Prop. 65 Components:
    This product does not contain any chemicals known to State of California to cause cancer, birth defects, or anyother reproductive
    harm.

16. OTHER INFORMATION
    Copyright 2021 MedChemExpress. The above information is correct to the best of our present knowledge but does not purport to
    be all inclusive and should be used only as a guide. The product is for research use only and for experienced personnel. It must
    only be handled by suitably qualified experienced scientists in appropriately equipped and authorized facilities. The burden of
    safe use of this material rests entirely with the user. MedChemExpress disclaims all liability for any damage resulting from
    handling or from contact with this product.




                       Caution: Product has not been fully validated for medical applications. For research use only.

                        Tel: 609-228-6898          Fax: 609-228-5909            E-mail: tech@MedChemExpress.com
                                    Address: 1 Deer Park Dr, Suite Q, Monmouth Junction, NJ 08852, USA




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                                                                                                             Page 1/11
                                                      Safety Data Sheet
                                                         acc. to OSHA HCS
            Printing date 04/11/2021                                                           Revision date 04/11/2021

              1 Identification
              · Product identifier
              · Trade name: SM-102
              · Synonym 8-[(2-hydroxyethyl)[6-oxo-6-(undecyloxy)hexyl]amino]-octanoic acid, 1-octylnonyl ester
              · Article number: 33474
              · Application of the substance / the mixture For research use only, not for human or veterinary use.
              · Details of the supplier of the safety data sheet
              · Manufacturer/Supplier:
                Cayman Chemical Co.
                1180 E. Ellsworth Rd.
                Ann Arbor, MI 48108
                USA
              · Information department: Product safety department
              · Emergency telephone number:
                During normal opening times: +1 (734) 971-3335
                US/CANADA: 800-424-9300
                Outside US/CANADA: 703-741-5970


              2 Hazard(s) identification
              · Classification of the substance or mixture


                ~
                d        GHS02 Flame

                Flam. Liq. 2         H225 Highly flammable liquid and vapor.



                ~
                d        GHS06 Skull and crossbones

                Acute Tox. 2         H310 Fatal in contact with skin.



                ~
                d        GHS08 Health hazard

                Carc. 2              H351 Suspected of causing cancer.
                Repr. 2              H361 Suspected of damaging fertility or the unborn child.
                STOT RE 1            H372 Causes damage to the central nervous system, the kidneys, the liver and the
                                          respiratory system through prolonged or repeated exposure.



                ~
                d        GHS09 Environment

                Aquatic Chronic 1 H410 Very toxic to aquatic life with long lasting effects.



                ~
                d        GHS07

                                                                                                        (Contd. on page 2)
                                                                                                                        US




52.1.14
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Research Article
                                            Trends in Internal Medicine

 US COVID-19 Vaccines Proven to Cause More Harm than Good Based on
  Pivotal Clinical Trial Data Analyzed Using the Proper Scientific Endpoint,
                          “All Cause Severe Morbidity”
                                                       J. Bart Classen, MD*

                                                                       *
                                                                        Correspondence:
                                                                       J. Bart Classen, MD, Classen Immunotherapies, Inc, 3637
Classen Immunotherapies, Inc, 3637 Rockdale Road, Manchester,          Rockdale Road, Manchester, MD 21102, Tel: 410-377-8526,
MD                                                                     E-mail: Classen@vaccines.net.

                                                                             Received: 24 July 2021; Accepted: 25 August 2021

Citation: Classen B. US COVID-19 Vaccines Proven to Cause More Harm than Good Based on Pivotal Clinical Trial Data Analyzed
Using the Proper Scientific Endpoint, “All Cause Severe Morbidity”. Trends Int Med. 2021; 1(1): 1-6.


                                                             ABSTRACT
          Three COVID-19 vaccines in the US have been released for sale by the FDA under Emergency Use Authorization
          (EUA) based on a clinical trial design employing a surrogate primary endpoint for health, severe infections with
          COVID-19. This clinical trial design has been proven dangerously misleading. Many fields of medicine, oncology
          for example, have abandoned the use of disease specific endpoints for the primary endpoint of pivotal clinical
          trials (cancer deaths for example) and have adopted “all cause mortality or morbidity” as the proper scientific
          endpoint of a clinical trial. Pivotal clinical trial data from the 3 marketed COVID-19 vaccines was reanalyzed
          using “all cause severe morbidity", a scientific measure of health, as the primary endpoint. “All cause severe
          morbidity” in the treatment group and control group was calculated by adding all severe events reported in the
          clinical trials. Severe events included both severe infections with COVID-19 and all other severe adverse events
          in the treatment arm and control arm respectively. This analysis gives reduction in severe COVID-19 infections
          the same weight as adverse events of equivalent severity. Results prove that none of the vaccines provide a health
          benefit and all pivotal trials show a statically significant increase in “all cause severe morbidity" in the vaccinated
          group compared to the placebo group. The Moderna immunized group suffered 3,042 more severe events than
          the control group (p=0.00001). The Pfizer data was grossly incomplete but data provided showed the vaccination
          group suffered 90 more severe events than the control group (p=0.000014), when only including “unsolicited”
          adverse events. The Janssen immunized group suffered 264 more severe events than the control group (p=0.00001).
          These findings contrast the manufacturers’ inappropriate surrogate endpoints: Janssen claims that their vaccine
          prevents 6 cases of severe COVD-19 requiring medical attention out of 19,630 immunized; Pfizer claims their
          vaccine prevents 8 cases of severe COVID-19 out of 21,720 immunized; Moderna claims its vaccine prevents
          30 cases of severe COVID-19 out of 15,210 immunized. Based on this data it is all but a certainty that mass
          COVID-19 immunization is hurting the health of the population in general. Scientific principles dictate that the
          mass immunization with COVID-19 vaccines must be halted immediately because we face a looming vaccine
          induced public health catastrophe.

Keywords                                                               [1]. Vaccines have been promoted and widely utilized under the
Clinical trial, Vaccines, COVID-19.                                    false claim they have been shown to improve health. However,
                                                                       this claim is only a philosophical argument and not science based.
Introduction                                                           In a true scientific fashion to show a health benefit one would
For decades, true scientists have warned that pivotal clinical         need to show fewer overall deaths during an extended period in
trial designs for vaccines are dangerously flawed and outdated         the vaccinated group compared to a control group. Less stringent
Trends Int Med, 2021                                                                                               Volume 1 | Issue 1 | 1 of 6
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indicators of a health benefit would include fewer severe events         Three COVID-19 vaccines are approved by the US FDA under
of all kinds, fewer days hospitalized for any reason, lower heath        Emergency Use Authorization (EUA). These vaccines have been
care expenses of all types, fewer missed days from work for any          developed by Pfizer-BioNTech, Moderna, and Janssen. Since
health reason. No pivotal clinical trial for a vaccine preventing        marketing has begun multiple reports of potential, adverse events
an infectious disease has ever demonstrated an improvement in            have been recorded. These reports include prion disease [2,3] ,
health using these scientific measurements of health as a primary        clotting disorders [4], myocarditis, reproductive issues, death and
endpoint. Instead, vaccine clinical trials have relied on misleading     many more. A clear difference in frequency of adverse events
surrogate endpoints of health such as infection rates with a specific    between different COVID-19 vaccines has been published [3]. The
infectious agent. Manufactures and government agents have made           clinical trial designs of the pivotal trials and the resulting data was
the scientifically disproved and dangerous philosophical argument        evaluated to determine if scientifically the results support mass
that these surrogate endpoints equate to a health benefit.               immunization with the vaccines for COVID-19. The published
                                                                         data from the manufacturers’ own clinical trials was re analyzed
True medical scientists, outside the vaccine fields, have embraced       using the proper scientific endpoint “all cause severe morbidity”.
the use of true health measurements as the proven proper scientific
endpoint of clinical trials. Decades ago, a pharmaceutical
manufacturer would only need to show that a chemotherapeutic             Method
agent shrank a tumor or reduce cancer deaths to obtain FDA               Data from all three US COVID-19 vaccines was published in
approval. Manufacturers would market their products under                the New England Journal of Medicine [4-6]. Data from these
the fraudulent philosophical argument that shrinking tumors or           three publications and the accompanying published appendixes
reducing cancer deaths equates to improved survival. However,            provided the bulk of the information analyzed. On rare occasions
many of the toxic chemotherapeutic agents would destroy vital            supplemental data was found on the FDA’s website (https://www.
organs and actually reduce survival while decreasing cancer deaths       fda.gov/advisory-committees/advisory-committee-calendar)          in
at the same time. The FDA and comparable agencies around the             briefing documents pertaining to FDA advisory panel committees
world switched to “all cause mortality” as the primary endpoint          for COVID-19 vaccines from Pfizer-BioNTech, Moderna, and
for pivotal cancer drug trails. The gold standard for marketing          Janssen. The scientific primary endpoint, “all severe events", in
approval is to show that those receiving a cancer drug actually live     the treatment group and controls was calculated by adding all
longer than those who do not. Typically, new “miracle” anticancer        severe or life threatening events reported in the clinical trials by
drugs only prolong survival about 2 months but this added time           the manufacturers. Severe events included both severe cases of
may be spent severely ill suffering from adverse events caused by        COVID-19 and all other severe events in the treatment arm and
the chemotherapy. Application of true scientific principles often        control arm respectively.
severely deflates the hype promoting pharmaceutical products.
                                                                         A Chi square analysis using a 2x2 table was used to calculate
All previous vaccine trials have suffered not only from lacking          statistical p values. An online statistical chi square calculator
a proper primary clinical endpoint put also from insufficient            (https://www.socscistatistics.com/tests/chisquare) was used.
perspective follow up of adverse events. The trials have failed to       Statistical calculations ignored small differences in total subject
account for the well-established toxicity data and epidemiology          number between efficacy and adverse event populations. The
data that vaccines are associated with chronic immune mediated           randomized number, shown in Table 1, was used as the study
disorders that may not develop for years after immunization. These       population for statistical calculations. In general, the population
adverse events, for example type 1 diabetes, are quite common,           for adverse events was slightly higher than that for efficacy. Given
develop 3 or more years after immunization, and can exceed the           the statistical significant p, values generated (see Table 1), these
reduction in infectious complications induced by the vaccine as          small differences do not appear to be material.
was shown with a hemophilus vaccine [1]. Pivotal trials for the
recombinant hepatitis B vaccine prospectively recorded adverse
                                                                         The FDA document entitled Guidance for Industry Toxicity
events for about 7 days after immunization and newer vaccines
                                                                         Grading Scale for Healthy Adult and Adolescent Volunteers
typically prospectively follow patients 6 months for adverse events.
                                                                         Enrolled in Preventive Vaccine Clinical Trials, 2007, provided the
Use of “all cause morbidity or mortality” as the primary endpoint is     following definitions for adverse events.
warranted in vaccine trials for several reasons. First, the recipients
are generally healthy (relative to patients with terminal cancer for     Grades 3, Severe: Prevents daily activity and requires medical
example) and the risk of severe morbidity from the target infection      intervention.
is low so even rare adverse events can result in an unfavorable risk     Grades 4, Potentially life threatening: ER visit or hospitalization.
benefit. Second, stimulating the immune system with a vaccine can
lead to almost any type of adverse event including increasing the        Results
incidence or severity of diseases already present in the population.     Moderna
One needs a trial design with a primary endpoint that captures           The Moderna pivotal Phase III trial results and protocol are
both a decline in infectious complications as well as small rises        published in the New England Journal of Medicine (NEJM) [5]. The
in hundreds of different immune modified disorders of similar or         primary endpoint was COVID-19 illness starting 14 days after the
worse severity as the infectious complications.                          second dose of vaccine however the trial had a secondary endpoint
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which was patients developing severe COVID-19 symptoms. This         Pfizer-BioNTech
later endpoint allowed for a direct comparison to severe adverse     The Pfizer-BioNTech (Pfizer) pivotal Phase III trial results
events. The study randomized 30,420 individuals, 15,210 were         are published in the New England Journal of Medicine [6].
randomized to receive injections with Moderna’s mRNA-1273            The Pfizer trial was classified as a Phase 1/2/3 trial. Two shots
vaccine and 15,210 were randomized to receive injections with        were administered 21 days apart. The primary endpoint was
placebo. Two shots were administered 28 days apart. “Solicited”      confirmed COVID-19 infections 7 days after the second dose. A
adverse events were collected 7 days after immunization and          post hoc analysis of severe COVID-19 infections was included
“unsolicited” adverse events were reported up to 28 days after       in the appendix published by the NEJM. The study randomized
administration of each vaccine or approximately 56 days after        43,548 individuals of which 100 did not receive injections,
the first dose according to protocol. Because of dropouts, adverse   21,720 received injections with the vaccine and 21,728 received
events were recorded on 15,185 vaccinated patients and 15,166        injections with placebo. “Solicited” adverse events were collected
placebo patients (reference 5, appendix table S8). The treatment
                                                                     7 days after immunization and “unsolicited” severe adverse
group had 11 cases of symptomatic COVID-19 infections and 0
                                                                     events were reported up to 14 weeks after administration of the
cases severe COVID-19 infections (reference 5, appendix table
                                                                     second dose. However, median safety follow up for “unsolicited”
S13). There were 234 cases of severe “unsolicited” adverse events
in the treatment group (reference 5, appendix table S8), and an      events was only approximately 2 months after the second dose at
additional 3,751 “solicited” severe or life threatening (Grade 3     the time of publication in the NEJM. In the treatment arm there
or Grade 4) adverse events (reference 5, appendix table S3 and       was 1 case of severe Covid-19 (reference 6, appendix table S5),
S4). By contrast, the control group had 185 cases of symptomatic     240 “unsolicited” severe adverse events and 21 “unsolicited”
COVID-19 infections and 30 cases of severe COVID-19                  life threatening adverse events (reference 6, appendix table S3).
infections. However, only one of these case of COVID-19 out          In the placebo arm, there were 9 cases of severe COVID-19,
of 15,166 controls required admission to an intensive care unit      139 “unsolicited” severe adverse events and 24 “unsolicited”
(see reference 5, appendix table S13). There were 202 cases of       life threatening adverse events. Pfizer used a safety subset of
severe “unsolicited” adverse events in the placebo group and an      approximately 8,183 (both vaccinated and unvaccinated) to record
additional 711 “solicited” severe or life threatening (Grade 3 or    “solicited” adverse events at 7 days. These data that are not shown
Grade 4) adverse events. There were 3 deaths in the placebo group    in Table 1 in part because the data was depicted graphically in the
and 2 in the vaccinated group (reference 5, appendix table S8).      NEJM manuscript. However, graphical data in the NEJM strongly

Table 1: All Cause Severe Morbidity
                                                Moderna                     Control                        Difference        P value
Randomized                                       15,210                     15,210
Days of Safety Follow Up                            56                        56
# Severe COVID-19 Cases                              0                        30
# Unsolicited Severe Adverse Events                234                       202
# Solicited Grade 3 AE, Shot 1                     848                       361
# Solicited Grade 4 AE, Shot 1                       5                         6
# Solicited Grade 3 AE, Shot 2                    2884                       341
# Solicited Grade 4 AE, Shot 2                      14                         3
# Total Severe Events                             3985                       943                             3042           p=0.00001
#Deaths                                              2                         3
                                                 Pfizer                     Control                        Difference        P value
Randomized                                       21,720                     21,728
Days of Safety Follow Up                            81                        81
# Severe COVID-19 Cases                              1                         9
# Unsolicited Severe Adverse Events                240                       139
# Unsolicited Life Threatening Adverse Events       21                        24
# Total Severe Events                              262                       172                              90           p=0.000014
#Deaths                                              2                         4
                                                 Jansen     Jansen          Control         Control        Difference        P value
Randomized                                       19,630                     19,691
Safety Subset                                                3,356                           3,386
Days of Safety Follow Up                          28                          28
# Severe COVID-19 Cases                           21                          78
# Solicited Grade 3 Adverse Events
Local (extrapolated)                              135         23               35              6
Systemic (extrapolated)                           357         61              122             21
# Unsolicited Grade 3-4 Adverse Events             83                          96
# Total Severe Events                             595                         331                             264           p=0.00001
# Deaths                                            3                          16

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indicates the vaccinated group has more “solicited” adverse events       Review of data from the three COVID-19 vaccines marketed in the
of all grade levels than the control group.                              US shows complete lack of a health benefit and even an increase
                                                                         in severe events among vaccine recipients. The proper scientific
Janssen                                                                  clinical trial endpoint, “all cause severe morbidity” was created by
The Janssen pivotal Phase III trial design and trial results are         combing all severe and or life threatening events, both infectious
published in the New England Journal of Medicine [4]. The primary        and non-infectious, occurring in the vaccinated and placebo control
endpoint was prevention of molecularly confirmed, moderate               groups respectively. The data (Table 1) shows there are clearly
to severe–critical COVID-19 14 days post vaccination however             more severe events in the vaccinated groups. The results are highly
a secondary endpoint was prevention of molecularly confirmed,            statistically significant. The use of a true scientific measure of
severe–critical COVID-19 14 days post vaccination. This later            health as an endpoint for a vaccine trial gives a contrasting result
endpoint allowed for a direct comparison to severe adverse events.       compared to the use of a non-scientific surrogate endpoint of heath,
The study randomized 19,630 to receive a single injection with           severe infections with COVID-19.
Janssen’s adenovirus COVID-19 vaccine and randomized 19,691
to receive a single injection with placebo. “Solicited” adverse          Clinical trial data show there were actually few very “severe”
events were collected 7 days after immunization and “unsolicited”        cases of COVID-19 in either the vaccinated or the placebo group.
adverse events were reported up to 28 days after administration of       Moderna data shows that only one of 15,166 unvaccinated patients
the single dose of vaccine. The treatment group had 21 cases of          required admission to an intensive care unit for COVID-19.
severe or critical COVID-19 infections while the placebo control         Data provided by Janssen shows that only a few of the “severe”
group had 78 (reference 4, appendix table S9). Further analysis          COVID-19 infections required medical intervention. Table S10 in
shows that only 2 of 19,514 immunized patients needed medical            the appendix published in the New England Journal of Medicine
intervention for COVID-19 infections starting 14 days after              [4] , shows only 2 of 19,514 patients immunized with the Janssen
immunization, while only 8 of 19,544 controls needed medical             vaccine needed medical intervention for severe COVID-19
intervention for COVID-19 infections starting 14 days after placebo      infections starting 14 days after immunization, while only 8 of
injection where the COVID-19 infection was confirmed by a central        19,544 controls needed medical intervention for severe COVID-19
lab (reference 4, appendix table S10). There were 83 “unsolicited”       infections starting 14 days after placebo, where the infection was
and approximately 492 “solicited” serious adverse events in the          confirmed by a central lab. This benefit, reduction in 6 case of
vaccinated group compared to 96 “unsolicited” and approximately          COVID-19 requiring medical intervention, in 19,630 vaccinated
157 “solicited” serious adverse events in the control group (reference   patients is simply statistically insignificant in a population that
4, appendix table S7). There were 3 deaths in the treatment group and    has a hundred fold more severe events of any cause. The Janssen
16 in the control group (reference 4, appendix table S7).                vaccinated group had 595 severe Grade 3 or 4 events in the first
                                                                         28 days post immunization. Science thus does not support a health
Janssen did not collect “solicited” adverse events from the whole        benefit with COVID-19 vaccines. All arguments for immunization
group at day 7 but instead collected these adverse events from           are purely philosophical and based on false, discredited,
a safety group comprising 3,356 vaccinated and 3,380 control             assumptions.
patients. FDA briefing document Table 23, page 39 [7] provided
the number of “solicited” Grade 3 adverse events in each group.          Reductions in infection rates, hospitalization rates and even death
These figures as well as the number of patients randomized were          with COVID-19 are poor surrogate markers for health and are not
used to extrapolate the number of solicited severe adverse events        proper primary endpoints for a vaccine clinical trial. As discussed
in the full vaccinated and placebo group as recorded in Table 1.         earlier with cancer treatments, a trial endpoint showing reduced
                                                                         cancer deaths is not equivalent to enhanced survival. One could apply
Discussion                                                               enough radiation (or cytotoxic chemotherapy) to cancer patients
Scientific analysis of the data from pivotal clinical trials for US      to kill all their cancer cells and prevent cancer deaths but these
COVID-19 vaccines indicates the vaccines fail to show any health         cancer patients would die of radiation sickness (or chemotherapy
benefit and in fact, all the vaccines cause a decline in health in the   induced organ failure) faster than if they died naturally of cancer.
immunized groups. Health is the sum of all medical events or lack        In the same manner, reducing severe COVID-19 infections does
there of. COVID-19 vaccines are promoted as improving health             not equate to enhanced survival especially when the vaccine can
while in fact there is no evidence that these vaccines actual improve    cause clotting, heart disease and many other severe adverse events.
health in the individual or population as a whole. The current           Potential vaccine recipients need to know if the vaccine improves
analysis used the proper scientific endpoint of “all cause severe        their survival in order for them to make an informed consent to
morbidity”, a true measure of health. By contrast, manufactures          be immunized. Unfortunately, the current studies with COVID-19
and government officials promote the vaccines using a surrogate          vaccines in fact show they cause a decline in health.
measure of health, severe infections with COVID-19, and the
disproved philosophical argument that this surrogate endpoint            The actual health decline caused by the vaccines is probably much
equates to health. This substitution of philosophy for science is        worse than what is depicted in Table 1 for many reasons. First
extremely dangerous and is certainly leading to a catastrophic           manufactures took a haphazardly approach to recording adverse
public health event.                                                     events in contrast to recording a reduction in COVID-19 events. At
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the time of publication, patients were only followed prospectively         COVID-19 vaccines. A booster may provide a small incremental
for approximately 7 days after immunization for “solicited” adverse        benefit in preventing severe COVID-19 infections however, the
events, and then relied on “unsolicited” reports of adverse events         boosters are likely to cause many more severe adverse events.
for approximately 30-60 days after immunization. Serious non-              Looking at the data on secondary injections with the Moderna
infectious events occurring after this 30-60 day period were not           vaccine (Table 1) there are approximately 3 times as many Grade
part of the published data. By contrast, infections with COVID-19          3 or 4 adverse events after the second dose than after the first dose.
were followed indefinitely since the time of immunization. Both            However, this is not the case following the second dose of placebo
Janssen and Pfizer were specifically lax recording adverse events          in the Moderna placebo group. The net is that adding a booster
and only recorded “solicited” adverse events at day 7 in a safety          shot is highly unlikely to induce a favorable health benefit that was
cohort representing less than 20% of the study population. Given           missing with the first series of immunization.
that some of the vaccine clinical trials recruited patients in the third
world, patients with low education, and potentially even elderly           Government officials are promoting COVID-19 vaccines as a way
with dementia the patients can not be expected to understand when
                                                                           to stop the epidemic. There is however no scientific data that the
they may be having an serious event that needs reporting or how
                                                                           COVID-19 vaccines can improve the health of the population. In
to report it. For these and others reason only 5% of adverse events
                                                                           fact, the data from the clinical trials seems to point in the opposite
are generally ever reported [8].
                                                                           direction. Given that the population is the sum of the individuals,
COVID-19 vaccines were released for marketing under a EUA.                 and the vaccines cause a decline in health in the individuals, then
Use of such a protocol should be reserved for outbreaks of                 mass immunization is likely to erode the health of the general
life threatening epidemics. If this were, actually the case with           population, not improve it. Immunization may even cause a
COVID-19 then reduction in “all cause mortality” should be                 selection bias for new variants. Finally, if the COVID-19 outbreak
the primary outcome for the vaccine trials and “all cause severe           is the result of a bioweapons attack and vaccine resistant variants
morbidity” should be the secondary endpoint. However, the                  represent the release of different prototypes then immunization is
manufacturers show no evidence of a survival benefit. Deaths in            almost certain to fail [10].
the trials were extremely rare and of 30 deaths, out of roughly
110,000 trial participants, only about 6 deaths were confirmed to          There is an old saying, fool me once shame on you, fool me twice
have COVID-19 at the time of death. Regrettably, the vaccines              shame on me. This saying can be applied to the COVID-19 mass
did not reduce morbidity but caused an increase in severe events.          immunization program. The US anthrax attack of 2001, which
Worse, the pivotal clinical trials were never designed to show a           originated at US army is Fort Detrick, has demonstrated that there
benefit in “all-cause mortality” or reduction “in all cause severe         are people in the US government who desire to attack US citizens
morbidity”. The fact that the trials were never designed to show
                                                                           with bioweapons [10]. According to the chief FBI agent leading
these health benefits is an admission that those developing the
                                                                           the investigation of the US anthrax attack, conspirators were likely
vaccines never expected the vaccines to result in measurable health
benefits. Regrettably some manufacturers have published the false          not apprehended in part because the investigation was prematurely
claim [6] that the vaccine have been proven to be “effective” and          ended and prior to stopping the investigation, people at the top
that its now “unethical” to withhold immunization from the control         of the FBI deliberately tried to sabotage the investigation [11]. In
group. They advocate abolishing the control group by immunizing            the US anthrax attack of 2001, people high in the US government
them. This unscientific act only further proves the pharmaceutical         publicly anticipated the anthrax attack as early as 1999 [10].
industry is unaccountable to any one and does not feel the need to         Similarly with the COVID-19 attack, people high in government
adhere to principles of science, ethics, or public health.                 anticipated the COVID-19 attack [12,13] several years before
                                                                           the attack took place [10]. There is even data that an effort was
The COVID-19 vaccine pivotal clinical trials were of very short            made in 2018 to protect certain populations against COVID-19 by
duration and the question exists whether longer-term follow up             immunizing them with MMR vaccine [14].
will reverse the vaccine induced health decline and show a health
benefit. The question is purely philosophical. Some manufactures           In such a hostile government environment, the citizens need to
have already threatened to destroy the randomization by immunizing         individually evaluate the science of immunization with COVID-19
the control group, as stated above, making further scientific study
                                                                           vaccines and not rely on philosophical arguments propagated by
impossible. While it is possible that the vaccines will continue
                                                                           government officials. In this case there is no scientific evidence
to prevent severe infectious disease long after the immunization,
                                                                           that the COVID-19 vaccines improve the health of the individual,
the reality is that immunity wanes with time and vaccine resistant
variants keep developing. Another issue is that severe adverse             much less of the population as a whole. Mass immunization with
events will continue to occur over time. Given evidence of prion           COVID-19 vaccines is certainly leading to a catastrophic public
genic activity by both established pathophysiology [2], animal             health event.
toxicity data [9] and epidemiology data [3] one can expect an
increase in adverse events in the vaccinated group for decades.            References
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                 EXHIBIT 5
              Sigaloff Affidavit
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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


   DANIEL ROBERT                          *
   SSGT, U.S. ARMY                        *
                                          *
   HOLLI MULVIHILL                        *
   SSGT, USMC                             *
                                          *
          Plaintiffs,                     *
                                          *
                  v.                      *
                                          *    Civil Action No. 21-02228
   LLOYD AUSTIN                           *
   Secretary of Defense,                  *
   U.S. DEPARTMENT OF DEFENSE             *
   Washington, D.C. 20301                 *
                                          *
          and                             *
                                          *
   XAVIER BECERRA                         *
   Secretary of the U.S. Department of    *
   Health and Human Services              *
   U.S. DEPARTMENT OF HEALTH              *
   AND HUMAN SERVICES                     *
                                          *
          and                             *
                                          *
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   JANET WOODCOCK, Acting                        *
   Commissioner of the Food & Drug               *
   Administration                                *
   U.S. FOOD AND                                 *
   DRUG ADMINISTRATION                           *
                                                 *
   UNITED STATES OF AMERICA                      *
                                                 *
          Defendants.                            *
   *      *       *       *        *     *       *       *      *       *       *       *      *
                          MOTION FOR PRELIMINARY INJUNCTION

        AFFIDAVIT OF DR. SAMUEL SIGOLOFF IN SUPPORT OF PRELIMINARY
                            INJUNCTION MOTION

   I, Samuel N. Sigoloff, Doctor of Osteopathy, being duly sworn, depose and state as follows:
   1. I make this affidavit in support of the above referenced MOTION as expert
   testimony in support thereof.


   2. The expert opinions expressed here are my own and arrived at from my persons, professional
   and educational experiences taken in context, where appropriate, by scientific data, publications,
   treatises, opinions, documents, reports and other information relevant to the subject matter.


   Experience & Credentials
   3. I am competent to testify to the facts and matters set forth herein. A true and accurate copy of
   my curriculum vitae is attached hereto as Exhibit A.


   4. After receiving a bachelor’s degree from Saint Mary’s University in San Antonio Texas in
   2007, I completed a medical degree from Heritage College of Osteopathic Medicine in Athens,
   Ohio in 2012. I went on to complete a Family Medicine Residency at Martin Army Community
   Hospital at Fort Benning, Georgia in June 2015.
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   5. I have been board certified in Family Medicine since July, 2015.


   6. I am currently serving as the Medical Director for Raymond W. Bliss Army Health Clinic at
   Fort Huachuca, Arizona. I am responsible for supervising Physician’s Assistant and Nurse
   Practitioners and Physicians. I have held this position since August of 2021. I have held this
   similar position previously at Fort Sill, Oklahoma from 2016-2017 and at Camp Buehring
   Kuwait from 2017-2018.


   7. Since before the declaration of this pandemic, which was declared by the WHO on March 11,
   2020, I have been watching and studying any and all resources available so that I would be
   useful to my unit/community at Fort Wainwright, AK. Due to my initial concerns with SARS-
   CoV2 (COVID-19) and significant amount of reading that I completed about pandemics (historic
   references of what was done in 1918, SARS and MERS), and because I felt I had the most
   optimum health when compared to my peers, I felt it a duty to volunteer to work the 'covid clinic'
   at the hospital. I also wanted to reduce possible exposure by limiting the number of clinicians
   that would work in the ‘covid clinic.’ I was the only physician that volunteered for this role and
   there were no other clinicians requesting to share the work load.


   8. As the clinician in charge of the 'covid clinic' I helped the nursing staff establish and improve
   procedures for safe handling of patient samples, which at that time it was thought to be a definite
   death sentence if contracted by anyone. Other hardships during this time included below 0
   temperatures in the mornings (Ft Wainwright, AK). I was given very strict and narrow
   guidelines on when to test patients for SARS-CoV2. I believed it important to be liberal with
   testing prior to a clear outbreak in our community that way we can determine as early as possible
   when it has entered our community. My superiors did support my ideas and I was very liberal
   with testing. After 1-1/2 months I was moved back into the hospital, during that time not a
   single positive test had been resulted. This information is for a more clear understanding of how
   vested I am in this topic.


   9. Given that these SARS-CoV2 preventative therapies were both Investigational New Drugs and
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   Emergency Use Authorization for biologics. I have spent a considerable amount of time to
   understand potential risks, hazards and dangers that these Investigational New Drug and
   biologics may have on the health, safety and operational readiness of patients and service
   members in my care.


   10. As part of my investigation to determine if the only FDA approved biologic, Comirnaty,
   would be safe for service members and other patients, one must look at the ingredient list which
   is provided by the package insert (Exhibit B). The first 3 ingredients of Comirnaty are:
          1. ((4-hydroxybutyl)azanediyl)bis(hexane-6,1-diyl)bis(2-hexyldecanoate) (alternative
   names ALC-0315, CAS No. 2036272-55-4)


          2. 2-(polyethylene glycol 2000)-N,N-ditetradecylacetamide (Alternative names ALC-
   0159, CAS No. 1849616-42-7)


          3. 1,2-distearoyl-sn-glycero-3-phosphocholine (Alternative name DSPC)
   11. On August 24, 2021 the Secretary of Defense, Lloyd J. Austin III, issued guidance for
   mandatory Coronavirus Disease 2019 Vaccination of Department of Defense Service Members
   (Exhibit C).


   12. The above listed chemicals are lipid-nanoparticles and the DoDI 6050.05 (DoD Hazard
   Communication Program) will apply for safe handling. The DoDI 6050.05 (Exhibit D) states:
          1. Paragraph 3.2.2 – an inventory of all engineered nanomaterials in the work place in
   accordance with paragraph 3.2.c
          2. Paragraph 3.2.c – All DoD workplaces, or DoD-manufactured materials where
   engineered nanomaterials are used, should include engineered nanomaterials that are not
   incorporated into articles or otherwise excluded from Part 1910.1200 of Title 29, CFR into their
   written HAZCOM plans when there is knowledge of the presence of such engineered
   nanomaterials.
          3. Paragraph 3.4.b.1 – Copies of the appropriate SDS will be: (1) Readily accessible
   before hazardous chemicals are used and accessible at all times thereafter.
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          4. Paragraph 3.4.d.2 – Rejects incomplete hazardous material information that does not
   comply with the requirements of Part 1910.1200 of Title 29, CFR. Laboratory verification of
   technical elements is not required. DoD Components will return incomplete or inadequate SDSs
   and labels to the supplier for correction. The contracting officer or buyer must consult with the
   manufacturer or distributer for resolution of SDS discrepancies.
          5. Paragraph G.2 DEFINITIONS: engineered nanomaterials. Discrete materials having
   structures with at least one dimension between 1 and 100 nanometers that are intentionally
   created, as opposed to those that are naturally or incidentally formed. They do not include larger
   materials that may have nanoscale features (e.g., etched silicon wafers), biomolecules (e.g.,
   proteins, nucleic acids, carbohydrates), and materials with occupational exposure limits that
   address nanoparticles for that substance.
   13. DoDI 6050.05 (DoD Hazard Communication Program) for safe handling references
   “Approaches to Safe Nanotechnology, Managing the Health and Safety Concerns Associated
   with Engineered Nanomaterials.” March 2009 (Exhibit E).


   Opinion
   14. I have reviewed the Motion for Temporary Restraining Order which discusses the issue of
   prior immunity benefits outweighing the risks of using experimental genetic therapy Covid 19
   Vaccines, together with proposed exhibits and materials cited therein. My opinion on this subject
   matter, I am drawing my own conclusions as an Army Physician and Medical Director of a
   Troop Medical Facility. I understand that I am willingly taking on enormous risk to my personal
   carrier as a physician, however it is balanced with the risk of potentially not stopping the
   intentional poisoning of our entire fighting force, as directed by the current Secretary of Defense
   Lloyd J. Austin III.


   15. The first ingredient in the FDA approved Comirnaty biologic: ((4
   hydroxybutyl)azanediyl)bis(hexane-6,1-diyl)bis(2-hexyldecanoate) (alternative names ALC-
   0315, CAS No. 2036272-55-4)
          1. Two separate material safety data sheets (MSDS) both say that is for research use only
          and not for human use. (See Exhibit F and G)
          2. SDS by ChemScene dated 23MAR2021 states that:
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                 -Acute toxicity - Classified based on available data
                 -Skin corrosion/irritation – Classified based on available data
                 -Serious eye damage/irritation – Classified based on available data
                 -Respiratory or skin sensitization – Classified based on available data
                 -Germ cell mutagenicity – Classified based on available data
                 -Reproductive toxicity – Classified based on available data
                 -Specific target organ toxicity - single exposure – Classified based on available
          data
                 -Specific target organ toxicity - repeated exposure – Classified based on available
          data
                 -Aspiration hazard – Classified based on available data
                 -Additional information – This information is based on our current knowledge.
          However the chemical, physical, and toxicological properties have not been completely
          investigated.
                 -The product is for research use only and for experienced personnel. It must only
          be handled by suitably qualified experienced scientists in appropriately equipped and
          authorized facilities. The burden of safe use of this material rests entirely with the user.
                 -Caution: Product has not been fully validated for medical applications. For
          research use only.
   16. The second ingredient in the FDA approved Comirnaty biologic: 2-(polyethylene glycol
   2000)-N,N-ditetradecylacetamide (Alternative names ALC-0159, CAS No. 1849616-42-7)
          1. Two spate material safety data sheets (MSDS) both say that is for research use only
          and not for human use. (See Exhibit H and I)
          2. SDS by MCE MedChemExpress dated 31JUL2021 states that:
                 -Acute toxicity - Classified based on available data
                 -Skin corrosion/irritation – Classified based on available data
                 -Serious eye damage/irritation – Classified based on available data
                 -Respiratory or skin sensitization – Classified based on available data
                 -Germ cell mutagenicity – Classified based on available data
                 -Reproductive toxicity – Classified based on available data
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                  -Specific target organ toxicity - single exposure – Classified based on available
          data
                  -Specific target organ toxicity - repeated exposure – Classified based on available
          data
                  -Aspiration hazard – Classified based on available data
                  -Additional information – This information is based on our current knowledge.
          However the chemical, physical, and toxicological properties have not been completely
          investigated.
                  -The product is for research use only and for experienced personnel. It must only
          be handled by suitably qualified experienced scientists in appropriately equipped and
          authorized facilities. The burden of safe use of this material rests entirely with the user.
          MedChemExpress disclaims all liability for any damage resulting from handling or from
          contact with this product.
                  -Caution: Product has not been fully validated for medical applications. For
          research use only.




   17. The third ingredient in the FDA approved Comirnaty biologic: 1,2-distearoyl-sn-glycero-3-
   phosphocholine (Alternative name DSPC, see Exhibit J)
          1. The material safety data sheet (MSDS) states:
          Relevant identified uses: For research use only, not for human or veterinary use.


   18. It is my opinion that the above stated chemicals listed on the package insert for Comirnaty
   render this product NOT safe to inject into service members nor any humans nor animals.


   19. The Secretary of Defense, Lloyd J. Austin III, is in volition of DoDI 6050.05 (DoD Hazard
   Communication Program) and is choosing to willfully expose the entire United States
   Department of Defense to chemicals that are not approved for medical use and to a chemical that
   is not even approved for veterinary use, which may put the ability to defend this country from or
   foreign or domestic adversaries, in great peril.
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   20. I am competent to opine on the medical readiness aspects of these allegations based upon my
   above-referenced education and professional medical, and military experience and the basis of
   my opinions are formed as a result of my education, practice, training and experience.


   21. As a Doctor of Osteopathy and Board Certified Family Medicine physician I am committed
   ‘To Conserve Fighting Strength,’ and as a Commissioned Officer in the US Army, I confirm and
   attest to the accuracy and truthfulness of my foregoing statements, analysis and attachments or
   references hereto:


   _______________/S/___________________
   MAJ Samuel N. Sigoloff, DO FM
   State of Arizona              §
                                 §
   County of Cochise             §

   The undersigned, being duly sworn, deposes and says:
   I, Major Samuel N Sigoloff, DO, declare under the penalty of perjury of the laws of the
   United States of America, and state upon personal knowledge that:
   I am an adult of sound mind, 36 years old, and declare that the information herein is true, correct
   and complete and that I have voluntarily affirmed this affidavit based upon my own personal
   knowledge, education, and experience, and under the penalty of perjury of the laws of the United
   States of America.


   SUBSCRIBED AND SWORN TO BEFORE ME on the 21st day of _September 22, 2021,
   to certify which witness my hand and official seal.
   Notary Public for the State of Arizona



   My Commission Expires:
   ___Jonathan Smith_________                           Expires: June 10, 2024
   Notary Public
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                   EXHIBIT 5
                  A Sigoloff CV
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                                            Samuel N. Sigoloff, DO
                                       4290 S. Silva, Sierra Vista, AZ 85650
                                     210-872-1357, Samuel.Sigoloff@1791.com

      Employment
              Raymond W. Bliss Army Health Clinic, Ft Huachuca                                2021-presnt
              Bassett Army Community Hospital, Ft Wainwright, AK                              2018-2021
              Adjunct professor for Basic EMT course with Central Texas College,              2017
                       At Camp Buehring, Kuwait
              Reynolds Army Health Clinic, Ft Sill, OK                                        2015-2018
      Education
              Family Medicine Residency at Martin Army Community Hospital,                    2012-2015
                       Ft Benning, GA
              Ohio University Heritage College of Osteopathic Medicine                        2007-2012
              Saint Mary’s University - San Antonio, Texas                                    2003-2007
                       Bachelor of Arts Degree in Biology and Minor in Military Science
      Licensure and Certification
              American Board of Family Medicine, Diplomate                                    2015-present
                       ABFM ID: 164257
              Medical License, Nebraska                                                       2013-2021
                       License number 1149
              Medical License, Texas                                                          2019-present
                       License number S3747
      Publication
               Adams, J.R & Layton, M.C. & Sigoloff, S.N.. (2015). “Folliculitis”. In F. Domino (Ed.), The 5-
      Minute Clinical Consult Standard 2016. Philadelphia, PA: Wolters Kulwer.
      Leadership
              Medical Director, Raymond W. Bliss Army Health Clinic, Ft Huachuca              2021-present
              Medical Director, Camp Buehring, Kuwait                                         2017-2018
              Chief of Patient Centered Medical Home, Ft Sill OK                              2016-2017
              Clinical Pharm D OIC, Ft Sill OK                                                2015-2016
              Association of Military Osteopathic Physicians and Surgeons (AMOPS)             2008-2010
                       Ohio University Heritage College of Medicine Chapter President
              Medical Students for Life OMSI Liaison                                          2007-2008
              College Cadet Battalion Training Officer for ROTC                               2007
              College Cadet Battalion Commander for Reserve Officer Training Corps            2006
                       ROTC Saint Mary’s University
              College Cadet Sergeant Major for ROTC                                           2005
              College Ranger Challenge Team Captain                                           2005
              Eagle Scout Project                                                             2002
      Community Service
              Men’s Health Fair, Camp Buehring, Kuwait                                        2017
              TCCC training of swat team in La Grange GA                                      2015
              Shaw High School physical, Columbus GA                                          2015
              Health Fair, Ft Benning GA                                                      2014
              EFMP Olympics, Ft Benning GA                                                    2014
              Shaw High school physical, Columbus GA                                          2013
              No smoking campaign at Faith Middle School, Ft Benning GA                       2012
      Military Training
              Joint Forces Combat Trauma Management Course                                    2017
              Basic Airborne Course, Class 21-14                                              2014
              Combat Casualty Care Course                                                     2012
              Medical Corps Officer Basic Course                                              2008
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                      EXHIBIT 5
                      B Comirnaty
                      Pkg. Insert
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   Individuals using assistive technology may not be able to fully access the information contained
   in this file. For assistance, please send an e-mail to: ocod@fda.hhs.gov and include 508
   Accommodation and the title of the document in the subject line of your e-mail.
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HIGHLIGHTS OF PRESCRIBING INFORMATION                                                       ----------------------- WARNINGS AND PRECAUTIONS -----------------------
These highlights do not include all the information needed to use                           •      Postmarketing data demonstrate increased risks of myocarditis and
COMIRNATY safely and effectively. See full prescribing information for                             pericarditis, particularly within 7 days following the second dose. (5.2)
COMIRNATY.                                                                                  •      Syncope (fainting) may occur in association with administration of
                                                                                                   injectable vaccines, including COMIRNATY. Procedures should be in
COMIRNATY® (COVID-19 Vaccine, mRNA) suspension for injection,                                      place to avoid injury from fainting. (5.4)
for intramuscular use
Initial U.S. Approval: 2021                                                                 ------------------------------ ADVERSE REACTIONS ------------------------------
                                                                                            •      In clinical studies of participants 16 through 55 years of age, the most
--------------------------- INDICATIONS AND USAGE ----------------------------                     commonly reported adverse reactions (≥10%) were pain at the injection
COMIRNATY is a vaccine indicated for active immunization to prevent                                site (88.6%), fatigue (70.1%), headache (64.9%), muscle pain (45.5%),
coronavirus disease 2019 (COVID-19) caused by severe acute respiratory                             chills (41.5%), joint pain (27.5%), fever (17.8%), and injection site
syndrome coronavirus 2 (SARS-CoV-2) in individuals 16 years of age and                             swelling (10.6%). (6.1)
older. (1)                                                                                  •      In clinical studies of participants 56 years of age and older, the most
                                                                                                   commonly reported adverse reactions (≥10%) were pain at the injection
----------------------- DOSAGE AND ADMINISTRATION -----------------------                          site (78.2%), fatigue (56.9%), headache, (45.9%), muscle pain (32.5%),
•     For intramuscular injection only. (2.2)                                                      chills (24.8%), joint pain (21.5%), injection site swelling (11.8%), fever
•     COMIRNATY is administered intramuscularly as a series of 2 doses                             (11.5%), and injection site redness (10.4%). (6.1)
      (0.3 mL each) 3 weeks apart. (2.3)
                                                                                            To report SUSPECTED ADVERSE REACTIONS, contact Pfizer Inc. at
--------------------- DOSAGE FORMS AND STRENGTHS ----------------------                     1-800-438-1985 or VAERS at 1-800-822-7967 or http://vaers.hhs.gov.
Suspension for injection. After preparation, a single dose is 0.3 mL. (3)
                                                                                            See 17 for PATIENT COUNSELING INFORMATION.
------------------------------ CONTRAINDICATIONS ------------------------------
Known history of a severe allergic reaction (e.g., anaphylaxis) to any                                                                                     Revised: 8/2021
component of COMIRNATY. (4)



FULL PRESCRIBING INFORMATION: CONTENTS*

1   INDICATIONS AND USAGE                                                         8    USE IN SPECIFIC POPULATIONS
2   DOSAGE AND ADMINISTRATION                                                          8.1  Pregnancy
    2.1  Preparation for Administration                                                8.2  Lactation
    2.2  Administration Information                                                    8.4  Pediatric Use
    2.3  Vaccination Schedule                                                          8.5  Geriatric Use
3   DOSAGE FORMS AND STRENGTHS                                                    11   DESCRIPTION
4   CONTRAINDICATIONS                                                             12   CLINICAL PHARMACOLOGY
5   WARNINGS AND PRECAUTIONS                                                           12.1 Mechanism of Action
    5.1  Management of Acute Allergic Reactions                                   13   NONCLINICAL TOXICOLOGY
    5.2  Myocarditis and Pericarditis                                                  13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
    5.3  Syncope                                                                  14   CLINICAL STUDIES
    5.4  Altered Immunocompetence                                                 16   HOW SUPPLIED/STORAGE AND HANDLING
    5.5  Limitation of Effectiveness                                              17   PATIENT COUNSELING INFORMATION
6   ADVERSE REACTIONS
    6.1  Clinical Trials Experience                                               * Sections or subsections omitted from the full prescribing information are
    6.2  Postmarketing Experience                                                 not listed.




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FULL PRESCRIBING INFORMATION

1     INDICATIONS AND USAGE

COMIRNATY is a vaccine indicated for active immunization to prevent coronavirus disease 2019 (COVID-19)
caused by severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2) in individuals 16 years of age and
older.

2     DOSAGE AND ADMINISTRATION

For intramuscular injection only.

2.1       Preparation for Administration

Prior to Dilution

      •    COMIRNATY Multiple Dose Vial contains a volume of 0.45 mL, supplied as a frozen suspension that
           does not contain preservative. Each vial must be thawed and diluted prior to administration.
      •    Vials may be thawed in the refrigerator [2ºC to 8ºC (35ºF to 46ºF)] or at room temperature [up to 25ºC
           (77ºF)] [see How Supplied/Storage and Handling (16)].
      •    Refer to thawing instructions in the panels below.

Dilution

      •    Dilute the vial contents using 1.8 mL of sterile 0.9% Sodium Chloride Injection, USP to form
           COMIRNATY. Do not add more than 1.8 mL of diluent.
      •    ONLY use sterile 0.9% Sodium Chloride Injection, USP as the diluent. Do not use bacteriostatic 0.9%
           Sodium Chloride Injection or any other diluent.
      •    Vials of sterile 0.9% Sodium Chloride Injection, USP are provided but shipped separately. Use the
           provided diluent or another sterile 0.9% Sodium Chloride Injection, USP as the diluent.
              o Provided diluent vials are single-use only; discard after 1.8 mL is withdrawn.
              o If another sterile 0.9% Sodium Chloride Injection, USP is used as the diluent, discard after
                   1.8 mL is withdrawn.
              o Do not dilute more than 1 vial of COMIRNATY using the same diluent vial.
      •    After dilution, 1 vial of COMIRNATY contains 6 doses of 0.3 mL each.
      •    Refer to dilution and dose preparation instructions in the panels below.




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THAWING PRIOR TO DILUTION
                                • Thaw vial(s) of COMIRNATY before dilution either
                                  by:
                                  o Allowing vial(s) to thaw in the refrigerator [2ºC
                                      to 8ºC (35ºF to 46ºF)]. A carton of vials may take
                                      up to 3 hours to thaw, and thawed vials can be
                                      stored in the refrigerator for up to 1 month.
                                  o Allowing vial(s) to sit at room temperature [up to
                                      25ºC (77ºF)] for 30 minutes.
                                • Using either thawing method, vials must reach room
                                  temperature before dilution and must be diluted
                                  within 2 hours.



                                •   Before dilution invert vaccine vial gently 10 times.
                                •   Do not shake.
                                •   Inspect the liquid in the vaccine vial prior to
                                    dilution. The liquid is a white to off-white
                                    suspension and may contain white to off-white
                                    opaque amorphous particles.
                                •   Do not use if liquid is discolored or if other particles
                                    are observed.




DILUTION




                                •   ONLY use sterile 0.9% Sodium Chloride Injection,
                                    USP as the diluent.
                                •   Withdraw 1.8 mL of diluent into a transfer syringe
                                    (21-gauge or narrower needle).
                                •   Add 1.8 mL of sterile 0.9% Sodium Chloride
                                    Injection, USP into the vaccine vial.




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                               •   Equalize vial pressure before removing the needle
                                   from the vaccine vial by withdrawing 1.8 mL air
                                   into the empty diluent syringe.




                               •   Gently invert the vial containing COMIRNATY
                                   10 times to mix.
                               •   Do not shake.
                               •   Inspect the vaccine in the vial.
                               •   The vaccine will be an off-white suspension. Do not
                                   use if vaccine is discolored or contains particulate
                                   matter.




                               •   Record the date and time of dilution on the
                                   COMIRNATY vial label.
                               •   Store between 2°C to 25°C (35°F to 77°F).
                               •   Discard any unused vaccine 6 hours after dilution.




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 PREPARATION OF INDIVIDUAL 0.3 mL DOSES OF COMIRNATY




                                              •   Withdraw 0.3 mL of COMIRNATY preferentially
                                                  using low dead-volume syringes and/or needles.
                                              •   Each dose must contain 0.3 mL of vaccine.
                                              •   If the amount of vaccine remaining in a single vial
                                                  cannot provide a full dose of 0.3 mL, discard the
                                                  vial and any excess volume.
                                              •   Administer immediately.




After dilution, vials of COMIRNATY contain 6 doses of 0.3 mL of vaccine. Low dead-volume syringes and/or
needles can be used to extract 6 doses from a single vial. If standard syringes and needles are used, there may
not be sufficient volume to extract a sixth dose from a single vial. Irrespective of the type of syringe and needle,
    • each dose must contain 0.3 mL of vaccine.
    • if the amount of vaccine remaining in the vial cannot provide a full dose of 0.3 mL, discard the vial and
        any excess volume.
    • do not pool excess vaccine from multiple vials.

2.2     Administration Information

Parenteral drug products should be inspected visually for particulate matter and discoloration prior to
administration, whenever solution and container permit. The vaccine will be an off-white suspension. Do not
administer if vaccine is discolored or contains particulate matter.

Administer a single 0.3 mL dose of COMIRNATY intramuscularly.

2.3     Vaccination Schedule

COMIRNATY is administered intramuscularly as a series of 2 doses (0.3 mL each) 3 weeks apart.

There are no data available on the interchangeability of COMIRNATY with other COVID-19 vaccines to complete
the vaccination series. Individuals who have received 1 dose of COMIRNATY should receive a second dose of
COMIRNATY to complete the vaccination series.

3     DOSAGE FORMS AND STRENGTHS

COMIRNATY is a suspension for injection. After preparation, a single dose is 0.3 mL.

4     CONTRAINDICATIONS

Do not administer COMIRNATY to individuals with known history of a severe allergic reaction (e.g.,
anaphylaxis) to any component of the COMIRNATY [see Description (11)].



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5     WARNINGS AND PRECAUTIONS

5.1     Management of Acute Allergic Reactions

Appropriate medical treatment used to manage immediate allergic reactions must be immediately available in
the event an acute anaphylactic reaction occurs following administration of COMIRNATY.

5.2     Myocarditis and Pericarditis

Postmarketing data demonstrate increased risks of myocarditis and pericarditis, particularly within 7 days
following the second dose. The observed risk is higher among males under 40 years of age than among females
and older males. The observed risk is highest in males 12 through 17 years of age. Although some cases
required intensive care support, available data from short-term follow-up suggest that most individuals have had
resolution of symptoms with conservative management. Information is not yet available about potential long-
term sequelae. The CDC has published considerations related to myocarditis and pericarditis after vaccination,
including for vaccination of individuals with a history of myocarditis or pericarditis
(https://www.cdc.gov/vaccines/covid-19/clinical-considerations/myocarditis.html).

5.3     Syncope

Syncope (fainting) may occur in association with administration of injectable vaccines, including
COMIRNATY. Procedures should be in place to avoid injury from fainting.

5.4     Altered Immunocompetence

Immunocompromised persons, including individuals receiving immunosuppressant therapy, may have a
diminished immune response to the COMIRNATY.

5.5     Limitation of Effectiveness

COMIRNATY may not protect all vaccine recipients.

6     ADVERSE REACTIONS

In clinical studies, the most commonly reported (≥10%) adverse reactions in participants 16 through 55 years of
age following any dose were pain at the injection site (88.6%), fatigue (70.1%), headache (64.9%), muscle pain
(45.5%), chills (41.5%), joint pain (27.5%), fever (17.8%), and injection site swelling (10.6%).

In clinical studies, the most commonly reported (≥10%) adverse reactions in participants 56 years of age and
older following any dose were pain at the injection site (78.2%), fatigue (56.9%), headache, (45.9%), muscle
pain (32.5%), chills (24.8%), joint pain (21.5%), injection site swelling (11.8%), fever (11.5%), and injection
site redness (10.4%).

6.1    Clinical Trials Experience

Because clinical trials are conducted under widely varying conditions, adverse reaction rates observed in the
clinical trials of a vaccine cannot be directly compared to rates in the clinical trials of another vaccine and may
not reflect the rates observed in practice.



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The safety of COMIRNATY was evaluated in participants 16 years of age and older in 2 clinical studies
conducted in Germany (Study 1), United States, Argentina, Brazil, Turkey, South Africa, and Germany
(Study 2). Study BNT162-01 (Study 1) was a Phase 2-part, dose-escalation trial that enrolled 60 participants,
18 through 55 years of age and 36 participants, 56 through 85 years of age. Study C4591001 (Study 2) is a
Phase 1/2/3 multicenter, multinational, randomized, saline placebo-controlled, double-blinded (Phase 2/3),
dose-finding, vaccine candidate-selection and efficacy study that has enrolled approximately 44,047 participants
(22,026 COMIRNATY; 22,021 placebo) 16 years of age or older (including 378 and 376 participants
16 through 17 years of age in the vaccine and placebo groups, respectively). Upon issuance of the Emergency
Use Authorization (December 11, 2020) for COMIRNATY, participants were unblinded to offer placebo
participants COMIRNATY. Participants were unblinded in a phased manner over a period of months to offer
placebo participants COMIRNATY. Study 2 also included 200 participants with confirmed stable human
immunodeficiency virus (HIV) infection; HIV-positive participants are included in safety population disposition
but are summarized separately in safety analyses. Confirmed stable HIV infection was defined as documented
viral load <50 copies/mL and CD4 count >200 cells/mm3 within 6 months before enrollment, and on stable
antiretroviral therapy for at least 6 months.

At the time of the analysis of the ongoing Study 2 with a data cut-off of March 13, 2021, there were
25,651 (58.2%) participants (13,031 COMIRNATY and 12,620 placebo) 16 years of age and older followed for
≥4 months after the second dose.

Participants 16 years and older in the reactogenicity subset were monitored for solicited local and systemic
reactions and use of antipyretic medication after each vaccination in an electronic diary. Participants are being
monitored for unsolicited adverse events, including serious adverse events, throughout the study [from Dose 1
through 1 month (all unsolicited adverse events) or 6 months (serious adverse events) after the last vaccination].

Demographic characteristics in Study 2 were generally similar with regard to age, gender, race, and ethnicity
among participants who received COMIRNATY and those who received placebo. Overall, among the total
participants who received either COMIRNATY or placebo, 50.9% were male, 49.1% were female, 79.3% were
16 through 64 years of age, 20.7% were 65 years of age and older, 82.0% were White, 9.6% were Black or
African American, 25.9% were Hispanic/Latino, 4.3% were Asian, and 1.0% were American Indian or Alaska
Native.

Local and Systemic Adverse Reactions Solicited in the Study 2

Table 1 and Table 2 present the frequency and severity of reported solicited local and systemic reactions,
respectively, within 7 days following each dose of COMIRNATY and placebo in the subset of participants
16 through 55 years of age included in the safety population who were monitored for reactogenicity with an
electronic diary.

Table 3 and Table 4 present the frequency and severity of reported solicited local and systemic reactions,
respectively, within 7 days of each dose of COMIRNATY and placebo for participants 56 years of age and
older.

In participants 16 through 55 years of age after receiving Dose 2, the mean duration of pain at the injection site
was 2.5 days (range 1 to 70 days), for redness 2.2 days (range 1 to 9 days), and for swelling 2.1 days (range 1 to
8 days) for participants in the COMIRNATY group. In participants 56 years of age and older after receiving
Dose 2, the mean duration of pain at the injection site was 2.4 days (range 1 to 36 days), for redness 3.0 days
(range 1 to 34 days), and for swelling 2.6 days (range 1 to 34 days) for participants in the COMIRNATY group.



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Table 1: Study 2 – Frequency and Percentages of Participants with Solicited Local Reactions, by
             Maximum Severity, Within 7 Days After Each Dose – Participants 16 Through 55 Years of
             Age – Reactogenicity Subset of the Safety Population*
                              COMIRNATY                Placebo     COMIRNATY             Placebo
                                   Dose 1              Dose 1           Dose 2            Dose 2
                                  N =2899
                                    a
                                                      N =2908
                                                        a
                                                                       N =2682
                                                                         a
                                                                                         Na=2684
                                   n (%)
                                     b
                                                       n (%)
                                                         b
                                                                        n (%)
                                                                          b
                                                                                          nb (%)
 Rednessc
    Any (>2.0 cm)                 156 (5.4)            28 (1.0)        151 (5.6)          18 (0.7)
       Mild                       113 (3.9)            19 (0.7)         90 (3.4)          12 (0.4)
       Moderate                    36 (1.2)             6 (0.2)         50 (1.9)           6 (0.2)
       Severe                       7 (0.2)             3 (0.1)         11 (0.4)              0
           c
 Swelling
    Any (>2.0 cm)                 184 (6.3)            16 (0.6)        183 (6.8)           5 (0.2)
       Mild                       124 (4.3)             6 (0.2)        110 (4.1)           3 (0.1)
       Moderate                    54 (1.9)             8 (0.3)         66 (2.5)           2 (0.1)
       Severe                       6 (0.2)             2 (0.1)          7 (0.3)              0
 Pain at the injection sited
    Any                         2426 (83.7)          414 (14.2)      2101 (78.3)        312 (11.6)
       Mild                     1464 (50.5)          391 (13.4)      1274 (47.5)        284 (10.6)
       Moderate                  923 (31.8)            20 (0.7)       788 (29.4)          28 (1.0)
       Severe                      39 (1.3)             3 (0.1)         39 (1.5)              0
 Notes: Reactions were collected in the electronic diary (e-diary) from Day 1 to Day 7 after vaccination.
 No Grade 4 solicited local reactions were reported in participants 16 through 55 years of age.
 * Randomized participants in the safety analysis population who received at least 1 dose of the study intervention. Participants
    with chronic, stable HIV infection were excluded.
 a. N = Number of participants reporting at least 1 yes or no response for the specified reaction after the specified dose. The N for
    each reaction was the same, therefore, this information was included in the column header.
 b. n = Number of participants with the specified reaction.
 c. Mild: >2.0 to ≤5.0 cm; Moderate: >5.0 to ≤10.0 cm; Severe: >10.0 cm.
 d. Mild: does not interfere with activity; Moderate: interferes with activity; Severe: prevents daily activity.

Table 2: Study 2 – Frequency and Percentages of Participants with Solicited Systemic Reactions, by
          Maximum Severity, Within 7 Days After Each Dose – Participants 16 Through 55 Years of
          Age – Reactogenicity Subset of the Safety Population*
                         COMIRNATY                 Placebo       COMIRNATY               Placebo
                              Dose 1                Dose 1            Dose 2              Dose 2
                             Na=2899               Na=2908           Na=2682             Na=2684
                              nb (%)                nb (%)            nb (%)              nb (%)
 Fever
    ≥38.0℃                   119 (4.1)             25 (0.9)         440 (16.4)           11 (0.4)
    ≥38.0℃ to 38.4℃           86 (3.0)             16 (0.6)          254 (9.5)            5 (0.2)
    >38.4℃ to 38.9℃           25 (0.9)              5 (0.2)          146 (5.4)            4 (0.1)
    >38.9℃ to 40.0℃            8 (0.3)              4 (0.1)           39 (1.5)            2 (0.1)
    >40.0℃                        0                    0               1 (0.0)               0
 Fatiguec
    Any                    1431 (49.4)            960 (33.0)       1649 (61.5)          614 (22.9)
       Mild                 760 (26.2)            570 (19.6)        558 (20.8)          317 (11.8)
       Moderate             630 (21.7)            372 (12.8)        949 (35.4)          283 (10.5)
       Severe                 41 (1.4)             18 (0.6)          142 (5.3)           14 (0.5)


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                                COMIRNATY                       Placebo               COMIRNATY                      Placebo
                                   Dose 1                        Dose 1                  Dose 2                       Dose 2
                                  Na=2899                       Na=2908                 Na=2682                      Na=2684
                                   nb (%)                        nb (%)                  nb (%)                       nb (%)
Headachec
   Any                      1262 (43.5)                        975 (33.5)                1448 (54.0)                652 (24.3)
      Mild                   785 (27.1)                        633 (21.8)                 699 (26.1)                404 (15.1)
      Moderate               444 (15.3)                        318 (10.9)                 658 (24.5)                 230 (8.6)
      Severe                   33 (1.1)                         24 (0.8)                   91 (3.4)                  18 (0.7)
Chillsc
   Any                       479 (16.5)                         199 (6.8)                1015 (37.8)                114 (4.2)
      Mild                   338 (11.7)                         148 (5.1)                 477 (17.8)                89 (3.3)
      Moderate                126 (4.3)                          49 (1.7)                 469 (17.5)                23 (0.9)
      Severe                   15 (0.5)                           2 (0.1)                  69 (2.6)                  2 (0.1)
Vomitingd
   Any                         34 (1.2)                          36 (1.2)                  58 (2.2)                  30 (1.1)
      Mild                     29 (1.0)                          30 (1.0)                  42 (1.6)                  20 (0.7)
      Moderate                  5 (0.2)                           5 (0.2)                  12 (0.4)                  10 (0.4)
      Severe                       0                              1 (0.0)                   4 (0.1)                     0
         e
Diarrhea
   Any                       309 (10.7)                        323 (11.1)                 269 (10.0)                205 (7.6)
      Mild                    251 (8.7)                         264 (9.1)                  219 (8.2)                169 (6.3)
      Moderate                 55 (1.9)                          58 (2.0)                   44 (1.6)                35 (1.3)
      Severe                    3 (0.1)                           1 (0.0)                    6 (0.2)                 1 (0.0)
                             c
New or worsened muscle pain
   Any                       664 (22.9)                        329 (11.3)                1055 (39.3)                237 (8.8)
      Mild                   353 (12.2)                         231 (7.9)                 441 (16.4)                150 (5.6)
      Moderate               296 (10.2)                          96 (3.3)                 552 (20.6)                84 (3.1)
      Severe                   15 (0.5)                           2 (0.1)                  62 (2.3)                  3 (0.1)
                          c
New or worsened joint pain
   Any                       342 (11.8)                         168 (5.8)                 638 (23.8)                147 (5.5)
      Mild                    200 (6.9)                         112 (3.9)                 291 (10.9)                82 (3.1)
      Moderate                137 (4.7)                          55 (1.9)                 320 (11.9)                61 (2.3)
      Severe                    5 (0.2)                           1 (0.0)                  27 (1.0)                  4 (0.1)
Use of antipyretic or
pain medicationf             805 (27.8)                        398 (13.7)                1213 (45.2)                320 (11.9)
Notes: Reactions and use of antipyretic or pain medication were collected in the electronic diary (e-diary) from Day 1 to Day 7 after
each dose.
No Grade 4 solicited systemic reactions were reported in participants 16 through 55 years of age.
* Randomized participants in the safety analysis population who received at least 1 dose of the study intervention. Participants
   with chronic, stable HIV infection were excluded.
a. N = Number of participants reporting at least 1 yes or no response for the specified reaction after the specified dose. The N for
   each reaction or use of antipyretic or pain medication was the same, therefore, this information was included in the column
   header.
b. n = Number of participants with the specified reaction.
c. Mild: does not interfere with activity; Moderate: some interference with activity; Severe: prevents daily activity.
d. Mild: 1 to 2 times in 24 hours; Moderate: >2 times in 24 hours; Severe: requires intravenous hydration.
e. Mild: 2 to 3 loose stools in 24 hours; Moderate: 4 to 5 loose stools in 24 hours; Severe: 6 or more loose stools in 24 hours.
f. Severity was not collected for use of antipyretic or pain medication.




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Table 3: Study 2 – Frequency and Percentages of Participants with Solicited Local Reactions, by
             Maximum Severity, Within 7 Days After Each Dose – Participants 56 Years of Age and
             Older – Reactogenicity Subset of the Safety Population*
                             COMIRNATY                 Placebo       COMIRNATY             Placebo
                                 Dose 1                 Dose 1           Dose 2             Dose 2
                                N =2008
                                  a
                                                       N =1989
                                                         a
                                                                        N =1860
                                                                          a
                                                                                          Na=1833
                                 n (%)
                                   b
                                                        n (%)
                                                          b
                                                                         n (%)
                                                                           b
                                                                                            nb (%)
 Rednessc
    Any (>2.0 cm)               106 (5.3)              20 (1.0)         133 (7.2)          14 (0.8)
       Mild                      71 (3.5)              13 (0.7)          65 (3.5)          10 (0.5)
       Moderate                  30 (1.5)               5 (0.3)          58 (3.1)           3 (0.2)
       Severe                     5 (0.2)               2 (0.1)          10 (0.5)           1 (0.1)
           c
 Swelling
    Any (>2.0 cm)               141 (7.0)              23 (1.2)         145 (7.8)          13 (0.7)
       Mild                      87 (4.3)              11 (0.6)          80 (4.3)           5 (0.3)
       Moderate                  52 (2.6)              12 (0.6)          61 (3.3)           7 (0.4)
       Severe                     2 (0.1)                   0             4 (0.2)           1 (0.1)
 Pain at the injection sited
    Any (>2.0 cm)             1408 (70.1)             185 (9.3)       1230 (66.1)         143 (7.8)
       Mild                   1108 (55.2)             177 (8.9)        873 (46.9)         138 (7.5)
       Moderate                296 (14.7)               8 (0.4)        347 (18.7)           5 (0.3)
       Severe                     4 (0.2)                   0            10 (0.5)              0
 Notes: Reactions were collected in the electronic diary (e-diary) from Day 1 to Day 7 after vaccination.
 No Grade 4 solicited local reactions were reported in participants 56 years of age and older.
 * Randomized participants in the safety analysis population who received at least 1 dose of the study intervention. Participants
    with chronic, stable HIV infection were excluded.
 a. N = Number of participants reporting at least 1 yes or no response for the specified reaction after the specified dose. The N for
    each reaction was the same, therefore, the information was included in the column header.
 b. n = Number of participants with the specified reaction.
 c. Mild: >2.0 to ≤5.0 cm; Moderate: >5.0 to ≤10.0 cm; Severe: >10.0 cm.
 d. Mild: does not interfere with activity; Moderate: interferes with activity; Severe: prevents daily activity.

Table 4: Study 2 – Frequency and Percentages of Participants with Solicited Systemic Reactions, by
         Maximum Severity, Within 7 Days After Each Dose – Participants 56 Years of Age and
         Older – Reactogenicity Subset of the Safety Population*
                          COMIRNATY                Placebo        COMIRNATY              Placebo
                              Dose 1                Dose 1             Dose 2            Dose 2
                             Na=2008               Na=1989            Na=1860           Na=1833
                              nb (%)                nb (%)             nb (%)            nb (%)
 Fever
    ≥38.0℃                    26 (1.3)              8 (0.4)          219 (11.8)           4 (0.2)
    ≥38.0℃ to 38.4℃           23 (1.1)              3 (0.2)           158 (8.5)           2 (0.1)
    >38.4℃ to 38.9℃            2 (0.1)              3 (0.2)            54 (2.9)           1 (0.1)
    >38.9℃ to 40.0℃            1 (0.0)              2 (0.1)             7 (0.4)           1 (0.1)
    >40.0℃                        0                    0                   0                 0




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                                   COMIRNATY                      Placebo              COMIRNATY                     Placebo
                                      Dose 1                       Dose 1                 Dose 2                      Dose 2
                                     Na=2008                      Na=1989                Na=1860                     Na=1833
                                      nb (%)                       nb (%)                 nb (%)                      nb (%)
Fatiguec
   Any                                677 (33.7)                 447 (22.5)                949 (51.0)               306 (16.7)
       Mild                           415 (20.7)                 281 (14.1)                391 (21.0)               183 (10.0)
       Moderate                       259 (12.9)                  163 (8.2)                497 (26.7)                121 (6.6)
       Severe                           3 (0.1)                    3 (0.2)                  60 (3.2)                  2 (0.1)
       Grade 4                             0                          0                      1 (0.1)                     0
Headachec
   Any                                503 (25.0)                 363 (18.3)                733 (39.4)               259 (14.1)
       Mild                           381 (19.0)                 267 (13.4)                464 (24.9)               189 (10.3)
       Moderate                        120 (6.0)                  93 (4.7)                 256 (13.8)                65 (3.5)
       Severe                           2 (0.1)                    3 (0.2)                  13 (0.7)                  5 (0.3)
       c
Chills
   Any                                 130 (6.5)                   69 (3.5)                435 (23.4)                57 (3.1)
       Mild                            102 (5.1)                   49 (2.5)                229 (12.3)                45 (2.5)
       Moderate                         28 (1.4)                   19 (1.0)                 185 (9.9)                12 (0.7)
       Severe                              0                        1 (0.1)                  21 (1.1)                   0
Vomitingd
   Any                                 10 (0.5)                       9 (0.5)               13 (0.7)                  5 (0.3)
       Mild                             9 (0.4)                       9 (0.5)               10 (0.5)                  5 (0.3)
       Moderate                         1 (0.0)                          0                   1 (0.1)                     0
       Severe                              0                             0                   2 (0.1)                     0
Diarrheae
   Any                                 168 (8.4)                  130 (6.5)                 152 (8.2)               102 (5.6)
       Mild                            137 (6.8)                  109 (5.5)                 125 (6.7)                76 (4.1)
       Moderate                         27 (1.3)                   20 (1.0)                  25 (1.3)                22 (1.2)
       Severe                            4 (0.2)                    1 (0.1)                   2 (0.1)                 4 (0.2)
New or worsened muscle painc
   Any                                274 (13.6)                  165 (8.3)                537 (28.9)                99 (5.4)
       Mild                            183 (9.1)                  111 (5.6)                229 (12.3)                65 (3.5)
       Moderate                         90 (4.5)                   51 (2.6)                288 (15.5)                33 (1.8)
       Severe                            1 (0.0)                    3 (0.2)                 20 (1.1)                  1 (0.1)
New or worsened joint painc
   Any                                 175 (8.7)                  124 (6.2)                353 (19.0)                72 (3.9)
       Mild                            119 (5.9)                   78 (3.9)                 183 (9.8)                44 (2.4)
       Moderate                         53 (2.6)                   45 (2.3)                 161 (8.7)                27 (1.5)
       Severe                            3 (0.1)                    1 (0.1)                  9 (0.5)                  1 (0.1)
Use of antipyretic or
pain medicationf                      382 (19.0)                 224 (11.3)                688 (37.0)               170 (9.3)
Notes: Reactions and use of antipyretic or pain medication were collected in the electronic diary (e-diary) from Day 1 to Day 7 after
each dose.
The only Grade 4 solicited systemic reaction reported in participants 56 years of age and older was fatigue.
* Randomized participants in the safety analysis population who received at least 1 dose of the study intervention. Participants
   with chronic, stable HIV infection were excluded.
a. N = Number of participants reporting at least 1 yes or no response for the specified reaction after the specified dose. N for each
   reaction or use of antipyretic or pain medication was the same, therefore was included in the column header.
b. n = Number of participants with the specified reaction.

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                                   COMIRNATY                      Placebo              COMIRNATY                    Placebo
                                      Dose 1                       Dose 1                 Dose 2                     Dose 2
                                     Na=2008                      Na=1989                Na=1860                    Na=1833
                                      nb (%)                       nb (%)                 nb (%)                     nb (%)
 c. Mild: does not interfere with activity; Moderate: some interference with activity; Severe: prevents daily activity; Grade 4
    reactions were defined in the clinical study protocol as emergency room visit or hospitalization for severe fatigue, severe
    headache, severe chills, severe muscle pain, or severe joint pain.
 d. Mild: 1 to 2 times in 24 hours; Moderate: >2 times in 24 hours; Severe: requires intravenous hydration; Grade 4 emergency visit
    or hospitalization for severe vomiting.
 e. Mild: 2 to 3 loose stools in 24 hours; Moderate: 4 to 5 loose stools in 24 hours; Severe: 6 or more loose stools in 24 hours;
    Grade 4: emergency room or hospitalization for severe diarrhea.
 f. Severity was not collected for use of antipyretic or pain medication.

In participants with chronic, stable HIV infection the frequencies of solicited local and systemic adverse
reactions were similar to or lower than those observed for all participants 16 years of age and older.

Unsolicited Adverse Events

Overall, 11,253 (51.1%) participants in the COMIRNATY group and 11,316 (51.4%) participants in the
placebo group had follow-up time between ≥4 months to <6 months after Dose 2 in the blinded
placebo-controlled follow-up period with an additional 1,778 (8.1%) and 1,304 (5.9%) with ≥6 months of
blinded follow-up time in the COMIRNATY and placebo groups, respectively.

A total of 12,006 (54.5%) participants originally randomized to COMIRNATY had ≥6 months total (blinded
and unblinded) follow-up after Dose 2.

In an analysis of all unsolicited adverse events reported following any dose, through 1 month after Dose 2, in
participants 16 years of age and older (N=43,847; 21,926 COMIRNATY group vs. 21,921 placebo group),
those assessed as adverse reactions not already captured by solicited local and systemic reactions were nausea
(274 vs. 87), malaise (130 vs. 22), lymphadenopathy (83 vs. 7), asthenia (76 vs. 25), decreased appetite
(39 vs. 9), hyperhidrosis (31 vs. 9), lethargy (25 vs. 6), and night sweats (17 vs. 3).

In analyses of all unsolicited adverse events in Study 2 from Dose 1 up to the participant unblinding date,
58.2% of study participants had at least 4 months of follow-up after Dose 2. Among participants 16 through
55 years of age who received at least one dose of study vaccine, 12,995 of whom received COMIRNATY and
13,026 of whom received placebo, unsolicited adverse events were reported by 4,396 (33.8%) participants in
the COMIRNATY group and 2,136 (16.4%) participants in the placebo group. In a similar analysis in
participants 56 years of age and older that included 8,931 COMIRNATY recipients and 8,895
placebo recipients, unsolicited adverse events were reported by 2,551 (28.6%) participants in the COMIRNATY
group and 1,432 (16.1%) participants in the placebo group. Among participants with confirmed stable HIV
infection that included 100 COMIRNATY recipients and 100 placebo recipients, unsolicited adverse events
were reported by 29 (29%) participants in the COMIRNATY group and 15 (15%) participants in the placebo
group. The higher frequency of reported unsolicited adverse events among COMIRNATY recipients compared
to placebo recipients was primarily attributed to events that are consistent with adverse reactions solicited
among participants in the reactogenicity subset (Table 3 and Table 4).

Throughout the placebo-controlled safety follow-up period, Bell’s palsy (facial paralysis) was reported by
4 participants in the COMIRNATY group and 2 participants in the placebo group. Onset of facial paralysis was
Day 37 after Dose 1 (participant did not receive Dose 2) and Days 3, 9, and 48 after Dose 2. In the placebo
group the onset of facial paralysis was Day 32 and Day 102. Currently available information is insufficient to
determine a causal relationship with the vaccine. In the analysis of blinded, placebo-controlled follow-up, there

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were no other notable patterns or numerical imbalances between treatment groups for specific categories of
non-serious adverse events (including other neurologic or neuro-inflammatory, and thrombotic events) that
would suggest a causal relationship to COMIRNATY. In the analysis of unblinded follow-up, there were no
notable patterns of specific categories of non-serious adverse events that would suggest a causal relationship to
COMIRNATY.

Serious Adverse Events

In Study 2, among participants 16 through 55 years of age who had received at least 1 dose of vaccine or
placebo (COMIRNATY =12,995; placebo = 13,026), serious adverse events from Dose 1 up to the participant
unblinding date in ongoing follow-up were reported by 103 (0.8%) COMIRNATY recipients and 117 (0.9%)
placebo recipients. In a similar analysis, in participants 56 years of age and older (COMIRNATY = 8,931;
placebo = 8,895), serious adverse events were reported by 165 (1.8%) COMIRNATY recipients and 151 (1.7%)
placebo recipients who received at least 1 dose of COMIRNATY or placebo, respectively. In these analyses,
58.2% of study participants had at least 4 months of follow-up after Dose 2. Among participants with confirmed
stable HIV infection serious adverse events from Dose 1 up to the participant unblinding date in ongoing
follow-up were reported by 2 (2%) COMIRNATY recipients and 2 (2%) placebo recipients.

In the analysis of blinded, placebo-controlled follow-up, there were no notable patterns between treatment
groups for specific categories of serious adverse events (including neurologic, neuro-inflammatory, and
thrombotic events) that would suggest a causal relationship to COMIRNATY. In the analysis of unblinded
follow-up, there were no notable patterns of specific categories of serious adverse events that would suggest a
causal relationship to COMIRNATY.

6.2    Postmarketing Experience

The following adverse reactions have been identified during postmarketing use of COMIRNATY, including
under Emergency Use Authorization. Because these reactions are reported voluntarily from a population of
uncertain size, it is not always possible to reliably estimate their frequency or establish a causal relationship to
vaccine exposure.

Cardiac Disorders: myocarditis, pericarditis
Gastrointestinal Disorders: diarrhea, vomiting
Immune System Disorders: severe allergic reactions, including anaphylaxis, and other hypersensitivity reactions
(e.g., rash, pruritus, urticaria, angioedema)
Musculoskeletal and Connective Tissue Disorders: pain in extremity (arm)

8     USE IN SPECIFIC POPULATIONS

8.1    Pregnancy

There is a pregnancy exposure registry that monitors pregnancy outcomes in women exposed to COMIRNATY
during pregnancy. Women who are vaccinated with COMIRNATY during pregnancy are encouraged to enroll
in the registry by visiting https://mothertobaby.org/ongoing-study/covid19-vaccines/.

Risk Summary

All pregnancies have a risk of birth defect, loss, or other adverse outcomes. In the US general population, the
estimated background risk of major birth defects and miscarriage in clinically recognized pregnancies is 2% to


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4% and 15% to 20%, respectively. Available data on COMIRNATY administered to pregnant women are
insufficient to inform vaccine-associated risks in pregnancy.

A developmental toxicity study has been performed in female rats administered the equivalent of a single
human dose of COMIRNATY on 4 occasions; twice prior to mating and twice during gestation. These studies
revealed no evidence of harm to the fetus due to the vaccine (see Animal Data).

Data

Animal Data

In a developmental toxicity study, 0.06 mL of a vaccine formulation containing the same quantity of
nucleoside-modified messenger ribonucleic acid (mRNA) (30 mcg) and other ingredients included in a single
human dose of COMIRNATY was administered to female rats by the intramuscular route on 4 occasions: 21
and 14 days prior to mating, and on gestation days 9 and 20. No vaccine-related adverse effects on female
fertility, fetal development, or postnatal development were reported in the study.

8.2    Lactation

Risk Summary

It is not known whether COMIRNATY is excreted in human milk. Data are not available to assess the effects of
COMIRNATY on the breastfed infant or on milk production/excretion. The developmental and health benefits
of breastfeeding should be considered along with the mother’s clinical need for COMIRNATY and any
potential adverse effects on the breastfed child from COMIRNATY or from the underlying maternal condition.
For preventive vaccines, the underlying maternal condition is susceptibility to disease prevented by the vaccine.

8.4    Pediatric Use

Safety and effectiveness of COMIRNATY in individuals 16 through 17 years of age is based on safety and
effectiveness data in this age group and in adults [see Adverse Reactions (6) and Clinical Studies (14.1)].

The safety and effectiveness of COMIRNATY in individuals younger than 16 years of age have not been
established.

8.5    Geriatric Use

Of the total number of COMIRNATY recipients in Study 2 as of March 13, 2021 (N = 22,026),
20.7% (n = 4,552) were 65 years of age and older and 4.2% (n = 925) were 75 years of age and older [see
Clinical Studies (14.1)]. No overall differences in safety or effectiveness were observed between these
recipients and younger recipients.

11 DESCRIPTION

COMIRNATY (COVID-19 Vaccine, mRNA) is a sterile suspension for injection for intramuscular use.
COMIRNATY is supplied as a frozen suspension in multiple dose vials; each vial must be diluted with 1.8 mL
of sterile 0.9% Sodium Chloride Injection, USP prior to use to form the vaccine. Each dose of COMIRNATY
contains 30 mcg of a nucleoside-modified messenger RNA (mRNA) encoding the viral spike (S) glycoprotein
of SARS-CoV-2.


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Each 0.3 mL dose of the COMIRNATY also includes the following ingredients: lipids (0.43 mg
((4-hydroxybutyl)azanediyl)bis(hexane-6,1-diyl)bis(2-hexyldecanoate), 0.05 mg 2-(polyethylene
glycol 2000)-N,N-ditetradecylacetamide, 0.09 mg 1,2-distearoyl-sn-glycero-3-phosphocholine, and 0.2 mg
cholesterol), 0.01 mg potassium chloride, 0.01 mg monobasic potassium phosphate, 0.36 mg sodium chloride,
0.07 mg dibasic sodium phosphate dihydrate, and 6 mg sucrose. The diluent (0.9% Sodium Chloride Injection,
USP) contributes an additional 2.16 mg sodium chloride per dose.

COMIRNATY does not contain preservative.

The vial stoppers are not made with natural rubber latex.

12 CLINICAL PHARMACOLOGY

12.1 Mechanism of Action

The nucleoside-modified mRNA in COMIRNATY is formulated in lipid particles, which enable delivery of the
mRNA into host cells to allow expression of the SARS-CoV-2 S antigen. The vaccine elicits an immune
response to the S antigen, which protects against COVID-19.

13 NONCLINICAL TOXICOLOGY

13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility

COMIRNATY has not been evaluated for the potential to cause carcinogenicity, genotoxicity, or impairment of
male fertility. In a developmental toxicity study in rats with COMIRNATY there were no vaccine-related
effects on female fertility [see Use in Specific Populations (8.1)].

14 CLINICAL STUDIES

Efficacy in Participants 16 Years of Age and Older

Study 2 is an ongoing, multicenter, multinational, randomized, placebo-controlled, observer-blind, dose-finding,
vaccine candidate–selection, and efficacy study in participants 12 years of age and older. Randomization was
stratified by age: 12 through 15 years of age, 16 through 55 years of age, or 56 years of age and older, with a
minimum of 40% of participants in the ≥56-year stratum. The study excluded participants who were
immunocompromised and those who had previous clinical or microbiological diagnosis of COVID-19.
Participants with preexisting stable disease, defined as disease not requiring significant change in therapy or
hospitalization for worsening disease during the 6 weeks before enrollment, were included as were participants
with known stable infection with HIV, hepatitis C virus (HCV), or hepatitis B virus (HBV).

In Study 2, based on data accrued through March 13, 2021, approximately 44,000 participants 16 years of age
and older were randomized equally and received 2 doses of COMIRNATY or placebo. Participants are planned
to be followed for up to 24 months, for assessments of safety and efficacy against COVID-19.

Overall, among the total participants who received COMIRNATY or placebo, 51.4% or 50.3% were male and
48.6% or 49.7% were female, 79.1% or 79.2% were 16 through 64 years of age, 20.9% or 20.8% were 65 years
of age and older, 81.9% or 82.1% were White, 9.5% or 9.6% were Black or African American, 1.0% or 0.9%
were American Indian or Alaska Native, 4.4% or 4.3% were Asian, 0.3% or 0.2% Native Hawaiian or other
Pacific Islander, 25.6% or 25.4% were Hispanic/Latino, 73.9% or 74.1% were non-Hispanic/Latino, 0.5% or
0.5% did not report ethnicity, 46.0% or 45.7% had comorbidities [participants who have 1 or more

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comorbidities that increase the risk of severe COVID-19 disease: defined as subjects who had at least one of the
Charlson comorbidity index category or body mass index (BMI) ≥30 kg/m2], respectively. The mean age at
vaccination was 49.8 or 49.7 years and median age was 51.0 or 51.0 in participants who received
COMIRNATY or placebo, respectively.

Efficacy Against COVID-19

The population for the analysis of the protocol pre-specified primary efficacy endpoint included
36,621 participants 12 years of age and older (18,242 in the COMIRNATY group and 18,379 in the placebo
group) who did not have evidence of prior infection with SARS-CoV-2 through 7 days after the second dose.
The population in the protocol pre-specified primary efficacy analysis included all participants 12 years of age
and older who had been enrolled from July 27, 2020, and followed for the development of COVID-19 through
November 14, 2020. Participants 18 through 55 years of age and 56 years of age and older began enrollment
from July 27, 2020, 16 through 17 years of age began enrollment from September 16, 2020, and 12 through
15 years of age began enrollment from October 15, 2020.

For participants without evidence of SARS-CoV-2 infection prior to 7 days after Dose 2, vaccine efficacy
against confirmed COVID-19 occurring at least 7 days after Dose 2 was 95.0% (95% credible interval: 90.3,
97.6), which met the pre-specified success criterion. The case split was 8 COVID-19 cases in the
COMIRNATY group compared to 162 COVID-19 cases in the placebo group.

The population for the updated vaccine efficacy analysis included participants 16 years of age and older who
had been enrolled from July 27, 2020, and followed for the development of COVID-19 during blinded
placebo-controlled follow-up through March 13, 2021, representing up to 6 months of follow-up after Dose 2.
There were 12,796 (60.8%) participants in the COMIRNATY group and 12,449 (58.7%) in the placebo group
followed for ≥4 months after Dose 2 in the blinded placebo-controlled follow-up period.

SARS-CoV-2 variants of concern identified from COVID-19 cases in this study include B.1.1.7 (Alpha) and
B.1.351 (Beta). Representation of identified variants among cases in vaccine versus placebo recipients did not
suggest decreased vaccine effectiveness against these variants.

The updated vaccine efficacy information is presented in Table 5.

Table 5: Vaccine Efficacy – First COVID-19 Occurrence From 7 Days After Dose 2, by Age
            Subgroup – Participants 16 Years of Age and Older Without Evidence of Infection and
            Participants With or Without Evidence of Infection Prior to 7 Days After Dose 2 – Evaluable
            Efficacy (7 Days) Population During the Placebo-Controlled Follow-up Period
       First COVID-19 occurrence from 7 days after Dose 2 in participants without evidence of prior
                                          SARS-CoV-2 infection*
                                     COMIRNATY                      Placebo
                                       Na=19,993                   Na=20,118
                                          Cases                       Cases
                                           n1 b
                                                                       n1b            Vaccine Efficacy %
Subgroup                         Surveillance Time (n2 )
                                                   c   d
                                                            Surveillance Timec (n2d)       (95% CIe)
                                            77                         833                    91.1
All participantsf                     6.092 (19,711)             5.857 (19,741)           (88.8, 93.1)
                                            70                         709                    90.5
 16 through 64 years                  4.859 (15,519)             4.654 (15,515)           (87.9, 92.7)
                                             7                         124                    94.5
 65 years and older                    1.233 (4192)               1.202 (4226)            (88.3, 97.8)

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  First COVID-19 occurrence from 7 days after Dose 2 in participants with or without* evidence of prior
                                        SARS-CoV-2 infection
                                 COMIRNATY                         Placebo
                                    N =21,047
                                      a
                                                                  Na=21,210
                                       Cases                        Cases
                                        n1b
                                                                     n1b            Vaccine Efficacy %
Subgroup                      Surveillance Time (n2 )
                                               c    d
                                                          Surveillance Timec (n2d)        (95% CIe)
                                         81                          854                     90.9
All participants                  6.340 (20,533)                6.110 (20,595)           (88.5, 92.8)
                                         74                          726                     90.2
 16 through 64 years              5.073 (16,218)                4.879 (16,269)           (87.5, 92.4)
                                         7                           128                     94.7
 65 years and older                1.267 (4315)                  1.232 (4326)            (88.7, 97.9)
Note: Confirmed cases were determined by Reverse Transcription-Polymerase Chain Reaction (RT-PCR) and at least 1 symptom
consistent with COVID-19 (symptoms included: fever; new or increased cough; new or increased shortness of breath; chills; new or
increased muscle pain; new loss of taste or smell; sore throat; diarrhea; vomiting).
* Participants who had no evidence of past SARS-CoV-2 infection (i.e., N-binding antibody [serum] negative at Visit 1 and
    SARS-CoV-2 not detected by NAAT [nasal swab] at Visits 1 and 2), and had negative NAAT (nasal swab) at any unscheduled visit
    prior to 7 days after Dose 2 were included in the analysis.
a. N = Number of participants in the specified group.
b. n1 = Number of participants meeting the endpoint definition.
c. Total surveillance time in 1000 person-years for the given endpoint across all participants within each group at risk for the endpoint.
    Time period for COVID-19 case accrual is from 7 days after Dose 2 to the end of the surveillance period.
d. n2 = Number of participants at risk for the endpoint.
e. Two-sided confidence interval (CI) for vaccine efficacy is derived based on the Clopper and Pearson method adjusted to the
    surveillance time.

Subgroup analyses of vaccine efficacy (although limited by small numbers of cases in some subgroups) did not
suggest meaningful differences in efficacy across genders, ethnic groups, geographies, or for participants with
obesity or medical comorbidities associated with high risk of severe COVID-19.

Efficacy Against Severe COVID-19

Efficacy analyses of secondary efficacy endpoints supported benefit of COMIRNATY in preventing severe
COVID-19. Vaccine efficacy against severe COVID-19 is presented only for participants with or without prior
SARS-CoV-2 infection (Table 6) as the COVID-19 case counts in participants without prior SARS-CoV-2
infection were the same as those in participants with or without prior SARS-CoV-2 infection in both the
COMIRNATY and placebo groups.




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Table 6: Vaccine Efficacy – First Severe COVID-19 Occurrence in Participants 16 Years of Age and
           Older With or Without* Prior SARS-CoV-2 Infection Based on Protocol† or Centers for
           Disease Control and Prevention (CDC)‡ Definition From 7 Days After Dose 2 – Evaluable
           Efficacy (7 Days) Population During the Placebo-Controlled Follow-up
                           Vaccine Efficacy – First Severe COVID-19 Occurrence
                                      COMIRNATY                    Placebo
                                            Cases                   Cases
                                             n1 a
                                                                     n1a           Vaccine Efficacy %
                                  Surveillance Time (n2 ) Surveillance Timeb (n2c)
                                                     b   c
                                                                                        (95% CId)
                                               1                      21                   95.3
 7 days after Dose 2d                   6.353 (20,540)          6.237 (20,629)          (70.9, 99.9)
              Vaccine Efficacy – First Severe COVID-19 Occurrence Based on CDC Definition
                                      COMIRNATY                    Placebo
                                            Cases                   Cases
                                             n1a                     n1a           Vaccine Efficacy %
                                  Surveillance Time (n2 ) Surveillance Time (n2 )
                                                     b   c                   b  c
                                                                                        (95% CId)
                                               0                      31                    100
 7 days after Dose 2d
                                        6.345 (20,513)          6.225 (20,593)         (87.6, 100.0)
Note: Confirmed cases were determined by Reverse Transcription-Polymerase Chain Reaction (RT-PCR) and at least 1 symptom
consistent with COVID-19 (symptoms included: fever; new or increased cough; new or increased shortness of breath; chills; new or
increased muscle pain; new loss of taste or smell; sore throat; diarrhea; vomiting).
* Participants who had no evidence of past SARS-CoV-2 infection (i.e., N-binding antibody [serum] negative at Visit 1 and
    SARS-CoV-2 not detected by NAAT [nasal swab] at Visits 1 and 2), and had negative NAAT (nasal swab) at any unscheduled visit
    prior to 7 days after Dose 2 were included in the analysis.
†
  Severe illness from COVID-19 is defined in the protocol as confirmed COVID-19 and presence of at least 1 of the following:
     • Clinical signs at rest indicative of severe systemic illness (respiratory rate ≥30 breaths per minute, heart rate ≥125 beats per
          minute, saturation of oxygen ≤93% on room air at sea level, or ratio of arterial oxygen partial pressure to fractional inspired
          oxygen <300 mm Hg);
     • Respiratory failure [defined as needing high-flow oxygen, noninvasive ventilation, mechanical ventilation or extracorporeal
          membrane oxygenation (ECMO)];
     • Evidence of shock (systolic blood pressure <90 mm Hg, diastolic blood pressure <60 mm Hg, or requiring vasopressors);
     • Significant acute renal, hepatic, or neurologic dysfunction;
     • Admission to an Intensive Care Unit;
     • Death.
‡
  Severe illness from COVID-19 as defined by CDC is confirmed COVID-19 and presence of at least 1 of the following:
     • Hospitalization;
     • Admission to the Intensive Care Unit;
     • Intubation or mechanical ventilation;
     • Death.
a. n1 = Number of participants meeting the endpoint definition.
b. Total surveillance time in 1000 person-years for the given endpoint across all participants within each group at risk for the endpoint.
    Time period for COVID-19 case accrual is from 7 days after Dose 2 to the end of the surveillance period.
c. n2 = Number of participants at risk for the endpoint.
d. Two-side confidence interval (CI) for vaccine efficacy is derived based on the Clopper and Pearson method adjusted to the
    surveillance time.

16 HOW SUPPLIED/STORAGE AND HANDLING

COMIRNATY Suspension for Intramuscular Injection, Multiple Dose Vials are supplied in a carton containing
25 multiple dose vials (NDC 0069-1000-03) or 195 multiple dose vials (NDC 0069-1000-02). A 0.9% Sodium
Chloride Injection, USP diluent is provided but shipped separately, and should be stored at controlled room
temperature 20°C to 25°C (68°F to 77°F) [see USP Controlled Room Temperature]. The provided 0.9% Sodium
Chloride Injection, USP diluent will be supplied either as cartons of 10 mL single-use vials manufactured by


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Hospira, Inc (NDC 0409-4888-10), or 2 mL single-use vials manufactured by Fresenius Kabi USA, LLC
(NDC 63323-186-02).

After dilution, 1 vial contains 6 doses of 0.3 mL.

During storage, minimize exposure to room light, and avoid exposure to direct sunlight and ultraviolet light.

Do not refreeze thawed vials.

Frozen Vials Prior to Use

Cartons of COMIRNATY Multiple Dose Vials arrive in thermal containers with dry ice. Once received, remove
the vial cartons immediately from the thermal container and preferably store in an ultra-low temperature freezer
between -90ºC to -60ºC (-130ºF to -76ºF) until the expiry date printed on the label. Alternatively, vials may be
stored at -25°C to -15°C (-13°F to 5°F) for up to 2 weeks. Vials must be kept frozen and protected from light, in
the original cartons, until ready to use. Vials stored at -25°C to -15°C (-13°F to 5°F) for up to 2 weeks may be
returned 1 time to the recommended storage condition of -90ºC to -60ºC (-130ºF to -76ºF). Total cumulative
time the vials are stored at -25°C to -15°C (-13°F to 5°F) should be tracked and should not exceed 2 weeks.

If an ultra-low temperature freezer is not available, the thermal container in which COMIRNATY arrives may
be used as temporary storage when consistently re-filled to the top of the container with dry ice. Refer to the
re-icing guidelines packed in the original thermal container for instructions regarding the use of the thermal
container for temporary storage. The thermal container maintains a temperature range of -90ºC to -60ºC (-130ºF
to -76ºF). Storage of the vials between -96°C to -60°C (-141°F to -76°F) is not considered an excursion from
the recommended storage condition.

Transportation of Frozen Vials

If local redistribution is needed and full cartons containing vials cannot be transported at -90°C to -60°C
(-130°F to -76°F), vials may be transported at -25°C to -15°C (-13°F to 5°F). Any hours used for transport
at -25°C to -15°C (-13°F to 5°F) count against the 2-week limit for storage at -25°C to -15°C (-13°F to 5°F).
Frozen vials transported at -25°C to -15°C (-13°F to 5°F) may be returned 1 time to the recommended storage
condition of -90ºC to -60ºC (-130ºF to -76ºF).

Thawed Vials Before Dilution

Thawed Under Refrigeration

Thaw and then store undiluted vials in the refrigerator [2ºC to 8ºC (35ºF to 46ºF)] for up to 1 month. A carton of
25 vials or 195 vials may take up to 2 or 3 hours, respectively, to thaw in the refrigerator, whereas a fewer
number of vials will thaw in less time.

Thawed at Room Temperature

For immediate use, thaw undiluted vials at room temperature [up to 25ºC (77ºF)] for 30 minutes. Thawed vials
can be handled in room light conditions.

Vials must reach room temperature before dilution.



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Undiluted vials may be stored at room temperature for no more than 2 hours.

Transportation of Thawed Vials

Available data support transportation of 1 or more thawed vials at 2°C to 8°C (35°F to 46°F) for up to 12 hours.

Vials After Dilution

After dilution, store vials between 2°C to 25°C (35°F to 77°F) and use within 6 hours from the time of dilution.
During storage, minimize exposure to room light, and avoid exposure to direct sunlight and ultraviolet light.
Any vaccine remaining in vials must be discarded after 6 hours. Do not refreeze.

17 PATIENT COUNSELING INFORMATION

Inform vaccine recipient of the potential benefits and risks of vaccination with COMIRNATY.

Inform vaccine recipient of the importance of completing the two dose vaccination series.

There is a pregnancy exposure registry for COMIRNATY. Encourage individuals exposed to COMIRNATY
around the time of conception or during pregnancy to register by visiting https://mothertobaby.org/ongoing-
study/covid19-vaccines/.

Advise vaccine recipient to report any adverse events to their healthcare provider or to the Vaccine Adverse
Event Reporting System at 1-800-822-7967 and www.vaers.hhs.gov.

This product’s labeling may have been updated. For the most recent prescribing information, please visit
https://dailymed.nlm.nih.gov/dailymed/.


Manufactured for
BioNTech Manufacturing GmbH
An der Goldgrube 12
55131 Mainz, Germany




Manufactured by
Pfizer Inc., New York, NY 10017


LAB-1448-0.9

US Govt. License No. x




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                      EXHIBIT 5
                      C SecDef
                      Memo
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                                  SECRETARY OF DEFENSE
                                  1000 DEFENSE PENTAGON
                                 WASHINGTON , DC 20301 - 1000


                                                                        AUG 24 2021
   MEMORANDUM FOR SENIOR PENTAGON LEADERSHIP
                  COMMANDERS OF THE CO MBATANT COMMANDS
                  DEFENSE AGENCY AND DOD FIELD ACTIVITY DIRECTORS

   SUBJECT: Mandatory Coronavirus Disease 2019 Vaccination of Department of Defense
            Service Members

          To defend this Nation, we need a healthy and ready force. After careful consultation with
   medical experts and military leadership, and with the support of the President, I have determined
   that mandatory vaccination against coronavirus disease 2019 (COVID-19) is necessary to protect
   the Force and defend the American people.

          Mandatory vaccinations are familiar to all of our Service members, and mission-critical
   inoculation is almost as old as the U.S. military itself. Our administration of safe, effective
   COVID-19 vaccines has produced admirable results to date, and I know the Department of
   Defense will come together to finish the job, with urgency, professionalism, and compassion.

          I therefore direct the Secretaries of the Military Departments to immediately begin full
   vaccination of all members of the Armed Forces under DoD authority on active duty or in the
   Ready Reserve, including the National Guard, who are not full y vaccinated against COVID-19.

          Service members are considered fully vaccinated two weeks after completing the second
   dose of a two-dose CO VID-19 vaccine or two weeks after receiving a single dose of a one-dose
   vaccine. Those with previous COVID-19 infection are not considered fully vaccinated.

             Mandatory vaccination against COVID-19 will only use COVID-19 vaccines that receive
   full licensure from the Food and Drug Administration (FDA), in accordance with FDA-approved
   labeling and guidance. Service members voluntarily immunized with a COVID-19 vaccine
   under FDA Emergency Use Authorization or World Health Organization Emergency Use Listing
   in accordance with applicable dose requirements prior to, or after, the establishment of this
   policy are considered fully vaccinated. Service members who are actively participating in
   COVID-19 clinical trials are exempted from mandatory vaccination against COVID-19 until the
   trial is complete in order to avoid invalidating such clinical trial results.

           Mandatory vaccination requirements will be implemented consistent with DoD
   Instruction 6205.02, "DoD Immunization Program," July 23, 2019. The Military Departments
   should use existing policies and procedures to manage mandatory vaccination of Service
   members to the extent practicable. Mandatory vaccination of Service members will be subject to
   any identified contraindications and any administrative or other exemptions established in
   Military Department policy. The Military Departments may promulgate appropriate guidance to
   carry out the requirements set out above. The Under Secretary of Defense for Personnel and




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   Readiness may provide additional guidance to implement and comply with FDA requirements or
   Centers for Disease Control and Prevention recommendations.

           The Secretaries of the Military Departments should impose ambitious timelines for
   implementation. Military Departments will report regularly on vaccination completion using
   established systems for other mandatory vaccine reporting.

          Our vaccination of the Force will save lives. Thank you for your focus on this critical
   mission.




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                EXHIBIT 5
              D DOD Hazcom
                 program
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                            DOD INSTRUCTION 6050.05
     DOD HAZARD COMMUNICATION (HAZCOM) PROGRAM

Originating Component:       Office of the Under Secretary of Defense for Personnel and Readiness

Effective:                   February 26, 2019
Change 1 Effective:          June 10, 2019

Releasability:               Cleared for public release. Available on the Directives Division Website
                             at https://www.esd.whs.mil/DD/.

Reissues and Cancels:        DoD Instruction 6050.05, “DoD Hazard Communication (HAZCOM)
                             Program,” August 15, 2006, as amended

Approved by:                 Ellen M. Lord, Under Secretary of Defense for Acquisition and
                             Sustainment
Change 1 Approved by:        James N. Stewart, Assistant Secretary of Defense for Manpower and
                             Reserve Affairs, Performing the Duties of the Under Secretary of Defense
                             for Personnel and Readiness


Purpose: In accordance with the authority in DoD Directive (DoDD) 5124.01, DoD Instruction
(DoDI) 6055.01, and the April 10, 2019 Office of the Deputy Secretary of Defense Memorandum, and
the guidance in DoDI 6055.01, this issuance:
• Establishes policy, assigns responsibilities, and provides procedures for the DoD HAZCOM
Program, which protects Service members and DoD civilian employees (referred to collectively in this
issuance as “employee”) who use or produce hazardous chemicals.
• Implements regulatory requirements of Parts 1910.120, 1910.1200, 1910.1450, 1915.1200, and
1926.59 of Title 29, Code of Federal Regulations (CFR).
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                  SECTION 1: GENERAL ISSUANCE INFORMATION

   1.1. APPLICABILITY. This issuance applies to OSD, the Military Departments, the Office of
   the Chairman of the Joint Chiefs of Staff and the Joint Staff, the Combatant Commands, the
   Office of the Inspector General of the Department of Defense, the Defense Agencies, the DoD
   Field Activities, and all other organizational entities within the DoD (referred to collectively in
   this issuance as the “DoD Components”).


   1.2. POLICY. The DoD:

      a. Protects DoD personnel from accidental death, injury, or occupational illness in
   accordance with DoDI 6055.01.

       b. Manages hazardous materials to minimize health and environmental risks and operational
   costs.

      c. Oversees establishment of HAZCOM programs at locations outside of the United States,
   where feasible, subject to the limitations detailed in DoDI 6055.01.

      d. Applies HAZCOM procedures for all military personnel and civilian employees in non-
   uniquely military operations within the DoD and workplaces in accordance with this issuance
   and DoDI 6055.01.

      e. Provides known hazard information to military personnel and civilian employees using
   hazardous chemicals, including engineered nanomaterials.


   1.3. INFORMATION COLLECTIONS. The Enterprise Data Repository, referred to
   throughout this issuance, has been assigned report control symbol DD-A&S-1486 in accordance
   with the procedures in Volume 1 of DoD Manual 8910.01. The expiration date of this
   information collection is listed in the DoD Information Collections System at
   https://apps.sp.pentagon.mil/sites/dodiic/Pages/default.aspx.


   1.4. SUMMARY OF CHANGE 1. This change reassigns the office of primary responsibility
   for this issuance to the Under Secretary of Defense for Personnel and Readiness (USD(P&R)) in
   accordance with the April 10, 2019 Office of the Deputy Secretary of Defense Memorandum and
   updates authoritative references accordingly.




   SECTION 1: GENERAL ISSUANCE INFORMATION                                                           3
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                              SECTION 2: RESPONSIBILITIES

   2.1. USD(P&R). The USD(P&R):

      a. Establishes policy for the operation of the DoD HAZCOM Program.

      b. Oversees the implementation of this issuance.


   2.2. ASSISTANT SECRETARY OF DEFENSE FOR READINESS. Under the authority,
   direction, and control of the USD(P&R), the Assistant Secretary of Defense for Readiness:

      a. Advises the USD(P&R) on implementation of this issuance.

      b. Develops policy and conducts advocacy and oversight of the DoD HAZCOM Program.

      c. Conducts annual management reviews of the DoD Components’ HAZCOM programs in
   accordance with DoDI 6055.01.

      d. Establishes and administers a configuration control process:

          (1) To support the HAZCOM requirements described in this issuance.

          (2) In accordance with the DoD Business Enterprise Architecture.

          (3) Pursuant to Section 2222 of Title 10, United States Code (U.S.C.).

      e. Provides guidance and oversight for hazardous material management in the systems
   acquisition process to help program managers implement the requirements of Section 16 of
   Enclosure 3 of DoDI 5000.02.


   2.3. DIRECTOR, DEFENSE LOGISTICS AGENCY (DLA). In addition to the
   responsibilities in Paragraph 2.4., and under the authority, direction, and control of the Under
   Secretary of Defense for Acquisition and Sustainment, the Director, DLA, as the lead DoD
   Component and administrator for enterprise data management:

       a. Establishes and operates the Enterprise Data Repository for the storage and retrieval of
   data in accordance with Paragraph 3.7.b.

      b. Implements and sustains the capability to store, use, and export regulatory reference data
   and enterprise product hazard data to DoD HAZCOM officials.

       c. Receives and processes compliant hazardous materials information received from the
   DoD Component HAZCOM officials, General Services Administration officials, and other
   federal agency officials.




   SECTION 2: RESPONSIBILITIES                                                                        4
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       d. Makes available product hazard data, which is accessible to military personnel and
   civilian employees who use or are at risk of exposure to hazardous materials, immediately after
   completing quality control and records release.

       e. Negotiates agreements with other federal agency offices of primary responsibility for
   interaction with the Enterprise Data Repository.


   2.4. DOD COMPONENT HEADS. The DoD Component heads:

      a. Establish and maintain a HAZCOM program and develop HAZCOM implementing
   guidance that conforms to the requirements of this issuance and is consistent with Parts
   1910.1200, 1910.1450, 1915.1200, and 1926.59 of Title 29, CFR.

      b. Designate a HAZCOM office of primary responsibility to oversee and implement policy
   and guidance, and report changes to the Hazardous Materials Information Systems Manager at
   Headquarters, DLA.

      c. Designate a DoD Component HAZCOM official to:

          (1) Obtain, evaluate, enter, and provide compliant hazardous material information to the
   Enterprise Data Repository.

          (2) Represent the DoD Component in the configuration control process.

      d. Assess their component’s HAZCOM program during annual workplace visits in
   accordance with DoDI 6055.01.

       e. Require contracts that purchase hazardous materials include a requirement for the
   contractor to provide compliant hazardous material information to the office of the contracting
   activity before contract award, as required by Federal Standard FED-STD-313E. The
   contracting activity will then forward this information to the DoD Component HAZCOM
   official.

       f. Address multi-employer workplaces pursuant to the requirements of Part 1910.1200(e)(2)
   of Title 29, CFR, in their HAZCOM programs.

       g. Make available appropriate occupational and environmental health, environmental, and
   safety personnel (including explosives safety, as appropriate) to provide installation and
   workplace HAZCOM support in areas such as training, safety data sheet (SDS) generation,
   hazard classification, and HAZCOM labeling.




   SECTION 2: RESPONSIBILITIES                                                                       5
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                                  SECTION 3: PROCEDURES

   3.1. GENERAL. The DoD HAZCOM Program provides the framework to communicate
   hazards consistent with:

      a. The requirements of Parts 1910.1200, 1915.1200, and 1926.59 of Title 29, CFR for
   hazardous chemicals, also known and referred to in this issuance as the “Occupational Safety and
   Health Administration (OSHA) HAZCOM Standard.”

      b. The requirements of Part 1910.1450 of Title 29, CFR for hazardous chemicals, also
   known and referred to in this issuance as the “OSHA HAZCOM Standard for Laboratories.”

       c. The requirements of Part 1910.120 of Title 29, CFR, also known and referred to in this
   issuance as the “OSHA Hazardous Waste Operations and Emergency Response (HAZWOPER)
   Standard,” for hazardous substance cleanup operations including:

          (1) Emergency response operations in areas used primarily for hazardous waste
   treatment, storage, or disposal.

          (2) Emergency response to hazardous substances, also known and referred to in this
   issuance as “HAZWOPER operations.”

      d. Host nation (HN) HAZCOM requirements at overseas locations when a SOFA or final
   governing standard (FGS) requires adoptions of HN HAZCOM requirements.

      e. Paragraphs 3.2.a.(2), 3.2.c., 3.4.c., and 3.6.d., for the known presence of engineered
   nanomaterials that are not incorporated into an article.


   3.2. WRITTEN HAZCOM PLANS.

     a. All DoD workplaces using or producing hazardous chemicals must have a written
   HAZCOM plan that includes:

          (1) A list of hazardous chemicals present in each workplace.

          (2) An inventory of all engineered nanomaterials in the workplace in accordance with
   Paragraph 3.2.c.

          (3) Hazard classification procedures in accordance with Paragraph 3.3.

          (4) Container labeling procedures and requirements in accordance with Paragraph 3.5.

         (5) Employee training in the safe use of hazardous materials and SDS accessibility to
   employees and other affected personnel in accordance with Paragraph 3.6.




   SECTION 3: PROCEDURES                                                                           6
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          (6) Procedures for preserving inventories of employee exposure records consistent with
   Part 1910.1020 of Title 29, CFR and pursuant to DoDI 6055.05.

          (7) Procedures for informing employees regarding hazards of non-routine tasks and the
   hazards associated with chemicals contained in unlabeled pipes in the workplace.

           (8) Requirements for contractors bringing hazardous materials onto DoD installations.
   These requirements will include providing hazardous material and label information compliant
   with Part 1910.1200 of Title 29, CFR, to the contracting officers in accordance with Subpart
   223.3, Defense Federal Acquisition Regulation Supplement (DFARS). The contracting officers
   will then forward the information to the proper environmental, safety (including explosives
   safety, as appropriate), and health officials.

      b. All DoD workplaces with laboratories must develop a written chemical hygiene plan in
   accordance with the OSHA HAZCOM Standard for Laboratories. These written chemical
   hygiene plans must:

          (1) Be readily available to all affected personnel and include any installation-unique
   procedures about the local purchase of hazardous chemicals.

          (2) Address engineered nanomaterials, not included in an article, used within the
   laboratory.

      c. All DoD workplaces, or DoD-manufactured materials where engineered nanomaterials are
   used, should include engineered nanomaterials that are not incorporated into articles or otherwise
   excluded from Part 1910.1200 of Title 29, CFR into their written HAZCOM plans when there is
   knowledge of the presence of such engineered nanomaterials.

      d. DoD Components stationed outside the United States must take measures to include HN
   requirements in HAZCOM plans if required to do so by SOFAs and FGSs.

       e. All DoD workplaces conducting HAZWOPER operations must have a written HAZCOM
   plan that includes a list of hazardous wastes managed or hazardous substances that military
   personnel and civilian employees may encounter during emergency response or cleanup
   operations in accordance with Part 1910.120(b) of Title 29, CFR.


   3.3. HAZARD CLASSIFICATION.

       a. The DoD Components will obtain and use hazard information based on the hazard
   classification and any additional information provided on the SDSs. If an occupational or
   environmental health risk assessment or health hazard assessment is conducted in accordance
   with DoDI 6055.05, this information will supplement the manufacturer’s information.

      b. For DoD-manufactured or imported materials, the DoD activity controlling the
   formulation, or the DoD activity manufacturing the chemical, performs the hazard classification
   and produces the SDS and HAZCOM label with the required information following the
   guidelines specified in Part 1910.1200 of Title 29, CFR.


   SECTION 3: PROCEDURES                                                                             7
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          (1) The DoD activity producing the material will include hazard classification
   procedures in their written program, and train their military personnel and civilian employees on
   the hazards and handling of hazardous material and the prevention and handling of spillage
   incidents.

          (2) If the DoD activity producing the material transfers the material to other
   organizations, they will provide the SDS and HAZCOM label to the receiving organization and
   the DoD Component HAZCOM official.

       c. When engineered nanomaterials are present (but not incorporated into articles), regardless
   of quantity, the DoD activity using the material or controlling the formulation will refer to the
   National Institute for Occupational Safety and Health Publication Number 2009-125 (or most
   current report on nanomaterial toxicity and risk management) for what is currently known about
   the nanoparticle toxicity, process emissions, exposure assessment, engineering controls, and
   personal protective equipment.

      d. The DoD activity will follow the guidelines in Technical Bulletin 700-2/Naval Sea
   Systems Command Instruction 8020.8C/Technical Order 11A-1-47 for classifying the hazards of
   DoD ammunition and explosives. This publication establishes procedures for classifying the
   physical hazards of ammunition and explosives in accordance with Department of Transportation
   regulations. This classification is used primarily for transporting and storing ammunition and
   explosives.

       e. The DoD activity will identify risks at HAZWOPER operations consistent with
   Part 1910.120(b)(7) of Title 29, CFR.


   3.4. HAZARDOUS MATERIAL INFORMATION.

       a. The DoD Components will make SDSs compliant with Parts 1910.1200 and 1910.1450 of
   Title 29, CFR. SDSs will be readily accessible to employees at all times when they are in their
   work area, required to use hazardous chemicals, or at risk of exposure to hazardous chemicals.

      b. Copies of the appropriate SDS will be:

           (1) Readily accessible before hazardous chemicals are used and accessible at all times
   thereafter.

          (2) Submitted for inclusion in the Enterprise Data Repository as soon as practical in
   accordance with Paragraph 3.7.

            (3) Available to safety (including explosives safety, as appropriate), environmental, and
   fire officials in case of an accident.

       c. DoD Components will make available their occupational and environmental health,
   environmental, and safety (including explosives safety, as appropriate) military personnel and
   civilian employees, upon request, to assess and explain SDSs and labels to supervisors and
   affected employees and assist in HAZCOM training.


   SECTION 3: PROCEDURES                                                                                8
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      d. Consistent with Part 1910.1200 of Title 29, CFR, the controlling DoD Component
   procurement activity:

           (1) Electronically provides the most current, compliant SDSs and HAZCOM labels for
   users and the DoD Component HAZCOM official to include in the Enterprise Data Repository,
   as specified by the Business Enterprise Architecture; Subpart 223.3, DFARS; and
   Clause 52.223-3 of the Federal Acquisition Regulation Supplement.

           (2) Rejects incomplete hazardous material information that does not comply with the
   requirements of Part 1910.1200 of Title 29, CFR. Laboratory verification of technical elements
   is not required. DoD Components will return incomplete or inadequate SDSs and labels to the
   supplier for correction. The contracting officer or buyer must consult with the manufacturer or
   distributer for resolution of SDS discrepancies.

      e. Purchase requests for applicable supply items must include:

           (1) A requirement for contracting activities to obtain manufacturer, importer, or supplier
   SDSs.

          (2) The requirement for warning labels compliant with Part 1910.1200 of Title 29, CFR
   for U.S. locations or the Globally Harmonized System of Classification and Labelling of
   Chemicals for non-U.S. locations, in accordance with Military Standard MIL-STD-129R,
   Federal Standard FED-STD-313E, and Subpart 223.3, DFARS.

       f. DoD Components will protect and use proprietary formulas or trade secret information in
   an SDS only as a management tool for exposure and mishap prevention, hazardous chemicals
   education, and medical diagnosis and treatment of exposed military personnel and civilian
   employees consistent with Part 1910.1200 of Title 29, CFR, and Volume 4 of DoD Manual
   5200.01.

       g. For nationally stock-listed and locally purchased nonstandard stock hazardous chemicals,
   the responsible contracting officer must contractually require and obtain compliant electronic
   SDSs and HAZCOM labels.

          (1) For locally purchased chemicals, the purchaser or contracting officer confirms before
   the contract award or purchase:

             (a) The adequate completion of an environmental, safety, and health assessment of
   the SDSs and HAZCOM labels.

              (b) The correct SDSs and labels, as required in Part 1910.1200 of Title 29, CFR.

           (2) The installation point of contact electronically forwards the SDSs and HAZCOM
   labels to the DoD Component HAZCOM official for processing.

      h. For foreign manufactured products used outside the United States, the contracting office
   and purchaser will obtain SDSs and HAZCOM labels that are available in English.



   SECTION 3: PROCEDURES                                                                             9
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          (1) The SDSs and HAZCOM labels must contain all information required in
   Part 1910.1200 of Title 29, CFR.

           (2) The contracting office and purchaser must electronically forward the SDSs,
   translated by other than the chemical manufacturer, to installation SDS focal points for entry into
   the Enterprise Data Repository with markings showing the SDS has translated hazardous
   material information.

      i. The lead DoD Component managing the first non-U.S. entry point must establish
   procedures to make the appropriate SDS information available to all users of supplied hazardous
   chemical supply items.

          (1) Unless the governing SOFA specifically mandates the use of HN SDS data and
   formats, SDSs will conform to Parts 1910.1200 and 1910.1450 of Title 29, CFR and
   Paragraph 3.4.h.

           (2) Special procedures may be necessary for certain workplaces outside the United States
   with foreign national employees, including multi-employer sites similar to Part 1910.1200(e)(2)
   of Title 29, CFR. Hazardous material information and SDSs will reflect the predominant
   language spoken in addition to English. If required by the governing SOFA, FGS, or other
   binding agreement, the SDSs available in workplaces with foreign nationals may need to account
   for HN variations in SDS format or data. The lead DoD Component should establish those
   procedures using the guidance in this issuance, the relevant SOFA, the FGS for the location, or
   DoD 4715.05-G.


   3.5. LABELING.

      a. Hazardous chemicals used by the DoD Components:

          (1) Must be appropriately classified and labeled consistent with Parts 1910.1200 and
   1910.1450 of Title 29, CFR.

           (2) That are specifically identified in Parts 1910.1001 through 1910.1052 in Subpart Z of
   Title 29, CFR, must be classified and labeled following additional substance-specific standards.

      b. Commercial suppliers are required to label all hazardous materials with HAZCOM
   Standard-compliant labels consistent with Part 1910.1200 of Title 29, CFR.

       c. The DoD Components will use the commercial or manufacturer’s HAZCOM label for
   marking hazardous chemicals, including laboratory chemicals, and this label must not be
   removed from the products or defaced. If a DoD Component generates a hazardous chemical
   label, it must comply with Part 1910.1200 of Title 29, CFR.

      d. If suppliers of hazardous materials have not properly labeled containers in accordance
   with Parts 1910.1200 and 1910.1450 of Title 29, CFR, the DoD Component must properly label
   containers. Hazardous material cannot be issued to downstream customers or used until
   compliance is met.


   SECTION 3: PROCEDURES                                                                           10
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      e. The label information must contain:

           (1) Product identifier.

           (2) Signal word.

           (3) Hazard statements.

           (4) Pictograms.

           (5) Precautionary statements.

          (6) Chemical manufacturer, importer, or other responsible party’s name, address, and
   telephone number.

       f. Navy ships may use alternate HAZCOM Standard-compliant labeling (e.g., tags or
   markings) for repackaging, breakdown containers, or unlabeled containers aboard ship,
   consistent with the exclusion for uniquely military equipment, systems, operations, or
   workplaces in Executive Order 12196. The Navy must label all hazardous chemicals in
   accordance with the provisions of this issuance before being off-loaded or transferred to a shore
   facility.

       g. Hazardous chemicals excluded from HAZCOM labeling requirements are described in
   Part 1910.1200(b)(5) of Title 29, CFR. Outside of the United States, hazardous chemicals must
   be labeled in accordance with applicable HAZCOM regulations as specified in the SOFA, FGSs,
   or other HN agreement. Many of these chemicals, though excluded from HAZCOM, have
   alternative labeling requirements such as chemicals regulated by:

           (1) Section 2015 of Title 15, U.S.C., also known as the “Consumer Product Safety Act.”

         (2) Section 136 of Title 7, U.S.C., also known as the “Federal Insecticide, Fungicide, and
   Rodenticide Act.”

           (3) Section 201 of Title 27, U.S.C., also known as the “Federal Alcohol Administration
   Act.”

           (4) Section 2601 of Title 15, U.S.C., also known as the “Toxic Substances Control Act.”


   3.6. EMPLOYEE INFORMATION AND TRAINING. The DoD Components will:

      a. Provide HAZCOM information and training and document training to employees who
   may become exposed to:

           (1) Hazardous chemicals while carrying out their duties, in accordance with
   Parts 1910.1200 and 1910.1450 of Title 29, CFR.

       (2) Hazardous materials during HAZWOPER operations, consistent with the OSHA
   HAZWOPER Standard.


   SECTION 3: PROCEDURES                                                                           11
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      b. Inform contractors and subcontractors at DoD workplaces of site emergency response
   procedures consistent with Part 1910.120(b)(1)(iv) of Title 29, CFR.

      c. Consider HN regulations for personnel information and training for the local national
   workforce if authorized or required to do so by SOFAs or FGSs.

      d. Provide known hazard information of engineered nanomaterials used at DoD workplaces.


   3.7. ENTERPRISE DATA REPOSITORY.

       a. The DoD Components will implement procedures to provide hazardous materials
   information to the Enterprise Data Repository consistent with Part 1910.1200 of Title 29, CFR.
   They will submit the hazardous materials information through the media (hard or electronic
   copy) appropriate to the technological capabilities or availability suitable for the DoD
   Component’s system.

      b. The DLA operates the Enterprise Data Repository for the storage and retrieval of data
   and:

           (1) Makes SDS image and associated ingredient, transportation, disposal, and label
   information accessible by national item identification number; local item identification number,
   if applicable; trade name and part number; SDS serial number; hazard characteristic code;
   hazardous ingredient(s); contract number; and manufacturer, importer, or distributor (or other
   responsible party) Commercial and Government Entity Codes. For local purchases of hazardous
   chemicals made without a formal contract number assigned, or from companies who do not have
   a Commercial and Government Entity Code, this information may not be available for entering
   into the Enterprise Data Repository. All other SDS information will be available.

          (2) Allows for expansion as required by future safety, health, environmental, or
   transportation legislation or regulation.

          (3) Permanently retains SDS information electronically.

           (4) Provides SDS and corresponding product hazard data for all hazardous material
   inventory items for use as a reference throughout the procurement and the supply chain
   distribution process.

          (5) Establishes a capability for the management of HN SDS information and images for
   hazardous materials used by the DoD outside the United States.




   SECTION 3: PROCEDURES                                                                         12
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                                             GLOSSARY

   G.1. ACRONYMS.

    CFR                       Code of Federal Regulations

    DFARS                     Defense Federal Acquisition Regulation Supplement
    DLA                       Defense Logistics Agency
    DoDD                      DoD directive
    DoDI                      DoD instruction

    FGS                       final governing standard

    HAZCOM                    hazard communication
    HAZWOPER                  hazardous waste operations and emergency response
    HN                        host nation

    OSHA                      Occupational Safety and Health Administration

    SDS                       safety data sheet
    SOFA                      status-of-forces agreement

    U.S.C.                    United States Code
    USD(P&R)                  Under Secretary of Defense for Personnel and Readiness


   G.2. DEFINITIONS. Unless otherwise noted, these terms and their definitions are for the
   purpose of this issuance.

   article. Defined in Part 1910.1200(c) of Title 29, CFR.

   DoD workplaces with laboratories. Defined in the OSHA HAZCOM Standard for
   Laboratories.

   engineered nanomaterials. Discrete materials having structures with at least one dimension
   between 1 and 100 nanometers that are intentionally created, as opposed to those that are
   naturally or incidentally formed. They do not include larger materials that may have nanoscale
   features (e.g., etched silicon wafers), biomolecules (e.g., proteins, nucleic acids, carbohydrates),
   and materials with occupational exposure limits that address nanoparticles for that substance.

   hazard classification. Defined in Part 1910.1200(c) of Title 29, CFR.

   hazardous chemical. Defined in Part 1910.1200(c) of Title 29, CFR.

   hazardous material. Hazardous chemicals, hazardous substances, hazardous wastes, or
   engineered nanomaterials, where applicable.



   GLOSSARY                                                                                          13
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   hazardous substance. Defined in Part 1910.120(c) of Title 29, CFR.

   hazardous waste. Defined in Part 261.3 of Title 40, CFR and Part 171.8 of Title 49, CFR, in
   accordance with the OSHA HAZWOPER Standard.

   HAZWOPER. Defined in Part 120(a)(1) of Title 29, CFR.

   product hazard data. The comprehensive set of material, chemical, and regulatory data
   necessary to develop and implement ESOH controls for mission activities involving hazardous
   materials.

   uniquely military equipment, systems, and operations. Defined in Part 1960.2(i) of Title 29,
   CFR.




   GLOSSARY                                                                                      14
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   DoD 4715.05-G, “Overseas Environmental Baseline Guidance Document,” May 1, 2007
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   Executive Order 12196, “Occupational Safety and Health Programs for Federal Employees,”
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   Federal Standard FED-STD-313E, “Material Safety Data, Transportation Data, and Disposal
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   National Institute for Occupational Safety and Health Publication Number 2009-125,
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   Office of the Deputy Chief Management Officer, “Business Enterprise Architecture (BEA),”
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   Office of the Deputy Secretary of Defense Memorandum, “Safety and Occupational Health
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   TB 700-2/NAVSEAINST 8020.8C/TO 11A-1-47, “Department of Defense Ammunition and
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   1
     Available at http://cmo.defense.gov/Products-and-Services/Business-Enterprise-Architecture/
   2
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     Available at http://www.unece.org/fileadmin/DAM/trans/danger/publi/ghs/ghs_rev04/English/ST-SG-AC10-30-
   Rev4e.pdf


   REFERENCES                                                                                                  15
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                       EXHIBIT 5
                        E Safe
                       Nanotech
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Approaches to Safe
Nanotechnology
Managing the Health and Safety Concerns
Associated with Engineered Nanomaterials




DEPARTMENT OF HEALTH AND HUMAN SERVICES
Centers for Disease Control and Prevention
National Institute for Occupational Safety and Health
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              Approaches to Safe Nanotechnology

             Managing the Health and Safety Concerns
             Associated with Engineered Nanomaterials




               DEPARTMENT OF HEALTH AND HUMAN SERVICES
               Centers for Disease Control and Prevention
               National Institute for Occupational Safety and Health
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            DHHS (NIOSH) Publication No. 2009–125
            March 2009



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                    Foreword

Nanotechnology—the manipulation of matter on a near-atomic scale to produce new structures,
materials, and devices—offers the promise of unprecedented scientific advancement for many sec-
tors, such as medicine, consumer products, energy, materials, and manufacturing. Nanotechnology
has the power not only to improve existing technologies, but to dramatically enhance the effective-
ness of new applications.
Research on the potential applications of nanotechnology continues to expand rapidly worldwide.
New nanotechnology consumer products emerge at a rate of three to four per week. Over the course
of the next decade, nanotechnology could have a $1 trillion impact on the global economy and em-
ploy two million workers—half of them residing in the U.S.
While nanomaterials present seemingly limitless possibilities, they bring with them new challeng-
es to understanding, predicting, and managing potential safety and health risks to workers. The
National Institute for Occupational Safety and Health (NIOSH) remains committed to protecting
workers now and in the future, as nanotechnology applications and uses expand.
As part of these efforts, in October 2005, NIOSH released for public comment the draft document,
Approaches to Safe Nanotechnology: An Information Exchange with NIOSH. Based on feedback
received, NIOSH revised and updated the document in July 2006 and sought further public com-
ment. This draft report has been widely cited, and the final version of the report should serve as a
vital resource for stakeholders (including occupational safety and health professionals, researchers,
policy makers, risk assessors, and workers in the industry) who wish to understand more about the
safety and health implications of nanotechnology in the workplace.
With the publication of the Approaches to Safe Nanotechnology document, NIOSH hopes to: raise
awareness of the occupational safety and health issues involved with nanotechnology; make recom-
mendations on occupational safety and health best practices in the production and use of nanoma-
terials; facilitate dialogue between NIOSH and its external partners in industry, labor and academia;
respond to requests for authoritative safety and health guidelines; and, identify information gaps
and areas for future study and research.
As our knowledge of nanoscience increases, so too will our efforts to provide valuable guidance on
the safe handling of nanoparticles and for protecting the lives and livelihoods of nanotechnology
workers.




                                 Christine M. Branche, Ph.D.
                                 Acting Director, National Institute
                                  for Occupational Safety and Health
                                 Centers for Disease Control and Prevention



Approaches to Safe Nanotechnology                                                                 iii
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                        Executive Summary

 Nanotechnology has the potential to dra-                    nanoparticles and measures that can be
 matically improve the effectiveness of a                    taken to minimize workplace exposures.
 number of existing consumer and indus-                      Following is a summary of findings and key
 trial products and could have a substantial                 recommendations.
 impact on the development of new prod-
 ucts in all sectors, ranging from disease
 diagnosis and treatment to environmental                    Potential Health Concerns
 remediation. Because of the broad range of                   •   The potential for nanomaterials to en-
 possible nanotechnology applications, con-                       ter the body is among several factors
 tinued evaluation of the potential health                        that scientists examine in determining
 risks associated with exposure to nanoma-                        whether such materials may pose an oc-
 terials is essential to ensure their safe han-                   cupational health hazard. Nanomateri-
 dling. Engineered nanoparticles are materi-                      als have the greatest potential to enter
 als purposefully produced with at least one                      the body through the respiratory sys-
 dimension between 1 and 100 nanometers.                          tem if they are airborne and in the form
 Nanoparticles* often exhibit unique physical                     of respirable-sized particles (nanopar-
 and chemical properties that impart specific                     ticles). They may also come into contact
 characteristics essential in making engi-                        with the skin or be ingested.
 neered materials, but little is known about
 what effect these properties may have on                     •   Based on results from human and ani-
 human health. Research has shown that the                        mal studies, airborne nanoparticles can
 physicochemical characteristics of particles                     be inhaled and deposit in the respira-
 can influence their effects in biological sys-                   tory tract; and based on animal stud-
 tems. These characteristics include particle                     ies, nanoparticles can enter the blood
 size, shape, surface area, charge, chemical                      stream, and translocate to other organs.
 properties, solubility, oxidant generation
 potential, and degree of agglomeration. Un-
                                                              •   Experimental studies in rats have shown
                                                                  that equivalent mass doses of insolu-
 til the results from research studies can fully
                                                                  ble incidental nanoparticles are more
 elucidate the characteristics of nanoparticles
                                                                  potent than large particles of similar
 that may pose a health risk, precautionary
                                                                  composition in causing pulmonary in-
 measures are warranted.
                                                                  flammation and lung tumors. Results
 NIOSH has developed this document to                             from in vitro cell culture studies with
 provide an overview of what is known                             similar materials are generally support-
 about the potential hazards of engineered                        ive of the biological responses observed
                                                                  in animals.
 *In an attempt at standardization of terminology, the In-
  ternational Organization for Standardization-Technical
                                                              •   Experimental studies in animals, cell
  Committee 229 has used the term nanomaterial to describe        cultures, and cell-free systems have
  engineered nanoparticles.                                       shown that changes in the chemical


 Approaches to Safe Nanotechnology                                                                      v
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            Executive Summary


                     composition, crystal structure, and size       are unlikely to pose a risk of exposure
                     of particles can influence their oxidant       during their handling and use as ma-
                     generation properties and cytotoxicity.        terials of non-inhalable size. However,
                                                                    some of the processes used in their pro-
                 •   Studies in workers exposed to aerosols
                                                                    duction (e.g., formulating and applying
                     of some manufactured or incidental
                                                                    nanoscale coatings) may lead to expo-
                     microscopic (fine) and nanoscale (ul-
                                                                    sure to nanomaterials, and the cutting
                     trafine) particles have reported adverse
                                                                    or grinding of such products could re-
                     lung effects including lung function
                                                                    lease respirable-sized nanoparticles.
                     decrements and obstructive and fibrot-
                     ic lung diseases. The implications of      •   Maintenance on production systems (in-
                     these studies to engineered nanoparti-         cluding cleaning and disposal of materi-
                     cles, which may have different particle        als from dust collection systems) is likely
                     properties, are uncertain.                     to result in exposure to nanoparticles if
                                                                    deposited nanomaterials are disturbed.
                 •   Research is needed to determine the
                     key physical and chemical character-       •   The following workplace tasks can in-
                     istics of nanoparticles that determine         crease the risk of exposure to nanopar-
                     their hazard potential.                        ticles:
                                                                    —— Working with nanomaterials in
            Potential Safety Concerns                                  liquid media without adequate
                                                                       protection (e.g., gloves)
                 •   Although insufficient information ex-
                     ists to predict the fire and explosion         —— Working with nanomaterials in
                     risk associated with powders of nano-             liquid during pouring or mixing
                     materials, nanoscale combustible ma-              operations, or where a high de-
                     terial could present a higher risk than           gree of agitation is involved
                     coarser material with a similar mass
                     concentration given its increased parti-       —— Generating nanoparticles in non-
                     cle surface area and potentially unique           enclosed systems
                     properties due to the nanoscale.               —— Handling (e.g., weighing, blend-
                 •   Some nanomaterials may initiate cat-              ing, spraying) powders of nano-
                     alytic reactions depending on their               materials
                     composition and structure that would           —— Maintenance on equipment and
                     not otherwise be anticipated based on             processes used to produce or fabri-
                     their chemical composition.                       cate nanomaterials and the clean-
                                                                       ing-up of spills and waste material
            Working with Engineered                                    containing nanomaterials
            Nanomaterials                                           —— Cleaning of dust collection systems
                                                                       used to capture nanoparticles
                 •   Nanomaterial-enabled products such as
                     nanocomposites, surface-coated mate-           —— Machining, sanding, drilling, or oth-
                     rials, and materials comprised of nano-           er mechanical ­disruptions of mate-
                     structures, such as integrated circuits,          rials containing nanoparticles


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                                                                           Executive Summary


 Exposure Assessment and                                 for improvement of engineering con-
 Characterization                                        trols and work practices.

  •   Until more information becomes avail-
      able on the mechanisms underlying             Precautionary Measures
      nanomaterial toxicity, it is uncertain what    •   Given the limited amount of informa-
      measurement technique should be used               tion about health risks that may be as-
      to monitor exposures in the workplace.             sociated with nanomaterials, taking
      Current research indicates that mass and           measures to minimize worker exposures
      bulk chemistry may be less important
                                                         is prudent.
      than particle size and shape, surface area,
      and surface chemistry (or activity) for        •   For most processes and job tasks, the
      some nanostructured materials.                     control of airborne exposure to nano-
                                                         aerosols can be accomplished using a
  •   Many of the sampling techniques that
                                                         variety of engineering control tech-
      are available for measuring airborne
      nanoaerosols vary in complexity but can            niques similar to those used in reduc-
      provide useful information for evaluat-            ing exposure to general aerosols.
      ing occupational exposures with respect        •   The implementation of a risk manage-
      to particle size, mass, surface area, num-         ment program in workplaces where ex-
      ber concentration, and composition.                posure to nanomaterials exists can help
      Unfortunately, relatively few of these             to minimize the potential for exposure
      techniques are readily applicable to rou-          to nanoparticles. Elements of such a
      tine exposure monitoring. NIOSH has                program should include the following:
      initiated exposure assessment studies in
      workplaces that manufacture or use en-             —— Evaluating the hazard posed by the
      gineered nanoparticles (see Appendix                  nanomaterial based on available
      Nanoparticle Emission Assessment Tech-                physical and chemical property
      nique for Identification of Sources and               data, toxicology, or health-effects
      Releases of Engineered Nanomaterials).                data
  •   Regardless of the metric or measurement            —— Assessing the worker’s job task to
      method used for evaluating nanoaerosol                determine the potential for expo-
      exposures, it is critical that background             sure
      nanoscale particle measurements be
      conducted before the production, pro-              —— Educating and training workers in
      cessing, or handling of nanomaterials.                the proper handling of nanomate-
                                                            rials (e.g., good work practices)
  •   When feasible, personal sampling is pre-
      ferred to ensure an accurate representa-           —— Establishing criteria and proce-
      tion of the worker’s exposure, whereas                dures for installing and evaluat-
      area sampling (e.g., size-fractionated                ing engineering controls (e.g.,
      aerosol samples) and real-time (direct                exhaust ventilation) at locations
      reading) exposure measurements may                    where exposure to nanomaterials
      be more useful for evaluating the need                might occur


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                   —— Developing procedures for deter-            •   Respirators may be necessary when en-
                      mining the need for and selecting               gineering and administrative controls
                      proper personal protective equip-               do not adequately prevent exposures.
                      ment (e.g., clothing, gloves, respi-            Currently, there are no specific limits
                      rators)                                         for airborne exposures to engineered
                                                                      nanoparticles although occupational
                   —— Systematically evaluating expo-
                                                                      exposure limits exist for some larger
                      sures to ensure that control mea-
                                                                      particles of similar chemical compo-
                      sures are working properly and
                                                                      sition. It should be recognized that
                      that workers are being provided
                                                                      exposure limits recommended for non-
                      the appropriate personal protec-
                                                                      nanoscale particles may not be health
                      tive equipment
                                                                      protective for nanoparticle exposures
              •    Engineering control techniques such as             (e.g., the OSHA Permissible Exposure
                   source enclosure (i.e., isolating the gen-         Limit [PEL] for graphite may not be a
                   eration source from the worker) and lo-            safe exposure limit for carbon nano-
                   cal exhaust ventilation systems should be          tubes). The decision to use respiratory
                   effective for capturing airborne nano-             protection should be based on profes-
                   particles. Current knowledge indicates             sional judgment that takes into account
                   that a well-designed exhaust ventilation           toxicity information, exposure mea-
                   system with a high-efficiency particulate          surement data, and the frequency and
                   air (HEPA) filter should effectively re-           likelihood of the worker’s exposure.
                   move nanomaterials.                                While research is continuing, prelimi-
                                                                      nary evidence indicates that NIOSH-
              •    The use of good work practices can                 certified respirators will be useful for
                   help to minimize worker exposures                  protecting workers from nanoparticle
                   to nanomaterials. Examples of good                 inhalation when properly selected and
                   practices include cleaning of work ar-             fit tested as part of a complete respira-
                   eas using HEPA vacuum pickup and                   tory protection program.
                   wet wiping methods, preventing the
                   consumption of food or beverages in
                   workplaces where nanomaterials are           Occupational Health
                   handled, providing hand-washing fa-          Surveillance
                   cilities, and providing facilities for
                                                                Occupational health surveillance is an essen-
                   showering and changing clothes.
                                                                tial component of an effective occupational
              •    No guidelines are currently available on     safety and health program. The unique phys-
                   the selection of clothing or other ap-       ical and chemical properties of nanomateri-
                   parel (e.g., gloves) for the prevention      als, the increasing growth of nanotechnology
                   of dermal exposure to nanoaerosols.          in the workplace, and information suggesting
                   However, some clothing standards in-         that exposure to some engineered nanomate-
                   corporate testing with nanometer-sized       rials can cause adverse health effects in labo-
                   particles and therefore provide some in-     ratory animals all support consideration of
                   dication of the effectiveness of protec-     an occupational health surveillance program
                   tive clothing.                               for workers potentially exposed to engineered


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 nanomaterials. Continued evaluation of tox-     Guidance for Medical Screening and Hazard
 icologic research and workers potentially ex-   Surveillance for Workers Potentially Exposed
 posed to engineered nanomaterials is needed     to Engineered Nanoparticles at www.cdc.gov/
 to inform NIOSH and other groups regarding      niosh/review/public/115/). In this document
 the appropriate components of occupational      NIOSH concluded that insufficient scientific
 health surveillance for nanotechnology work-    and medical evidence now exist to recom-
 ers. NIOSH has formulated interim guidance      mend the specific medical screening of work-
 relevant to medical screening (one compo-       ers potentially exposed to engineered nano-
 nent of an occupational health surveillance     particles. However, NIOSH did recommend
 program) for nanotechnology workers (see        that hazard surveillance be conducted as the
 NIOSH Current Intelligence Bulletin Interim     basis for implementing control measures.




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          1         Introduction

 Nanotechnology is the manipulation of mat-       is unknown. In the meantime, the extensive
 ter on a near-atomic scale to produce new        scientific literature on airborne particles—
 structures, materials, and devices. This tech-   including toxicology and epidemiological
 nology has the ability to transform many         studies, measurement techniques, and en-
 industries and can be applied in many ways       gineering controls—provides the best avail-
 to areas ranging from medicine to manufac-       able data from which to develop interim
 turing. Research in nanoscale technologies       approaches for working safely with nano-
 is growing rapidly worldwide. Lux Research       materials and to develop hypotheses for
 [2007] projects that new emerging nanotech-      studies of new nanomaterials.
 nology applications will affect nearly every     The National Institute for Occupational
 type of manufactured product through the         Safety and Health (NIOSH) is working in
 middle of the next decade, becoming incor-       parallel with the development and imple-
 porated into 15% of global manufacturing         mentation of commercial nanotechnology
 output, totaling $2.6 trillion in 2014.          through (1) conducting strategic planning
                                                  and research, (2) partnering with public-
 Nanomaterials present new challenges to
                                                  and private-sector colleagues from the Unit-
 understanding, predicting, and managing          ed States and abroad, and (3), making infor-
 potential health risks to workers. As with       mation widely available. The NIOSH goal is
 any material being developed, scientific data    to provide national and world leadership for
 on the health effects in exposed workers are     incorporating research findings about the
 largely unavailable. In the case of nanoma-      implications and applications of nanotech-
 terials, the uncertainties are great because     nology into good occupational safety and
 the characteristics of nanoparticles may         health practice for the benefit of all nano-
 be different from those of larger particles      technology workers. NIOSH has developed
 with the same chemical composition. Safe-        a strategic plan for coordinating nanotech-
 ty and health practitioners recognize the        nology research and for use as a guide for en-
 critical lack of specific guidance on the safe   hancing the development of new research ef-
 handling of nanomaterials—especially now,        forts (www.cdc.gov/niosh/topics/nanotech/
 when the degree of risk to exposed workers       strat_plan.html).




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           2         Purpose

 With the publication of this Approaches to Safe        draw from the ongoing NIOSH assess-
 Nanotechnology document, NIOSH hopes to                ment of current best practices, technical
 do the following:                                      knowledge, and professional judgment.
                                                        Throughout the development of these
   •   Raise awareness of the occupational              guidelines, the utility of a hazard-based
       safety and health issues being identi-           approach to risk assessment and control
       fied in the rapidly moving and chang-            was evaluated and, where appropriate,
       ing science involving implications and           recommendations are provided.)
       applications of nanotechnology.
                                                    •   Facilitate an exchange of information
   •   Use the best information available to            between NIOSH and its external partners
       make recommendations on occupa-                  from ongoing research, including success
       tional safety and health practices in the        stories, applications, and case studies.
       production and use of nanomaterials
       (These recommendations will be updat-        •   Respond to requests from industry, la-
                                                        bor, academia, and other partners who
       ed as appropriate to reflect new informa-
                                                        are seeking science-based, authorita-
       tion. They will address key components
                                                        tive guidelines.
       of occupational safety and health, includ-
       ing exposure monitoring, engineering         •   Identify information gaps where few
       controls, personal protective equipment,         or no data exist and where research is
       and administrative controls. They will           needed.




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          3         Scope

 This document has been developed to pro-          •   People working with or potentially ex-
 vide a resource for stakeholders who wish             posed to engineered nanomaterials in
 to understand more about the safety and               the workplace
 health implications and applications of
                                                 Established safe work practices are generally
 nanotechnology in the workplace. The in-
                                                 based on an understanding of the hazards
 formation and guidelines presented here are     associated with the chemical and physical
 intended to aid in evaluating the potential     properties of a material. Engineered nano-
 hazard of exposure to engineered nanoma-        materials may exhibit unique properties
 terials and to set the stage for the develop-   that are related to their physical size, shape,
 ment of more comprehensive guidelines for       structure, and chemical composition. Con-
 reducing potential workplace exposures in       siderable uncertainty still exists as to whether
 the wide range of tasks and processes that      these unique properties present occupational
 use nanomaterials. The information in this      health risks. Current information about the
 document will be of specific interest to the    potential adverse health effects of engineered
 following:                                      nanomaterials, exposure assessment, and ex-
                                                 posure control is limited. However, the large
  •   Occupational safety and health profes-
                                                 body of scientific literature that exists on
      sionals who must (1) understand how        exposures to and responses of animals and
      nanotechnology may affect occupa-          humans to ultrafine and other airborne par-
      tional health and (2) devise strategies    ticles may be useful in making preliminary
      for working safely with nanomaterials      assessments as to the health risks posed by
  •   Researchers working with or planning       engineered nanomaterials. Until further in-
                                                 formation is available, interim safe work-
      to work with engineered nanomateri-
                                                 ing practices should be used based on the
      als and studying the potential occu-
                                                 best available information. The information
      pational safety and health impacts of
                                                 and recommendations in this document are
      nanomaterials
                                                 intended to aid in assessment of the poten-
  •   Policy and decision makers in govern-      tial hazard of engineered nanomaterials and
      ment agencies and industry                 to set the stage for the development of more
                                                 comprehensive guidelines for reducing po-
  •   Risk evaluation professionals              tential workplace exposures.




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             4        Descriptions and Definitions

 Nanotechnology involves the manipulation            advanced materials with unique properties
 of matter at nanometer† scales to produce           and high-efficiency energy storage and gen-
 new materials, structures, and devices. The         eration.
 U.S. National Nanotechnology Initiative (see
                                                     Although nanotechnology-based products
 http://nano.gov/html/facts/whatIsNano.
                                                     are generally thought to be at the precompet-
 html) defines a technology as nanotechnol-
                                                     itive stage, an increasing number of products
 ogy only if it involves all of the following:
                                                     and materials are becoming commercially
     •   Research and technology development         available. These include nanoscale powders,
         involving structures with at least one      solutions, and suspensions of nanoscale ma-
         dimension in the range of 1–100 nano-       terials as well as composite materials and
         meters (nm), frequently with atomic/        devices having a nanostructure. Nanoscale
         molecular precision                         products and materials are increasingly used
                                                     in optoelectronic, electronic, magnetic, med-
     •   Creating and using structures, devices,     ical imaging, drug delivery, cosmetic, cata-
         and systems that have unique prop-          lytic, and materials applications. New nano-
         erties and functions because of their       technology consumer products are coming
         nanoscale dimensions                        on the market at the rate of three to four
     •   The ability to control or manipulate on     per week, a finding based on the latest up-
         the atomic scale                            date to the nanotechnology consumer prod-
                                                     uct inventory maintained by the Project on
 Nanotechnology is an enabling technology            Emerging Nanotechnologies (PEN)‡ (www.
 that offers the potential for unprecedented         nanotechproject.org/inventories/consumer).
 advances in many diverse fields. The abil-          The number of consumer products using
 ity to manipulate matter at the atomic or           nanotechnology has grown from 212 to 609
 molecular scale makes it possible to form           since PEN launched the world’s first online
 new materials, structures, and devices that         inventory of manufacturer-identified nano-
 exploit the unique physical and chemical            tech goods in March 2006.
 properties associated with nanoscale struc-
 tures. The promise of nanotechnology goes           According to Lux Research [2007], in 2006,
 far beyond extending the use of current             governments, corporations, and venture capi-
 materials. New materials and devices with           talists worldwide spent $11.8 billion on nano-
 intricate and closely engineered structures         technology research and development (R&D),
 will allow for (1) new directions in optics,        which was up 13% from 2005. By 2014, Lux
 electronics, and optoelectronics, (2) devel-        estimates $2.6 trillion in manufactured goods
 opment of new medical imaging and treat-
 ment technologies, and (3) production of            The Project on Emerging Nanotechnologies was es-
                                                     ‡

                                                     tablished in April 2005 as a partnership between the
                                                     Woodrow Wilson International Center for Scholars
 1 nanometer (nm) = 1 billionth of a meter (10-9).
 †
                                                     and the Pew Charitable Trusts.



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            4 Descriptions and Definitions




            Figure 4–1. Photomicrographs of airborne exposure to ultrafine (nanoscale) particles of
            welding fumes, diesel exhaust, and cerium oxide


            will incorporate nanotechnology—or about         may vary widely at the nanoscale. For in-
            15% of total global output.                      stance, carbon fullerenes represent nano-
                                                             ­objects with identical dimensions in all
                                                              directions (i.e., spherical), whereas sin-
            4.1 Nano-objects                                  gle-walled carbon nanotubes (SWCNTs)
            The International Organization for Standard-      typically form convoluted, fiber-like nano-
            ization Technical Committee 229 (Nanotech-        objects. Many regular but nonspherical par-
            nologies) is developing globally recognized       ticle morphologies can be engineered at the
            nomenclature and terminology for nano-            nanoscale, including flower- and belt-like
            materials. According to ISO/TS 27687:2008,        structures. Please see www.nanoscience.gat-
            nano-object is defined as material with one,      ech.edu/zlwang/research.html for examples
            two, or three external dimensions in the size     of some nanoscale structures.
            range from approximately 1–100 nm. Sub-
            categories of nano-object are (1) nanoplate,     4.2 Ultrafine Particles
            a nano-object with one external dimension
            at the nanoscale; (2) nanofiber, a nano-object   The term ultrafine particle has tradition-
            with two external dimensions at the nano-        ally been used by the aerosol research and
            scale with a nanotube defined as a hollow        occupational and environmental health
            nanofiber and a nanorod as a solid nanofiber;    communities to describe airborne particles
            and (3) nanoparticle, a nano-object with all     smaller than 100 nm in diameter. Ultrafine
            three external dimensions at the nanoscale.      is frequently used in the context of nano-
            Nano-objects are commonly incorporated in        meter-diameter particles that have not been
            a larger matrix or substrate referred to as a    intentionally produced but are the inciden-
            nanomaterial. Nano-objects may be suspend-       tal products of processes involving combus-
            ed in a gas (as a nanoaerosol), suspended in a   tion, welding, or diesel engines (see Figure
            liquid (as a colloid or nanohydrosol), or em-    4–1). The term nanoparticle is frequently
            bedded in a matrix (as a nanocomposite).         used with respect to particles demonstrat-
                                                             ing size-dependent physicochemical prop-
            The precise definition of particle diameter      erties, particularly from a materials science
            depends on particle shape as well as how the     perspective. The two terms are sometimes
            diameter is measured. Particle morphologies      used to differentiate between engineered


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                                                                 4 Descriptions and Definitions


 (nanoparticle) and incidental (ultrafine)           physically and chemically heterogeneous
 nanoscale particles.                                compared with engineered nanoparticles.

 It is currently unclear whether the use of
 source-based definitions of nanoparticles           4.4 Nanoaerosol
 and ultrafine particles is justified from a safe-
                                                     A nanoaerosol is a collection of nanopar-
 ty and health perspective. This is particular-
                                                     ticles suspended in a gas. The particles may
 ly the case where data on non-­engineered,
                                                     be present as discrete nano-objects, or as ag-
 nanometer-diameter particles are of direct
                                                     gregates or agglomerates of nano-­objects.
 relevance to the impact of engineered par-
                                                     These agglomerates may have diameters
 ticles. An attempt has been made in this            larger than 100 nm. In the case of an aerosol
 document to follow the general convention           consisting of micrometer-­diameter particles
 of preferentially using nanoparticle in the         formed as agglomerates of nano-objects,
 context of intentionally produced or engi-          the definition of nanoaerosol is open to in-
 neered particles and ultrafine in the con-          terpretation. It is generally accepted that if
 text of incidentally produced particles (e.g.,      the nanostructure associated with the nano-
 combustion products). However, this does            object is accessible (through physical, chem-
 not necessarily imply specific differences in       ical, or biological interactions), then the
 the properties of these particles as related to     aerosol may be considered a nanoaerosol.
 hazard assessment, measurement, or con-             However, if the nanostructure within indi-
 trol of exposures, and this remains an active       vidual micrometer-diameter particles does
 area of research. Nanoparticle and ultrafine        not directly influence particle behavior (for
 particle are not rigid definitions. For exam-       instance, if the nanoparticles were inaccessi-
 ple, since the term ultrafine has been in ex-       bly embedded in a solid matrix), the aerosol
 istence longer, some intentionally produced         would not be described as a nanoaerosol.
 particles with primary particle sizes in the
 nanosize range (e.g., TiO2) are often called
 ultrafine in the literature.                        4.5 Agglomerate
                                                     An agglomerate is a group of nanoparticles
 4.3 Engineered Nanoparticles                        held together by relatively weak forces, in-
                                                     cluding van der Waals forces, electrostatic
 Engineered nanoparticles are intentionally          forces, and surface tension [ISO 2006].
 produced, whereas ultrafine particles (often
 referred to as incidental nanoparticles) are
 typically byproducts of processes such as
                                                     4.6 Aggregate
 combustion and vaporization. Engineered             An aggregate is a heterogeneous particle in
 nanoparticles are designed with very spe-           which the various components are held to-
 cific properties or compositions (e.g., shape,      gether by relatively strong forces, and thus
 size, surface properties, and chemistry). In-       not easily broken apart [ISO 2006]. Aggre-
 cidental nanoparticles are generated in a rel-      gated nanoparticles would be an example of
 atively uncontrolled manner and are usually         a nanostructured material.




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          5         Potential Health Concerns

 Nanotechnology is an emerging field. As          oxidant species and to adsorb biological
 such, there are many uncertainties as to         proteins or bind to receptors [Duffin et al.
 whether the unique properties of engi-           2002; Oberdörster et al. 2005a; Maynard
 neered nanomaterials (which underpin             and Kuempel 2005; Donaldson et al. 2006].
 their commercial and scientific poten-           More research is needed on the influence of
 tial) also pose occupational health risks.       particle properties on interactions with bio-
 These uncertainties arise because of gaps        logical systems and the potential for adverse
 in knowledge about the factors that are es-      effects. International research strategies for
 sential for predicting health risks—factors      evaluating the safety of nanomaterials are
 such as routes of exposure, translocation        actively being developed through coopera-
 of materials once they enter the body, and       tive efforts [Thomas et al. 2006].
 interaction of the materials with the body’s
 biological systems. The potential health risk    Existing toxicity information about a given
 following exposure to a substance is gener-      material of larger particle size can provide a
 ally associated with the magnitude and du-       baseline for anticipating the possible adverse
 ration of the exposure, the persistence of the   health effects that may occur from exposure
 material in the body, the inherent toxicity of   to a nanoscale material that has some of the
 the material, and the susceptibility or health   same physicochemical properties (e.g., chem-
 status of the person exposed. More data are      istry, density). However, predicting the toxic-
 needed on the health risks associated with       ity of an engineered nanomaterial based on
 exposure to engineered nanomaterials. Re-        its physicochemical properties may not pro-
 sults of existing studies in animals and hu-     vide an adequate level of protection.
 mans on exposure and response to ultra-
 fine or other respirable particles provide a     5.1 Exposure Routes
 basis for preliminary estimates of the pos-
 sible adverse health effects from exposures      Inhalation is the most common route of ex-
 to similar engineered materials on a nano-       posure to airborne particles in the workplace.
 scale. Experimental studies in rodents and       The deposition of discrete nano-­objects in the
 cell cultures have shown that the toxicity       respiratory tract is determined by the particle’s
 of ultrafine or nanoparticles is greater than    aerodynamic or thermodynamic diameter
 that of the same mass of larger particles of     (i.e., the particle shape and size). Agglomer-
 similar chemical composition [Oberdörster        ates of nano-objects will deposit according to
 et al. 1992, 1994a, b; Lison et al. 1997; Tran   the diameter of the agglomerate, not constitu-
 et al. 1999, 2000; Brown et al. 2001; Barlow     ent nano-objects. Research is ongoing to de-
 et al. 2005; Duffin et al. 2007]. In addition    termine the physical factors that contribute to
 to particle surface area, other particle char-   the agglomeration and de-agglomeration of
 acteristics may influence toxicity, includ-      nano-objects in air, suspended in aqueous me-
 ing surface functionalization or coatings,       dia, or once in contact with lung lining fluid
 solubility, shape, and the ability to generate   and/or biological proteins. Evidence indicates


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            that the degree of agglomeration can affect the   nanoparticles were quantum dots of differ-
            toxicity of inhaled nano-objects [Shvedova et     ent size, shape, and surface coatings. They
            al. 2007].                                        were reported to penetrate the stratum core-
                                                              num barrier by passive diffusion and local-
            Discrete nanoparticles are deposited in the
                                                              ize within the epidermal and dermal layers
            lungs to a greater extent than larger respi-
                                                              within 8–24 hours. The dosing solutions
            rable particles [ICRP 1994], and deposi-
                                                              were 2- to 4-fold dilutions of quantum dots
            tion increases with exercise due to increase
                                                              as commercially supplied and thus represent
            in breathing rate and change from nasal to
                                                              occupationally relevant doses.
            mouth breathing [Jaques and Kim 2000;
            Daigle et al. 2003] and among persons with        At this time, it is not fully known whether skin
            existing lung diseases or conditions (e.g.,       penetration of nanoparticles would result in
            asthma, emphysema) [Brown et al. 2002].           adverse effects in animal models. However,
            Based on animal studies, discrete nano-           topical application of raw SWCNT to nude
            particles may enter the bloodstream from          mice has been shown to cause dermal irrita-
            the lungs and translocate to other organs         tion [Murray et al. 2007]. Studies conducted
            [Takenaka et al. 2001; Nemmar et al. 2002;        in vitro using primary or cultured human
            Oberdörster et al. 2002].                         skin cells have shown that both SWCNT and
            Discrete nanoparticles (35–37-nm median           multi-walled carbon nanotubes (MWCNT)
            diameter) that deposit in the nasal region        can enter cells and cause release of pro-in-
            may be able to enter the brain by translo-        flammatory cytokines, oxidative stress, and
            cation along the olfactory nerve, as was          decreased viability [Monteiro-Riviere et al.
            observed in rats [Oberdörster et al. 2004;        2005; Shvedova et al. 2003]. It remains un-
            Oberdörster et al. 2005a; Elder et al. 2006].     clear, however, how these findings may be
            The transport of insoluble particles from         extrapolated to a potential occupational
            20–500 nm-diameter to the brain via senso-        risk, given that additional data are not yet
            ry nerves (including olfactory and trigemi-       available for comparing the cell model stud-
            nus) was reported in earlier studies in sever-    ies with actual conditions of occupational
            al animal models [De Lorenzo 1970; Adams          exposure. Research on the dermal exposure
            and Bray 1983; Hunter and Dey 1998]. This         of nanomaterials is ongoing (www.uni-
            exposure route for nanoparticles and to           leipzig.de/~nanoderm/).
            nanoscale biological agents has not been
                                                              Ingestion can occur from unintentional
            studied in humans.
                                                              hand to mouth transfer of materials; this
            Some studies suggest that nanomaterials           has been found to happen with traditional
            could potentially enter the body through          materials, and it is scientifically reasonable
            the skin during occupational exposure. Tin-       to assume that it also could happen dur-
            kle et al. [2003] have shown that particles       ing handling of nanomaterials. Ingestion
            smaller than 1 µm in diameter may pene-           may also accompany inhalation exposure
            trate into mechanically flexed skin samples.      because particles that are cleared from the
            A more recent study reported that nanopar-        respiratory tract via the mucociliary escala-
            ticles with varying physicochemical proper-       tor may be swallowed [ICRP 1994]. Little is
            ties were able to penetrate the intact skin of    known about possible adverse effects from
            pigs [Ryman-Rasmussen et al. 2006]. These         the ingestion of nanomaterials.


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 5.2 Effects Seen in Animal                         particle surface area dose and pulmonary
     Studies                                        inflammation is consistent among PSLT
                                                    particles, crystalline silica is much more in-
 Experimental studies in rats have shown            flammogenic than PSLT particles at a given
 that at equivalent mass doses, insoluble           surface area dose [Duffin et al. 2007].
 ultrafine particles are more potent than
 larger particles of similar composition in         Reactive oxidant generation on the particle
 causing pulmonary inflammation, tissue             surface is an important factor influencing
 damage, and lung tumors [Lee et al. 1985;          lung response to particles, which can be
 Oberdörster and Yu 1990; Oberdörster et al.        related to crystal structure. A recent study
 1992, 1994a,b; Heinrich et al. 1995; Driscoll      of the lung effects of rats dosed with either
 1996; Lison et al. 1997; Tran et al. 1999, 2000;   ultrafine anatase titanium dioxide (TiO2) or
 Brown et al. 2001; Duffin et al. 2002; Renwick     ultrafine rutile TiO2 showed that the anatase
 et al. 2004; Barlow et al. 2005]. These studies    TiO2 had more reactive surfaces and caused
 have shown that for poorly-soluble low tox-        greater pulmonary inflammation and cell
 icity (PSLT) particles, the dose-response re-      proliferation in the lungs of rats [Warheit
 lationships are consistent across particle siz-    et al. 2007]. In a cell-free assay designed to
 es when dose is expressed as particle surface      investigate the role of surface area and crys-
 area. In addition to particle size and surface     tal structure on particle reactive oxygen spe-
 area, studies have shown that other particle       cies (ROS)-generation, Jiang et al. [2008]
 characteristics can influence toxicity. For        observed that size, surface area, and crystal
 example, although the relationship between         structure all contribute to ROS generation.




 Figure 5–1. Formation of collagen following deposition of SWCNTs in the lungs of mice


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            Oxidant generation was apparently associ-          in particle size from accumulation and to
            ated with the number of defective sites per        changes in surface chemistry [Johnston et al.
            surface area, which varied in nanoparticles        2000; Oberdörster et al. 2005a]. Human case
            in some size ranges [Jiang et al. 2008].           studies have reported pulmonary edema in
                                                               workers exposed to PTFE fume and an acci-
            These studies indicate that for nanoparticles
                                                               dental death in a worker when an equipment
            with similar properties (e.g., PSLT), the tox-
                                                               malfunction caused overheating of the PTFE
            icity of a given mass dose will increase with
                                                               resin and release of the PTFE pyrolysis prod-
            decreasing particle size due to the increasing
                                                               ucts in the workplace [Goldstein et al. 1987;
            surface area. However, the dose-response re-
                                                               Lee et al. 1997]. While PTFE fume differs
            lationship may differ for particles with differ-
                                                               from engineered nanoparticles, these studies
            ent chemical composition and other proper-
                                                               illustrate properties of ultrafine particles that
            ties. Consistent with these findings, a recent
                                                               have been associated with an acute toxic haz-
            pulmonary instillation study with rats dosed
                                                               ard. Enclosed processes and other engineer-
            with either fine or ultrafine TiO2 reported
            no significant difference in lung responses        ing controls appear to have been effective at
            when compared to controls, while crystal-          eliminating worker exposures to PTFE fume
            line silica caused more severe lung responses      in normal operations, and thus may provide
            at the same dose [Warheit et al. 2006]. How-       examples of control systems that may be im-
            ever, Warheit et al. [2006] were unable to ad-     plemented to prevent exposure to nanopar-
            equately test the hypotheses about the rela-       ticles that may have similar p­ roperties.
            tionship between particle surface area dose
            and toxicity because the diameters of the fine     5.2.2    Carbon nanotubes
            and ultrafine TiO2-instilled particles did not
            significantly differ due to particle agglomera-    Carbon nanotubes (CNT) are specialized
            tion, both being in excess of 2 µm. When ef-       forms or structures of engineered nanomate-
            forts were made to more effectively disperse       rials that have had increasing production and
            fine and ultrafine particles, the effect of sur-   use [Donaldson et al. 2006]. Consequently, a
            face area on the pulmonary response in rats        number of toxicologic studies of CNT have
            after intratracheal instillation was verified      been performed in recent years. These stud-
            [Sager et al. 2008].                               ies have shown that the toxicity of CNT may
                                                               differ from that of other nanomaterials of
                                                               similar chemical composition. For example,
            5.2.1    Polytetrafluoroethylene fume
                                                               single-walled CNTs (SWCNT) have been
            Among ultrafine particles, freshly generated       shown to produce adverse effects including
            polytetrafluoroethylene (PTFE) fume (gen-          granulomas in the lungs of mice and rats at
            erated at temperatures of more than 425oC) is      mass doses at which ultrafine carbon black
            known to be highly toxic to the lungs. Freshly     did not produce these adverse effects [Shve-
            generated PTFE fume caused hemorrhagic             dova et al. 2005; Lam et al. 2004]. While both
            pulmonary edema and death in rats exposed          SWCNTs and carbon black are carbon-based,
            to less than 60 µg/m3 [Oberdörster et al.          SWCNTs have a unique, convoluted, fibrous
            1995]. In contrast, aged PTFE fume was much        structure and specific surface chemistry that
            less toxic and did not result in mortality. This   offers excellent electrical conductive proper-
            low toxicity was attributed to the increase        ties. How these characteristics may influence


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 Figure 5–2. Deposition and clearance of MWCNTs from the conducting airways of mice
 following inhalation exposure


 toxicity is not known. Carbon nanotubes may        body weight) [Shvedova et al. 2005]. The find-
 contain metal catalysts as byproducts of their     ings showed that exposure to SWCNTs in mice
 production, which could contribute to their        lead to transient pulmonary inflammation,
 toxicity, or the CNTs may provide a structure      oxidative stress, decrease in pulmonary func-
 that promotes fibroblast cell growth [Wang         tion, decrease in bacterial clearance, and early
 et al. 2008].                                      onset of interstitial fibrosis. Deposition of ag-
                                                    glomerates resulted in development of granu-
 In a study of SWCNTs instilled into the lungs      lomas, while deposition of dispersed nanotube
 of rats, multi-focal granulomas (without tran-     structures in the aspirated suspension resulted
 sient inflammation or persistent lesions) were     in the rapid development of interstitial fibro-
 observed at doses of 1 or 5 ­mg­/­kg body weight   sis (within 7 days), which progressed over a
 [Warheit et al. 2004]. In a study of mice in-      30–60 day post-exposure period [Shvedova
 stilled with one of several types of SWCNTs        et al. 2005; Mercer et al. 2008]. Evidence in-
 (i.e., raw, purified, iron-containing, and nick-   dicates that when efforts were made to more
 el-containing) at doses of 0.1 or 0.5 mg/mouse     fully disperse the SWCNT and obtain smaller
 (approximately 3 or 16 mg/kg body weight),         structures in the aspiration suspension, fewer
 dose-dependent epithelioid granulomas were         granulomas occurred but a 4-fold more po-
 observed at 7 days, which persisted at 90 days     tent interstitial fibrotic response was observed
 [Lam et al. 2004, 2006]. Both the raw and pu-      [Mercer et al. 2008].
 rified forms produced interstitial inflamma-
 tion, while mortality (5/9 mice) was observed      Exposure to SWCNT has been observed to be
 in the high dose group of the Ni-containing        more fibrogenic than an equal mass of either
 SWCNT.                                             ultrafine carbon black or fine quartz [Shve-
                                                    dova et al. 2005; Lam et al. 2004]. Based on
 NIOSH researchers recently reported adverse        their findings in mice, Shvedova et al. [2005]
 lung effects following pharyngeal aspiration       estimated that workers may be at risk of devel-
 of SWCNTs in mice using doses between              oping lung lesions if they were exposed to SW-
 10–40 µg/mouse (approximately 0.5–2 ­mg­/­kg       CNT over a period of 20 days at the current


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            OSHA PEL for graphite (5 mg/m3). Lam et al.        At an equal mass dose, ground MWCNT pro-
            [2004, 2006] provided similar estimates and        duced a similar inflammatory and fibrogenic
            suggested that the graphite PEL should not         response as chrysotile asbestos and a greater
            be used (e.g., on MSDS) as a safe concentra-       response than ultrafine carbon black [Muller
            tion for workers exposed to CNTs. Compared         et al. 2005]. Effects from the vehicle (1%
            to instillation, the pharyngeal aspiration tech-   Tween 80) used for administering ground
            nique may approximate more closely the par-        and unground MWCNT to rats were not re-
            ticle deposition that occurs during inhalation.    ported; the control group used in the study
            Inhalation studies of CNTs may provide more        was exposed to only saline. NIOSH scientists
            definitive information about their potential       have exposed mice by aspiration to MWCNT
            toxicity in humans [Donaldson et al. 2006].        suspended in a simulated alveolar lining fluid
            Recently, NIOSH scientists designed a system       rather than Tween 80. Control studies show
            to generate an aerosol of SWCNT for a rat in-      that this suspension medium was not inflam-
            halation study [Baron et al. 2008]. Results of     matory and did not mask the biological activ-
            the inhalation exposure to SWCNT [Shvedova         ity of the particle surface. Data indicate that
            et al. 2008] were qualitatively similar to those   aspiration of dispersed MWCNT produced
            of the aspiration study [Shvedova et al. 2004]     pulmonary inflammation, which peaked
            with a 4-fold more potent interstitial fibrotic    7 days post exposure. The inflammatory re-
            response similar to that reported by Mercer        sponse to MWCNT was greater than the in-
            et al. [2008]. Another NIOSH study found           flammatory response to SWCNT [Sriram et
            markers of inflammation in the lung, aorta,        al. 2007].
            and heart tissues of ApoE-/- mice after a single
            intra-pharyngeal instillation dose of SWCNT        Two recent studies investigated the hypothe-
            (10 and 40 µg/mouse) and accelerated plaque        ses that CNTs can behave like asbestos. In the
            formation after repeated doses (20 µg/mouse        first study, Takagi et al. [2008] administered
            once every other week for 8 weeks in mice fed      to p53 (+/-) mice MWCNT, fullerene, or cro-
            an atherogenic diet) [Li et al. 2007].             cidolite asbestos by intraperitoneal injection
                                                               at doses of 3 mg/mouse. The average width
            MWCNTs were recently studied by intratra-          of the MWCNT was approximately 100 nm,
            cheal instillation in Sprague-Dawley rats re-      and approximately 28% of the particles were
            ceiving 0.5, 2, or 5 mg (approximately 2, 9,       longer than 5 µm. The particle number con-
            or 22 mg/kg body weight) of either ground          centrations of MWCNT and crocidolite were
            MWCNT or unground MWCNT [Muller et                 1 × 109 and 1 × 1010 (in 1-ml suspensions),
            al. 2005]. Both forms produced pulmonary           respectively, although the MWCNT sample
            inflammation and fibrosis. Rats that received      was also reported to contain mainly large ag-
            ground MWCNT showed greater dispersion             gregates, indicating that the number of MW-
            in the lungs, and fibrotic lesions were ob-        CNT fibers was vastly underestimated and
            served in the deep lungs (alveolar region). In     much larger than for the asbestos exposure.
            rats treated with MWCNT (not ground) fi-           At the termination of the study (25 weeks),
            brosis showed mainly in their airways rather       mesothelial responses in the MWCNT-
            than in their lungs. The biopersistence of the     treated mice included moderate to severe
            unground MWCNT was greater than that of            fibrous peritoneal adhesion and peritoneal
            the ground MWCNT, with 81% vs. 36%, re-            tumors. The asbestos-treated mice had simi-
            spectively, remaining in the lungs at day 60.      lar responses but to a lesser extent, while the


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 fullerene-treated group did not show these       These studies indicate the need for more
 responses. Mesothelioma was considered by        data on exposures of workers to CNTs.
 the authors as the primary cause of death,       Maynard et al. [2004] reported relatively
 and constriction of the ileus due to severe      low short-term (approximately 30 min)
 peritoneal adhesion was considered to be the     airborne mass concentrations of SWCNT
 second major cause of death, suggesting that     (0.007–0.053 mg/m3) in a laboratory pro-
 3 mg/mouse exceeded the maximum toler-           duction facility. A recent study by Han et al.
 ated dose of MWCNT. Whether mesothelio-          [2008] reported total airborne mass concen-
 mia was a primary cause of death is some-        trations of MWCNT from 0.21–0.43 mg/m3
 what speculative.                                (4–6-hr sampling) in a laboratory research
                                                  facility prior to use of engineering control
 In a second study, Poland et al. [2008] admin-   measures; after implementing controls, the
 istered to mice either MWCNT (two short          concentration decreased to nondetectable.
 and two long CNT samples), nanoscale car-        Workers could also be exposed to ground
 bon black, or amosite (short or long) at dos-    CNTs used in polymer composites and
 es of 50 µg/mouse by intraperitoneal injec-      other matrices or during cutting, grinding,
 tion. The short CNTs were 10 nm or 15 nm         or polishing of these materials. Given that
 in width, with no fibers larger than 15 µm in    exposure to SWCNT and MWCNT causes
 length detected; the long CNTs were 85 nm        interstitial fibrosis and pulmonary inflam-
 or 165 nm in width, and 24% or 84%, re-          mation, respectively, in rodent lungs at rela-
 spectively, were larger than 15 µm in length     tively low mass doses, it is prudent to mini-
 (the percentage of fibers longer than 5 µm       mize worker exposure to airborne CNTs
 was not reported). After either 24 hours or      (see Chapter 8 Guidelines for Working with
 7 days, the long MWCNT caused inflamma-          Engineered Nanomaterials).
 tion and granulomatous lesions that were
 qualitatively and quantitatively similar to
 that caused by the long asbestos. The short,     5.3 Observations from
 low-aspect-ratio, tangled aggregates of MW-          Epidemiological Studies
 CNT did not produce these responses at the           Involving Fine and Ultrafine
 doses used in this study. Additional studies         Particles
 are needed to determine if this inflammato-
 ry response to MWCNT would be persistent         Epidemiological studies in workers exposed
 and result in tumors of the abdominal wall.      to aerosols including fine and ultrafine parti-
 Additionally, the potential for migration of     cles have reported lung function decrements,
 MWCNT through the lungs to the mesothe-          adverse respiratory symptoms, chronic ob-
 lium after inhalation requires investigation.    structive pulmonary disease, and fibrosis
 Long-term studies are also needed to deter-      [Kreiss et al. 1997; Gardiner et al. 2001; An-
 mine whether CNTs can cause cancer such          tonini 2003]. In addition, some studies have
 as mesothelioma in laboratory animals, in-       found lung disease including elevated lung
 cluding exposures by typical routes in hu-       cancer and neurological effects among work-
 mans (i.e., inhalation, dermal penetration,      ers exposed to certain ultrafine particles (i.e.,
 and ingestion) and at doses that include         diesel exhaust particulate) [Steenland et al.
 those equivalent to potential workplace ex-      1998; Garshick et al. 2004, 2006; Hart et al.
 posures.                                         2006] or welding fumes [Antonini 2003; Park


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            et al. 2006; Ambroise et al. 2007; Bowler et al.   term diesel exhaust exposure (0.3 mg/­m3 for
            2007]. The implications of these studies to        1 hr) in healthy volunteers was associated
            engineered nanomaterials, which may have           with mild systemic inflammation and im-
            different particle properties, are uncertain.      paired ­endothelial-dependent vasodilation
            Studies of airborne particles and fibers in the    [Törnqvist et al. 2007].
            workplace do provide relevant background
            information about the particle-related lung
            diseases and mechanisms, and some limited          5.4 Hypotheses from Animal
            quantitative estimates of exposures and risk           and Epidemiological
            of adverse health effects. As such, these stud-        Studies
            ies provide a point of reference, including
                                                               The existing literature on particles and fi-
            baseline information and estimates regard-
                                                               bers provides a scientific basis from which to
            ing possible health risks of exposure to other
                                                               evaluate the potential hazards of engineered
            nanoscale particles depending on the extent
                                                               nanomaterials. While the properties of en-
            to which the exposure conditions and parti-
                                                               gineered nanomaterials can vary widely,
            cle-biological interactions may be similar.
                                                               the basic physicochemical and toxicokinetic
            Epidemiological studies in the general popu-       principles learned from the existing studies
            lation have also shown associations between        are relevant to understanding the poten-
            particulate air pollution and increased mor-       tial toxicity of nanomaterials. For example,
            bidity and mortality from respiratory and          it is known from studies in humans that a
            cardiovascular diseases [Dockery et al. 1993;      greater proportion of inhaled nanoparticles
            HEI 2000; Pope et al. 2002, 2004]. Some            will deposit in the respiratory tract (both at
            epidemiological studies have shown adverse         rest and with exercise) compared to larger
            health effects associated with exposure to         particles [ICRP 1994; Jaques and Kim 2000;
            the ultrafine particulate fraction of air pol-     Daigle et al. 2003; Kim and Jaques 2004]. It
            lution [Peters et al. 1997, 2004; Penttinen et     is also known from studies in animals that
            al. 2001; Ibald-Mulli et al. 2002; Timonen         nanoparticles in the lungs can be trans-
            et al. 2004; Ruckerl et al. 2006] although         located to other organs in the body; how
            uncertainty exists about the role of ultra-        the chemical and physical properties of the
            fine particles relative to other air pollutants    nanoparticles influence this translocation
            in causing the observed adverse health ef-         is not completely known [Takenaka et al.
            fects. The associations in these studies have      2001; Kreyling et al. 2002; Oberdörster et al.
            been based on measurements of the particle         2002, 2004; Semmler et al. 2004; Geiser et al.
            number or mass concentrations of particles         2005]. Due to their small size, nanoparticles
            within certain size fractions (e.g., particulate   can cross cell membranes and interact with
            matter with diameter of 2.5 µm and smaller         subcellular structures such as mitochondria,
            [PM2.5]). In an experimental study of healthy      where they have been shown to cause oxida-
            and asthmatic subjects inhaling ultrafine          tive damage and to impair function of cells
            carbon particles, changes were observed in         in culture [Möller et al. 2002, 2005; Li et al.
            the expression of adhesion molecules by            2003; Geiser et al. 2005]. Nanoparticles have
            blood leukocyte, which may relate to pos-          also been observed inside cell nuclei [Porter
            sible cardiovascular effects of ultrafine par-     et al. 2007a, b]. Animal studies have shown
            ticle exposure [Frampton et al. 2006]. Short-      that nanoparticles are more biologically


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                                                                   5 Potential Health Concerns


 active due to their greater surface area per      existing particles have shown adverse health
 mass compared with larger-sized particles         effects in workers exposed to ultrafine par-
 of the same chemistry [Oberdörster et al.         ticles (e.g., diesel exhaust particulate, welding
 1992; 1994a,b; 2005a; Driscoll 1996; Lison        fumes), and animal studies have shown that
 et al. 1997; Brown et al. 2001; Duffin et al.     ultrafine particles are more inflammogenic
 2002; Renwick et al. 2004; Barlow et al. 2005;    and tumorigenic in the lungs of rats than an
 Sager et al. 2008]. While this increased bio-     equal mass of larger particles of similar com-
 logical activity is a fundamental component       position [Oberdörster and Yu 1990; Driscoll
 to the utility of nanoparticles for industrial,   1996; Tran et al. 1999, 2000]. If engineered
 commercial, and medical applications, the         nanoparticles have the same physicochemi-
 consequences of unintentional exposures of        cal characteristics that are associated with
 workers to nanoparticles are uncertain.           reported effects from ultrafine particles,
                                                   they may pose the same health concerns.
 Research reported from laboratory animal
 studies and from epidemiological studies          Although the physicochemical characteristics
 have lead to hypotheses regarding the po-         of ultrafine particles and engineered nanopar-
 tential adverse health effects of engineered      ticles can differ, the toxicologic and dosimetric
 nanomaterials. These hypotheses are based         principles derived from available studies may
 on the scientific literature of particle expo-    be relevant to postulating the health concerns
 sures in animals and humans. This litera-         for newly engineered particles. The biological
 ture has been recently reviewed [Donaldson        mechanisms of particle-related lung diseases
 et al. 2005; Maynard and Kuempel 2005;            (i.e., oxidative stress, inflammation, and pro-
 Oberdörster et al. 2005a, Donaldson et al.        duction of cytokines, chemokines, and cell
 2006; Kreyling et al. 2006]. In general, the      growth factors) [Mossman and Churg 1998;
 particles used in past studies have not been      Castranova 2000; Donaldson and Tran 2002]
 characterized to the extent recommended           appear to be a consistent lung response for re-
 for new studies in order to more fully under-     spirable particles including ultrafine or engi-
 stand the physicochemical properties of the       neered nanoparticles [Donaldson et al. 1998;
 particles that influence toxicity [Oberdörst-     Donaldson and Stone 2003; Oberdörster et al.
 er et al. 2005b; Thomas et al. 2006]. As this     2005a]. Toxicological studies have shown that
 research continues, more data will become         the chemical and physical properties that in-
 available to support or refute the following      fluence the fate and toxicity of ultrafine par-
 hypotheses for engineered nanoparticles.          ticles may also be relevant to mechanisms in-
                                                   fluencing biological exposure and response to
 Hypothesis 1: Exposure to engineered nano-        other nanoscale particles [Duffin et al. 2002;
 particles is likely to cause adverse health ef-   Kreyling et al. 2002; Oberdörster et al. 2002;
 fects similar to ultrafine particles that have    Semmler et al. 2004; Nel et al. 2006].
 similar physical and chemical characteris-
 tics.                                             Hypothesis 2: Surface area and activity and
                                                   particle number may be better predictors of
 Studies in rodents and humans support the         potential hazard than mass.
 hypothesis that exposure to ultrafine particles
 poses a greater respiratory hazard than expo-     The greater potential hazard may relate to the
 sure to the same mass of larger particles with    greater number or surface area of nanopar-
 a similar chemical composition. Studies of        ticles compared with that for the same mass


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            concentration of larger particles [Oberdörst-        shown that the type of surface coating can have
            er et al. 1992, 1994a,b; Driscoll et al. 1996;       a significant effect on cell motility and viabil-
            Tran et al. 2000; Brown et al. 2001; Peters et       ity [Hoshino et al. 2004; Shiohara et al. 2004;
            al. 1997; Moshammer and Neuberger 2003;              Lovric et al. 2005]. Differences in the phase
            Sager et al. 2008]. This hypothesis is based         composition of nanocrystalline structures
            primarily on the pulmonary effects observed          can influence their cytotoxicity; in a recent
            in studies of rodents exposed to various types       study comparing two types of TiO2 nanopar-
            of ultrafine or fine particles (i.e., TiO2, car-     ticles exposed to UV radiation, anatase TiO2
            bon black, barium sulfate, carbon black, die-        was more cytotoxic and produced more reac-
            sel soot, coal fly ash, toner) and in humans         tive species than did rutile TiO2 with similar
            exposed to aerosols, including nanoscale             specific surface area (153 m2g and 123 m2g of
            particles (e.g., diesel exhaust, welding fumes).     TiO2, respectively) [Sayes et al. 2006]. Reactive
            These studies indicate that for a given mass         oxygen species were also associated with the
            of particles, relatively insoluble nanoparticles     cytotoxicity of TiO2 nanoparticles to mouse
            are more toxic than larger particles of simi-        microglia (brain cells) grown in culture [Long
            lar chemical composition and surface prop-           et al. 2006]. In contrast, in vitro generation
            erties. Studies of fine and ultrafine particles      of oxidant species is relatively low in purified
            have shown that particles with less reactive
                                                                 SWCNT (contaminating metals removed),
            surfaces are less toxic [Tran et al. 1999; Duf-
                                                                 yet this material caused progressive interstitial
            fin et al. 2002]. However, even particles with
                                                                 fibrosis in vivo [Shvedova et al. 2004; 2005].
            low inherent toxicity (e.g., TiO2) have been
                                                                 However, recent in vitro studies indicate that
            shown to cause pulmonary inflammation,
                                                                 purified SWCNTs enhance proliferation and
            tissue damage, and fibrosis at sufficiently
                                                                 collagen production in fibroblasts [Wang et al.
            high particle surface area doses [Oberdörster
            et al. 1992, 1994a,b; Tran et al. 1999, 2000].       2008]. Therefore, oxidant generation may not
                                                                 be the only mechanism driving the biological
            Through engineering, the properties of nano-         activity of nanomaterials.
            materials can be modified. For example, a re-
            cent study has shown that the cytotoxicity of        The studies of ultrafine particles may pro-
            water-soluble fullerenes can be reduced by           vide useful data to develop preliminary
            several orders of magnitude by modifying             hazard or risk assessments and to generate
            the structure of the fullerene molecules (e.g.,      hypotheses for further testing. The studies
            by hydroxylation) [Sayes et al. 2004]. These         in cell cultures provide information about
            structural modifications were shown to re-           the cytotoxic properties of nanomaterials
            duce the cytotoxicity by reducing the genera-        that can guide further research and toxicity
            tion of oxygen radicals—which is a probable          testing in whole organisms. More research
            mechanism by which cell membrane damage              is needed of the specific particle properties
            and death occurred in these cell cultures. In-       and other factors that influence the toxicity
            creasing the sidewall functionalization of SW-       and disease development, including those
            CNT also rendered these nanomaterials less           characteristics that may be most predictive
            cytotoxic to cells in culture [Sayes et al. 2005].   of the potential safety or toxicity of newly
            Cytotoxicity studies with quantum dots have          engineered nanomaterials.




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          6          Potential Safety Hazards

 Very little is known about the safety risks       compositions. Some nanomaterials are de-
 that engineered nanomaterials might pose,         signed to generate heat through the progres-
 beyond some data indicating that they pos-        sion of reactions at the nanoscale. Such mate-
 sess certain properties associated with safety    rials may present a fire hazard that is unique
 hazards in traditional materials. Based upon      to engineered nanomaterials. In the case of
 currently available information, the poten-       some metals, explosion risk can increase sig-
 tial safety concerns most likely would in-        nificantly as particle size decreases.
 volve catalytic effects or fire and explosion     The greater activity of nanoscale materials
 hazards if nanomaterials are found to be-         forms a basis for research into nanoenerget-
 have similarly to traditional materials.          ics. For instance, nanoscale Al/MoO3 ther-
                                                   mites ignite more than 300 times faster than
 6.1 Fire and Explosion Risk                       corresponding micrometer-scale material
                                                   [Granier and Pantoya 2004].
 Although insufficient information exists to
 predict the fire and explosion risk associated
 with nanoscale powders, nanoscale combus-         6.2 Risks of Catalytic
 tible material could present a higher risk            Reactions
 than a similar quantity of coarser mate-          Nanoscale particles and nanostructured po-
 rial, given its unique properties [HSE 2004].     rous materials have been used as effective
 Decreasing the particle size of combustible       catalysts for increasing the rate of reactions
 materials can increase combustion potential       or decreasing the necessary temperature
 and combustion rate, leading to the possi-        for reactions to occur in liquids and gas-
 bility of relatively inert materials becoming     es. Depending on their composition and
 highly reactive in the nanometer size range.      structure, some nanomaterials may initi-
 Dispersions of combustible nanomaterial in        ate catalytic reactions that, based on their
 air may present a greater safety risk than dis-   chemical composition, would not other-
 persions of non-­nanomaterials with similar       wise be anticipated [Pritchard 2004].




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          7        Exposure Assessment and Characterization

 There are currently no national or interna-      airborne nanomaterials. These assessments
 tional consensus standards on measurement        can be performed using traditional indus-
 techniques for nanomaterials in the work-        trial hygiene sampling methods including
 place. If the qualitative assessment of a pro-   samplers placed at static locations (area
 cess has identified potential exposure points    sampling), samples collected in the breath-
 and leads to the decision to measure nano-       ing zone of the worker (personal sampling),
 materials, several factors must be kept in       or real-time devices or methods that can be
 mind. Current research indicates that mass       personal or static. In general, personal sam-
 and bulk chemistry may be less important         pling is preferred to ensure an accurate repre-
 than particle size, surface area, and surface    sentation of the worker’s exposure, whereas
 chemistry (or activity) for nanostructured       area samples (e.g., size-fractionated aerosol
 materials [Oberdörster et al. 1992, 1994a,b;     samples) and real-time (direct-reading) ex-
 Duffin et al. 2002]. Research is ongoing into    posure measurements may be more useful
 the relative importance of these different       for evaluating the need for improvement of
 exposure metrics, and how to best charac-        engineering controls and work practices.
 terize exposures to nanomaterials in the
 workplace. In addition, the unique shape         Many of the sampling techniques that are
 and properties of some nanomaterials may         available for measuring nanoaerosols vary
 pose additional challenges. For example, the     in complexity but can provide useful in-
 techniques used to measure fiber concentra-      formation for evaluating occupational ex-
 tions in the workplace (e.g., phase contrast     posures with respect to particle size, mass,
 microscopy) would not be able to detect in-      surface area, number concentration, com-
 dividual carbon nanotubes with diameters         position, and surface chemistry. Unfortu-
 less than 100 nm nor bundles of carbon           nately, relatively few of these techniques are
 nanotubes with diameters less than 250 nm        readily applicable to routine exposure mon-
 [Donaldson et al. 2006]. NIOSH and the           itoring. Research is ongoing into developing
 National Institute of Standards and Tech-        an analytical strategy for determining both
 nology (NIST) are collaborating on efforts       TiO2 surface area and titanium mass from
 to develop nanoscale reference materials for     37-mm cassette filter samplers. Current
 exposure assessment. Initial effort is focused   measurement techniques are described be-
 on development of TiO2 reference material.       low along with their applicability for moni-
                                                  toring nanometer aerosols.

 7.1 Workplace Exposures                          For each measurement technique used, it
                                                  is vital that the key parameters associated
 While research continues to address ques-        with the technique and sampling method-
 tions of nanomaterial toxicity, a number         ology be recorded when measuring expo-
 of exposure assessment approaches can be         sure to nanoaerosols. This should include
 used to help determine worker exposures to       the response range of the instrumentation,


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            whether personal or static measurements          7.1.1    Size-fractionated aerosol
            are made, and the location of all poten-                  sampling
            tial aerosol sources including background
            aerosols. Comprehensive documentation            Studies indicate that particle size plays an
            will facilitate comparison of exposure mea-      important role in determining the potential
            surements using different instruments or         adverse effects of nanomaterials in the respi-
            different exposure metrics and will aid the      ratory system: by influencing the physical,
            re-­interpretation of historic data as fur-      chemical, and biological nature of the mate-
            ther information is developed on health-         rial; by affecting the surface-area dose of de-
            appropriate exposure metrics. Regardless         posited particles; and by enabling deposited
            of the metric and method selected for ex-        particles to more readily translocate to other
            posure monitoring, it is critical that mea-      parts of the body. Animal studies indicate
            surements be taken before production or          that the toxicity of inhaled nanoparticles
            processing of a nanomaterial to obtain           is more closely associated with the particle
            background nanoparticle exposure data.           surface area and particle number than with
            Measurements made during production or           the particle mass concentration when com-
            processing can then be evaluated to deter-       paring aerosols with different particle size
            mine if there has been an increase in particle   distributions. However, mass concentration
            number concentrations in relation to back-       measurements may be applicable for evalu-
            ground measurements and whether that             ating occupational exposure to nanometer
            change represents worker exposure to the         aerosols where a good correlation between
            nanomaterial. Table 7–1 gives a listing of in-   the surface area of the aerosol and mass
            struments and measurement methods that           concentration can be determined or if tox-
            can be used in the evaluation of engineered      icity data based on mass dose are available
            nanoparticle exposures.                          for a specific nanoscale particle associated




            Figure 7–1. Examples of different sampling instruments used to measure occupational
            exposures to nanoparticles including the determination of real-time particle number
            concentrations and size-fractionated mass concentrations


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 with a known process (e.g., diesel exhaust              that a large fraction of inhaled nanopar-
 particulate).                                           ticles will deposit in the gas-exchange re-
                                                         gion of the lungs [ICRP 1994], respirable
 Aerosol samples can be collected using in-              samplers would be appropriate. Respirable
 halable, thoracic, or respirable samplers,              samplers will also collect a nominal amount
 depending on the region of the respiratory              of nanoscale particles that can deposit in the
 system most susceptible to the inhaled par-             upper airways and ultimately be cleared or
 ticles. Since prevailing information suggests           transported to other parts of the body.



 Table 7–1. Summary of instruments and measurement methods used in the evaluation
                             of nanomaterial exposures*

           Metric                 Instrument or method                         Remarks

  Mass-Direct (total and/     Size Selective Static       The only instruments offering a cut point around
   or elemental)                Sampler                    100 nm are cascade impactors (Berner-type low
                                                           pressure impactors, or Micro orifice impactors).
                                                           Allows gravimetric and chemical analysis of
                                                           samples on stages below 100 nm.

                              TEOM®                       Sensitive real-time monitors such as the TEOM
                               (Tapered Element             may be useable to measure nanoaerosol mass
                               Oscillating                  concentration on-line with a suitable size
                               Microbalance)                selective inlet.

                              Filter collection and       Filters may be collected with size selective pre-
                                elemental analysis          samplers or open face. Elemental analysis (e.g.,
                                                            carbon, metals) for mass determination.

  Mass-Indirect               ELPITM                    Real time size-selective (aerodynamic diameter)
   (calculation)               (Electrical Low Pressure  detection of active surface area concentration
                               Impactor)                 giving aerosol size distribution. Mass
                                                         concentration of aerosols can be calculated when
                                                         particle charge and density are known or assumed.

                              MOUDI                       Real time size-selective (aerodynamic diameter)
                               (Micro-Orfice Uniform       by cascade impaction.
                               Deposit Impactor)

                              DMAS                        Real time size-selective (mobility diameter)
                               (Differential Mobility      detection of number concentration, giving
                               Analyzing System)           aerosol size distribution. Mass concentration of
                                                           aerosols can be calculated when particle shape
                                                           and density are known or assumed.
                                                                                                  (continued)

 See footnotes at end of table.




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             Table 7–1 (Continued). Summary of instruments and measurement methods used in
                                 the evaluation of nanomaterial exposures*

                      Metric                 Instrument or method                        Remarks

             Number-Direct               CPC                        CPCs provide real time number concentration
                                          (Condensation Particle     measurements between their particle diameter
                                          Counter)                   detection limits. Without a nanoparticle pre-
                                                                     separator they are not specific to the nanometer
                                                                     size range. Some models have diffusion screen
                                                                     to limit top size to 1 µm.

                                         OPC                        OPCs provide real time number concentration
                                          (Optical Particle          measurements between their particle diameter
                                          Counter)                   detection limits. Particle size diameters begin at
                                                                     300 nm and may go up to 10,000 nm.

                                         DMAS and SMPS              Real time size-selective (mobility diameter)
                                          (Scanning Mobility         detection of number concentration giving
                                          Particle Sizer)            number-based size distribution.

                                             Electron Microscopy    Off-line analysis of electron microscope samples
                                                                     can provide information on size-specific aerosol
                                                                     number concentration.

             Number-Indirect             ELPITM and MOUDI           Real time size-selective (aerodynamic diameter)
                                                                     detection of active surface-area concentration
                                                                     giving aerosol size distribution. Data may be
                                                                     interpreted in terms of number concentration.

                                                                    Size-selective samples may be further analyzed
                                                                      off-line.

             Surface Area-Direct         Diffusion Charger          Real-time measurement of aerosol active surface-
                                                                     area. Active surface-area does not scale directly
                                                                     with geometric surface-area above 100 nm. Note
                                                                     that not all commercially available diffusion
                                                                     chargers have a response that scales with particle
                                                                     active surface-area below 100 nm. Diffusion
                                                                     chargers are only specific to nanoparticles if used
                                                                     with appropriate inlet pre-separator.

                                         ELPITM and MOUDI           Real-time size-selective (aerodynamic diameter)
                                                                     detection of active surface-area concentration.
                                                                     Active surface-area does not scale directly with
                                                                     geometric surface-area above 100 nm.

                                                                                                            (continued)


            See footnotes at end of table.




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                                                        7 Exposure Assessment and Characterization



  Table 7–1 (Continued). Summary of instruments and measurement methods used in
                      the evaluation of nanomaterial exposures*

           Metric               Instrument or method                             Remarks

  Surface Area-Direct          Electron Microscopy          Off-line analysis of electron microscope samples
   (continued)                                               (previously collected on filters or other media)
                                                             can provide information on particle surface-area
                                                             with respect to size. TEM analysis provides direct
                                                             information on the projected area of collected
                                                             particles which may be related to geometric area
                                                             for some particles shapes.

  Surface Area-Indirect       DMAS and SMPS                 Real time size-selective (mobility diameter)
   (calculation)                                             detection of number concentration. Data may be
                                                             interpreted in terms of aerosol surface-area under
                                                             certain circumstances. For instance, the mobility
                                                             diameter of open agglomerates has been shown to
                                                             correlate with projected surface area.

                              DMAS and ELPITM used          Differences in measured aerodynamic and
                               in parallel                   mobility can be used to infer particle fractal
                                                             dimension which can be further used to
                                                             estimate surface-area.


  *Adapted from ISO/TR 12885
  Note: Inherent to all air sampling instruments in this table is the fact that they cannot discriminate the
    nanoaerosol of interest from other airborne particles. Also, there is a general lack of validation regarding
    the response of these air sampling instruments to the full spectrum of nanoparticles that may be found in
    the workplace, including varieties of primary particles, agglomerates or aggregates, and other physical and
    chemical forms. A suite of nanoparticle reference materials are required to perform the needed validations.




 Respirable samplers allow mass-based ex-                 to estimate surface area, number, or mass con-
 posure measurements to be made using gra-                centration for particles smaller than 100 nm.
 vimetric and/or chemical analysis [NIOSH
 1994]. However, they do not provide informa-             The use of conventional impactor samplers
 tion on aerosol number, size, or surface-area            to assess nanoparticle exposure is limited
 concentration, unless the relationship between           since the impaction collection efficiencies
 different exposure metrics for the aerosol (e.g.,        are 200–300 nm. Low-pressure cascade im-
 density, particle shape) has been previously             pactors that can measure particles to 50 nm
 characterized. Currently, no commercially                and larger may be used for static sampling
 available personal samplers are designed to              since their size and complexity preclude their
 measure the particle number, surface area, or            use as personal samplers [Marple et al. 2001;
 mass concentration of nanoaerosols. However,             Hinds 1999]. A personal cascade impactor
 several methods are available that can be used           is available with a lower aerosol cut point of


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            250 nm [Misra et al. 2002], allowing an ap-        because of its size, cost, and the inclusion of
            proximation of nanoscale particle mass con-        a radioactive source. Additionally, the SMPS
            centration in the worker’s breathing zone.         may take 2–3 minutes to scan an entire size
            For each method, the detection limits are on       distribution; thus, it may be of limited use
            the order of a few micrograms of material on       in workplaces with highly variable aero-
            a filter or collection substrate [Vaughan et al.   sol size distributions, such as those close
            1989]. Cascade impactor exposure data gath-        to a strong particle source. Fast (less than 1
            ered from worksites where nanomaterials are        second), mobility-based, particle-sizing in-
            being processed or handled can be used to          struments are now available commercially;
            make assessments as to the efficacy of expo-       however, having fewer channels, they lack
            sure control measures.                             the finer sizing resolution of the SMPS. The
                                                               Electrical Low Pressure Impactor (ELPI)
                                                               is an alternative instrument that combines
            7.1.2    Real-time aerosol sampling                diffusion charging and a cascade impactor
            The real-time (direct-reading) measure-            with real-time (less than 1 second) aerosol
            ment of nanometer aerosol concentra-               charge measurements providing aerosol size
            tions is limited by the sensitivity of the         distributions by aerodynamic diameter [Ke-
            instrument to detect small particles. Many         skinen et al. 1992].
            real-time aerosol mass monitors used in
            the workplace rely on light scattering from        7.1.3    Surface-area measurements
            groups of particles (photometers). This
            methodology is generally insensitive to par-       Relatively few techniques exist to monitor
            ticles smaller than 100 nm [Hinds 1999].           exposures with respect to aerosol surface
            Optical instruments that size individual           area. Particle surface is composed of inter-
            particles and convert the measured distri-         nal surface area attributable to pores (cavities
            bution to a mass concentration are simi-           more deep than wide), external surface area
            larly limited to particles larger than 100 nm.     due to roughness (cavities more wide than
            Quantitative information gained by optical         deep), and total surface area (the accessible
            particle counters may also be limited by rel-      area of all real particle surfaces). A standard
                                                               gas adsorption technique (i.e., BET) is used
            atively poor counting efficiencies at smaller
                                                               to measure the total surface area of powders
            particle diameters (i.e., less than 500 nm).
                                                               and can be adapted to measure the specific
            These instruments are capable of operating
                                                               surface area (surface area per unit mass) of
            within certain concentration ranges that,
                                                               engineered nanomaterials [Brunauer et al.
            when exceeded, affect the count or mass
                                                               1938]. However, surface-area analysis by gas
            determination efficiencies due to coinci-
                                                               adsorption requires relatively large quantities
            dence errors at the detector. Similarly, the
                                                               of material, is not element specific, and must
            response of optical particle counters may
                                                               be performed in a laboratory.
            be material-dependent according to the re-
            fractive index of the particle. The Scanning       The first instrument designed to measure
            Mobility Particle Sizer (SMPS) is widely           aerosol surface area was the epiphaniometer
            used as a research tool for characterizing         [Baltensperger et al. 1988]. This device mea-
            nanoscale aerosols although its applicabil-        sures the Fuchs, or active surface area, of the
            ity for use in the workplace may be limited        aerosols by measuring the attachment rate of


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 radioactive ions. For aerosols less than ap-      generally been shown to be a better predic-
 proximately 100 nm in size, measurement of        tor than either particle number, mass, or vol-
 the Fuchs surface area is probably a good in-     ume concentration alone [Oberdörster and
 dicator of external surface area (or geometric    Yu 1990; Tran et al. 1999; Duffin et al. 2002].
 surface area). However, for aerosols greater      A two-variable dose metric of particle size
 than approximately 1 µm, the relationship         and volume has been shown to be the best
 with geometric particle surface area is lost      predictor of lung cancer in rats from vari-
 [Fuchs 1964]. Measurements of active surface      ous types of particles [Borm et al. 2004; Pott
 area are generally insensitive to particle po-    and Roller 2005]. This illustrates some of
 rosity. The epiphaniometer is not well suited     the complexity of interpreting existing data
 to widespread use in the workplace because        on particle dose metric and response. While
 of the inclusion of a radioactive source and      adverse health effects appear to be more
 the lack of effective temporal resolution.        closely related with particle surface area, the
                                                   number of particles depositing in the respi-
 This same measurement principle can be
                                                   ratory tract or other organ systems may also
 applied with the use of a portable aerosol
                                                   play an important role.
 diffusion charger. Studies have shown that
 these devices provide a good estimate of          Aerosol particle number concentration can
 aerosol external surface area when airborne       be measured relatively easily using Conden-
 particles are smaller than 100 nm in diam-        sation Particle Counters (CPCs). These are
 eter. For larger particles, diffusion chargers    available as hand-held static instruments,
 underestimate aerosol surface area. How-          and they are generally sensitive to particles
 ever, further research is needed to evaluate      greater than 10–20 nm in diameter. Con-
 the degree of underestimation. Extensive          densation Particle Counters designed for the
 field evaluations of commercial instruments       workplace do not have discrete size-selective
 are yet to be reported. However, laboratory       inputs, and so they are typically sensitive to
 evaluations with monodisperse silver par-         particles less than 1 µm������������������
                                                                               in diameter. Com-
 ticles have shown that two commercially           mercial size-­selective inlets are not available
 available diffusion chargers can provide          to restrict CPCs to the nanoparticle size range;
 good measurement data on aerosol exter-           however, the technology exists to construct
 nal surface area for particles smaller than       size-­selective inlets based on particle mobil-
 100 nm in diameter but underestimate the          ity or possibly on inertial pre-separation. An
 aerosol surface area for particles larger than    alternative approach to estimating nanopar-
 100 nm in diameter [Ku and Maynard 2005,          ticle number concentrations using a CPC is
 2006].                                            to use the instrument in parallel with an op-
                                                   tical particle counter (OPC). The difference
 7.1.4    Particle number concentration            in particle count between the instruments
          measurement                              will provide an indication of particle number
                                                   concentration between the lower CPC de-
 Particle number concentration has been as-        tectable particle diameter and the lower OPC
 sociated with adverse responses to air pol-       particle diameter (typically 300–500 nm).
 lution in some human studies [Timonen
 et al. 2004; Ruckerl et al. 2005], while in       A critical issue when characterizing expo-
 toxicologic studies, particle surface area has    sure using particle number concentration


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            is selectivity. Nanoscale particles are ubiq-     measurements may be useful for identify-
            uitous in many workplaces, from sources           ing nanoscale particle emissions and de-
            such as combustion, vehicle emissions, and        termining the efficacy of control measures.
            infiltration of outside air. Particle counters    Portable CPCs are capable of measuring lo-
            are generally insensitive to particle source      calized particle concentrations allowing the
            or composition making it difficult to dif-        assessment of particle releases occurring at
            ferentiate between incidental and pro-            various processes and job tasks [Brouwer et
            cess-related nanoparticles using number           al. 2004].
            concentration alone. In a study of aerosol
            exposures during a carbon black bagging
                                                              7.1.5    Surface-area estimation
            process, Kuhlbusch et al. [2004] found that
            peaks in number concentration measure-            Information about the relationship between
            ments were associated with emissions from         different measurement metrics can be used
            fork lift trucks and gas burners in the vicin-    for approximating particle surface area. If
            ity, rather than with the process itself. In a    the size distribution of an aerosol remains
            similar manner, during an ultrafine particle      consistent, the relationship between particle
            mapping exercise in an automotive facility,       number, surface area, and mass metrics will
            Peters et al. [2006] found that direct gas-       be constant. In particular, mass concentra-
            fired heating systems systematically pro-         tion measurements can be used for deriving
            duced high particle number concentrations         surface-area concentrations, assuming the
            throughout the facility when the heating          constant of proportionality is known. This
            system was in operation. Through follow           constant is the specific surface area (surface
            up measurements, Heitbrink et al. [2007]          to mass ratio).
            found a high proportion of ultrafine par-
            ticles produced from these burners, yet little    Size distribution measurements may be ob-
            if any mass was associated with their emis-       tained through the collection of filter samples
            sions. Other non-process ultrafine sources        and analysis by transmission electron mi-
            were identified in an adjacent foundry [Ev-       croscopy to estimate particle surface area. If
            ans et al. 2008]. Together with roof mounted      the measurements are weighted by particle
            gas-fired heating units, additional sources       number, information about particle geom-
            included cigarette-smoking and the exhaust        etry will be needed to estimate the surface
            from a propane fueled sweeper vehicle, with       area of particles with a given diameter. If the
            the latter contributing a large fraction of the   measurements are weighted by mass, ad-
            ultrafine particles. Although these issues are    ditional information about particle density
            not unique to particle number concentra-          will be required. Estimates of particle-specific
            tion measurements, orders of magnitude            surface area from geometric relation with ex-
            difference can exist in particle number           ternal particle dimensions depends upon the
            concentrations depending on concomitant           morphology regime of the material of inter-
            sources of particle emissions.                    est and is only appropriate for smooth, regu-
                                                              larly shaped, compact particles [Stefaniak et al.
            Although using nanoparticle number con-           2003; Weibel et al. 2005]. For example, Weibel
            centration as an exposure measurement may         et al. [2005] report that estimates of ultrafine
            not be consistent with exposure metrics be-       TiO2 surface area determined using a geomet-
            ing used in animal toxicity studies, such         ric relationship with the physical particle size


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 (using TEM) were 50% lower than measured          absence of precise measurement data. Ad-
 using nitrogen gas adsorption.                    ditional research is needed on comparing
                                                   methods used for estimating particle surface
 If the airborne aerosol has a lognormal size
                                                   area with a more accurate particle surface-
 distribution, particle surface-area concen-
                                                   area-measurement method. NIOSH is con-
 tration can be derived using three indepen-
 dent measurements. An approach has been           ducting research in this area and will com-
 proposed using three simultaneous mea-            municate results as they become available.
 surements of the aerosol that included mass
 concentration, number concentration, and          7.1.6    Particle number
 charge [Woo et al. 2001]. With knowledge of                concentration mapping
 the response function of each instrument,
 minimization techniques can be used to es-        To better understand particle sources and
 timate the parameters of the lognormal dis-       contaminant migration, some investigators
 tribution leading to the three measurements       have adopted an aerosol mapping technique,
 used in estimating the particle surface area.     which integrated measurements of respi-
                                                   rable mass, ultrafine particle number, and
 An alternative approach has been proposed
                                                   active surface-area concentrations in auto-
 whereby independent measurements of par-
                                                   motive manufacturing facilities [Peters et al.
 ticle number and mass concentration are
 made, and the surface area is estimated by as-    2006; Heitbrink et al. 2007, 2008; Evans et al.
 suming the geometric standard deviation of        2008]. The process relies on portable aerosol
 the (assumed) lognormal distribution [May-        sampling instrumentation for simultaneous
 nard 2003]. This method has the advantage of      measurements at predetermined positions
 simplicity by relying on portable instruments     throughout a facility. The technique is some-
 that can be used in the workplace. Theoreti-      what measurement-intensive but is useful
 cal calculations have shown that estimates        for locating contaminant sources and deter-
 may be up to a factor of 10 different from        mining the extent of contaminant migration.
 the actual particle surface area, particularly    Leaks and other less obvious particle sources
 when the aerosol has a bimodal distribution.      have been identified in this way and the pro-
 Field measurements indicate that estimates        cedure provides a powerful tool for facil-
 are within a factor of 3 of the active surface    ity staff to target their contaminant control
 area, particularly at higher concentrations.      approaches most effectively. This technique
 In workplace environments, particle surface-      relies on successive measurements at various
 ­area concentrations can be expected to span      locations, making facilities with continuous
  up to 5 orders of magnitude; thus, surface-      processes or those likely to achieve steady
  ­area estimates may be suited for initial or     state particle number concentrations most
   preliminary appraisals of occupational expo-    appropriate for this approach. The approach
   sure concentrations.                            is less successful for facilities with batch pro-
 Although such estimation methods are un-          cesses or those likely to experience rapid con-
 likely to become a long-term alternative to       centration changes as, depending on where
 more accurate methods, they may provide           in the measurement cycle the release occurs,
 a viable interim approach to estimating the       it may be overlooked. A high degree of vari-
 surface area of nanoscale particles in the        ability between mapping events is expected in


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            facilities where sporadic or batch processing        parallel with an OPC provides acceptable
            occurs.                                              capability for this purpose. It is critical to
                                                                 determine ambient or background particle
                                                                 counts before measuring particle counts
            7.2 Sampling Strategy                                during the manufacturing, processing, or
            Currently, there is not one sampling method          handling of engineered nanomaterials.
            that can be used to characterize exposure to         However, investigators need to be aware that
            nanoscale aerosols. Therefore, any attempt to        background nanoscale particle counts can
            characterize workplace exposure to nanoma-           vary both spatially and temporally depend-
            terials must involve a multifaceted approach         ing on the unique conditions of the work-
            incorporating many of the sampling tech-             place. Subtraction of background nanoscale
            niques mentioned above. Brouwer et al. [2004]        particle counts will be most challenging in
            recommend that all relevant characteristics of       these situations. In cases where nanomaterial
            nanomaterial exposure be measured, and a             handling or processing operations contrib-
            sampling strategy similar to theirs would pro-       ute only small elevations in particle counts,
            vide a reasonable approach to characterizing         it may not be possible to adequately charac-
            workplace exposure. NIOSH has developed              terize these increases, particularly if the back-
            the Nanoparticle Emission Assessment Tech-           ground particle count is relatively high.
            nique (NEAT) to qualitatively determine the
                                                                 If nanomaterials are detected in the pro-
            release of engineered nanomaterials in the
                                                                 cess area at elevated concentrations rela-
            workplace (see Appendix). This approach may
                                                                 tive to background particle number con-
            be helpful to others for the initial evaluation of
                                                                 centrations, then a pair of filter-based, area
            workplaces where engineered nanomaterials
                                                                 air samples should be collected for particle
            are manufactured or used. If material release
                                                                 analysis via transmission electron micros-
            is found and if resources allow, then a more
                                                                 copy (TEM) and for determining mass con-
            comprehensive and quantitative approach
                                                                 centration.������������������������������
                                                                              Transmission electron micros-
            may be adopted [Methner et al. 2007].
                                                                 copy can provide an estimate of the particle
            The first step to characterizing workplace ex-       size distribution and, if equipped with an
            posures would involve identifying the source         energy dispersive X-ray analyzer (EDS), a
            of nanomaterial emissions. A CPC used in             determination of elemental composition




            Figure 7–2. Photomicrographs of airborne engineered nanomaterials (airborne samples
            of engineered nanoparticles of silver, nickel, and MWCNT analyzed by TEM and EDS)



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 can be made to identify the nanomaterial
 (see Figure 7–2).

 Analysis of filters for mass determination of
 air contaminants of interest can help identify
 the source of the particles. Standard analyti-
 cal chemical methodologies (e.g., NMAM
 5040 for carbon, NMAM 7303 for metals)
 should be employed [NIOSH 1994].

 The combination of particle counters and
 samples for chemical analysis allows for an
 assessment of worker exposure to nanoma-
 terials (see Figure 7–3) and the characteriza-
 tion of the important aerosol metrics. How-
 ever, since this approach relies primarily on     Figure 7–3. Combined use of the OPC,
 static or area sampling, some uncertainty         CPC, and two filter samples to determine
 will exist in estimating worker exposures.        the presence of nanomaterials




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           8
                     Guidelines for Working with Engineered
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 Engineered nanomaterials are diverse in             gas phase (after removal of the nanomaterial
 their physical, chemical, and biological na-        from an enclosed generation system), or us-
 ture. The processes used in research, ma-           ing or producing nanomaterials as powders
 terial development, production, and use             or slurries/suspensions/solutions (i.e., in liq-
 or introduction of nanomaterials have the           uid media), pose the greatest risk for releas-
 potential to vary greatly. Until further in-        ing nanoparticles. In addition, maintenance
 formation on the possible health risks and          on production systems (including cleaning
 extent of occupational exposure to nano-            and disposing of materials from dust collec-
 materials becomes available, interim pro-           tion systems) is likely to result in exposure
 tective measures should be developed and            to nanoparticles if deposited nanomateri-
 implemented. These measures should focus            als are disturbed. Exposures associated with
 on the development of engineering controls          waste streams containing nanomaterials may
 and safe working practices tailored to the          also occur.
 specific processes and materials where work-
 ers might be exposed. Hazard information            The magnitude of exposure to nanomaterials
 that is available about common materials            when working with nanopowders depends
 being manufactured in the nanoscale range           on the likelihood of particles being released
 (e.g., TiO2, beryllium) should be considered        from the powders during handling. NIOSH
 as a starting point in developing appropriate       is actively conducting research to quantita-
 controls and work practices.                        tively determine how various nanomaterials
                                                     are dispersed in the workplace. Studies on
 The following recommendations are de-               exposure to SWCNTs and MWCNTs have in-
 signed to aid in the assessment and control         dicated that the raw material may release vis-
 of workplace exposures to engineered nano-          ible particles into the air when handled, that
 materials. Using a hazard-based approach to         the particle size of the agglomerate can be a
 evaluate exposures and for developing pre-          few millimeters in diameter, and that the re-
 cautionary measures is consistent with good         lease rate of inhalable and respirable particles
 occupational safety and health practices            is relatively low (on a mass or number basis)
 [The Royal Society and The Royal Academy            compared with other nanopowders. May-
 of Engineering 2004; Schulte et al. 2008].          nard et al. [2004] reported concentrations of
                                                     respirable dust from 0.007 to 0.053 mg/­m3
 8.1 Potential for Occupational                      when energy was applied (vortexing) to
                                                     bulk SWCNT for approximately 30 minutes.
     Exposure
                                                     Similar findings were reported by Han et al.
 Few workplace measurement data exist on             [2008] at a laboratory producing MWCNTs
 airborne exposure to nanomaterials that are         in which exposure concentrations as high as
 purposely produced and not incidental to an         0.4 mg/­m3 were observed prior to the imple-
 industrial process. In general, it is likely that   mentation of exposure controls. In a health
 processes generating nanomaterials in the           hazard evaluation conducted by NIOSH at a


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            university-based research laboratory the po-    8.2 Factors Affecting Exposure
            tential release of airborne carbon nanotubes        to Nanomaterials
            (CNFs) was observed at various processes
                                                            Factors affecting exposure to engineered
            [Methner et al. 2007]. General area exposure
                                                            nanomaterials include the amount of mate-
            measurements indicated slight increases in
                                                            rial being used and whether the material can
            airborne particle number and mass concen-       be easily dispersed (in the case of a powder)
            trations relative to background measure-        or form airborne sprays or droplets (in the
            ments during the transfer of CNFs prior to      case of suspensions). The degree of contain-
            weighing and mixing, and during wet saw         ment and duration of use will also influence
            cutting of a composite material. Since data     exposure. In the case of airborne material,
            are lacking on the generation of inhalable/     particle or droplet size will determine wheth-
            respirable particles during the production      er the material can enter the respiratory tract
                                                            and where it is most likely to deposit. Respi-
            and use of engineered nanomaterials, fur-
                                                            rable particles are those capable of depositing
            ther research is required to determine ex-
                                                            in the alveolar (gas exchange) region of the
            posures under various conditions. NIOSH         lungs, which includes particles smaller than
            researchers are conducting both laboratory      approximately 10 µm in diameter [Lippmann
            and field-based evaluations in order to ad-     1977; ICRP 1994; ISO 1995]. The proportion
            dress some of these knowledge gaps.             of inhaled nanoparticles likely to deposit in
                                                            any region of the human respiratory tract is
            Devices comprised of nanostructures, such       approximately 30%–90% depending on fac-
            as integrated circuits, pose a minimal risk     tors such as breathing rate and particle size.
            of exposure to nanomaterials during han-        Up to 50% of nanoparticles in the 10–100 nm
            dling. However, some of the processes used      size range may deposit in the alveolar region,
            in their production may lead to exposure        while nanoparticles smaller than 10 nm are
            to nanomaterials (e.g., exposure to com-        more likely to deposit in the head and tho-
            mercial polishing compounds that contain        racic regions [ICRP 1994]. The mass deposi-
                                                            tion fraction of inhaled nanoparticles in the
            nanoscale particles, exposure to nanoscale
                                                            gas-exchange region of the lungs is greater
            particles that are inadvertently dispersed or   than that for larger respirable particles.
            created during the manufacturing and han-
            dling processes). Likewise, large-scale com-    At present there is insufficient information
            ponents formed from nanocomposites will         to predict all of the situations and workplace
                                                            scenarios that are likely to lead to exposure
            most likely not present significant exposure
                                                            to nanomaterials. However, there are some
            potential. However, if such materials are
                                                            workplace factors that can increase the po-
            used or handled in such a manner that can       tential for exposure:
            generate nanoparticles (e.g., cutting, grind-
            ing) or undergo degradation processes that        •   working with nanomaterials in liquid
            lead to the release of nanostructured mate-           media without adequate protection
                                                                  (e.g., gloves)
            rial, then exposure may occur by the inhala-
            tion, ingestion, and/or dermal penetration        •   working with nanomaterials in liquid
            of these particles.                                   during pouring or mixing operations


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      or where a high degree of agitation is       evaluation) through the systematic collection
      involved                                     of job and product information so that de-
                                                   terminations can be made regarding scenari-
  •   generating nanomaterials in the gas phase    os (e.g., laboratory research, production and
      in non-enclosed systems                      manufacture, nanoenabled product use) that
  •   handling (e.g., weighing, blending, spray-   place the worker in contact with nanomateri-
      ing) powders of nanostructured materials     als (see Figure 8–1). This assessment should
                                                   be an ongoing cyclic process that provides
  •   maintenance on equipment and process-        feedback on potential sources of exposure
      es used to produce or fabricate nanoma-      and solutions taken to correct those prob-
      terials                                      lems. For example, operations and job tasks
                                                   that have the potential to aerosolize nanoma-
  •   cleaning up spills or waste material
                                                   terials (e.g., handling dry powders, spray ap-
  •   cleaning dust collection systems used        plications) deserve more attention and more
      to capture nanoparticles                     stringent controls than those where the nano-
                                                   materials are imbedded in solid or liquid ma-
  •   machining, sanding, drilling of nano-
                                                   trices. Elements of the risk management pro-
      materials, or other mechanical disrup-
                                                   gram should include guidelines for installing
      tions of nanomaterials can potentially
                                                   and evaluating engineering controls (e.g.,
      lead to the aerosolization of nanopar-
                                                   exhaust ventilation, dust collection systems),
      ticles.
                                                   the education and training of workers in the
                                                   proper handling of nanomaterials (e.g., good
 8.3 Elements of a Risk                            work practices), and the selection and use of
     Management Program                            personal protective equipment (e.g., cloth-
                                                   ing, gloves, respirators).
 Given the limited information about the
 health risks associated with occupational         When controlling potential exposures within
 exposure to engineered nanomaterials, ap-         a workplace, NIOSH has recommended a
 propriate steps should be taken to minimize       hierarchical approach to reduce worker ex-
 the risk of worker exposure through the           posures (see Table 8–1) [NIOSH 1990]. The
 implementation of a risk management pro-          philosophical basis for the hierarchy of con-
 gram [Schulte et al. 2008]. Risk management       trols is to eliminate the hazard when possible
 programs for nanomaterials should be seen         (i.e., substitute with a less hazardous mate-
 as an integral part of an overall occupational    rial) or, if not feasible, control the hazard at
 safety and health program for any company         or as close to the source as possible.
 or workplace producing or using nanomate-
 rials or nanoenabled products. A critical ele-    8.3.1    Engineering Controls
 ment of the program should be the capability
 to anticipate new and emerging risks (hazard      If the potential hazard can not be eliminat-
 determination) and whether they are linked        ed or substituted with a less hazardous or
 to changes in the manufacturing process,          non-hazardous substance, then engineer-
 equipment, or the introduction of new ma-         ing controls should be installed and tai-
 terials. This will require an ongoing assess-     lored to the process or job task. The type of
 ment of the potential risks to workers (risk      engineering control used should take into


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            Figure 8–1. Workplaces with potential for occupational exposure to engineered
            nanomaterials. The figure illustrates the life cycle of nanomaterials from laboratory
            research development through product development, use, and disposal. Each step of
            the life cycle represents opportunities for potential worker exposure to nanomaterials.
            Adapted from Schulte et al. 2008a.




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                           Table 8–1. Hierarchy of exposure controls*

         Control method                                  Process, equipment, or job task

 1. Elimination                                    Change design to eliminate hazard

 2. Substitution                                   Replace a high hazard for a low hazard

 3. Engineering                                    Isolation/enclosure, ventilation (local, general)

 4. Administrative                                 Procedures, policies, shift design

 5. Personal protective equipment                  Respirators, clothing, gloves, goggles, ear plugs


 *Control methods are typically implemented in this order to limit worker exposures to an acceptable
   concentration (e.g., occupational exposure limit or other pre-established limit).
 Sources: Plog et al. 2002; NIOSH 1990.


 account information on the potential haz-            Other factors that influence selection of engi-
 ardous properties of the precursor materi-           neering controls include the physical form of
 als and intermediates as well as those of the        the nanomaterial and task duration and fre-
 resulting nanomaterial. In light of current          quency. For instance, working with nanomate-
 scientific knowledge about the generation,           rial in the slurry form in low quantities would
 transport, and capture of aerosols [Seinfeld         require a less rigorous control system than
 and Pandis 1998; Hinds 1999], airborne
                                 ������������
                                           ex-        those that would be required for large quan-
 posure to nanomaterials can most likely be           tities of nanomaterials in a free or fine pow-
                                                      der form (see Figure 8–3). Unless cutting or
 controlled at most processes and job tasks
                                                      grinding occurs, nanomaterials that are not in
 using a wide variety of engineering control
                                                      free form (encapsulated in a solid, nanocom-
 techniques similar to those used in reducing
                                                      posites, and surface coated materials) typically
 exposures to general aerosols [Ratherman             wouldn’t require engineering controls.
 1996; Burton 1997].
                                                      Handling research quantities typically oc-
 Engineering control techniques such as
                                                      curs in laboratories with ventilation con-
 source enclosure (i.e., isolating the genera-
                                                      trols. Since quantities are small, local con-
 tion source from the worker) and local ex-
                                                      tainment and control can be applied, such
 haust ventilation systems should be effective        as low-flow vented work stations and small
 for capturing airborne nanomaterials, based          glove box chambers. However, as quantities
 on what is known of nanomaterial motion              are increased, care must be taken to reduce
 and behavior in air (see Figure 8–2). The            the amount of nanomaterial that is released
 quantity of the bulk nanomaterial that is            from the process equipment and to pre-
 synthesized or handled in the manufacture            vent the migration of nanomaterials into
 of a product will significantly influence the        adjacent rooms or areas. For example, the
 selection of the exposure controls.                  installation of local exhaust ventilation at a


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            Figure 8–2. Exposure control of particles (illustration of how particle diameter-related
            diffusion and inertia influence particle capture efficiency in a ventilation system). Particles
            with a diameter of 200–300 nm have minimal diffusion and inertial properties and are
            easily transported by moving air and captured. Particle motion by diffusion increasingly
            dominates as particle diameter decreases below 200 nm. The inertial behavior of larger
            particles, especially those ejected from energetic processes such as grinding, increases
            significantly with particle diameter, enabling them to cross the streamlines of moving air
            and avoid capture. Adapted from Schulte et al. 2008a.


            reactor used to make nanoscale engineered        unique methods that may be employed for
            metal oxides and metals was found to re-         producing them, may mean that traditional
            duce nanoparticle exposures by 96% (mean         exhaust ventilation may be more energetic
            particle number concentration) [Methner          than necessary for removing incidentally
            2008]. The use of exhaust ventilation sys-       released nanoscale particles. For this rea-
            tems should be designed, tested, and main-       son, engineering controls need to be applied
            tained using approaches recommended by           judiciously to ensure protection of workers
            the American Conference of Governmental          without compromising production.
            Industrial Hygienists [ACGIH 2001].
                                                             8.3.2    Dust collection efficiency of
            A secondary but nonetheless important
                                                                      filters
            issue concerning the control of nanopar-
            ticle emissions is that of product loss. The     Current knowledge indicates that a well-
            properties of nanomaterials, along with the      ­designed exhaust ventilation system with a


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 Figure 8–3. Factors inﬂuencing control selection. Several factors inﬂuence the selection of
 exposure controls for nanomaterials including quantity of nanomaterial handled or produced,
 physical form, and task duration. As each one of theses variables increase, exposure risk
 becomes greater as does the need for more efﬁcient exposure control measures.


 HEPA ﬁlter should effectively remove nano­       observed. Similar results have been recently
 particles [Hinds 1999]. Limited studies have     reported by Kim et al. [2007] using different
 reported the efﬁcacy of ﬁlter media typically    ﬁlter media challenged with particles ranging
 found in control systems (including respira­     in size from 2.5–20 nm, indicating that other
 tors) in capturing nanoparticles. The dearth     ﬁlter medias—including those used in air pu­
 of data on ﬁltration performance against         rifying respirators—would behave similarly.
 nanoparticles (in particular nanoparticles       If HEPA ﬁlters are used in the dust collec­
 smaller than 20 nm) is primarily due to the      tion system, they should be coupled with
 challenges in generating and quantifying         well-designed ﬁlter housings. If the ﬁlter
 particles in those size ranges. Despite these    is improperly seated within the housing,
 limitations, the results of some studies [Van    nanoparticles have the potential to bypass
 Osdell et al. 1990] using different ﬁlter me­    the ﬁlter, leading to ﬁlter efﬁciencies much
 dia challenged with monodispersed aero­          less than predicted [NIOSH 2003].
 sols (silver 4–10 nm and dioctylphthalate
 32–420 nm) were in agreement with classical
                                                  8.3.3    Work practices
 single-ﬁber theory showing an increase in ﬁl­
 tration efﬁcacy for smaller size particles. No   An integral step in establishing good work
 evidence for particle thermal rebound was        practices is having knowledge of the potential


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            hazards in the workplace and developing           Good practices for workers
            formal procedures that describe actions to
            be taken to ensure the protection of workers.
                                                              •   Avoiding handling nanomaterials in
                                                                  the open air in a ‘free particle” state.
            Incorporated in these procedures should be
            guidelines for good work practices intended       •   Storing dispersible nanomaterials, wheth-
            to minimize worker exposure to nanomate-              er suspended in liquids or in a dry particle
            rials and other potentially hazardous chem-           form in closed (tightly sealed) containers
            icals. Management should systemically re-             whenever possible.
            view and update these procedures. Actions         •   Cleaning work areas at the end of each
            taken to resolve and/or improve workplace             work shift, at a minimum, using either
            conditions should be routinely conveyed by            a HEPA-filtered vacuum cleaner or wet
            management to workers.                                wiping methods. Dry sweeping or air
                                                                  hoses should not be used to clean work
             Good practices for management
                                                                  areas. Cleanup should be conducted in
             •   Educating workers on the safe han-               a manner that prevents worker contact
                 dling of engineered nano-objects or              with wastes. Disposal of all waste mate-
                 nano-object-containing materials to              rial should comply with all applicable
                 minimize the likelihood of inhalation            Federal, State, and local regulations.
                 exposure and skin contact.                   •   Avoiding storing and consuming food
                                                                  or beverages in workplaces where nano-
             •   Providing information, as needed, on
                                                                  materials are handled.
                 the hazardous properties of the precur-
                 sor materials and those of the resulting
                 nanomaterials product with instruc-         8.3.4    Personal protective clothing
                 tion on measures to prevent exposure.       Currently, there are no generally acceptable
             •   Encouraging workers to use hand-            guidelines available based on scientific data
                 ­washing facilities before eating, smok-    for the selection of protective clothing or
                 ing, or leaving the worksite.               other apparel against exposure to nanoma-
                                                             terials. This is due in part to minimal data
             •   Providing additional control measures       being available on the efficacy of existing
                 (e.g., use of a buffer area, decontamina-   protective clothing, including gloves. In any
                 tion facilities for workers if warranted    case, although nanoparticles may penetrate
                 by the hazard) to ensure that engineered    the epidermis, there has been little evidence
                 nanomaterials are not transported out-      to suggest that penetration leads to disease;
                 side the work area [US DOE 2007].           and no dermal exposure standards have been
                                                             proposed. However, based on a recent survey
             •   Providing facilities for showering and      of nanotechnology workplaces [ICON 2006],
                 changing clothes to prevent the inad-       84% of employers recommended personal
                 vertent contamination of other areas        protective equipment and clothing for em-
                 (including take-home) caused by the         ployees working with nanomaterials. These
                 transfer of nanomaterials on clothing       recommendations were generally based on
                 and skin.                                   conventional occupational hygiene practices


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 but also varied with the size of the company,       the latter require an exposure chamber that
 the type of nanomaterials being handled, and        is large enough for at least one human test
 the commercial sector. While some guide-            subject or mannequin. Chamber design re-
 lines on the use of protective clothing and         quirements for system level aerosol testing
 gloves have been developed by organizations         have been reviewed by Gao et al. [2007].
 for use in their own laboratories (e.g., US         Little scientific data exists, but some systems
 DOE 2007) or countries (e.g., British Stan-         level test methods are available. ISO standard
 dards Institute BSI 2008) or by consensus           method 13982 [ISO 2004a] and EN stan-
 standards development organizations (e.g.,          dard method 943 [CEN 2002] specify the
 ASTM, 2007), these are generally based upon         use of sodium chloride (NaCl) with a mass
 good industrial hygiene practices rather than       median aerodynamic diameter (MMAD) of
 scientific data specific to nanomaterials.          0.6 µm to determine the barrier efficiency of
                                                     protective clothing against aerosols of dry,
 A challenge to making appropriate recom-            fine dusts. The standard method issued by
 mendations for dermal protection against            National Fire Protection Association [2007]
 nanoparticles is the need to strike a balance       is a method that is not dependent on filtra-
 between comfort and protection. Garments            tion-based approaches. Penetration of fluo-
 that provide the highest level of protection        rophore-impregnated silica particles with a
 (e.g., an impermeable Level A suit) are also        MMAD of 2.5 µm and a geometric standard
 the least comfortable to wear for long peri-        deviation of 2.6 are qualitatively visualized
 ods of time, while garments that are probably       by black light that causes the fluorescent
 the least protective (e.g., thin cotton lab coat)   glow of the challenge aerosol particles. Note
 are the most breathable and comfortable for         that the polydisperse particle challenges
 employees to wear. The two primary routes           used in these methods include a large num-
 of exposure to particulates for workers us-         ber of nanoscale particles when measured
 ing protective clothing are direct penetration      by count rather than by mass.
 through the materials and leakage through
 gaps, seams, defects, and interface and clo-        Particle penetration test methods can be fur-
 sure areas [Schneider et al. 1999, 2000]. The       ther categorized into those that are analogous
 relative contributions from these two inward        to the process used in respirator filter testing
 leakage sources are not well-understood.            and those that are not dependent on filtra-
 NIOSH has an active research program de-            tion-based approaches. Test methods that in-
 signed to assess the efficacy of barrier materi-    volve measuring aerosol concentrations us-
 als and ensembles for protection against par-       ing a sampling flow rate do not mimic in-situ
 ticulate hazards, including nanoparticles.          situations because the skin does not “breathe.”
                                                     Standardized methodology is needed that is
 The lack of available data is further compli-       not dependent on filtration-based approaches
 cated by the limitations and difficulties of        for examining the overall barrier-effectiveness
 current test methods, which fall into two ba-       of the full protective clothing ensemble for dif-
 sic categories: penetration tests on material       ferent materials to particulate hazards. In this
 swatches to determine barrier efficiency and        respect, NIOSH has presented preliminary re-
 system-level aerosol testing to determine           sults [Wang and Gao 2007] on development
 product ensemble integrity. The former are          of a magnetic passive aerosol sampler for more
 usually bench-scale testing methods, while          accurate determination of particle penetration


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            through protective clothing. NIOSH is con-        materials used in protective clothing from
            ducting research in this area and will commu-     the penetration of blood-borne pathogens.
            nicate results as they become available.          One study [Edlich et al. 1999] evaluated the
                                                              integrity of powder-free examination gloves
            The bulk of the penetration data available        and found that no bacteriophage penetra-
            on clothing has been done with filtration         tion was detected for powder-free nitrile
            based testing. One study found that pen-          gloves, powder-free latex gloves, nor polyvi-
            etration levels of 30–2,000-nm-sized potas-       nyl chloride synthetic gloves.
            sium chloride particles through an uniden-
            tified military garment ranged from about         Based upon the uncertainty of the health ef-
            20%–60%, with the maximum penetration             fects of dermal exposure to nanoparticles, it
            occurring in the range of 100–400 nm [Ho-         is prudent to consider using protective equip-
            facre 2006]. Another group of researchers         ment, clothing, and gloves to minimize der-
            studied the barrier efficiency of 10 uniden-      mal exposure, with particular attention given
            tified fabric samples (woven, non-woven,          to preventing exposure of nanomaterials to
            and laminated fabrics) using 477-nm-sized         abraded or lacerated skin. Until scientific data
            latex spheres at a flow rate of 1.8 cm/second     exist specific to the performance of protec-
            [Shavlev et al. 2000]. Particle penetration       tive clothing and gloves against nanomateri-
            measurements ranged from 0%–54%, with             als, current industrial hygiene best practices
            three of the fabrics exhibiting a measurable      should be followed.
            pressure drop and having penetration lev-
            els less than 1%. In general, these findings      8.3.5    Respirators
            suggest that increased external air pressure
            (e.g., from wind) results in increased particle   The use of respirators is often required when
            penetrations. Thus, only impermeable bar-         engineering and administrative controls do
            rier materials are likely to provide complete     not adequately keep worker exposures to
            barrier protection against aerosol penetra-       an airborne contaminant below a regula-
            tion. Body movement (i.e., bellows effect)        tory limit or an internal control target. Cur-
            can also impact penetration [Bergman et al.       rently, there are no specific exposure limits
            1989]. NIOSH will theoretically and empir-        in the United States for airborne exposures
            ically investigate wind-driven nanoparticle       to engineered nanomaterials although oc-
            penetration through protective clothing           cupational exposure limits and guidelines
            in an attempt to obtain a predictive model        exist for airborne particles of similar chemi-
            based upon single-fiber theory. Results will      cal composition regardless of particle size.
            be communicated as they become available.         Current scientific evidence indicates that
                                                              nanoparticles may be more biologically re-
            Another widely used test method incor-            active than larger particles of similar chemi-
            porates testing with nanoscale particles in       cal composition and thus may pose a greater
            solution, and therefore also provides some        health risk when inhaled. In determining the
            indication of the effectiveness of protective     need for respirators, it would therefore be
            clothing to nanoparticles. ASTM standard          prudent to consider current exposure lim-
            F1671–03 [ASTM 2003] and ISO standard             its or guidelines (e.g., OSHA PELs, NIOSH
            16604 [ISO 2004b] specify the use of a 27-nm      RELs, ACGIH TLVs) for larger particles of
            bacteriophage to evaluate the resistance of       similar composition, existing toxicologic


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 data on the specific nanoparticle, and the      ability to perform the work while wearing
 likelihood of worker exposure (e.g., airborne   a respirator, (2) regular training of person-
 concentration, time exposed, job task).         nel, (3) periodic environmental monitoring,
                                                 (4) respirator fit testing, and (5) respira-
 The decision to institute respiratory pro-      tor maintenance, inspection, cleaning, and
 tection should be based on a combination        storage. The standard also requires that the
 of professional judgment and the results        selection of respirators be made by a person
 of the hazard assessment and risk manage-       knowledgeable about the workplace and the
 ment practices recommended in this docu-        limitations associated with each type of res-
 ment. The effectiveness of administrative,      pirator. OSHA has also issued guidelines for
 work-practice, and engineering controls         employers who choose to establish the vol-
 can be evaluated using the measurement          untary use of respirators [29 CFR 1910.134
 techniques described in Chapter 7 Expo-         Appendix D].
 sure Assessments and Characterization. If
 worker exposure to airborne nanomaterials       Table 8–2 lists the NIOSH assigned pro-
 remains a concern after instituting control     tection factors (APF) for various classes of
 measures, the use of respirators can provide    respirators. The APF is defined as the mini-
 further worker protection. Several classes of   mum anticipated protection provided by a
 respirators exist that can provide different    properly functioning respirator or class of
 levels of protection when properly fit tested   respirators to a given percentage of prop-
 on the worker. Table 8–2 lists various types    erly fitted and trained users. The APF values
 of particulate respirators that can be used;    developed by NIOSH are based in part on
 information is also provided on the level       laboratory studies and take into consider-
 of exposure reduction that can be expected      ation a variety of factors including the in-
 along with the advantages and disadvantages     ward leakage caused by penetration through
 of each respirator type. To assist respirator   the filter and leakage around the respirator
 users, NIOSH has published the document         face seal. The relative contributions of these
 NIOSH Respirator Selection Logic (RSL) that     two sources of inward leakage are critical
 provides a process that respirator program      because for many applications the predomi-
 administrators can use to select appropriate    nant source of exposure to the respirator
 respirators [NIOSH 2004] (see www.cdc.          wearer results from leakage around the face
 gov/niosh/docs/2005-100/default.html). As       seal (due to a poor fit) and not penetration
 new toxicity data for individual nanomate-      directly through the filter media. In 2006,
 rials become available, NIOSH will review       OSHA published updated APF values that
 the data and make recommendations for           supersede the NIOSH APF values [Federal
 respirator protection.                          Register 2006]. In general there is good
                                                 agreement between the NIOSH and OSHA
 When respirators are required for use in        APF values, but management should con-
 the workplace, the Occupational Safety and      sult the OSHA standard prior to using the
 Health Administration (OSHA) respiratory        values in Table 8–2 directly.
 protection standard [29 CFR 1910.134] re-
 quires that a respiratory program be estab-     NIOSH is not aware of any data specific
 lished that includes the following program      to respirator face seal leakage of nanopar-
 elements: (1) an evaluation of the worker’s     ticles. However, numerous studies have


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            been conducted on larger particles and on        uses as part of the certification process,
            gases/vapors with one total inward leakage       respirator filter performance testing is the
            (TIL) study that used nanoparticles. For ex-     one most affected by the particle size. Since
            ample, work done by researchers at the U.S.      respirator users are exposed to a variety of
            Army RDECOM on a head-form showed                hazards in different scenarios, respirator
            that mask leakage (i.e., simulated respira-      certification filtration testing was designed
            tor fit factor) measured using submicron         to use worst-case test conditions (e.g., dif-
            aerosol challenges (0.72 µm polystyrene          ferent particle sizes and flow rates), so that
            latex spheres) was representative of vapor       filter performance in the workplace would
            challenges such as sulfur hexafluoride (SF6)     not be worse. The NIOSH certification test
            and isoamyl acetate (IAA) [Gardner et al.        for N-designated respirators uses a polydis-
            2004]. Other studies using particles larger      perse distribution of NaCl particles with a
            than 100 nm have shown that face seal leak-      count median diameter (CMD) of 0.075
            age can be affected by particle size, howev-     +/-0.020 µm and a geometric standard de-
            er, the impact of this is still the subject of   viation (GSD) of less than 1.86 [NIOSH
            some debate. A recently completed labora-        2005a]. NIOSH tests R- and P-designated
            tory study to measure TIL protection fac-        respirators using a polydispersal of dioctyl
            tors of four NIOSH certified N95 filtering       phthalate (DOP) particles with a CMD of
            facepiece respirator models donned by hu-        0.185 +/-0.020 µm and a GSD of less than
            man test subjects exposed to 40–1,300 nm         1.60 [NIOSH 2005b]. For the lognormal
            particles found that the minimal protection      distribution of NaCl aerosols used in the
            factors were observed for particles between      N series certification test, a broad range of
            80–200 nm [Lee 2008]. The geometric mean         particle sizes (e.g., 95% of the particles lie
            of the protection factors for all four models    in the range of 22–259 nm) with a MMD of
            across all particle sizes tested was 21.5; but   about 240 nm is used to determine whether
            wide model-to-model variation was ob-            the respirator filter performance is at least
            served. NIOSH is conducting a laboratory         95, 99, or 99.97% efficient. Most of the par-
            study to determine whether nanoparticle          ticles penetrating through the filter are mea-
            face seal leakage is consistent with the leak-   sured simultaneously using a forward light
            age observed for larger particles and gases/     scattering photometer. However, as noted in
            vapors. Results will be communicated as          a recent review, the instrumentation used in
            they become available.                           the NIOSH certification test is not capable
                                                             of measuring the light scattering of all parti-
            NIOSH certifies respirators in accordance        cles less than 100 nm [Eninger et al. 2008a].
            with 42 CFR Part 84. As noted earlier, the
            NIOSH RSL contains a process for select-         Particles larger than 0.3 µm are collected
            ing respirators for protection against par-      most efficiently by impaction, interception,
            ticular hazards. The two respirator classes      and gravitational settling, while particles
            (air purifying respirators and powered air       smaller than 0.3 µm are collected most ef-
            purifying respirators) most commonly used        ficiently by diffusion or electrostatic attrac-
            for protection against particulates use filter   tion [Hinds 1999]. In the development of
            media to collect/trap particles before they      the test method used for respirator certifi-
            reach the user’s breathing zone. Among the       cation, penetration by particles with an ap-
            various test methods and criteria NIOSH          proximate 0.3 µm diameter was considered


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 to be the worst case because these particles     According to single fiber filtration theory,
 were considered to be in the range of the        below the most penetrating particle size,
 most penetrating particle size [Stevens and      filtration efficiency will increase as particle
 Moyer 1989; TSI 2005; NIOSH 1996]. How-          size decreases. This trend will continue until
 ever, in practice, the most penetrating parti-   the particles are so small that they behave
 cle size range (MPPS) for a given respirator     like vapor molecules. As particles approach
 can vary based on the type of filter media       molecular size, they may be subject to ther-
 employed and the condition of the respira-       mal rebound effects, in which particles lit-
 tor. For example, the most penetrating par-      erally bounce through a filter. As a result,
 ticle size for N95 air purifying respirators     particle penetration will increase. The exact
 containing electrostatically charged filter      size at which thermal rebound will occur
                                                  is unclear. However, a study by Heim et al.
 media can range from 50–100 nm [Martin
                                                  [2005] found that there was no discernable
 and Moyer 2000; Richardson et al. 2005] to
                                                  deviation from classical single-fiber theory
 30–70 nm [Balazy et al. 2006; Eninger et al.
                                                  for particles as small as 2.5-nm diameter.
 2008b]. These test results were recently con-
                                                  Subsequently, a NIOSH-funded contract
 firmed by NIOSH [Rengasamy et al. 2007]          with the University of Minnesota [Kim et
 in which five different models of respirators    al. 2007; Pui et al. 2006] and another study
 with N95 filters were challenged with 11 dif-    [Kim et al. 2006] showed that the penetra-
 ferent monodisperse NaCl particles ranging       tion of nanoparticles through fibrous filter
 in size from 20–400 nm. The monodisperse         media decreased down to 2.5 nm as expect-
 aerosol penetrations showed that the MPPS        ed by the single fiber filtration theory. Ther-
 was in the 40-nm range for all respirator        mal rebound phenomena were observed for
 models tested. Under the aggressive labora-      nanoparticles below 2 nm diameter [Kim
 tory test conditions employed in the study,      et al. 2006]. Recent studies provide addi-
 mean penetration levels for 40-nm particles      tional data on nanoparticle penetration
 ranged from 1.4%–5.2%, which suggested           for NIOSH certified N95 and P100 filter-
 that the respirators would be effective at       ing face-piece respirators [Rengasamy et al.
 capturing nanoparticles in the workplace.        2008a], NIOSH certified N95 and Europe-
 The NIOSH study also investigated whether        an Certified FFP1 respirators [Huang et al.
 there was a correlation between filtration       2007], and FFP3 filter media [Golanski et al.
 performance using the existing NIOSH             2008] using particles greater than 4 nm.
 certification protocol for N series air puri-    Based on these preliminary findings,
 fying respirators and the filtration perfor-     NIOSH-certified respirators should provide
 mance against monodisperse particles at the      the expected levels of protection if properly
 MPPS. A good correlation (r = 0.95) was          selected and fit tested as part of a complete
 found (e.g., respirators that performed bet-     respiratory protection program. However,
 ter using the NIOSH certification test also      as noted elsewhere [Rengsamy et al. 2007],
 had higher filter efficiencies against mono-     in the unlikely event that the workplace ex-
 disperse 40-nm nanoparticles), which is not      posure consists of a large percentage of par-
 surprising given that changes in filtration      ticles in the most penetrating particle size
 performance follow a consistent trend as a       range, management should take this infor-
 function of particle size.                       mation into account during the respirator


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            selection process, perhaps by choosing a res-    half-mask respirators with increased fitting
            pirator with higher levels of filtration per-    performance. Future rulemaking activities
            formance (e.g., changing from an N95 to a        may also include revisions to the filtration
            P100, even though the APF will remain the        test to reflect changes in filtration perfor-
            same) as suggested by OSHA [Federal Reg-         mance resulting from use of new technolo-
            ister 2006] or by selecting a respirator with    gies (e.g., electret filter media). Results will
            a higher APF (e.g., full face-piece respirator   be communicated as they become available.
            or powered air purifying respirator). Dust
            masks, commercially available at hardware/
                                                             8.3.6    Cleanup and disposal of
            home improvement stores, are often con-
                                                                      nanomaterials
            fused with NIOSH approved N95 filtering
            facepiece respirators because of their simi-     No specific guidance is currently available on
            lar appearance. However, dust masks are not      cleaning up nanomaterial spills or contamina-
            respirators and are not approved by NIOSH        tion on surfaces; however, recommendations
            for respiratory protection. One study found      developed in the pharmaceutical industry for
            that penetration of 40-nm NaCl nanopar-          the handling and cleanup of pharmaceutical
            ticles range from 4.3%–81.6% for the seven       compounds might be applicable to worksites
            dust mask models studied [Rengasamy et al.       where engineered nanomaterials are manu-
            2008b]. Dust masks should not be used in         factured or used [Wood 2001]. Until relevant
            place of NIOSH-approved respirators for          information is available, it would be prudent
            protection against nanoparticles.                to base strategies for dealing with spills and
                                                             contaminated surfaces on current good prac-
            NIOSH is continuing to study the pro-
                                                             tices, together with available information on
            tection afforded by NIOSH-certified res-
                                                             exposure risks including the relative impor-
            pirators against emerging hazards such
                                                             tance of different exposure routes. Standard
            as engineered nanomaterials—including
                                                             approaches for cleaning powder spills in-
            workplace-­protection-factor studies—to en­
                                                             clude using HEPA-filtered vacuum cleaners,
            sure they provide expected levels of protec-
                                                             or wiping up the powder using damp cloths
            tion. NIOSH is also committed to updating
                                                             or wetting the powder prior to dry wiping.
            42 CFR Part 84—the regulatory language
                                                             Liquid spills are typically cleaned by applying
            that provides NIOSH the authority to cer-
                                                             absorbent materials/liquid traps.
            tify the performance of respirators in the
            United States—using a modular approach           Damp cleaning methods with soaps or
            to rulemaking. Recently, NIOSH proposed          cleaning oils are preferred. Cleaning cloths
            the use of a TIL test as part of the respira-    should be properly disposed. Use of com-
            tor certification process for half-mask air      mercially available wet or electrostatic mi-
            purifying particulate respirators, includ-       crofiber cleaning cloths may also be effective
            ing those having elastomeric and filtering       in removing particles from surfaces with
            face-pieces. The test protocol used to obtain    minimal dispersion into the air. Drying and
            benchmark TIL data for 101 half-face piece       reusing contaminated cloths can result in
            respirator models used 40–60 nm size am-         re-dispersion of particles.
            bient nanoparticles [NIOSH 2007]. Once
            implemented as part of the NIOSH certifi-        Energetic cleaning methods such as dry
            cation process, the TIL tests should result in   sweeping or the using of compressed air


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 should be avoided or only used with precau-          electrostatic-charge-neutralization features
 tions that assure that particles suspended           to address these issues.
 by the cleaning action are trapped by HEPA
 filters. If vacuum cleaning is employed, care        When developing procedures for cleaning
 should be taken that HEPA filters are installed      up nanomaterial spills or contaminated
 properly and bags and filters changed accord-        surfaces, consideration should be given to
 ing to manufacturer’s recommendations.               the potential for exposure during cleanup.
                                                      Inhalation exposure and dermal exposure
 While vacuum cleaning may prove to be ef-            will likely present the greatest risks. Consid-
 fective for many applications, the following         eration will therefore need to be given to ap-
 issues should be considered. Forces of attrac-       propriate levels of personal protective equip-
 tion may make it difficult to entrain parti-         ment. Inhalation exposure in particular will
 cles off surfaces with a vacuum cleaner. The         be influenced by the likelihood of material
 electrostatic charge on particles will cause         reaerosolization. In this context, it is likely
 them to be attracted to oppositely charged           that a hierarchy of potential exposures will
 surfaces and repelled by similarly charged           exist, with dusts presenting a greater inha-
 surfaces. A similarly charged vacuum brush           lation exposure potential than liquids, and
 or tool may repel particles, making it diffi-        liquids in turn presenting a greater poten-
 cult to capture the aerosol or even causing          tial risk than encapsulated or immobilized
 it to be further dispersed. Vigorous scrub-          nanomaterials and structures.
 bing with a vacuum brush or tool or even
 the friction from high flow rates of material        As in the case of any material spill or cleaning
 or air on the vacuum hose can generate a             of contaminated surfaces, the handling and
 charge. The vacuum cleaners recommended              disposal of the waste material should follow
 for cleaning copier and printer toners have          existing federal, state, or local regulations.

                        Table 8–2. Air-purifying particulate respirators

                         NIOSH
                         assigned
        Respirator      protection
           type           factor              Advantages                       Disadvantages

  Filtering facepiece       10       – Lightweight                  – Provides no eye protection
    (disposable)                     – No maintenance or cleaning   – Can add to heat burden
                                       needed                       – Inward leakage at gaps in face
                                     – No effect on mobility          seal
                                                                    – Some do not have adjustable
                                                                      head straps
                                                                    – Difficult for a user to do a seal
                                                                      check
                                                                    – Level of protection varies greatly
                                                                      among models
                                                                    – Communication may be difficult

                                                                                             (continued)



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                             Table 8–2 (Continued). Air-purifying particulate respirators

                                     NIOSH
                                     assigned
                   Respirator       protection
                      type            factor               Advantages                         Disadvantages

             Filtering facepiece                                                    – Fit testing required to select
               (disposable)                                                           proper facepiece size
               (continued)                                                          – Some eyewear may interfere with
                                                                                      the fit

             Elastomeric half-         10        – Low maintenance                  – Provides no eye protection
              facepiece                          – Reusable facepiece and           – Can add to heat burden
                                                   replaceable filters and          – Inward leakage at gaps in face
                                                   cartridges                         seal
                                                 – No effect on mobility            – Communication may be difficult
                                                                                    – Fit testing required to select
                                                                                      proper facepiece size
                                                                                    – Some eyewear may interfere with
                                                                                      the fit

             Powered with loose-       25        – Provides eye protection          – Added weight of battery and
              fitting facepiece                  – Offers protection for              blower
                                                   people with beards, missing      – Awkward for some tasks
                                                   dentures or facial scars         – Battery requires charging
                                                 – Low breathing resistance         – Air flow must be tested with flow
                                                 – Flowing air creates cooling        device before use
                                                   effect
                                                 – Face seal leakage is generally
                                                   outward
                                                 – Fit testing is not required
                                                 – Prescription glasses can be
                                                   worn
                                                 – Communication easier
                                                   than with elastomeric half-
                                                   facepiece or full-facepiece
                                                   respirators
                                                 – Reusable components and
                                                   replaceable filters




                                                                                                            (continued)



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                 Table 8–2 (Continued). Air-purifying particulate respirators

                            NIOSH
                            assigned
       Respirator          protection
          type               factor               Advantages                         Disadvantages

 Elastomeric full-            50        – Provides eye protection          – Can add to heat burden
  facepiece with                        – Low maintenance                  – Diminished field-of-vision
  N-100, R-100, or                                                           compared to half-facepiece
  P-100 filters                         – Reusable facepiece and
                                          replaceable filters and          –Inward leakage at gaps in face seal
                                          cartridges                       –Fit testing required to select
                                        – No effect on mobility              proper facepiece size
                                        – More effective face seal than    –Facepiece lens can fog without
                                          that of filtering facepiece or     nose cup or lens treatment
                                          elastomeric half-facepiece       –Spectacle kit needed for people
                                          respirators                        who wear corrective glasses

 Powered with tight-          50        –Provides eye protection with      –Added weight of battery and
  fitting half-facepiece                  full-facepiece                    blower
  or full-facepiece                     –Low breathing resistance          –Awkward for some tasks
                                        –Face seal leakage is generally    –No eye protection with half-
                                          outward                           facepiece
                                        –Flowing air creates cooling       –Fit testing required to select
                                          effect                             proper facepiece size
                                        –Reusable components and           –Battery requires charging
                                         replaceable filters               –Communication may be difficult
                                                                           –Spectacle kit needed for people
                                                                             who wear corrective glasses with
                                                                             full face-piece respirators
                                                                           –Air flow must be tested with flow
                                                                            device before use




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          9         Occupational Health Surveillance

 Occupational health surveillance is an essen-     Increasing evidence indicates that exposure
 tial component of an effective occupational       to some engineered nanoparticles can cause
 safety and health program. The unique phys-       adverse health effects in laboratory animals,
 ical and chemical properties of nanomateri-       but no studies of workers exposed to the few
 als, the increasing growth of nanotechnology      engineered nanoparticles tested in animals
 in the workplace, and information suggesting      have been published. The current body of
 that exposure to some engineered nanomate-        evidence about the possible health risks of
 rials can cause adverse health effects in labo-   occupational exposure to engineered nano-
 ratory animals all support consideration of       particles is quite small. Insufficient scien-
 an occupational health surveillance program       tific and medical evidence now exists to rec-
 for workers potentially exposed to engineered     ommend the specific medical screening of
 nanomaterials [Schulte et al. 2008a]. Contin-     workers potentially exposed to engineered
 ued evaluation of toxicologic research and        nanoparticles. Nonetheless, the lack of evi-
 workers potentially exposed to engineered         dence on which to recommend specific
 nanomaterials is needed to inform NIOSH           medical screening does not preclude its con-
                                                   sideration by employers interested in tak-
 and other groups regarding the appropriate
                                                   ing precautions beyond standard industrial
 components of occupational health surveil-
                                                   hygiene measures [Schulte et al. 2008b]. If
 lance for nanotechnology workers.
                                                   medical screening recommendations ex-
 NIOSH has developed interim guidance              ist for chemical or bulk materials of which
 relevant to medical screening (one compo-         nanoparticles are composed, they would ap-
 nent of an occupational health surveillance       ply to nanoparticles as well.
 program) for nanotechnology workers (see
                                                   Ongoing research on the hazards of engi-
 NIOSH Current Intelligence Bulletin: In-          neered nanoparticles is needed along with the
 terim Guidance on Medical Screening and           continual reassessment of available data to
 Hazard Surveillance for Workers Potentially       determine whether specific medical screening
 Exposed to Engineered Nanoparticles, www.         is warranted for workers who are producing
 cdc.gov/niosh/review/public/115/). Medical        or using nanoparticles. In the meantime, the
 screening is only part of a complete safety       following recommendations are provided for
 and health management program that fol-           the management of workplaces where em-
 lows the hierarchy of controls and involves       ployees may be exposed to engineered nano-
 various occupational health surveillance          particles in the course of their work:
 measures. Since specific medical screening of
 workers exposed to engineered nanoparticles        •   Take prudent measure to control work-
 has not been extensively discussed in the sci-         ers’ exposures to nanoparticles.
 entific literature, this document is intended      •   Conduct hazard surveillance as the ba-
 to fill the knowledge gap on an interim basis.         sis for implementing controls.


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            9 Occupational Health Surveillance


             •   Continue use of established medical   for workers exposed to nanoparticles. Ad-
                 surveillance approaches.              ditionally, NIOSH is seeking comments on
            NIOSH will continue to examine new re-     the strengths and weaknesses of exposure
            search findings and update its recommen-   registries for workers potentially exposed to
            dations about medical screening programs   engineered nanoparticles.




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     10             Research Needs

 NIOSH has developed a strategic plan for            —— Evaluate short- and long-term ef-
 research on several occupational safety and            fects of pulmonary exposure to
 health aspects of nanotechnology. The plan             nanomaterials in various organ
 is available at www.cdc.gov/niosh/topics/              systems and tissues (e.g., lungs,
 nanotech/strat_plan.html. NIOSH has fo-                brain, cardiovascular).
 cused its research efforts in the following         —— Determine if intratracheal instil-
 10 critical topic areas to guide in addressing         lation or pharyngeal aspiration
 knowledge gaps, developing strategies, and             can mimic the biological response
 providing recommendations.                             to inhalation exposure to nano-
                                                        materials.
  1. Exposure Assessment
                                                     —— Determine the dermal effects of
      —— Determine key factors that influence           topical exposure to nano-objects,
         the production, dispersion, accumu-            whether these nano-objects can
         lation, and re-entry of nano­materials         penetrate into the skin, and whether
         into the workplace.                            they can cause immune alterations.
      —— Determine how possible expo-                —— Determine the genotoxic and carci-
         sures to nanomaterials differ by               nogenic potential of nano-objects.
         work process.
                                                     —— Determine biological mechanisms
      —— Assess possible exposure when                  for potential toxic effects.
         nanomaterials are inhaled or set-           —— Determine whether in vitro screen-
         tle on the skin.                               ing tests can be predictive on in
  2. Toxicity and Internal Dose                         vivo response.

      —— Investigate and determine the               —— Create and integrate models to
                                                        help assess potential hazards.
         physical and chemical properties
         (e.g., size, shape, solubility, sur-        —— Determine whether a measure
         face area, oxidant generation po-              other than mass is more appro-
         tential, surface functionalization,            priate for determining toxicity.
         surface charge, chemical compo-          3. Epidemiology and Surveillance
         sition) that influence the poten-
         tial toxicity of nanomaterials.             —— Evaluate existing exposure and
                                                        health data for workers employed
      —— Determine the deposition pattern               in workplaces where nanoma-
         of nanoparticles in the lung and               terials are produced and used,
         their translocation to the interstiti-         with emphasis on improving our
         um and to extrapulmonary organs.               understanding of the value and


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            10 Research Needs


                     utility of establishing exposure      5. Measurement Methods
                     registries for workers potentially
                     exposed to engineered nanoma-            —— Evaluate methods used to measure
                     terials.                                    the mass of respirable particles in
                                                                 the air and determine whether
                 —— Assess the feasibility of industry-          this measurement can be used to
                    wide exposure and epidemiologi-              measure nanomaterials.
                    cal studies of workers exposed to
                    engineered nanomaterials, with            —— Develop and field-test practical
                    emphasis on workers potentially              methods to accurately measure
                    exposed to engineered carbona-               airborne nanomaterials in the
                    ceous nanomaterials.                         workplace.
                 —— Integrate nanotechnology safety           —— Develop, test, and evaluate systems
                    and health issues into existing haz-         to compare and validate sampling.
                    ard surveillance mechanisms and
                    continue reassessing guidance re-      6. Engineering Controls and Personal
                    lated to occupational health sur-         Protective Equipment
                    veillance for workers potentially
                    exposed to engineered nanomate-           —— Evaluate the effectiveness of en-
                    rials.                                       gineering controls in reducing
                                                                 occupational exposures to nano-
                 —— Build on existing public health
                                                                 aerosols and developing new con-
                    geographical information systems
                                                                 trols when needed.
                    and infrastructure to enable effec-
                    tive and economic development             —— Evaluate the suitability of control-
                    of methods for sharing nanotech-             banding techniques when addi-
                    nology safety and health data.               tional information is needed and
             4. Risk Assessment                                  evaluate the effectiveness of alter-
                                                                 native materials.
                 —— Determine how existing expo-
                    sure-response data for fine and           —— Evaluate and improve current per-
                    ultrafine particles (human or ani-           sonal protective equipment.
                    mal) may be used to identify the
                    potential hazards and estimate            —— Develop recommendations (e.g.,
                    the potential risks of occupational          use of respiratory protection) to
                    exposure to nanomaterials.                   prevent or limit occupational ex-
                                                                 posures to nanomaterials.
                 —— Develop a framework for assessing
                    the potential hazards and risks of     7. Fire and Explosion Safety
                    occupational exposure to nano-
                    materials, using new toxicologic          —— Identify physical and chemical
                    data on engineered nanomateri-               properties that contribute to dusti-
                    als and standard risk assessment             ness, combustibility, flammability,
                    models and methods.                          and conductivity of nanomaterials.


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                                                                   10 Research Needs


     —— Recommend alternative work prac-             research needs, approaches, and
        tices to eliminate or reduce work            results.
        place exposures to nanomaterials.
                                                 —— Develop and disseminate train-
  8. Recommendations and Guidance                   ing and education materials to
     —— Use the best available science to           workers, employers, and occu-
        make interim recommendations for            pational safety and health pro-
        workplace safety and health prac-           fessionals.
        tices during the production, use,
        and handling of nanomaterials.        10. Applications

     —— Evaluate and update mass-based           —— Identify uses of nanotechnology for
        occupational exposure limits for            application in occupational safety
        airborne particles to ensure good,          and health.
        continuing precautionary practices.
                                                 —— Evaluate and disseminate effective
  9. Communication and Information                  applications to workers, employ-
     —— Establish partnerships to allow             ers, and occupational safety and
        for identification and sharing of           health professionals.




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                    Appendix
                  Nanoparticle Emission Assessment Technique for Identification
                  of Sources and Releases of Engineered Nanomaterials




 1.0 Introduction                                 and worker exposure at those facilities. The
                                                  initial challenges that the field research team
 This appendix describes a technique that can     encountered were: 1) determining which
 be used by industrial hygienists for conduct-    exposure metric (e.g., mass, particle num-
 ing initial workplace assessments for possible   ber concentration, particle surface area) for
 nanoparticle emissions. It allows a semi-        engineered nanoparticles would provide a
 quantitative evaluation of processes and         consistent body of knowledge to align with
 tasks in the workplace where releases of engi-   the toxicological results observed in experi-
 neered nanoparticles may occur. NIOSH uses       mental animal studies; and 2) selecting a
 several sampling approaches simultaneously       sampling method based on metrics that
 with the goal of obtaining key physicochemi-     were practical and would provide reproduc-
 cal particle metrics: number concentration,      ible results. Engineered nanomaterials can
 qualitative size, shape, degree of agglomera-    be measured in the workplace using a vari-
 tion, and mass concentration of elemental        ety of instrumentation including: condensa-
 constituents of interest.                        tion particle counter (CPC); optical particle
                                                  counter (OPC); scanning mobility particle
                                                  sizer (SMPS); electric low pressure impac-
 2.0 Scope                                        tor (ELPI); aerosol diffusion charger; and
 Employers, workers, and researchers en-          tapered element oscillating microbalance
 gaged in the production and use of engi-         (TOEM), which vary in complexity and field
 neered nanomaterials have expressed an           portability. Unfortunately, relatively few of
 interest in determining whether these nano-      the above instruments are readily applica-
                                                  ble to routine exposure monitoring due to
 materials are hazardous and if the potential
                                                  non-specificity, lack of portability, difficulty
 for worker exposure exists. NIOSH has an
                                                  of use, and high cost. NIOSH researchers
 active toxicology program to assess the po-
                                                  have developed and used a field assessment
 tential hazards of engineered nanoparticles.
                                                  strategy for determining exposures to engi-
 Unfortunately these studies require long
                                                  neered nanoparticles that could be adopted
 time periods and fall behind the pace of pro-
                                                  by other health and safety professionals in
 duction and use of these nanomaterials. To
                                                  the evaluation of occupational exposures
 assist in answering the latter of these ques-
                                                  [Methner, et. al. 2007; Methner, 2008].
 tions, NIOSH established a nanotechnol-
 ogy field research team tasked with visiting     Since there are currently no exposure lim-
 facilities and collecting information about      its specific to engineered nanomaterials,
 the potential for release of nanomaterials       this technique is used to determine whether


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            airborne releases of engineered nanomateri-      particle identification and characterization,
            als occur. This assessment, which compares       and the other used for determining the el-
            particle number concentrations and relative      emental mass concentration (Figure 2). A
            particle size at the potential emission source   second pair of filter-based air samples may
            to background particle number concen-            also be collected in the personal breathing
            trations and particle size, provides a semi-     zone of workers. Breathing zone samples are
            quantitative means for determining the ef-       analyzed in the same manner as the area air
            fectiveness of existing control measures in      samples (i.e., by TEM and elemental mass).
            reducing engineered nanoparticle exposures.
            This procedure utilizes portable direct-read-
            ing instrumentation supplemented by filter-
                                                             4.0 Air Sampling
            based air samples (source-specific and per-          Instrumentation and Filter
            sonal breathing zone [PBZ]). The use of filter       Media Used in the Initial
            samples is crucial for particle identification       Assessment
            because direct-reading instruments used for
                                                             The following instrumentation is used by
            determining particle number concentrations
                                                             NIOSH; however, use does not constitute
            are incapable of identifying the composition
                                                             endorsement.
            of the particles.
                                                             4.1   TSI model 3007 (or model 8525) (TSI
                                                                   Inc, Shoreview, MN), handheld con-
            3.0 Summary of the On-Site                             densation particle counter (CPC),
                Initial Assessment                                 which uses isopropanol to condense
            The initial assessment uses a combination of           on particles so they can be counted
            direct-reading, handheld instruments (CPC              The TSI units provide a non-spe-
            and OPC) and filter-based sampling (e.g.               cific measure of the total number
            37-mm diameter filter cassettes) for subse-            of particles independent of chemi-
            quent chemical and microscopic analyses                cal identity per cubic centimeter of
            (Figure 1). This semi-quantitative approach            air (P/cm3). The measureable range
            was first described by Maynard et al. [2004]           is between 10–1,000 nm for model
            and NIOSH has adopted a similar approach.              3007, or between 20–1,000 nm for
            The technique includes determining particle            model 8525. The range of detec-
            number concentration using direct-read-                tion for these instruments is re-
            ing, handheld particle counters at potential           ported by the manufacturer to be
            emission sources and comparing those data              0–100,000 P/cm3.
            to background particle number concentra-
                                                             4.2   ART Instruments Hand Held Particle
            tions. If elevated concentrations of suspect-
                                                                   Counter (HHPC-6, ART Instruments,
            ed nanoparticles are detected at potential
                                                                   Grants Pass, Oregon), which operates
            emission sources, relative to the background
                                                                   on optical counting principles using
            particle number concentrations, then a pair
                                                                   laser light scattering.
            of filter-based, source-specific air samples
            are collected with one sample analyzed by              The HHPC-6 optical particle coun-
            transmission electron microscopy (TEM)                 ter (OPC) can measure the total
            or scanning electron microscopy (SEM) for              number of particles per liter (P/L)


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       of air independent of chemical iden-              nitrile gloves for handling media (see
       tity within six specific size ranges.             5.6.2)
       The OPC used by the NIOSH field
       research team provides particle
       counts in the following size cut-
                                                   5.0 Evaluation of Potential
       points: 300 nm; 500 nm; 1,000 nm;               Releases of Engineered
       3,000 nm; 5,000 nm; and 10,000 nm.              Nanomaterials
       The range of detection for this instru-
       ment is reported by the manufacturer        5.1   Identify Potential Sources of
       to be 0−70,000 P/L. Different manu-               Emissions
       facturers’ OPCs may have slightly dif-
       ferent particle size ranges and could             The overall purpose of this step is to
       be substituted.                                   develop a list of target areas and tasks
                                                         that will be evaluated with the par-
 4.3   Appropriate air sampling filter media             ticle analyzers.
       (e.g. mixed cellulose ester, quartz fi-
       ber filter) are selected depending on             The initial assessment involves iden-
       nanoparticle type and desired analyt-             tifying the potential sources of en-
       ical information (e.g., determination             gineered nanomaterial emissions by
       of particle morphology using TEM                  reviewing the type of process, process
       or SEM, elemental analysis for met-               flow, material inputs and discharges,
       als, elemental analysis for carbon)               tasks, and work practices. When
                                                         available, literature (e.g., MSDS, re-
 4.4   Air sampling pumps capable of sam-
                                                         cords of feedstock materials) is re-
       pling at high flow rates (e.g., 7 ­liters
                                                         viewed to gain an understanding of
       per minute or other flow rate depend-
                                                         the engineered nanomaterials being
       ing upon the duration of the task and
                                                         produced or used, including their
       the appropriate NIOSH method, if a
                                                         physicochemical properties such as
       method is available)
                                                         size, shape, solubility, and reactivity.
 4.5   Sampling pump flow calibrator                     Once the potential sources of emis-
                                                         sions have been identified from the
 4.6   If desired, personal cascade impactor
                                                         process review, the industrial hygien-
       or respirable cyclone (see 5.3.3)
                                                         ist (or other qualified person):
 4.7   If desired, cassette conductive cowl
       (see 5.3.3)                                         •   Conducts an observational walk-
                                                               through survey of the produc-
 4.8   Optional research-grade particle                        tion area and processes to locate
       analyzers for expanded surveys (see                     potential sources of emissions.
       5.6.1)
                                                           •   Determines the frequency and
 4.9   Optional surface sampling sup-                          duration of each operation and
       plies such as substrate (e.g., Ghost                    the type of equipment used for
       Wipes™), disposable 10 cm × 10                          handling and containment of
       cm templates, sterile containers, and                   the material.


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                    •   Determines the presence/absence           including vacuum pumps, natural gas
                        of general and local exhaust ven-         heating units, gasoline/propane/die-
                        tilation and other engineering            sel powered fork lift trucks, or other
                        controls. (This initial assess-           combustion activities such as welding,
                        ment includes identifying points          soldering, or heat-sealing. The CPC
                        of potential system failure that          and OPC can be used to check these
                        could result in emission from             sources for incidental nanoparticle
                        the containment/control system            releases. Outdoor or re-circulated air
                        [e.g., hole in duct, deteriorated         supply from the building ventilation
                        sealing gasket]).                         system should also be considered as a
                                                                  possible source of nanoparticles [Pe-
                    •   Determines the process points
                                                                  ters et al. 2006].
                        where containment is deliber-
                        ately breached (e.g., opening             Measurements of background parti-
                        system for product retrieval or           cle concentrations are repeated after
                        for cleaning).                            the active processing, manufacturing,
                                                                  or handling of the nanomaterial has
                                                                  ended. An average background con-
            5.2   Conduct Particle Concentration
                  Sampling                                        centration is then computed and sub-
                                                                  tracted from the measurements made
            5.2.1 Background measurements                         during processing, manufacturing, or
                                                                  the handling of engineered nanoma-
                  Determining the contribution of
                                                                  terials. This approach is acceptable
                  background particle concentrations
                                                                  only if background particle counts
                  on measurements made for the parti-
                                                                  remain relatively stable throughout
                  cles of interest (e.g., engineered nano-
                                                                  the measurement period and particle
                  particles) is an important evaluation
                                                                  emissions from the process under in-
                  of assessing the possible airborne re-
                                                                  vestigation are sufficiently elevated
                  lease of engineered nanoparticles.
                                                                  above background. For other situ-
                  Ideally, during the initial assessment,         ations, correcting for particle back-
                  the industrial hygienist (or other qual-        ground concentrations becomes
                  ified person), will determine the aver-         more complex requiring additional
                  age airborne particle concentration at          sampling over an extended time pe-
                  various processes and adjacent work             riod to determine the source(s) and
                  areas with the CPC and OPC before               magnitude of background particle
                  the processing or handling of nano-             concentrations. This type of evalua-
                  materials begins. If the background             tion is generally outside the scope of
                  particle concentrations are high (val-          the initial assessment described here.
                  ues are relative and will vary with pro-
                                                             5.2.2 Area sampling
                  cesses and facilities), an assessment
                  is made as to whether there may be a            Once initial background particle con-
                  source of incidental nanoparticles in           centrations have been determined,
                  the area. Incidental nanoparticles may          measurements of airborne particle
                  be generated from a variety of sources,         concentrations and size ranges are


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       made with the CPC and OPC simul-          (e.g., size, shape, dimension, degree
       taneously at locations near the sus-      of agglomeration) by TEM or SEM
       pected or likely emission source (e.g.,   using the measurement techniques
       opening a reactor, handling product,      specified in NIOSH Methods 7402,
       potential leak points in the ventila-     7404, or other equivalent methods
       tion system). Airborne particle con-      [NIOSH 1994].
       centrations are determined before,        The source-specific air samples are
       during, and after each task or opera-     collected as close as possible to the
       tion to identify those factors (e.g.,     suspected emission source but out-
       controls, worker interaction, work        side of any existing containment, to
       practices) that may affect airborne       increase the probability of detecting
       particle concentrations. This infor-      any possible release of engineered
       mation is used to identify processes,     nanomaterials. Sampling duration
       locations, and personnel for filter-      generally matches the length of time
       based air sampling (5.3).                 in which the potential exposure to the
                                                 engineered nanomaterial exists at the
 5.3   Conduct Filter-based Area and             task or specific process. In cases where
       Personal Air Sampling                     the duration of the tasks associated
                                                 with the potential airborne release
 5.3.1 Area air sampling                         of nanomaterials is short (e.g., min-
                                                 utes), a relatively high air sampling
       A pair of filter-based, air samples are
                                                 flow rate may be required (approxi-
       collected at process/task locations
                                                 mately 7 liters per minute) to ensure
       and/or workers engaged in process
                                                 adequate particle loading on the filter
       operations where suspected engi-
                                                 media. If specific information is de-
       neered nanomaterial emissions may         sired on the worker’s potential expo-
       occur, based on air sampling results      sure to the engineered nanomaterial
       using the CPC and OPC.                    then PBZ samples should be collect-
       Filter-based area air samples provide     ed using the two- sample filter-based
       more specific information on the          sampling strategy described above.
       engineered nanomaterial of inter-         If the particle number concentrations
       est (e.g., size, shape, mass). The pair   (using CPC or OPC) are substantially
       of air samples includes one sample        high, then shorter sampling times for
       analyzed for elemental mass and one       the TEM or SEM sample may be nec-
       sample analyzed by electron micros-       essary to avoid overloading the filter
       copy. For example, one sample might       and interfering with particle charac-
       be collected for metals determination     terization. The specific sampling time
       (e.g., NIOSH Method 7300, 7303)           should be based on direct-reading
       or elemental carbon (e.g., NIOSH          instrument results and professional
       Method 5040) depending on the             judgment of the industrial hygien-
       composition of the engineered nano-       ist. In general, filter samples are col-
       material. The other sample would be       lected for the duration of a given
       collected for particle characterization   task, normally 15–30 minutes. If the


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                  ­ irect-reading instruments indicate a
                  d                                                the task and the resulting potential
                  high particle number concentration               exposure is short.
                  the sampling time can be shortened
                                                             5.3.3 Optional sample collection
                  to 5–10 minutes, or both a short- and
                  long-duration sample may be col-                 In the event that measurements
                  lected to ensure an adequate sample              made by the OPC indicate a large
                  for electron microscopy analysis. See            fraction (over 50%) of particles ex-
                  Table 1 for additional sampling time             ceeding 1,000 nm in size, the use of
                  guidance. However, the sampling                  a personal cascade impactor or respi-
                  times in Table 1 were based on col-              rable cyclone sampler in tandem with
                  lection of asbestos fibers by NIOSH              a filter-based air sampling cassette
                  Method 7402 and may not be appli-                may be required for both the mass
                  cable for much smaller engineered                and TEM/SEM analyses to eliminate
                  nanoparticles. See Figures 3–5 for ex-           large particles that may interfere with
                  ample TEM micrographs.                           analysis and be of limited interest.
                                                                   The use of an impactor or cyclone
                  A minimum of 2 background filter                 will require using a flow rate appro-
                  samples are collected distant from               priate for the particle cut size and is
                  the potential sources of engineered              usually in the range of 1.7–2.5 liters
                  nanoparticle exposure to serve as an             per minute. Open-face, and impactor
                  indicator of ambient particle identi-            or cyclone samples may be collected
                  fication and concentration.                      side by side to allow a more thorough
            5.3.2 Personal air samples                             interpretation of analytical results.
                                                                   Additionally, if it is anticipated that
                  When possible, personal breathing                the nanoparticles of interest will have
                  zone (PBZ) air samples are collected             a tendency to be electrostatically at-
                  on workers likely to be exposed to en-           tracted to the sides of the plastic air
                  gineered nanomaterials (e.g., engaged            sampling cassette, a conductive cowl
                  in active handling of nanomaterials              may be necessary to eliminate par-
                  or operating equipment previously                ticle loss and subsequent underesti-
                  identified as emitting nanoparticles).           mation of the airborne nanoparticle
                  If measurements obtained with the                concentration. The use of a personal
                  CPC and OPC indicate that nano-                  cascade impactor, respirable cyclone,
                  particles are being emitted at a specif-         or conductive cowl is made at the dis-
                  ic process where a worker is located,            cretion of the industrial hygienist (or
                  then the collection of PBZ samples               other qualified person).
                  may be warranted.
                                                                   If the facility is manufacturing or us-
                  PBZ samples are analyzed in the                  ing TiO2, then the sampling should in-
                  same manner as the area air samples              clude the sampling recommendations
                  (i.e., by TEM and elemental mass). It            found in the NIOSH Draft Document:
                  may be necessary to collect samples              Evaluation of Health Hazard and Recom-
                  at a relatively high flow rate (e.g., 7          mendations for Occupational Exposure
                  liters per minute) if the duration of            to Titanium Dioxide (www.cdc.gov/


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       niosh/review/public/TiO2/default.               the ASTM definition of nanoparticles
       html),which recommends collecting               (1–100 nm) [ASTM 2006]. However,
       a mass-based airborne measurement               the two particle counters can be used
       using NIOSH Method 0600.                        simultaneously to obtain a semi-
                                                       quantitative size differential evalu-
                                                       ation of the aerosol being sampled.
 5.4   Quality Assurance and Quality
                                                       The CPC provides a measure of to-
       Control
                                                       tal particles per cm3 in the size range
       To ensure valid emission measure-               of 10–1,000 nm (or 20–1,000 nm).
       ments, the following quality assurance          The OPC provides the total number
       and control steps should be taken:              of particles per liter of air within six
                                                       specific size ranges: 300 nm; 500 nm;
        •   Use factory calibrated direct-             1,000 nm, 3,000 nm, 5,000 nm and
            reading particle analyzers                 > 10,000 nm. If necessary, the data
                                                       from the CPC and OPC can be used
        •   Perform daily zero-checks on all
                                                       together to determine the number
            particle counters before each use
                                                       concentration of nanoscale particles.
        •   Calibrate pumps before and af-             For example, a high particle number
            ter each sampling day                      concentration on the CPC, in com-
                                                       bination with a high particle num-
        •   Submit for analysis any process,           ber concentration in the small size
            background, and bulk mate-                 ranges (300–500 nm) on the OPC,
            rial samples along with field              may indicate the possible presence of
            and media blanks to a labora-              nanoscale particles. Conversely, a low
            tory accredited by the American            CPC particle number concentration,
            Industrial Hygiene Association             in combination with a high OPC
            (AIHA)                                     particle number concentration in the
                                                       larger size ranges (> 1,000 nm) may
 5.5   Data Interpretation                             indicate the presence of larger par-
                                                       ticles and/or engineered nanoparticle
       Since the size of airborne engineered           agglomerates. These assumptions of
       nanoparticles and the degree of ag-             nanoparticles versus larger particles
       glomeration may be unknown at                   and/or nanoparticle agglomerates
       the time of sample collection, the              may be verified by TEM or SEM anal-
       use of direct-reading, particle sizing/         ysis.
       counting instruments may provide a
       semi-quantitative indication of the       5.5.1 Selectivity
       magnitude of potential emissions,               Selectivity is a critical issue when
       provided background particle num-               characterizing exposure using air-
       ber subtraction can be successfully             borne particle number concentration.
       accomplished. The particle number               Airborne nanoparticles are present
       concentration measurements taken                in many workplaces and often origi-
       with the CPC and OPC will provide a             nate from multiple sources such as
       measurement of particles larger than            combustion, vehicle emissions, and


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                  infiltration of outside air. Particle                  particle number concentrations
                  counters are generally not selective to                are greater than 100,000 P/cm3
                  particle source or composition, mak-                   [Peters et al. 2006; Heitbrink et
                  ing it difficult to differentiate between              al. 2007; Evans et al. 2008].
                  incidental and process-related nano-
                  particles using number concentration               •   The analysis of air samples by
                                                                         TEM or SEM with energy dis-
                  alone. The CPC and OPC are used to
                                                                         persive X-ray spectrometry can
                  identify sources of nanoparticles and
                                                                         provide information on the el-
                  the filter-based samples are used to
                                                                         emental composition of the
                  verify the size, shape, and chemical
                                                                         nanomaterials. However, TEM
                  composition of the nanoparticles with
                                                                         and SEM analysis can be com-
                  the goal of differentiating between
                                                                         promised if there is particle
                  incidental and engineered nanopar-                     overload on the filter. Alterna-
                  ticles.                                                tively, if the loading is too sparse,
            5.5.2 Limitations                                            an accurate assessment of par-
                                                                         ticle characteristics may not be
                  The exposure assessment technique                      possible (see 5.3.1).
                  does have some limitations includ-
                  ing:                                               •   Note that area samples are col-
                                                                         lected as closely as possible to
                    •   Although this issue is not unique                the source of emission to allow
                        to particle number concentra-                    for more accurate determination
                        tion measurements, orders of                     of a nanoparticle release and to
                        magnitude difference can exist                   identify locations most likely
                        in aerosol number concentra-                     to result in worker exposure.
                        tions, depending on the number                   Therefore, results from this
                        and types of sources of particle                 type of sampling should not be
                        emissions. Monitoring over sev-                  interpreted as representative
                        eral days and during different                   of worker exposure. However,
                        seasons can provide a better un-                 samples collected in such a fash-
                        derstanding of the variability that              ion should serve as an indicator
                        might exist in airborne particle                 of material release and the pos-
                        number concentrations found                      sible need for controls.
                        in background measurements
                        and in measurements made at
                                                              5.6   Expanded Research (In Depth
                        sources where engineered nano-
                                                                    Assessments)
                        materials are handled.
                                                              5.6.1 Research instrumentation
                    •   The upper dynamic range of
                        the CPC is 100,000 P/cm3. A                 A major obstacle in conducting more
                        dilutor, consisting of a modi-              specific measurement of engineered
                        fied HEPA filter cartridge placed           nanomaterials in the workplace is a
                        upstream of the inlet, can ex-              lack of field-portable instruments
                        tend the range of the CPC when              that can be easily maneuvered within


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       a facility or easily worn by a worker to          corresponding to either the tracheo-
       provide an indication of PBZ expo-                bronchial or alveolar regions of the
       sure. Additionally, there is no single            lung. The Ecochem DC 2000-CE
       instrument capable of measuring the               measures the total particle surface
       numerous potential exposure metrics               area. These devices are currently being
       associated with engineered nanoma-                evaluated as part of the process used
       terials (e.g., number concentration,              by NIOSH to conduct initial assess-
       surface area, size, shape, mass concen-           ments. These particle surface analyz-
       tration) [Maynard and Aitken 2007].               ers are used as area samplers.
       Although the following instruments
       lack field portability and ease of use,     5.6.1.2. Scanning Mobility Particle Sizer
       they can measure many of the desir-               More specific depictions of particles
       able exposure metrics and provide                 by size (diameter) and number can
       information about the particle size               greatly improve the ability to evaluate
       distribution. These research-grade
                                                         possible releases of engineered nano-
       particle analyzers are not usually part
                                                         particles. One particular instrument,
       of the initial assessment but are used
                                                         the Scanning Mobility Particle Sizer
       when additional knowledge about
                                                         (SMPS) measures particle diameters
       the nanoscale particle temporal or
                                                         from 2.5–1,000 nm and can display
       spatial exposure variation or size dis-
                                                         data as a size and number distribu-
       tribution is desired.
                                                         tion using up to 167 size channels.
 5.6.1.1 Particle Surface-Area Analyzers                 The SMPS is widely used as a re-
                                                         search tool for characterizing nano-
       Toxicology studies have indicated that
                                                         scale aerosols. The SMPS employs a
       surface area of nanoparticles may be
                                                         continuous, fast-scanning technique
       an important exposure dose metric.
       Portable aerosol diffusion chargers               to provide high-resolution measure-
       may be used to provide estimates of               ments. However, the SMPS may take
       external aerosol surface area when                2–3 minutes to scan which may not
       airborne particles are smaller than               be useful for the process screening in
       100 nm in diameter, but these may                 workplaces with highly variable aero-
       tend to overestimate external surface             sol size distributions. Its applicability
       area when particles are larger than               for use in the workplace may be lim-
       100 nm in diameter. These instru-                 ited because of its size, cost, and use
       ments are based on diffusion charging             of an internal radioactive source.
       followed by detection of the charged              The Fast Mobility Particle Sizer
       aerosol using an electrometer.                    (FMPS) is similar to the SMPS but has
       The TSI Aerotrak™ 9000 Nanoparticle               a much faster response time (approx-
       Aerosol Monitor does not measure to-              imately 1 second). However, because
       tal active surface area but indicates the         it has fewer particle size channels, it
       surface area of particles which may be            does not include the same level of de-
       deposited in the lung in units of square          tail on particle size distributions that
       micrometers per cubic centimeter,                 can be determined with the SMPS.


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                  The FMPS and SMPS are used as area           useful for determining whether engi-
                  samplers.                                    neered nanomaterials have migrated
                                                               away from active production or han-
            5.6.1.3 Low Pressure Impactors
                                                               dling areas and have contaminated
                  The Electrical Low Pressure Impactor         nonproduction work areas. The de-
                  (ELPI) combines diffusion charging           cision to collect surface samples is
                  and a cascade impactor to provide            made in the field at the discretion
                  aerosol size distributions by aerody-        of the industrial hygienist (or other
                  namic diameter as determined real            qualified person), and is dependent
                  time by mass and number collected            on direct observation and the nano-
                  on a series of plates.
                                                               material of interest. For example,
                  Low pressure cascade impactors offer         surface sampling was completed at
                  the ability to size particles and then       a quantum dot facility after observ-
                  conduct secondary analyses (e.g.,            ing dusty surfaces in areas adjacent to
                  metals analysis). However, these in-         the production area. In order to de-
                  struments are sensitive to harsh field       termine if the dust was contaminated
                  conditions and are not considered            with quantum dots, surface samples
                  portable. The ELPI is used as an area        were collected and analyzed for the
                  sampler.                                     chemical components of the quan-
            5.6.1.4 Tapered Element Oscillating Mi-            tum dots produced by that facility.
                    crobalance
                                                               Surface wipe samples are collected
                  The tapered element oscillating mi-          using a pre-moistened substrate such
                  crobalance (TEOM) is commonly                as Ghost Wipe™ towelettes in ac-
                  used for sampling aerosols less than         cordance with NIOSH Method 9102
                  1 µm in diameter, however, the sam-          for elements or the NIOSH method
                  pling inlet can be set to select different   for specific elements (e.g., NIOSH
                  size fractions. The TEOM determines          Method 9100 for lead). When collect-
                  mass by detecting a change in vibra-         ing wipe samples, the following steps
                  tion frequency across a particle-col-        should be followed:
                  lecting substrate. The TEOM can be
                  configured to provide size-differenti-        •   Don a pair of nitrile disposable
                  ated mass measurements and is used                gloves
                  as an area sampler.
                                                                •   Wipe the surface within a dispos-
            5.6.2 Surface sampling                                  able 10 cc × 10 cc template using
                  Surface sampling to detect the pres-              four horizontal s-shaped strokes
                  ence of engineered nanomaterials is           •   Fold the exposed side of the wipe
                  not routinely part of the initial assess-         in and wiping the same area with
                  ment but may be conducted to deter-               four vertical s-shaped strokes
                  mine if surface contamination exists.
                  Surface sampling does not provide             •   Fold the wipe, exposed side in, and
                  size-specific information but may be              placing it into a sterile container


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       Gloves and template are discard-            nanomaterials are occurring at po-
       ed after each sample collection to          tential emission sources. This assess-
       eliminate the possibility of cross-         ment provides a semi-quantitative
       contaminating successive samples.           means for determining whether ex-
       Wipe samples may be collected from          isting measures are adequate for con-
       undisturbed horizontal surfaces             trolling nanomaterial emissions or if
       throughout the facility at locations        additional controls may be required.
       suspected to be contaminated and
                                                   The NIOSH emission assessment
       in areas expected to be free of engi-
                                                   technique may be useful to health
       neered nanomaterials. Wipe samples
                                                   and safety professionals who are in-
       are analyzed following the appropri-
                                                   terested in determining whether re-
       ate NIOSH method for the chemical
                                                   lease of nanomaterials occurs in the
       substance of interest.
                                                   workplace. Where possible, use of
                                                   the technique should be repeated
 6.0 Conclusions                                   in workplaces of interest to gain a
                                                   better understanding of the daily
       The NIOSH initial assessment tech-          fluctuations in airborne exposures
       nique uses complimentary approaches         at processes and tasks in which en-
       to semi-quantitatively evaluate the po-     gineered nanomaterials occur and
       tential releases of engineered nanopar-     for determining potential sources of
       ticles. Two different particle counters     background particle number concen-
       are used in a parallel and differential     trations. A more systematic and rou-
       manner to evaluate the total particle       tine assessment of the workplace can
       number relative to background and           provide more definitive information
       the relative size distribution of the       on the performance of control mea-
       particles. If this initial evaluation in-   sures and if additional actions are
       dicates an elevated number of small         needed to reduce worker exposure.
       particles, which could potentially be
       the engineered nanoparticle of inter-       The initial assessment technique can
       est, then the particle counters are used    be expanded or modified to determine
       to detect the source of the emissions.      additional metrics (Figure 6). Research
       If nanoparticles are found and deter-       initiatives addressing more compre-
       mined to be emitted from a specific         hensive process monitoring, particle
       process (versus background incidental       metrics, personal exposure monitoring,
       nanoscale particles), then additional       and method/approach development
       samples are collected for qualitative       and validation are currently underway
       measurement of particle size and            within NIOSH. As this information
       shape, (by TEM or SEM analysis) and         becomes available, revisions to the Ap-
       for determination of elemental mass         proaches to Safe Nanotechnology doc-
       concentration (by chemical analysis).       ument will be made.
       The initial assessment technique            Information about contacting the
       is useful for determining wheth-            nanotechnology field research team
       er airborne releases of engineered          is available at: [www.cdc.gov/niosh/


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                 docs/2008-121], see the Fact Sheet:     Safety and Health. DHHS (NIOSH)
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             Table 1. Approximate sampling times for TEM grid based on particle
                                  number concentrations*.

                                                          Open-faced cassettes

                                     TEM grid    25-mm          37-mm            47-mm

         Diameter (mm)                 3.0        25.0           37.0              47.0

         Effective diameter (mm)       3.0        22.2           34.2              44.2
         Effective collection area     7         385            916              1531
          (mm2)

         Flow (L/min)                  0.1         7              7                 7



         Desired Loading (#/mm2)      1.E+06     1.E+06         1.E+06           1.E+06

               Air concentration
                    (#/cm3)                              Time (min)

                        250            282.7     220.2           523.4            874.8
                        500            141.4     110.1           261.7            437.4
                      1,000             70.7      55.0           130.8            218.7
                      2,000             35.3      27.5            65.4            109.4
                      4,000             17.7      13.8            32.7             54.7
                      8,000                8.8     6.9            16.4             27.3
                     16,000                4.4     3.4                8.2          13.7
                     32,000                2.2     1.7                4.1           6.8
                     64,000                1.1     0.9                2.0           3.4
                   128,000                 0.6     0.4                1.0           1.7

         *
         NIOSH NMAM Method 7402 Asbestos by TEM and personal communication with
          Dr. Aleksandr Stefaniak (NIOSH)




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                       Figure 1. A demonstration of the initial assessment
                       technique with side-by-side sampling using (from left
                       to right) the OPC, co-located open-face filter cassettes,
                       and the CPC: examples of PBZ and source-specific
                       filter-based sampling setup.




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               Figure 2. Summary of the initial assessment technique




                                                Carbon Nanotube


                                                                  Carbon Nanofiber




 Figure 3. Electron microscopy micrograph    Figure 4. Electron microscopy micrograph
 of a carbon nanofiber                       of a carbon nanofiber and carbon
                                             nanotube




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                             Figure 5. Electron microscopy micrograph of an
                             agglomerated nanoparticle of nickel oxide




                       Figure 6. Considerations for expanded nanomaterial assessments




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                     EXHIBIT 5
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    This product is for research use only and not for human use.

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    Lipids                                      Lipids                                    Lipids
    DSPC (18:0/18:0 PC)                         ALC-0159                                  DSPE (18:0/18:0 PE)
    Product Number: L-1118                      Product Number: N-2010                    Product Number: L-2118
                                                $125.00 – $495.00
                94 / 100                                                                            91 / 100
                Bioz Stars                               View products                              Bioz Stars

    $30.00 – $240.00                                                                      $94.00 – $340.00


             View products                                                                         View products




    Lipids

    Cholesterol
    Product Number: L-6012

                93 / 100

https://www.echelon-inc.com/product/alc-0315/                                                                               2/4
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            Bioz Stars
    $30.00 – $150.00


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    Related products



    Lipids                                      Lipids
                                                                                          Lipids
    GloPIPs BODIPY FL-PI(4)P                    BODIPY FL PI(3,4)P2                       GloPIPs Biotin-PI(3)P
    Product Number: C-04F6A                     Product Number: C-34F6
                                                                                          Product Number: C-03B6A
                                                $448.00 – $770.00
             View products                                                                          85 / 100
                                                         View products                              Bioz Stars

                                                                                          $277.00 – $846.00


                                                                                                   View products




    Lipids

    BODIPY FL
    Phosphatidylinositol
    Product Number: C-00F6

                91 / 100
                Bioz Stars

    $280.00 – $446.00


             View products




https://www.echelon-inc.com/product/alc-0315/                                                                       3/4
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                    EXHIBIT 5
                   G Chem 0315
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                                           Building Blocks, Pharmaceutical Intermediates, Chemical Reagents, Catalysts & Ligands
                                                                                                           www.ChemScene.com

                                                                                                    Revision Date:   Mar.-23-2021
                                                  Safety Data Sheet                                 Print Date:      Jun.-28-2021




1. PRODUCT AND COMPANY IDENTIFICATION

1.1 Product identifier
   Product name :                        ALC-0315
   Catalog No. :                         CS-0145622
   CAS No. :                             2036272-55-4
1.2 Relevant identified uses of the substance or mixture and uses advised against
   Identified uses :                     Laboratory chemicals, manufacture of substances.
1.3 Details of the supplier of the safety data sheet
   Company:                              ChemScene LLC
   Tel:                                  732-484-9848
   Fax:                                  888-484-5008
   E-mail:                               sales@chemscene.com
1.4 Emergency telephone number
   Emergency Phone #:                    732-484-9848


· 2. HAZARDS IDENTIFICATION

2.1 Classification of the substance or mixture
    GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
    Skin corrosion/irritation (Category 2),H315
    Serious eye damage/eye irritation (Category 2A),H319
2.2 GHS Label elements, including precautionary statements



    Pictogram



    Signal word        Warning
    Hazard statement(s)
    H315 Causes skin irritation
    H319 Causes serious eye irritation
    Precautionary statement(s)
    P264 Wash hands thoroughly after handling
    P280 Wear protective gloves/protective clothing/eye protection/face protection.
    P302+P352 IF ON SKIN: Wash with plenty of soap and water.
    P305+P351+P338 IF IN EYES: Rinse cautiously with water for several minutes. Remove contact lenses, if present and easy to
    do. Continue rinsing.
    P313 Get medical advice/attention.
    P332+P313 If skin irritation occurs: Get medical advice/attention.


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    P337+P313 If eye irritation persists: Get medical advice/attention.
    P362 Take off contaminated clothing and wash before reuse.
2.3 Other hazards
    None.


3. COMPOSITION/INFORMATION ON INGREDIENTS

3.1 Substances
   Formula:                              C48H95NO5
   Molecular Weight:                     766.27
   CAS No. :                             2036272-55-4


4. FIRST AID MEASURES

4.1 Description of first aid measures
    Eye contact
    Remove any contact lenses, locate eye-wash station, and flush eyes immediately with large amounts of water. Separate eyelids
    with fingers to ensure adequate flushing. Promptly call a physician.
    Skin contact
    Rinse skin thoroughly with large amounts of water. Remove contaminated clothing and shoes and call a physician.
    Inhalation
    Immediately relocate self or casualty to fresh air. If breathing is difficult, give cardiopulmonary resuscitation (CPR). Avoid mouth-
    to-mouth resuscitation.
    Ingestion
    Wash out mouth with water; Do NOT induce vomiting; call a physician.
4.2 Most important symptoms and effects, both acute and delayed
    The most important known symptoms and effects are described in the labelling (see section 2.2).
4.3 Indication of any immediate medical attention and special treatment needed
    Treat symptomatically.


5. FIRE FIGHTING MEASURES

5.1 Extinguishing media
   Suitable extinguishing media
   Use water spray, dry chemical, foam, and carbon dioxide fire extinguisher.
5.2 Special hazards arising from the substance or mixture
   During combustion, may emit irritant fumes.
5.3 Advice for firefighters
    Wear self-contained breathing apparatus and protective clothing.


6. ACCIDENTAL RELEASE MEASURES

6.1 Personal precautions, protective equipment and emergency procedures
    Use full personal protective equipment. Avoid breathing vapors, mist, dust or gas. Ensure adequate ventilation. Evacuate
    personnel to safe areas.
    Refer to protective measures listed in sections 8.
6.2 Environmental precautions
    Try to prevent further leakage or spillage. Keep the product away from drains or water courses.
6.3 Methods and materials for containment and cleaning up

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    Absorb solutions with finely-powdered liquid-binding material (diatomite, universal binders); Decontaminate surfaces and
    equipment by scrubbing with alcohol; Dispose of contaminated material according to Section 13.


7. HANDLING AND STORAGE

7.1 Precautions for safe handling
    Avoid inhalation, contact with eyes and skin. Avoid dust and aerosol formation. Use only in areas with appropriate exhaust
    ventilation.
7.2 Conditions for safe storage, including any incompatibilities
    Keep container tightly sealed in cool, well-ventilated area. Keep away from direct sunlight and sources of ignition.
    Recommended storage temperature:         2-8°C, protect from light
    Shipping at room temperature if less than 2 weeks.
7.3 Specific end use(s)
    No data available.


8. EXPOSURE CONTROLS/PERSONAL PROTECTION
8.1 Control parameters
   Components with workplace control parameters
   This product contains no substances with occupational exposure limit values.
8.2 Exposure controls
   Engineering controls
   Ensure adequate ventilation. Provide accessible safety shower and eye wash station.
   Personal protective equipment
              Eye protection                                       Safety goggles with side-shields.
              Hand protection                                      Protective gloves.
              Skin and body protection                             Impervious clothing.
              Respiratory protection                               Suitable respirator.
              Environmental exposure controls                      Keep the product away from drains, water courses or the soil.
                                                                   Clean spillages in a safe way as soon as possible.


9. PHYSICAL AND CHEMICAL PROPERTIES
9.1 Information on basic physical and chemical properties
   Appearance                                                      Viscous liquid
   Odor                                                            No data available
   Odor threshold                                                  No data available
   pH                                                              No data available
   Melting/freezing point                                          No data available
   Boiling point/range                                             No data available
   Flash point                                                     No data available
   Evaporation rate                                                No data available
   Flammability (solid, gas)                                       No data available
   Upper/lower flammability or explosive limits                    No data available
   Vapor pressure                                                  No data available
   Vapor density                                                   No data available
   Relative density                                                No data available
   Water Solubility                                                No data available

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   Partition coefficient                                          No data available
   Auto-ignition temperature                                      No data available
   Decomposition temperature                                      No data available
   Viscosity                                                      No data available
   Explosive properties                                           No data available
   Oxidizing properties                                           No data available
9.2 Other safety information
    No data available.


10. STABILITY AND REACTIVITY
10.1 Reactivity
     No data available.
10.2 Chemical stability
     Stable under recommended storage conditions.
10.3 Possibility of hazardous reactions
     No data available.
10.4 Conditions to avoid
     No data available.
10.5 Incompatible materials
     Strong acids/alkalis, strong oxidising/reducing agents.
10.6 Hazardous decomposition products
     Under fire conditions, may decompose and emit toxic fumes.
     Other decomposition products - no data available.


11.TOXICOLOGICAL INFORMATION
11.1 Information on toxicological effects
     Acute toxicity
     Classified based on available data. For more details, see section 2
     Skin corrosion/irritation
     Classified based on available data. For more details, see section 2
     Serious eye damage/irritation
     Classified based on available data. For more details, see section 2
     Respiratory or skin sensitization
     Classified based on available data. For more details, see section 2
     Germ cell mutagenicity
     Classified based on available data. For more details, see section 2
     Carcinogenicity
     IARC: No component of this product present at a level equal to or greater than 0.1% is identified as probable, possible or
     confirmed human carcinogen by IARC.
     ACGIH: No component of this product present at a level equal to or greater than 0.1% is identified as a potential or confirmed
     carcinogen by ACGIH.
     NTP: No component of this product present at a level equal to or greater than 0.1% is identified as a anticipated or confirmed
     carcinogen by NTP.
     OSHA: No component of this product present at a level equal to or greater than 0.1% is identified as a potential or confirmed



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     carcinogen by OSHA.
     Reproductive toxicity
     Classified based on available data. For more details, see section 2
     Specific target organ toxicity - single exposure
     Classified based on available data. For more details, see section 2
     Specific target organ toxicity - repeated exposure
     Classified based on available data. For more details, see section 2
     Aspiration hazard
     Classified based on available data. For more details, see section 2
     Additional information
     This information is based on our current knowledge. However the chemical, physical, and toxicological properties have not been
     completely investigated.


12. ECOLOGICAL INFORMATION
12.1 Toxicity
     No data available.
12.2 Persistence and degradability
     No data available.
12.3 Bioaccumlative potential
     No data available.
12.4 Mobility in soil
     No data available.
12.5 Results of PBT and vPvB assessment
     PBT/vPvB assessment unavailable as chemical safety assessment not required or not conducted.
12.6 Other adverse effects
     No data available.


13. DISPOSAL CONSIDERATIONS
13.1 Waste treatment methods
     Product
     Dispose substance in accordance with prevailing country, federal, state and local regulations.
     Contaminated packaging
     Conduct recycling or disposal in accordance with prevailing country, federal, state and local regulations.


14. TRANSPORT INFORMATION
    DOT (US)
    This substance is considered to be non-hazardous for transport.


    IMDG
    This substance is considered to be non-hazardous for transport.


    IATA
    This substance is considered to be non-hazardous for transport.


15. REGULATORY INFORMATION

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    SARA 302 Components:
    No chemicals in this material are subject to the reporting requirements of SARA Title III, Section 302.
    SARA 313 Components:
    This material does not contain any chemical components with known CAS numbers that exceed the threshold (De Minimis)
    reporting levels established by SARA Title III, Section 313.
    SARA 311/312 Hazards:
    No SARA Hazards.
    Massachusetts Right To Know Components:
    No components are subject to the Massachusetts Right to Know Act.
    Pennsylvania Right To Know Components:
    No components are subject to the Pennsylvania Right to Know Act.
    New Jersey Right To Know Components:
    No components are subject to the New Jersey Right to Know Act.
    California Prop. 65 Components:
    This product does not contain any chemicals known to State of California to cause cancer, birth defects, or anyother reproductive
    harm.


16. OTHER INFORMATION
    Copyright 2021 ChemScene. The above information is correct to the best of our present knowledge but does not purport to be all
    inclusive and should be used only as a guide. The product is for research use only and for experienced personnel. It must only be
    handled by suitably qualified experienced scientists in appropriately equipped and authorized facilities. The burden of safe use of
    this material rests entirely with the user. ChemScene disclaims all liability for any damage resulting from handling or from contact
    with this product.




                 Caution: Product has not been fully validated for medical applications. For research use only.

                 Tel: 732-484-9848                 Fax: 888-484-5008                  E-mail: sales@ChemScene.com
                               Address: 1 Deer Park Dr, Suite Q, Monmouth Junction, NJ 08852, USA


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                 EXHIBIT 5
               H Echelon 0159
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9/17/21, 10:55 AM                                         ALC-0159 - Echelon Biosciences


                                                                                       Search …                  




    ALC-0159
    Product Number: N-2010

    $125.00 – $495.00

        -      0        +       5mg (N-2010)                                           $125.00


        -      0        +       10mg (N-2010)                                          $225.00


        -      0        +       25mg (N-2010)                                          $495.00


                     Add to cart



    SKU: N-2010
    Category: Lipids
    Tag: nanoparticles



    Description             Additional Information   Documentation

    ALC-0159 is a PEGylated lipid which has been used to form lipid nanoparticles for delivery of RNA. ALC-0159 is one
    of the components in the BNT162b2 vaccine against SARS-CoV-2 in addition to ALC-0315, DSPC, and cholesterol.

https://www.echelon-inc.com/product/alc-0159/                                                                            1/4
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9/17/21, 10:55 AM                                              ALC-0159 - Echelon Biosciences

    This product is for research use only and not for human use.

    References
    1) R. Tenchov, R. Bird, A. E. Curtze, Q. Zhou (2021) “Lipid Nanoparticles—From Liposomes to mRNA Vaccine
    Delivery, a Landscape of Research Diversity and Advancement” ACS Nano, DOI: 10.1021/acsnano.1c04996.
    2) K.H. Moss, P. Popova, et al. (2019) “Lipid Nanoparticles for Delivery of Therapeutic RNA Oligonucleotides” Mol.
    Pharmaceutics 16, 2265–2277, DOI: 10.1021/acs.molpharmaceut.8b01290.
    3) Y. Duan, A. Dhar, et al. (2020) “A brief review on solid lipid nanoparticles: part and parcel of contemporary drug
    delivery systems” RSC Adv.,10, 26777-26791.



    You may also like…


                                                Lipids
    Lipids
                                                DSPE (18:0/18:0 PE)
    ALC-0315
                                                Product Number: L-2118                    Lipids
    Product Number: N-1020
    $75.00 – $390.00                                      91 / 100                        Cholesterol
                                                          Bioz Stars                      Product Number: L-6012
             View products                      $94.00 – $340.00
                                                                                                    93 / 100
                                                                                                    Bioz Stars
                                                         View products
                                                                                          $30.00 – $150.00


                                                                                                   View products




    Lipids

    DSPC (18:0/18:0 PC)
    Product Number: L-1118

                94 / 100
                Bioz Stars

    $30.00 – $240.00


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    Related products



    Lipids                                      Lipids                                    Lipids
    BODIPY TMR PI(4)P                           BODIPY TMR PI(3)P                         Biotin Phosphatidylinositol
    Product Number: C-04M6                      Product Number: C-03M6                    3,5-bisphosphate
                                                $448.00 – $770.00                         Product Number: C-35B6
                85 / 100
                Bioz Stars                               View products                              93 / 100
                                                                                                    Bioz Stars
    $430.00 – $739.00
                                                                                          $255.00 – $783.00
             View products
                                                                                                   View products




    Lipids

    BODIPY FL PI(3,4)P2
    Product Number: C-34F6
    $448.00 – $770.00


             View products




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                EXHIBIT 5
               I MEC 0159
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                                                                                            Safety Data Sheet




                                                                                                                                   Inhibitors
                                                                                              Revision Date:      May.-18-2021




                                                                                                                                   •
                                                                                              Print Date:         Jul.-31-2021




                                                                                                                                   Agonists
1. PRODUCT AND COMPANY IDENTIFICATION

1.1 Product identifier




                                                                                                                                   •
    Product name :                       ALC-0159




                                                                                                                                   Screening Libraries
    Catalog No. :                        HY-138300
    CAS No. :                            1849616-42-7
1.2 Relevant identified uses of the substance or mixture and uses advised against
    Identified uses :                    Laboratory chemicals, manufacture of substances.
1.3 Details of the supplier of the safety data sheet
    Company:                             MedChemExpress USA
    Tel:                                 609-228-6898
    Fax:                                 609-228-5909
    E-mail:                              sales@medchemexpress.com
1.4 Emergency telephone number
    Emergency Phone #:                   609-228-6898

2. HAZARDS IDENTIFICATION

2.1 Classification of the substance or mixture
    Not a hazardous substance or mixture.
2.2 GHS Label elements, including precautionary statements
    Not a hazardous substance or mixture.
2.3 Other hazards
    None.

3. COMPOSITION/INFORMATION ON INGREDIENTS

3.1 Substances
    Formula:                             (C2H4O)nC31H63NO2
    Molecular Weight:                    N/A
    CAS No. :                            1849616-42-7

4. FIRST AID MEASURES

4.1 Description of first aid measures
    Eye contact
    Remove any contact lenses, locate eye-wash station, and flush eyes immediately with large amounts of water. Separate eyelids
    with fingers to ensure adequate flushing. Promptly call a physician.
    Skin contact
    Rinse skin thoroughly with large amounts of water. Remove contaminated clothing and shoes and call a physician.

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    Inhalation
    Immediately relocate self or casualty to fresh air. If breathing is difficult, give cardiopulmonary resuscitation (CPR). Avoid mouth-
    to-mouth resuscitation.
    Ingestion
    Wash out mouth with water; Do NOT induce vomiting; call a physician.
4.2 Most important symptoms and effects, both acute and delayed
    The most important known symptoms and effects are described in the labelling (see section 2.2).
4.3 Indication of any immediate medical attention and special treatment needed
    Treat symptomatically.

5. FIRE FIGHTING MEASURES

5.1 Extinguishing media
    Suitable extinguishing media
    Use water spray, dry chemical, foam, and carbon dioxide fire extinguisher.
5.2 Special hazards arising from the substance or mixture
    During combustion, may emit irritant fumes.
5.3 Advice for firefighters
    Wear self-contained breathing apparatus and protective clothing.

6. ACCIDENTAL RELEASE MEASURES

6.1 Personal precautions, protective equipment and emergency procedures
    Use full personal protective equipment. Avoid breathing vapors, mist, dust or gas. Ensure adequate ventilation. Evacuate
    personnel to safe areas.
    Refer to protective measures listed in sections 8.
6.2 Environmental precautions
    Try to prevent further leakage or spillage. Keep the product away from drains or water courses.
6.3 Methods and materials for containment and cleaning up
    Absorb solutions with finely-powdered liquid-binding material (diatomite, universal binders); Decontaminate surfaces and
    equipment by scrubbing with alcohol; Dispose of contaminated material according to Section 13.

7. HANDLING AND STORAGE

7.1 Precautions for safe handling
    Avoid inhalation, contact with eyes and skin. Avoid dust and aerosol formation. Use only in areas with appropriate exhaust
    ventilation.
7.2 Conditions for safe storage, including any incompatibilities
    Keep container tightly sealed in cool, well-ventilated area. Keep away from direct sunlight and sources of ignition.
    Recommended storage temperature:                Powder          -20°C    3 years
                                                                      4°C    2 years
                                                    In solvent      -80°C    6 months
                                                                    -20°C    1 month
    Shipping at room temperature if less than 2 weeks.


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7.3 Specific end use(s)
    No data available.

8. EXPOSURE CONTROLS/PERSONAL PROTECTION
8.1 Control parameters
    Components with workplace control parameters
    This product contains no substances with occupational exposure limit values.
8.2 Exposure controls
    Engineering controls
    Ensure adequate ventilation. Provide accessible safety shower and eye wash station.
    Personal protective equipment
              Eye protection                                     Safety goggles with side-shields.
              Hand protection                                    Protective gloves.
              Skin and body protection                           Impervious clothing.
              Respiratory protection                             Suitable respirator.
              Environmental exposure controls                    Keep the product away from drains, water courses or the soil. Clean
                                                                 spillages in a safe way as soon as possible.

9. PHYSICAL AND CHEMICAL PROPERTIES
9.1 Information on basic physical and chemical properties
    Appearance                                                   Solid
    Odor                                                         No data available
    Odor threshold                                               No data available
    pH                                                           No data available
    Melting/freezing point                                       No data available
    Boiling point/range                                          No data available
    Flash point                                                  No data available
    Evaporation rate                                             No data available
    Flammability (solid, gas)                                    No data available
    Upper/lower flammability or explosive limits                 No data available
    Vapor pressure                                               No data available
    Vapor density                                                No data available
    Relative density                                             No data available
    Water Solubility                                             No data available
    Partition coefficient                                        No data available
    Auto-ignition temperature                                    No data available
    Decomposition temperature                                    No data available
    Viscosity                                                    No data available
    Explosive properties                                         No data available
    Oxidizing properties                                         No data available
9.2 Other safety information


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    No data available.

10. STABILITY AND REACTIVITY
10.1 Reactivity
     No data available.
10.2 Chemical stability
     Stable under recommended storage conditions.
10.3 Possibility of hazardous reactions
     No data available.
10.4 Conditions to avoid
     No data available.
10.5 Incompatible materials
     Strong acids/alkalis, strong oxidising/reducing agents.
10.6 Hazardous decomposition products
     Under fire conditions, may decompose and emit toxic fumes.
     Other decomposition products - no data available.

11.TOXICOLOGICAL INFORMATION
11.1 Information on toxicological effects
     Acute toxicity
     Classified based on available data. For more details, see section 2
     Skin corrosion/irritation
     Classified based on available data. For more details, see section 2
     Serious eye damage/irritation
     Classified based on available data. For more details, see section 2
     Respiratory or skin sensitization
     Classified based on available data. For more details, see section 2
     Germ cell mutagenicity
     Classified based on available data. For more details, see section 2
     Carcinogenicity
     IARC: No component of this product present at a level equal to or greater than 0.1% is identified as probable, possible or
     confirmed human carcinogen by IARC.
     ACGIH: No component of this product present at a level equal to or greater than 0.1% is identified as a potential or confirmed
     carcinogen by ACGIH.
     NTP: No component of this product present at a level equal to or greater than 0.1% is identified as a anticipated or confirmed
     carcinogen by NTP.
     OSHA: No component of this product present at a level equal to or greater than 0.1% is identified as a potential or confirmed
     carcinogen by OSHA.
     Reproductive toxicity
     Classified based on available data. For more details, see section 2
     Specific target organ toxicity - single exposure

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     Classified based on available data. For more details, see section 2
     Specific target organ toxicity - repeated exposure
     Classified based on available data. For more details, see section 2
     Aspiration hazard
     Classified based on available data. For more details, see section 2
     Additional information
     This information is based on our current knowledge. However the chemical, physical, and toxicological properties have not been
     completely investigated.

12. ECOLOGICAL INFORMATION
12.1 Toxicity
     No data available.
12.2 Persistence and degradability
     No data available.
12.3 Bioaccumlative potential
     No data available.
12.4 Mobility in soil
     No data available.
12.5 Results of PBT and vPvB assessment
     PBT/vPvB assessment unavailable as chemical safety assessment not required or not conducted.
12.6 Other adverse effects
     No data available.

13. DISPOSAL CONSIDERATIONS
13.1 Waste treatment methods
      Product
      Dispose substance in accordance with prevailing country, federal, state and local regulations.
      Contaminated packaging
      Conduct recycling or disposal in accordance with prevailing country, federal, state and local regulations.

14. TRANSPORT INFORMATION
    DOT (US)
    Proper shipping name: Not dangerous goods
    UN number: -
    Class: -
    Packing group: -


    IMDG
    Proper shipping name: Not dangerous goods
    UN number: -
    Class: -

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    Packing group: -


    IATA
    Proper shipping name: Not dangerous goods
    UN number: -
    Class: -
    Packing group: -

15. REGULATORY INFORMATION
    SARA 302 Components:
    No chemicals in this material are subject to the reporting requirements of SARA Title III, Section 302.
    SARA 313 Components:
    This material does not contain any chemical components with known CAS numbers that exceed the threshold (De Minimis)
    reporting levels established by SARA Title III, Section 313.
    SARA 311/312 Hazards:
    No SARA Hazards.
    Massachusetts Right To Know Components:
    No components are subject to the Massachusetts Right to Know Act.
    Pennsylvania Right To Know Components:
    No components are subject to the Pennsylvania Right to Know Act.
    New Jersey Right To Know Components:
    No components are subject to the New Jersey Right to Know Act.
    California Prop. 65 Components:
    This product does not contain any chemicals known to State of California to cause cancer, birth defects, or anyother reproductive
    harm.

16. OTHER INFORMATION
    Copyright 2021 MedChemExpress. The above information is correct to the best of our present knowledge but does not purport to
    be all inclusive and should be used only as a guide. The product is for research use only and for experienced personnel. It must
    only be handled by suitably qualified experienced scientists in appropriately equipped and authorized facilities. The burden of
    safe use of this material rests entirely with the user. MedChemExpress disclaims all liability for any damage resulting from
    handling or from contact with this product.




                        Caution: Product has not been fully validated for medical applications. For research use only.

                        Tel: 609-228-6898           Fax: 609-228-5909            E-mail: tech@MedChemExpress.com
                                     Address: 1 Deer Park Dr, Suite Q, Monmouth Junction, NJ 08852, USA




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                      EXHIBIT 5
                       J DSPC
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                                                     1,2-Distearoyl-sn-glycero-3-PC                                              Revision: 09/02/2018
                                                                                                                      Supersedes Revision: 05/28/2014

                             according to Regulation (EC) No. 1907/2006 as amended by (EC) No. 2015/830 and US OSHA HCS 2015

                       Section 1. Identification of the Substance/Mixture and of the Company/Undertaking
1.1    Product Code:                      15100
       Product Name:                      1,2-Distearoyl-sn-glycero-3-PC
       Synonyms:                          1,2-distearoyl-sn-glycero-3-phosphatidylcholine; Coatsome MC 8080;
                                          1,2-Distearoyl-sn-glycero-3-Phosphocholine; 1,2-DSPC;

1.2    Relevant identified uses of the substance or mixture and uses advised against:
        Relevant identified uses:         For research use only, not for human or veterinary use.

1.3    Details of the Supplier of the Safety Data Sheet:
        Company Name:                     Cayman Chemical Company
                                          1180 E. Ellsworth Rd.
                                          Ann Arbor, MI 48108
        Web site address:                 www.caymanchem.com
        Information:                      Cayman Chemical Company                                             +1 (734)971-3335
1.4    Emergency telephone number:
        Emergency Contact:                CHEMTREC Within USA and Canada:                                     +1 (800)424-9300
                                          CHEMTREC Outside USA and Canada:                                    +1 (703)527-3887

                                             Section 2. Hazards Identification
2.1    Classification of the Substance or Mixture:
2.2    Label Elements:

        GHS Signal Word:                         None
         GHS Hazard Phrases:
         Based on evaluation of currently available data this substance or mixture is not classifiable according to GHS.
         GHS Precaution Phrases:
         No phrases apply.
         GHS Response Phrases:
         No phrases apply.
         GHS Storage and Disposal Phrases:
         Please refer to Section 7 for Storage and Section 13 for Disposal information.
2.3    Adverse Human Health          Material may be irritating to the mucous membranes and upper respiratory tract.
       Effects and Symptoms:         May be harmful by inhalation, ingestion, or skin absorption.
                                     May cause eye, skin, or respiratory system irritation.
                                     To the best of our knowledge, the toxicological properties have not been thoroughly investigated.

                             Section 3. Composition/Information on Ingredients
CAS # /         Hazardous Components (Chemical Name)/                     Concentration            EC No./              GHS Classification
RTECS #         REACH Registration No.                                                             EC Index No.
  816-94-4      1,2-Distearoyl-sn-glycero-3-PC                            100.0 %                   212-440-2           No data available.
NA                                                                                                  NA




                                                                                                                                     Multi-region format
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                                               1,2-Distearoyl-sn-glycero-3-PC                                     Revision: 09/02/2018
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                                          Section 4. First Aid Measures
4.1    Description of First Aid
       Measures:
       In Case of Inhalation:     Remove to fresh air. If not breathing, give artificial respiration or give oxygen by trained personnel.
                                  Get immediate medical attention.
       In Case of Skin Contact: Immediately wash skin with soap and plenty of water for at least 15 minutes. Remove contaminated
                                  clothing. Get medical attention if symptoms occur. Wash clothing before reuse.
       In Case of Eye Contact:    Hold eyelids apart and flush eyes with plenty of water for at least 15 minutes. Have eyes examined
                                  and tested by medical personnel.
       In Case of Ingestion:      Wash out mouth with water provided person is conscious. Never give anything by mouth to an
                                  unconscious person. Get medical attention. Do NOT induce vomiting unless directed to do so by
                                  medical personnel.

                                       Section 5. Fire Fighting Measures
5.1    Suitable Extinguishing     Use alcohol-resistant foam, carbon dioxide, water, or dry chemical spray.
       Media:                     Use water spray to cool fire-exposed containers.
       Unsuitable Extinguishing A solid water stream may be inefficient.
       Media:
5.2    Flammable Properties andNo data available.
       Hazards:
                                  No data available.
       Flash Pt:                  No data.
       Explosive Limits:          LEL: No data.                          UEL: No data.
       Autoignition Pt:           No data.
5.3    Fire Fighting Instructions: As in any fire, wear self-contained breathing apparatus pressure-demand (NIOSH approved or
                                  equivalent), and full protective gear to prevent contact with skin and eyes.

                                  Section 6. Accidental Release Measures
6.1    Protective Precautions,     Avoid raising and breathing dust, and provide adequate ventilation.
       Protective Equipment and As conditions warrant, wear a NIOSH approved self-contained breathing apparatus, or respirator,
       Emergency Procedures: and appropriate personal protection (rubber boots, safety goggles, and heavy rubber gloves).
6.2    Environmental               Take steps to avoid release into the environment, if safe to do so.
       Precautions:
6.3    Methods and Material For Contain spill and collect, as appropriate.
       Containment and Cleaning Transfer to a chemical waste container for disposal in accordance with local regulations.
       Up:

                                        Section 7. Handling and Storage
7.1    Precautions To Be Taken Avoid breathing dust/fume/gas/mist/vapours/spray.
       in Handling:               Avoid prolonged or repeated exposure.
7.2    Precautions To Be Taken Keep container tightly closed.
       in Storing:                Store in accordance with information listed on the product insert.

                           Section 8. Exposure Controls/Personal Protection
8.1    Exposure Parameters:




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                                                 1,2-Distearoyl-sn-glycero-3-PC                                    Revision: 09/02/2018
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8.2     Exposure Controls:
8.2.1   Engineering Controls         Use process enclosures, local exhaust ventilation, or other engineering controls to control airborne
        (Ventilation etc.):          levels below recommended exposure limits.
8.2.2   Personal protection equipment:
        Eye Protection:              Safety glasses
        Protective Gloves:           Compatible chemical-resistant gloves
        Other Protective Clothing: Lab coat
        Respiratory Equipment        NIOSH approved respirator, as conditions warrant.
        (Specify Type):
        Work/Hygienic/Maintenan Do not take internally.
        ce Practices:                Facilities storing or utilizing this material should be equipped with an eyewash and a safety shower.
                                     Wash thoroughly after handling.
                                     No data available.

                               Section 9. Physical and Chemical Properties
9.1     Information on Basic Physical and Chemical Properties
        Physical States:                    [ ] Gas       [ ] Liquid      [ X ] Solid
        Appearance and Odor:                A crystalline solid
        pH:                                 No data.
        Melting Point:                      No data.
        Boiling Point:                      No data.
        Flash Pt:                           No data.
        Evaporation Rate:                   No data.
        Flammability (solid, gas):          No data available.
        Explosive Limits:                   LEL: No data.                               UEL: No data.
        Vapor Pressure (vs. Air or mm       No data.
        Hg):
        Vapor Density (vs. Air = 1):        No data.
        Specific Gravity (Water = 1):       No data.
        Solubility in Water:                No data.
        Solubility Notes:                   ~25 mg/ml in EtOH;
        Octanol/Water Partition             No data.
        Coefficient:
        Autoignition Pt:                    No data.
        Decomposition Temperature:          No data.
        Viscosity:                          No data.
9.2     Other Information
        Percent Volatile:                   No data.
        Molecular Formula & Weight:         C44H88NO8P            790.2




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                                           Section 10. Stability and Reactivity
10.1     Reactivity:                   No data available.
10.2     Stability:                    Unstable [     ]       Stable [ X ]
10.3     Stability Note(s):            Stable if stored in accordance with information listed on the product insert.
         Polymerization:               Will occur [       ]   Will not occur [ X ]
10.4     Conditions To Avoid:          No data available.
10.5     Incompatibility - Materials strong oxidizing agents
         To Avoid:
10.6     Hazardous                     carbon dioxide
         Decomposition or              carbon monoxide
         Byproducts:                   nitrogen oxides
                                       phosphorous oxides

                                          Section 11. Toxicological Information
11.1     Information on                The toxicological effects of this product have not been thoroughly studied.
         Toxicological Effects:

CAS #                 Hazardous Components (Chemical Name)                           NTP           IARC          ACGIH        OSHA
  816-94-4            1,2-Distearoyl-sn-glycero-3-PC                                 n.a.          n.a.          n.a.         n.a.

                                            Section 12. Ecological Information
12.1     Toxicity:                     Avoid release into the environment.
                                       Runoff from fire control or dilution water may cause pollution.
12.2     Persistence and               No data available.
         Degradability:
12.3     Bioaccumulative               No data available.
         Potential:
12.4     Mobility in Soil:             No data available.
12.5     Results of PBT and vPvB No data available.
         assessment:
12.6     Other adverse effects:        No data available.

                                          Section 13. Disposal Considerations
13.1     Waste Disposal Method: Dispose in accordance with local, state, and federal regulations.

                                             Section 14. Transport Information
14.1      LAND TRANSPORT (US DOT):
       DOT Proper Shipping Name:           Not dangerous goods.
       DOT Hazard Class:
       UN/NA Number:
14.1      LAND TRANSPORT (European ADR/RID):
       ADR/RID Shipping Name:              Not dangerous goods.
       UN Number:
       Hazard Class:




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                                               1,2-Distearoyl-sn-glycero-3-PC                                       Revision: 09/02/2018
                                                                                                         Supersedes Revision: 05/28/2014
14.3    AIR TRANSPORT (ICAO/IATA):
    ICAO/IATA Shipping Name:           Not dangerous goods.
Additional Transport               Transport in accordance with local, state, and federal regulations.
Information:

                                      Section 15. Regulatory Information
EPA SARA (Superfund Amendments and Reauthorization Act of 1986) Lists
CAS #            Hazardous Components (Chemical Name)                S. 302 (EHS)         S. 304 RQ                S. 313 (TRI)
  816-94-4       1,2-Distearoyl-sn-glycero-3-PC                      No                   No                      No

CAS #            Hazardous Components (Chemical Name)                Other US EPA or State Lists
  816-94-4       1,2-Distearoyl-sn-glycero-3-PC                      CAA HAP,ODC: No; CWA NPDES: No; TSCA: No; CA
                                                                     PROP.65: No

Regulatory Information            This SDS was prepared in accordance with 29 CFR 1910.1200 and Regulation (EC)
Statement:                        No.1272/2008.

                                           Section 16. Other Information
Revision Date:                    09/02/2018
Additional Information About      No data available.
This Product:
Company Policy or Disclaimer:     DISCLAIMER: This information is believed to be accurate and represents the best information
                                  currently available to us. However, we make no warranty of merchantability or any other warranty,
                                  express or implied, with respect to such information, and we assume no liability resulting from its
                                  use. Users should make their own investigations to determine the suitability of the information for
                                  their particular purposes.




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                 EXHIBIT 6
               Grams Affidavit
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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO


    DANIEL ROBERT                          *
    SSGT, U.S. ARMY                        *
                                           *
    HOLLI MULVIHILL                        *
    SSGT, USMC                             *
                                           *
           Plaintiffs,                     *
                                           *
                   v.                      *
                                           *    Civil Action No. 21-02228
    LLOYD AUSTIN                           *
    Secretary of Defense,                       *
    U.S. DEPARTMENT OF DEFENSE *
    Washington, D.C. 20301                 *
                                           *
           and                             *
                                           *
    XAVIER BECERRA                         *
    Secretary of the U.S. Department of         *
    Health and Human Services              *
    U.S. DEPARTMENT OF HEALTH              *
    AND HUMAN SERVICES                     *
                                           *
           and                             *
                                           *
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    JANET WOODCOCK, Acting                  *
    Commissioner of the Food & Drug                 *
    Administration                                  *
    U.S. FOOD AND                                   *
    DRUG ADMINISTRATION                             *
                                                    *
    UNITED STATES OF AMERICA                        *
                                                    *
              Defendants.                           *
    *         *     *       *       *       *       *       *       *       *       *       *


              Exhibit 2 of Motion for Temporary Restraining Order and Amended Complaint

    AFFIDAVIT OF DR. RALPH GRAMS IN SUPPORT OF TEMPORARY RESTRAINING ORDER
                                     MOTION

    I, Doctor Ralph Grams, MD, FCAP, FACMI being duly sworn, depose and state as follows:

              1.    I make this affidavit in support of the above referenced MOTION as expert testimony
    in support thereof.

              2.    The expert opinions expressed here are my own and arrived at from my persons,
    professional and educational experiences taken in context, where appropriate, by scientific data,
    publications, treatises, opinions, documents, reports and other information relevant to the subject
    matter.

              Experience & Credentials


              3.    I am competent to testify to the facts and matters set forth herein. I have provided
    written testimony previously to this Court, wherein I provided my credentials and bona fides to
    render this and other opinions.


              4.    May it please the Court, I will provide said CV, evidence of my expertise and bona fides
    as requested or directed.
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            5.      Said experience and expertise in pathology and work in the biological and chemical
    weapons field is the basis upon which I am rendering this opinion


            6.      Since the last sworn affidavit that I provided in this case, I was asked to conduct
    further analysis of the same samples, using the same equipment in the same laboratory and per the
    same protocols and procedures. In fact, the mass spectrometry that was relied upon in my last
    statement is effectively the same for purposes of this sworn statement.


            7.      In particular, I was asked to look at the publicly available documents attached hereto
    as they relate to a key ingredient in both the Pfizer and Moderna Covid 19 vaccines Appendices A &
    B respectively, attached and annexed hereto. I did not test the Johnson & Johnson samples, so there
    is no further discussion of that EAU Covid 19 Vaccine and I express no opinion about it. Of importance
    to note is that the Pfizer sample is that of BioNTech and not the FDA approved Comirnaty, because
    Pfizer has not yet started production of Comirnaty for sale or distribution into the United States.
    Accordingly the BioNTech remains for Emergency Use only and to my knowledge is the only Covid
    19 vaccine being provided members of the Armed Services per Secretary Austin’s orders for
    mandatory inoculations for all Services dated August 19, 2021.


            8.      The key ingredient in each of the samples is a compound used by the different
    manufacturers to achieve the same result, which is delivery of RNA fragments to a broad distribution
    of cells in the user’s genome using lipid nanoparticles. The main difference between the two different
    sets of lipid nano particles are the composition of some ingredients.


                                                  Pfizer’s BioNTech


            9.      Pfizer uses Acuitas Therapeutics Inc. “Acuitas LNP Technology” under Intellectual
    Property licensing agreements1, also commonly referred to simply as “hydrogel,’ which has a
    chemical composition of:




    1
     See: https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7836001/ &
    https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7836001/
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                    a. 4-hydroxybutyl)azanediyl)bis(hexane-6,1-diyl) bis(2-hexyldecanoate), 2
                        [(polyethylene glycol)-2000]- N,N-ditetradecylacetamide, 1,2-distearoyl-sn-
                        glycero-3- phosphocholine, and cholesterol; also known as
                    b. ALC 1035, ALC-0159 and DSCP2


            10.     The UK government in its Health Safety Executive office states the following about the
    ALC 3015 ingredient, as echoed by the NARH states the following:
                    a. The ALC-0315 is a hexane containing compound and these are known to be
                        potentially neurotoxic. ALC-0159 contains polyethylene glycol (PEG) that is
                        associated with hypersensitivity and allergenic reactions. The toxicological
                        profile of the mRNA delivery system cannot be determined because neither have
                        the concentrations been declared, nor has the nanoparticle delivery system,
                        surface charges and other physicochemical characteristics been declared. These
                        may dramatically increase the toxicological profile. 3
                    b. Regarding it’s other toxicity, the Safety Data Page reflects the terms “unknown”
                        or “Classified” thereby making a complete assessment of its toxicity impossible to
                        know absent significant scientific study, which has not been completed as of this
                        date.


            11.     Furthermore the Safety Data Sheet states in the very heading, “Danger” and it
    additionally cautions “Evidence for human carcinogenicity Current classification: Group 1 a “


            12.     In studying the contents of Pfizer’s key Lipid Nanoparticle ingredient by utilizing a
    MALDI TOF MS (Matrix Assisted Laser Desorption Ionization Time of Flight Mass Spectrometer)
    laboratory instrument, I was able to observe the spectrographic data provided by this instrument
    with the use of standards and controls; which reveal that this ingredient does appear in the 767.33
    range as demonstrated in the spectrometry results attached hereto as Appendix C (pages 5 & 7)


                                                   Moderna Vaccine

    2
      See:
    https://assets.publishing.service.gov.uk/government/uploads/system/uploads/attachment_data/file/1016212/Te
    mporary_Authorisation_Patient_Information_BNT162__-_09-09-2021.pdf
    3
      See:
    https://www.hsl.gov.uk/media/480242/material%20safety%20data%20sheet%20quartz%20final%20v2%202019.p
    df https://www.anhinternational.org/news/have-you-decided-what-youll-do-or-say-if-offered-a-covid-vaccine/
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             13.   Moderna, on the other hand, delivers its RNA fragments through a slightly different
    Lipid Nanoparticle called “SM-102” and it’s scientific composition is: polyethylene glycol [PEG]
    2000 dimyristoyl glycerol [DMG], cholesterol, and 1,2-distearoyl-sn-glycero-3-phosphocholine
    [DSPC]


             14.   According to its (SM-102) patent, WO2020/160397, the compound designed and
    described, in pertinent part:


                   The present disclosure provides novel methods of producing nucleic acid lipid
                   Nanoparticle (LNP) formulations ,the produced formulations thereof, and the related
                   therapeutic and/or diagnostic uses, such as methods involving the nucleic acid lipid
                   nanoparticles to deliver one or more therapeutics and/or prophylactics, such as a
                   nucleic acid, to and/or produce polypeptides in mammalian cells or organs.
    The Patent is attached and annexed as a part hereto as Exhibit C.


             15.   The safety Data Sheet for SM-102 describes it as:
                   a. “not for human or veterinary use”
                   b.   “GHS06 Skull and crossbones”
                   c. “H310 Fatal in contact with skin “
                   d. “GHS08 Health hazard “
                   e. “H351 Suspected of causing cancer”
                   f.   “H361 Suspected of damaging fertility or the unborn child”
                   g. “H372 Causes damage to the central nervous system, the kidneys, the liver and
                        the
                        respiratory system through prolonged or repeated exposure”


             16.   In studying the contents of Moderna’s key Lipid Nanoparticle ingredient I used the
    same spectrographic instruments to provide the data with the use of standards and controls; which
    reveal that this Lipid Nanoparticle ingredient (SM-102) does appear in the 711.08 range also
    demonstrated in Appendix C (page 11). In each such case, the spectrometry demonstrates significant
    prevalence as a key ingredient.
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           17.      Given that these Covid 19 Vaccines were both Investigational New Drugs and
    Emergency Use Authorization vaccines, manufacturers are allowed to substitute ingredients during
    the testing process because the IND’s are experimental and therefore not necessarily the final
    product that will be approved. On this note, the FDA’s prospective approval of Comirnaty may or
    may not be accurate and will not be dispositive until such time as the Comirnaty product has been
    manufactured and all ingredients disclosed in accordance with FDA labeling regulations.


           18.      For this reason, it is impossible to characterize BioNTech as being interchangeable
    with the Comirnaty approved drug until such time as the phase III clinical studies being conducted at
    this moment under the current IND/EUA regulations are completed. These tests are not scheduled
    for completion until 2025, at which time we will then be able to re-test the contents of the drug to
    verify if the ingredients are the same, substantially the same or different. As such, at no time should
    the DOD or any other agency presume that BioNTech is an approved drug; it is not and this is why it
    continues to carry the characterization of an Investigational New Drug for Emergency Use only.




           Opinion


           19.      I have reviewed the second Motion for Temporary Restraining Order and Amended
    Complaint, which delineates the subject matter relating to studies I performed and conclude as
    follows:
           a) The key Lipid Nanoparticle RNA delivery system ingredients of Moderna’s vaccine are
                 pathological toxins and dangerous or deadly to humans and should therefore be
                 considered allergens to all humans;
           b) The Key Lipid Nanoparticle RNA delivery system in and Pfizer’s BioNTech vaccine are
                 also pathological toxins and dangerous or deadly to humans
           c) The amount of each such ingredient is not divulged at this time and by virtue of being in
                 the Investigational state of the IND process, may change between lots and batches, so it
                 is impossible to know how much of these toxins are being delivered to the users without
                 mass spectrometry analysis for each such batch and lot.
           d) The only difference between the two Moderna and Pfizer Covid 19 Vaccines is the slight
                 difference in composition of the Lipid Nanoparticles and amount of each other nearly
                 identical ingredient together with the actual composition and sequencing of the RNA
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                  fragments being delivered to cause cell mutation and production of abnormal cells
                  (“Spike Proteins.’
            e) Each such Covid 19 Vaccine is potentially dangerous or deadly to the users.
            f) Each such Covid 19 Vaccine contains known allergens whereby effectively all humans are
                  allergic to some of the key ingredients.
            g) Each such Covid 19 Vaccine is demonstrably dangerous or deadly as demonstrated by the
                  notoriously high fatalities and Serious Adverse Events published by the VAERS system.
            h) Each such Covid 19 Vaccine should be immediately recalled and all authorization for use
                  should immediately be terminated or cancelled.
            i) All unused supplies of the said Covid 19 Vaccines should be treated as hazardous
                  materials, accounted for and disposed of in accordance with the terms of the OSHA or
                  other responsible body’s disposal guidelines.


            20.        I am competent to opine on the medical aspects of these allegations based upon my
                  above-referenced education and professional medical experience and the basis of my
                  opinions are formed as a result of my education and experience.


            21.        As a Medical Doctor and scientist in the biological health and treatment of human
                  beings, I confirm and attest to the accuracy and truthfulness of my foregoing statements,
                  analysis and attachments hereto:




                                                             ________________/s/_______________________
                                                             Ralph Grams, MD


    State of Florida                         §
                                                     §
    County of Flagler                                §




    The undersigned, being duly sworn, deposes and says:

    I, Ralph Grams, MD, declare under the penalty of perjury of the laws of the United States of America,
    and state upon personal knowledge that:
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    I am an adult of sound mind, ____ years old, and declare that the information herein is true, correct
    and complete and that I have voluntarily affirmed this affidavit based upon my own personal
    knowledge, education, and experience, and under the penalty of perjury of the laws of the United
    States of America.




    SUBSCRIBED AND SWORN TO BEFORE ME on the __23_ day of ___September __ 2021, to certify
    which witness my hand and official seal.

                                                                  /S/

                                                          Kay Kanter______________
                                                  Notary Public for the State of Colorado



                                                  My Commission Expires: __ _______
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                                      APPENDIX A
                    List of Pfizer BioNTech ALC 0315 Safety Data Sheet
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                                                                                            Safety Data Sheet




                                                                                                                                    Inhibitors
                                                                                                Revision Date:       Mar.-23-2021




                                                                                                                                    •
                                                                                                Print Date:          Sep.-9-2021




                                                                                                                                    Agonists
1. PRODUCT AND COMPANY IDENTIFICATION

1.1 Product identifier




                                                                                                                                    •
    Product name :                       ALC-0315




                                                                                                                                    Screening Libraries
    Catalog No. :                        HY-138170
    CAS No. :                            2036272-55-4
1.2 Relevant identified uses of the substance or mixture and uses advised against
    Identified uses :                    Laboratory chemicals, manufacture of substances.
1.3 Details of the supplier of the safety data sheet
    Company:                             MedChemExpress USA
    Tel:                                 609-228-6898
    Fax:                                 609-228-5909
    E-mail:                              sales@medchemexpress.com
1.4 Emergency telephone number
    Emergency Phone #:                   609-228-6898

2. HAZARDS IDENTIFICATION

2.1 Classification of the substance or mixture
    GHS Classification in accordance with 29 CFR 1910 (OSHA HCS)
    Skin corrosion/irritation (Category 2),H315
    Serious eye damage/eye irritation (Category 2A),H319
2.2 GHS Label elements, including precautionary statements



     Pictogram



    Signal word     Warning
    Hazard statement(s)
    H315 Causes skin irritation
    H319 Causes serious eye irritation
    Precautionary statement(s)
    P264 Wash hands thoroughly after handling
    P280 Wear protective gloves/protective clothing/eye protection/face protection.
    P302+P352 IF ON SKIN: Wash with plenty of soap and water.
    P305+P351+P338 IF IN EYES: Rinse cautiously with water for several minutes. Remove contact lenses, if present and easy to do.
    Continue rinsing.
    P313 Get medical advice/attention.

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    P332+P313 If skin irritation occurs: Get medical advice/attention.
    P337+P313 If eye irritation persists: Get medical advice/attention.
    P362 Take off contaminated clothing and wash before reuse.
2.3 Other hazards
    None.

3. COMPOSITION/INFORMATION ON INGREDIENTS

3.1 Substances
    Formula:                             C48H95NO5
    Molecular Weight:                    766.27
    CAS No. :                            2036272-55-4

4. FIRST AID MEASURES

4.1 Description of first aid measures
    Eye contact
    Remove any contact lenses, locate eye-wash station, and flush eyes immediately with large amounts of water. Separate eyelids
    with fingers to ensure adequate flushing. Promptly call a physician.
    Skin contact
    Rinse skin thoroughly with large amounts of water. Remove contaminated clothing and shoes and call a physician.
    Inhalation
    Immediately relocate self or casualty to fresh air. If breathing is difficult, give cardiopulmonary resuscitation (CPR). Avoid mouth-
    to-mouth resuscitation.
    Ingestion
    Wash out mouth with water; Do NOT induce vomiting; call a physician.
4.2 Most important symptoms and effects, both acute and delayed
    The most important known symptoms and effects are described in the labelling (see section 2.2).
4.3 Indication of any immediate medical attention and special treatment needed
    Treat symptomatically.

5. FIRE FIGHTING MEASURES

5.1 Extinguishing media
    Suitable extinguishing media
    Use water spray, dry chemical, foam, and carbon dioxide fire extinguisher.
5.2 Special hazards arising from the substance or mixture
    During combustion, may emit irritant fumes.
5.3 Advice for firefighters
    Wear self-contained breathing apparatus and protective clothing.

6. ACCIDENTAL RELEASE MEASURES

6.1 Personal precautions, protective equipment and emergency procedures
    Use full personal protective equipment. Avoid breathing vapors, mist, dust or gas. Ensure adequate ventilation. Evacuate

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    personnel to safe areas.
    Refer to protective measures listed in sections 8.
6.2 Environmental precautions
    Try to prevent further leakage or spillage. Keep the product away from drains or water courses.
6.3 Methods and materials for containment and cleaning up
    Absorb solutions with finely-powdered liquid-binding material (diatomite, universal binders); Decontaminate surfaces and
    equipment by scrubbing with alcohol; Dispose of contaminated material according to Section 13.

7. HANDLING AND STORAGE

7.1 Precautions for safe handling
    Avoid inhalation, contact with eyes and skin. Avoid dust and aerosol formation. Use only in areas with appropriate exhaust
    ventilation.
7.2 Conditions for safe storage, including any incompatibilities
    Keep container tightly sealed in cool, well-ventilated area. Keep away from direct sunlight and sources of ignition.
    Recommended storage temperature:                 4°C, protect from light
                                                     * In solvent : -80°C, 6 months; -20°C, 1 month (protect from light)


    Shipping at room temperature if less than 2 weeks.
7.3 Specific end use(s)
    No data available.

8. EXPOSURE CONTROLS/PERSONAL PROTECTION
8.1 Control parameters
    Components with workplace control parameters
    This product contains no substances with occupational exposure limit values.
8.2 Exposure controls
    Engineering controls
    Ensure adequate ventilation. Provide accessible safety shower and eye wash station.
    Personal protective equipment
              Eye protection                                        Safety goggles with side-shields.
              Hand protection                                       Protective gloves.
              Skin and body protection                              Impervious clothing.
              Respiratory protection                                Suitable respirator.
              Environmental exposure controls                       Keep the product away from drains, water courses or the soil. Clean
                                                                    spillages in a safe way as soon as possible.

9. PHYSICAL AND CHEMICAL PROPERTIES
9.1 Information on basic physical and chemical properties
    Appearance                                                      Viscous liquid
    Odor                                                            No data available
    Odor threshold                                                  No data available

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    pH                                                             No data available
    Melting/freezing point                                         No data available
    Boiling point/range                                            No data available
    Flash point                                                    No data available
    Evaporation rate                                               No data available
    Flammability (solid, gas)                                      No data available
    Upper/lower flammability or explosive limits                   No data available
    Vapor pressure                                                 No data available
    Vapor density                                                  No data available
    Relative density                                               No data available
    Water Solubility                                               No data available
    Partition coefficient                                          No data available
    Auto-ignition temperature                                      No data available
    Decomposition temperature                                      No data available
    Viscosity                                                      No data available
    Explosive properties                                           No data available
    Oxidizing properties                                           No data available
9.2 Other safety information
    No data available.

10. STABILITY AND REACTIVITY
10.1 Reactivity
     No data available.
10.2 Chemical stability
     Stable under recommended storage conditions.
10.3 Possibility of hazardous reactions
     No data available.
10.4 Conditions to avoid
     No data available.
10.5 Incompatible materials
     Strong acids/alkalis, strong oxidising/reducing agents.
10.6 Hazardous decomposition products
     Under fire conditions, may decompose and emit toxic fumes.
     Other decomposition products - no data available.

11.TOXICOLOGICAL INFORMATION
11.1 Information on toxicological effects
     Acute toxicity
     Classified based on available data. For more details, see section 2
     Skin corrosion/irritation
     Classified based on available data. For more details, see section 2

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     Serious eye damage/irritation
     Classified based on available data. For more details, see section 2
     Respiratory or skin sensitization
     Classified based on available data. For more details, see section 2
     Germ cell mutagenicity
     Classified based on available data. For more details, see section 2
     Carcinogenicity
     IARC: No component of this product present at a level equal to or greater than 0.1% is identified as probable, possible or
     confirmed human carcinogen by IARC.
     ACGIH: No component of this product present at a level equal to or greater than 0.1% is identified as a potential or confirmed
     carcinogen by ACGIH.
     NTP: No component of this product present at a level equal to or greater than 0.1% is identified as a anticipated or confirmed
     carcinogen by NTP.
     OSHA: No component of this product present at a level equal to or greater than 0.1% is identified as a potential or confirmed
     carcinogen by OSHA.
     Reproductive toxicity
     Classified based on available data. For more details, see section 2
     Specific target organ toxicity - single exposure
     Classified based on available data. For more details, see section 2
     Specific target organ toxicity - repeated exposure
     Classified based on available data. For more details, see section 2
     Aspiration hazard
     Classified based on available data. For more details, see section 2
     Additional information
     This information is based on our current knowledge. However the chemical, physical, and toxicological properties have not been
     completely investigated.

12. ECOLOGICAL INFORMATION
12.1 Toxicity
     No data available.
12.2 Persistence and degradability
     No data available.
12.3 Bioaccumlative potential
     No data available.
12.4 Mobility in soil
     No data available.
12.5 Results of PBT and vPvB assessment
     PBT/vPvB assessment unavailable as chemical safety assessment not required or not conducted.
12.6 Other adverse effects
     No data available.


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13. DISPOSAL CONSIDERATIONS
13.1 Waste treatment methods
      Product
      Dispose substance in accordance with prevailing country, federal, state and local regulations.
      Contaminated packaging
      Conduct recycling or disposal in accordance with prevailing country, federal, state and local regulations.

14. TRANSPORT INFORMATION
    DOT (US)
    Proper shipping name: Not dangerous goods
    UN number: -
    Class: -
    Packing group: -


    IMDG
    Proper shipping name: Not dangerous goods
    UN number: -
    Class: -
    Packing group: -


    IATA
    Proper shipping name: Not dangerous goods
    UN number: -
    Class: -
    Packing group: -

15. REGULATORY INFORMATION
    SARA 302 Components:
    No chemicals in this material are subject to the reporting requirements of SARA Title III, Section 302.
    SARA 313 Components:
    This material does not contain any chemical components with known CAS numbers that exceed the threshold (De Minimis)
    reporting levels established by SARA Title III, Section 313.
    SARA 311/312 Hazards:
    No SARA Hazards.
    Massachusetts Right To Know Components:
    No components are subject to the Massachusetts Right to Know Act.
    Pennsylvania Right To Know Components:
    No components are subject to the Pennsylvania Right to Know Act.
    New Jersey Right To Know Components:
    No components are subject to the New Jersey Right to Know Act.


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    California Prop. 65 Components:
    This product does not contain any chemicals known to State of California to cause cancer, birth defects, or anyother reproductive
    harm.

16. OTHER INFORMATION
    Copyright 2021 MedChemExpress. The above information is correct to the best of our present knowledge but does not purport to
    be all inclusive and should be used only as a guide. The product is for research use only and for experienced personnel. It must
    only be handled by suitably qualified experienced scientists in appropriately equipped and authorized facilities. The burden of
    safe use of this material rests entirely with the user. MedChemExpress disclaims all liability for any damage resulting from
    handling or from contact with this product.




                       Caution: Product has not been fully validated for medical applications. For research use only.

                        Tel: 609-228-6898          Fax: 609-228-5909            E-mail: tech@MedChemExpress.com
                                    Address: 1 Deer Park Dr, Suite Q, Monmouth Junction, NJ 08852, USA




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                                     APPENDIX B
               List of Moderna Covid 19 Vaccine SM-102 Safety Data Sheet
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                                                                                                              Page 1/11
                                                       Safety Data Sheet
                                                          acc. to OSHA HCS
             Printing date 04/11/2021                                                           Revision date 04/11/2021

               1 Identification
               · Product identifier
               · Trade name: SM-102
               · Synonym 8-[(2-hydroxyethyl)[6-oxo-6-(undecyloxy)hexyl]amino]-octanoic acid, 1-octylnonyl ester
               · Article number: 33474
               · Application of the substance / the mixture For research use only, not for human or veterinary use.
               · Details of the supplier of the safety data sheet
               · Manufacturer/Supplier:
                 Cayman Chemical Co.
                 1180 E. Ellsworth Rd.
                 Ann Arbor, MI 48108
                 USA
               · Information department: Product safety department
               · Emergency telephone number:
                 During normal opening times: +1 (734) 971-3335
                 US/CANADA: 800-424-9300
                 Outside US/CANADA: 703-741-5970


               2 Hazard(s) identification
               · Classification of the substance or mixture


                 ~
                 d        GHS02 Flame

                 Flam. Liq. 2         H225 Highly flammable liquid and vapor.



                 ~
                 d        GHS06 Skull and crossbones

                 Acute Tox. 2         H310 Fatal in contact with skin.



                 ~
                 d        GHS08 Health hazard

                 Carc. 2              H351 Suspected of causing cancer.
                 Repr. 2              H361 Suspected of damaging fertility or the unborn child.
                 STOT RE 1            H372 Causes damage to the central nervous system, the kidneys, the liver and the
                                           respiratory system through prolonged or repeated exposure.



                 ~
                 d        GHS09 Environment

                 Aquatic Chronic 1 H410 Very toxic to aquatic life with long lasting effects.



                 ~
                 d        GHS07

                                                                                                         (Contd. on page 2)
                                                                                                                         US




52.1.14
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                                   APPENDIX C
                             Mass Spectrometry Results
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Graphene oxide analysis
• A method was developed to analyze Graphene oxide using MALDI ion trap
  mass spectrometry
• Graphene oxide readily absorbs the laser energy and so analysis can be
  conducted without the addition of a traditional MALDI matrix
   • This enables reduction of ionization from other molecules that do not absorb the
     laser energy
• We tested Graphene oxide as a standard
• We tested Graphene oxide spiked into plasma and whole blood
   • We successfully extracted and analyzed Graphene oxide from both matrices
• We tested for the presence of Graphene Oxide in the vaccines provided
   • We observed a large polymeric background in both unextracted and extracted
     samples
   • We did not observe Graphene oxide in the tested samples
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                                         685.58
             100

                     90                                                                                                       Standard unextracted
                     80

                     70
Relative Abundance




                     60

                     50




                                                                                                                                                                                                                                         1609.17

                                                                                                                                                                                                                                                   1657.25
                                                                                                                                                                                                                  1537.25




                                                                                                                                                                                                                                                                    1729.25
                     40




                                                                                                                                                                                           1417.25
                                                                                                                                                                      1345.25
                                                                                                                                                  1297.25




                                                                                                                                                                                                                                                                                        1873.17
                     30




                                                                                                 984.17




                                                                                                                    1104.17
                                                             840.17




                                                                                        936.17
                                                                      888.08
                     20

                     10

                      0
                                616.58




                                                                                                                              Graphene oxide spiked into plasma and extracted
             100

                     90




                                                                                                                                                                                                                                                   1657.08
                                                                                                                                                                                                                                         1609.08
                                                                                                                                                                                                                            1561.00
                                                           832.58




                                                                                                                                                                                                                                                                              1777.08
                                                  787.58




                                                                                                                                                                                                        1513.08
                     80
                                                                               915.50




                     70
                                                                                                 981.58




                                                                                                                                                                                 1393.08
                                                                                                                                                            1321.00




                                                                                                                                                                                                                                                                                        1873.08
                                                                                                                                       1249.08
                     60                                                                                   1080.67

                     50

                     40

                     30

                     20

                     10

                      0
                          600            700      800                 900                        1000     1100                  1200             1300                           1400                 1500                             1600                   1700              1800        1900   2000
                                                                                                                                                  m/z
                                                                                                       Relative Abundance




  0
          10
               20
                    30
                         40
                              50
                                    60
                                         70
                                               80
                                                     90
                                                           100
                                                                                         0
                                                                                             10
                                                                                                  20
                                                                                                       30
                                                                                                             40
                                                                                                                  50
                                                                                                                       60
                                                                                                                             70
                                                                                                                                   80
                                                                                                                                         90
                                                                                                                                              100




   1200
                                   1225.08                                                                        1225.17

                                      1249.08




  1250
                                      1273.00                                                                          1273.17

                                    1296.00                                                                             1297.25




  1300
                                          1321.00                                                                       1321.25

                                         1345.17                                                                              1345.25




  1350
                                                                                                                            1369.17

                                             1393.08                                                                         1393.25




  1400
                                             1417.08                                                                              1417.25

                                              1441.08                                                                             1441.17




  1450
                                                1465.00                                                                            1465.25

                                                    1489.08                                                                         1489.25




  1500
                                                       1513.08                                                                          1513.17

                                                      1537.00                                                                            1537.25




  1550
                                                           1561.00                                                                      1561.17

                                                           1585.08                                                                        1585.17




 m/z
1600
                                                            1609.08                                                                             1609.17

                                                            1633.08                                                                     1633.17



  1650
                                                             1657.08                                                                          1657.25

  1700                                                    1681.08                                                                          1681.25

                                                          1705.08                                                                 1705.17

                                                          1729.17                                                                   1729.25

                                               1753.08
  1750




                                                                                                                                  1753.25

                                                          1777.08                                                              1777.25

                                                    1801.00                                                             1801.17
  1800




                                             1825.17                                                                   1825.25

                                                                                                                  1849.33
  1850




                                         1873.08                                                                  1873.17

                                    1897.00                                                                   1898.33
  1900




                               1922.17                                                                      1921.25

                              1945.08                                                                   1946.33
  1950
                                                                                                                                                               Case 1:21-cv-02228-RM-STV Document 17 Filed 09/24/21 USDC Colorado Page 250 of 269




                              1969.08

                          1993.08                                                                      1993.33
  2000
                                                                                                                                                    Standard




                                                                 Extracted from plasma
                                                                                           Relative Abundance




                                                             100
                                                                                                                                   100




         10
              20
                    30
                         40
                               50
                                    60
                                          70
                                                 80
                                                       90
                                                                                 10
                                                                                      20
                                                                                            30
                                                                                                 40
                                                                                                      50
                                                                                                            60
                                                                                                                  70
                                                                                                                         80
                                                                                                                              90




  0
                                                                             0




  1200
                                    1201.08                                                                                   1209.83
                                         1225.08
                                         1248.00
                                           1249.00                                                          1249.50




  1250
                                           1273.00                                                          1272.00
                                          1296.08                                                            1296.67
                                             1297.08                                                            1298.25




  1300
                                            1321.08
                                         1344.00                                                                       1335.17
                                             1345.00




  1350
                                              1369.08                                                                                    1370.92
                                          1392.08                                                           1373.58
                                                 1393.08                                                   1393.92




  1400
                                                      1417.08                                                1417.75
                                                                                                                1426.00
                                                      1441.08




  1450
                                                        1465.08                                                    1461.25

                                                                                                                          1482.42
                                                          1489.00                                           1488.75




  1500
                                               1512.00
                                                             1513.00                                                   1517.92
                                                            1537.00                                                1540.58




  1550
                                                                   1561.08                                   1558.08
                                                                                                            1559.00
                                                        1585.08
                                                                                                            1590.92
                                                 1586.00




 m/z
1600
                                                          1609.00                                                  1606.25
                                                                                                                 1618.33
                                                            1633.08                                            1633.75
                                                                                                             1657.33


  1650
                                                       1657.08                                                 1660.33
                                                   1681.08                                                        1677.92
                                                                                                                 1681.25
  1700

                                                 1705.08
                                                                                                        1719.33
                                                 1729.08                                                1727.58

                                                                                                        1750.00
  1750




                                               1753.08                                                                        1758.00
                                                                                                      1781.33
                                     1777.00                                                            1783.67
                                                                                                           1791.00
                                1801.08
  1800




                                                                                                      1815.00
                                                                                                        1816.83
                                1825.08
                                                                                                        1834.33
                             1849.08
  1850




                                                                                                                    1853.00
                         1850.08
                          1873.08                                                                                                1869.42
                                                                                                      1873.17
                                                                                                      1878.67
                       1897.08
  1900




                                                                                                  1890.33
                     1898.08
                      1921.08                                                                          1921.00
                                                                                                                                                            Case 1:21-cv-02228-RM-STV Document 17 Filed 09/24/21 USDC Colorado Page 251 of 269




                     1945.08                                                                          1945.83
  1950




                    1946.17
                   1969.08                                                                       1964.58
                                                                                                1969.25
               1993.08                                                                         1983.33
  2000




               1994.08                                                                      1992.83
                                               EDTA blood
                                                                                                                                         Blank EDTA blood




                                               Graphene oxide
                                               spiked and extracted
                                                                         Case 1:21-cv-02228-RM-STV Document 17 Filed 09/24/21 USDC Colorado Page 252 of 269




EF123 analyzed with MALDI matrix,
unextracted



                                                                                                                      767.33
                                                                                                                                                Analyzed with matrix to observe background
            100

                      95
                                                                                                                                                in the overall sample without extraction
                      90

                      85

                      80

                      75                                                                                                                                    Pfizer Lipid nanoparticles ALC-0315 and ALC-0159
                      70

                      65

                      60
 Relative Abundance




                      55

                      50

                      45

                      40

                      35

                      30

                      25

                      20
                                                                                   511.17




                                                                                                                               813.00




                      15
                                                                                                                 749.42
                                                                              495.17
                                                                     439.08




                                                                                               608.17
                                                            379.75




                      10
                                                                                                        695.33
                                          289.67
                                 234.58




                                                   335.75




                                                                                              630.17




                       5

                       0
                           200            300                400              500           600         700                800          900   1000   1100   1200   1300   1400   1500   1600   1700   1800   1900   2000
                                                                                                                                                      m/z
                                                                                       Case 1:21-cv-02228-RM-STV Document 17 Filed 09/24/21 USDC Colorado Page 253 of 269




EF123, HCCA matrix, unextracted, 900-2000
mass range




                                                                                                                                                                                                         1580.58
           100

                     95

                     90

                     85                                                                                                                                                                                                                    A polymeric pattern is observed
                     80
                                                                                                                                                                                                                                           Differences of 44 indicate polyethylene glycol
                     75

                     70
                                                                                                                                                                                                                                           Differences of 58 indicate polypropylene glycol
                     65                                                                                                                                                                                                                    The primary polymer in this vaccine is PEG




                                                                                                                                                                                                                   1602.50
                     60
                                      938.17
Relative Abundance




                     55

                     50

                     45

                     40

                     35

                     30
                                                                   1023.92




                     25




                                                                                                                                                                                                                                                                                                                     1958.08
                                                    957.17




                     20




                                                                                                                                                                                                                                      1611.58




                                                                                                                                                                                                                                                                                                           1915.00
                                 929.17


                                                 974.08
                                913.17




                                                             1022.08




                                                                                                                                                                                               1553.50




                                                                                                                                                                                                                                                                                          1871.00
                                                                             1066.00




                                                                                        1149.25


                                                                                                    1193.33
                                                                                        1089.33




                                                                                                                                                                                                                                                                          1814.67
                                                                                                              1237.33
                                                                                        1105.33




                                                                                                                        1281.50
                                                                                                              1242.25
                                                                                       1154.25
                                               978.08




                                                                                       1110.08




                     15
                                                                                                                        1286.25
                                                                                                                                   1314.25
                                                                                                                                   1325.50
                                                                                       1138.08




                                                                                                   1198.25




                                                                                                                                              1369.50
                                                                                                                                  1330.33


                                                                                                                                             1374.33

                                                                                                                                                         1418.42




                                                                                                                                                                                                                                                                        1825.92
                                                                                                                                                                                                                                1618.67
                                                                                                                                                                     1457.58


                                                                                                                                                                                  1502.58
                                                                                                                                                                     1462.33




                                                                                                                                                                                            1545.67
                                                                                                                                                                                 1506.33




                                                                                                                                                                                                                                                             1781.92
                                                                                                                                                                                                                              1633.75




                                                                                                                                                                                                                                                 1737.83
                                                                                                                                                                                                                             1678.75
                                                                                                                                                                                                                             1662.83

                                                                                                                                                                                                                             1682.50

                                                                                                                                                                                                                                                1721.83


                                                                                                                                                                                                                                                           1766.92




                                                                                                                                                                                                                                                                                    1855.00
                     10

                      5

                      0
                          900                         1000                             1100       1200                   1300                     1400                         1500                         1600                         1700                    1800                               1900                       2000
                                                                                                                                                                   m/z
                                                                      Case 1:21-cv-02228-RM-STV Document 17 Filed 09/24/21 USDC Colorado Page 254 of 269




EF456, unextracted, HCCA matrix




                                                                                                                              767.33
                 100

                       95
                                                                                                                                                        Analyzed with matrix to observe background
                       90
                                                                                                                                                        in the overall sample without extraction
                       85

                       80

                       75                                                                                                                                             Pfizer Lipid nanoparticles ALC-0315 and ALC-0159
                       70

                       65

                       60

                       55
  Relative Abundance




                       50

                       45

                       40

                       35

                       30

                       25

                       20
                                                                               495.08
                                                                                        511.08




                       15
                                                                                                                                         813.00
                                                                                                                     749.42




                       10
                                                             379.67


                                                                      439.08




                                                                                                            695.33
                                                                                                   608.17
                                                    335.67
                                           289.67
                                  234.58




                        5

                        0
                            200            300                 400             500               600        700                        800        900   1000   1100     1200   1300   1400   1500   1600   1700   1800   1900   2000
                                                                                                                                                               m/z
                                                          Relative Abundance




                                                                                                                                            100




                      10
                             15
                                    20
                                         25
                                                30
                                                     35
                                                           40
                                                                45
                                                                     50
                                                                          55
                                                                               60
                                                                                    65
                                                                                         70
                                                                                              75
                                                                                                       80
                                                                                                                85
                                                                                                                         90
                                                                                                                                   95




             0
                 5


      900
                                     913.25
                                       929.17
                                                                                                                                                938.25
                                            957.17
                                974.08
                              978.00




      1000
                              1006.00
                                                     1023.92


                                  1061.25

                              1089.25




      1100
                              1105.25
                             1110.08

                             1149.25
                            1154.17
                            1182.08
                              1193.33




      1200
                             1198.17

                              1237.42
                             1242.25

                            1281.33




      1300
                             1314.33
                            1325.50
                           1330.25
                           1369.50
                            1374.33

                        1402.33




      1400
                         1413.58
                        1418.33




m/z
                       1457.58
                       1462.42




      1500
                      1501.58
                      1506.42


                              1553.50

                                                                                                                                              1580.58
      1600




                                                                                         1602.58
                                   1610.50
                        1618.58
                     1633.67
                   1666.50
                    1677.75
                   1682.58
      1700




                  1693.75
                  1721.75
                    1737.75
                  1749.83

                        1782.92
      1800




                            1814.58
                             1825.92


                                   1870.92
                                                                                                                                                         EF456, unextracted, mass 900-2000




                 1900.08
      1900




                                         1915.00
                                                                                                                                                                                             Case 1:21-cv-02228-RM-STV Document 17 Filed 09/24/21 USDC Colorado Page 255 of 269




                                               1958.08
                                                1959.08
                  1974.92
                 1985.92
      2000
                                                                                                   The primary polymer in this vaccine is PEG
                                                                                                   Differences of 44 indicate polyethylene glycol
                                                                                                   A polymeric pattern is observed as with EF123

                                                                                                   Differences of 58 indicate polypropylene glycol
                                                                                            Case 1:21-cv-02228-RM-STV Document 17 Filed 09/24/21 USDC Colorado Page 256 of 269




J2, unextracted, HCCA matrix
                                                        310.00
               100

                       95
                                                                                                                                                            Analyzed with matrix to observe background
                       90                                                                                                                                   in the overall sample without extraction
                       85

                       80

                       75

                       70

                       65

                       60
  Relative Abundance




                       55

                       50

                       45

                       40

                       35
                                   234.75




                       30
                                                                          379.75




                       25
                              212.83




                                                                 335.83




                       20




                                                                                                                                                                                                                                                                                                                                        1640.75

                                                                                                                                                                                                                                                                                                                                                  1684.75
                                                                                                                                                                                                                                                                                             1448.25




                                                                                                                                                                                                                                                                                                                                                            1728.83
                                                                                                                                                                                                                                                                                                                              1596.75
                                               289.83




                                                                                                                                                                                                                                                                                                                                                                      1772.83
                                                                                                                                                                                                                                                                                                                   1552.67
                                                                                                                                                                                                                                                                                   1390.25




                                                                                                                                                                                                                                                                                                         1508.58




                                                                                                                                                                                                                                                                                                                                                                                1816.92
                       15




                                                                                                                                                                                                                                                                                                                                                                                          1860.92
                                                                                                                                                                                                                                                                         1332.25




                                                                                                                                                                                                                                                                                                                                                                                                    1905.00
                                                                                                463.92




                                                                                                                                                                                                                                                                                                                                                                                                              1950.00
                                                                                                                                                                                                            1050.42
                                                                                                                             625.92




                                                                                                                                                                                                  1006.33
                                            271.08




                                                                                                                                                                                                                       1094.42




                                                                                                                                                                                                                                                                                                                                                                                                                         1994.08
                                                                                                                                                                                                                                 1138.50

                                                                                                                                                                                                                                           1182.42
                                                                                                                                         684.00




                                                                                                                                                                                       962.33




                                                                                                                                                                                                                                                     1226.50
                                                                                                                                                            846.08




                                                                                                                                                                                                                                                               1270.50
                                                                                   405.83




                                                                                                                                                                     878.33

                                                                                                                                                                              922.33
                                                                                                                  568.00




                                                                                                                                                           834.25
                                                                                                                                                           790.25




                       10
                                                                                             479.92
                                                                                                         524.00




                                                                                                                                                  746.25
                                                                                                                                      702.17




                        5

                        0
                            200                 300                        400                   500                   600            700                  800         900                      1000                  1100                 1200                   1300             1400                1500                  1600                 1700                   1800                   1900                    2000
                                                                                                                                                                                                                       m/z
                                                                                     Case 1:21-cv-02228-RM-STV Document 17 Filed 09/24/21 USDC Colorado Page 257 of 269




J2, unextracted, mass 900-2000    A polymeric pattern is observed as with EF123
                                  Differences of 44 indicate polyethylene glycol




                                                                                                                                                                                                                                                                                                                                1684.75
                                                                                                                                                                                                                                                                                                                      1640.75
                                  Differences of 58 indicate polypropylene glycol




                                                                                                                                                                                                                                                     1448.25




                                                                                                                                                                                                                                                                                                                                          1728.83
                                                                                                                                                                                                                                                                                                            1596.75
        100                       The primary polymers in this vaccine are PEG and PPG




                                                                                                                                                                                                                                                                                                                                                    1772.83
                       95




                                                                                                                                                                                                                                                                                       1552.67
                                                                                                                                                                                                                                1390.25




                                                                                                                                                                                                                                                                             1508.58




                                                                                                                                                                                                                                                                                                                                                                          1816.92
                       90




                                                                                                                                                                                                                                                                          1506.33




                                                                                                                                                                                                                                                                                                                                                                       1817.92
                       85




                                                                                                                                                                                                                                                                                                                                                                                    1860.92
                       80




                                                                                                                                                                                                                                                                                                                                                                                                         1905.00
                       75




                                                                                                                                                                                                            1332.25
                       70




                                                                                                                                                                                                                                                                                                                                                                                                                             1950.00
                                                    962.33




                                                                                                                                                                                                                                                               1464.67
                                                                                           1050.42
                                                                           1006.33




                                                                                                                 1094.42
                       65

                                                                                                                                 1138.50




                                                                                                                                                                                                                                                                                                                                                                                                                                        1994.08
                                                                                                                                                 1182.42
                       60
                                  922.33
  Relative Abundance




                                                                                                                                                                                                                                          1420.58
                       55




                                                                                                                                                                 1226.50




                                                                                                                                                                                                                                                                                                 1564.42
                                                         966.42




                                                                                                                                                                                 1270.50
                                                                                 1010.42




                       50




                                                                                                                                                                                                  1314.58
                       45
                                                                                                       1054.42




                                                                                                                                                                                                                      1376.58
                       40
                                                                                                                       1098.50
                                                                                                 1066.17




                                                                                                                                                                                       1274.25
                       35
                                                                                                                                       1142.50


                                                                                                                                                       1186.50




                       30
                                                                                                                                                                       1230.58
                                           950.17




                       25
                                       946.25



                                                                  990.33




                       20




                                                                                                                                                                                                                                                                                                                                                                 1814.92




                                                                                                                                                                                                                                                                                                                                                                                               1902.92


                                                                                                                                                                                                                                                                                                                                                                                                                   1947.08
                       15

                       10

                        5

                        0
                            900                                   1000                                       1100                                 1200                                     1300                            1400                                          1500                              1600                 1700                          1800                            1900                                     2000
                                                                                                                                                                                                                                                    m/z
                                                                 Case 1:21-cv-02228-RM-STV Document 17 Filed 09/24/21 USDC Colorado Page 258 of 269




M2, unextracted, HCCA matrix


                                                                       472.92
        100                                                                                                                      Analyzed with matrix to observe background
                       95
                                                                                                                                 in the overall sample without extraction
                       90

                       85

                       80

                       75

                       70

                       65

                       60




                                                                                                         711.08
  Relative Abundance




                       55

                       50
                                                                                                                                  Moderna nanoparticle lipid SM-102
                       45

                       40

                       35

                       30
                                                                  455.00




                       25
                                                        379.67




                       20

                       15
                                               318.83
                                               335.67
                                              300.83
                                            289.75




                                                                                                693.17




                       10
                                   204.75




                                                                                506.83




                                                                                                                  790.92
                                  238.75




                                                                                               679.08




                        5

                        0
                            200              300        400                500           600     700              800      900   1000   1100   1200   1300   1400   1500   1600   1700   1800   1900   2000
                                                                                                                                         m/z
                                                                    Case 1:21-cv-02228-RM-STV Document 17 Filed 09/24/21 USDC Colorado Page 259 of 269




M2, unextracted, mass range 900-2000




                                                                                                                                                                                                                      1580.58
                  100

                        95
                                                                                                                                                                                                                                          No polymeric pattern observed in this sample
                        90

                        85
                                                                                                                                                                                                                                          Might be due to lower concentration of polymer
                        80

                        75

                        70

                        65

                        60
   Relative Abundance




                        55

                        50

                        45

                        40

                        35

                        30

                        25




                                                                                                                                                                                                                                1603.50
                        20
                                                                 977.33




                        15
                                                                                                                                                                    1314.25
                                                        973.92




                                                                                                                                                   1249.50




                                                                                                                                                                              1368.25
                                                                                   1017.92




                        10
                                   914.92




                                                                                                                                                                                                                                           1608.58
                                                                                             1033.92




                                                                                                                                                                                                                                          1610.50
                                                                                                       1061.08




                                                                                                                                                                                                                                                            1780.67



                                                                                                                                                                                                                                                                        1823.67
                                            921.00




                                                                                                                        1113.17




                                                                                                                                                                                                            1553.58
                                                                                                                                  1129.08
                                                     962.00



                                                                          981.00




                         5

                         0
                             900                                      1000                                       1100                       1200             1300                       1400         1500                 1600                       1700        1800             1900   2000
                                                                                                                                                                                               m/z
                                                                 Case 1:21-cv-02228-RM-STV Document 17 Filed 09/24/21 USDC Colorado Page 260 of 269




PKI, unextracted, HCCA matrix




                                                                                                                         767.25
              100
                                                                                                                                                 Analyzed with matrix to observe background
                        95                                                                                                                       in the overall sample without extraction
                        90

                        85

                        80

                        75

                        70

                        65

                        60
   Relative Abundance




                        55

                        50

                        45

                        40

                        35                                                                                                        813.00
                        30

                        25

                        20
                                                                                                                    754.00
                                                                              511.00
                                                                              495.00




                                                                                                  608.08




                        15
                                                                                                                749.33
                                                                                               630.08
                                                                     439.00
                                 234.50




                                                            379.58




                                                                                                                                                                                            1580.58
                        10
                                          289.50




                                                                                                           695.25
                                238.50


                                                   335.58




                                                                                    529.00




                         5

                         0
                          200             300                400              500            600           700                800          900    1000   1100   1200   1300   1400   1500   1600      1700   1800   1900   2000
                                                                                                                                                          m/z
                                                                 Case 1:21-cv-02228-RM-STV Document 17 Filed 09/24/21 USDC Colorado Page 261 of 269




PKI, unextracted, mass range 900-2000




                                                                                                                                                                                                       1580.58
                                                  A polymeric pattern is observed as with EF123
          100

                        95
                                                  Differences of 44 indicate polyethylene glycol
                                                  Differences of 58 indicate polypropylene glycol




                                                                                                                                                                                                                 1602.58
                        90

                        85
                                                  The primary polymer in this vaccine is PEG
                        80

                        75

                        70

                        65

                        60
   Relative Abundance




                        55

                        50

                        45

                        40

                        35

                        30
                                                                    1023.92
                                         938.25




                        25




                                                                                                                                                                                                                           1610.58
                        20




                                                                                                                                                                                             1553.42




                                                                                                                                                                                                                                                                                                                       1959.08
                                                                                                                                                                                                                                                                                 1814.58




                                                                                                                                                                                                                                                                                                                      1958.08
                                                   974.08
                                    929.17




                        15




                                                                                                                                                                                                                                                                                                            1915.00
                                   913.17




                                                              1001.25
                                                              1017.25



                                                                               1061.25




                                                                                                                1237.42
                                                                              1105.33




                                                                                                    1193.42
                                                                              1066.08
                                                                              1094.08




                                                                                         1149.33




                                                                                                                                                                                                                                 1618.58
                                                                                                                            1314.33
                                                                                                    1198.25


                                                                                                               1242.17
                                                                              1110.17




                                                                                                               1281.42



                                                                                                                            1325.50


                                                                                                                                       1369.42




                                                                                                                                                                                                                                                                                           1870.92
                                                                                                   1182.17




                                                                                                              1270.17




                                                                                                                                                    1418.33
                                                                                                                                      1374.33
                                                                                                                                      1358.33




                                                                                                                                                               1462.33


                                                                                                                                                                         1502.58
                                                                                                                                                   1420.33



                                                                                                                                                                         1490.42



                                                                                                                                                                                   1545.58




                                                                                                                                                                                                                                                                           1826.92
                                                                                                                                                                         1506.42




                                                                                                                                                                                                                               1638.50

                                                                                                                                                                                                                                           1662.67
                                                                                                                                                                                                                                           1678.67


                                                                                                                                                                                                                                                     1722.83
                        10




                                                                                                                                                                                                                                                               1781.83
                                                                                                                                                                                                                                                     1710.58

                                                                                                                                                                                                                                                     1726.67

                                                                                                                                                                                                                                                               1765.83
                         5

                         0
                             900                            1000                1100                1200             1300                   1400                         1500                            1600                                   1700                1800                             1900                        2000
                                                                                                                                                         m/z
                                                                                                     Relative Abundance




                                                                      100
                                                                                                                                                 100




                 10
                      20
                           30
                                40
                                     50
                                          60
                                               70
                                                    80
                                                            90
                                                                                         10
                                                                                                20
                                                                                                      30
                                                                                                             40
                                                                                                                  50
                                                                                                                       60
                                                                                                                             70
                                                                                                                                   80
                                                                                                                                        90




             0
                                                                                     0




      900
                                                                                                            913.25
                                                                                                             938.33
                                                                                                              957.25
                                                                                                           973.25




      1000
                                                                                                                                    1018.08
                                                                                                           1022.08

                                                                                                         1061.33
                                                                                                                                        1095.17




      1100
                                                                                                                                              1101.08
                                                                                                        1105.33
                                                                                                       1110.17
                                                                                                       1149.42


                                                                                                       1193.50




      1200
                                                                                                          1229.08
                                                                                                       1237.42
                                                                                                      1242.25
                                                                                                                                                                EF123, extracted




                                                                                                      1281.50




      1300
                                                                                                                            1306.17
                                                                                                       1309.50
                                                                                                      1325.50

                                                                                                     1369.58
                                                                                                         1383.33




      1400
                                                                           1416.58               1413.58




m/z
                                                                                                 1457.67



      1500
                                                                                                1501.67

                                                                                                1529.75
                                                                                                1545.67

                                                                                                1594.50
      1600




                                                                                                     1602.67

                                                                                               1633.75
                                                                                              1638.58
                                                                                               1677.75
                                                                                              1693.92
      1700




                                                                                                1737.83
                                                                                           1770.67
                                                                                                1781.92
                                                                                                                                             With HCCA matrix




      1800




                                                                                                         1826.92

                                                                                                              1870.00
                                                                                                               1871.00
                                                     in method development




      1900




                                                                                                                       1915.00
                                                     Without matrix as optimized




                                                                                                                                  1959.08
                                                                                                                                                                                   Case 1:21-cv-02228-RM-STV Document 17 Filed 09/24/21 USDC Colorado Page 262 of 269




                                                                                          1975.00
                                                                                          1988.08
      2000




                                                                                         1990.83
                                              Case 1:21-cv-02228-RM-STV Document 17 Filed 09/24/21 USDC Colorado Page 263 of 269




EF456, extracted                                        1101.08
           100

                        90

                        80
                                                                                                                                     With HCCA matrix
                        70

                        60
   Relative Abundance




                        50
                                                                                                                                                                                                1959.08
                                                                                                                                                                                    1891.83
                        40
                                                                                                                                          1603.58                                         1915.00
                        30                                                                                                                                                     1871.00
                                   957.25
                                              1017.25             1149.42   1193.42
                        20                                                            1281.50    1325.50                                                                  1825.92
                                                                                                           1413.58    1457.67                                       1782.92
                                                                                                                                1529.75        1633.75    1738.83
                        10

              0
                                            997.33
           100

                        90

                        80                                                                                                          Without matrix as optimized
                        70                                                                                                          in method development
                        60

                        50

                        40
                                                                     1172.67
                        30

                        20

                        10

                         0
                             900             1000        1100               1200          1300             1400            1500            1600          1700           1800             1900             2000
                                                                                                                     m/z
                                                                                                                   Relative Abundance




                                                                                   100
                                                                                                                                                                      100




                 10
                        20
                               30
                                      40
                                           50
                                                60
                                                     70
                                                              80
                                                                        90
                                                                                                       10
                                                                                                              20
                                                                                                                     30
                                                                                                                          40
                                                                                                                               50
                                                                                                                                    60
                                                                                                                                         70
                                                                                                                                              80
                                                                                                                                                          90




             0
                                                                                                  0




      200
                       204.00                                                                                                  212.58
                                243.17                                                                                                                                      234.50


                           300.00
                                                                                                                         311.67
                         320.17
                                                                                                                   335.67
                        343.33
                                                                                                                      379.58




      400
                                                                                         405.25              405.67

                                                            463.33                                          463.75
                                                                                                      479.75
                                       521.58                                                          521.75
                                                                                                                                                                                                                            J2, extracted



                                    567.42                                                               567.75
                          577.75




      600
                                                          625.58                                                625.75

                                                                               683.58                      683.83
                       699.50
                                                                                                      729.83
                             741.42                                                                    741.92

                             787.50                                                                     787.83




      800
                   842.08                                                                             834.17
                                                     845.67                                               845.92
                   851.75
                                      903.67                                                            903.92
                  955.25
                   961.75                                                                              962.08




      1000
                      1005.67                                                                          1008.00

                       1050.92
                                                                                                       1066.00
                      1065.75
                                                                                                      1094.25



m/z
                    1125.00
                                                                                                      1140.17
                   1139.25
                   1169.92
      1200


                          1228.00                                                                     1228.08

                                                                                                        1274.08
                      1286.83

                       1331.67                                                                                1332.08

                        1390.08                                                                                     1390.17
      1400




                       1448.08                                                                                       1448.17

                        1507.17                                                                                    1506.25

                    1564.25                                                                                 1564.25
                 1580.92
      1600
                                                                                                                                                   With HCCA matrix




                                                                                                      1622.33
                                                                                                      1640.67
                  1652.42
                                                                                                      1684.67
                                                           in method development




                  1728.50                                                                             1728.75

                                                                                                      1772.75
      1800




                    1816.17                                                                           1816.83
                                                           Without matrix as optimized




                  1818.92
                                                                                                                                                                                                                                            Case 1:21-cv-02228-RM-STV Document 17 Filed 09/24/21 USDC Colorado Page 264 of 269




                 1846.83                                                                              1860.92
                 1863.00                                                                              1904.92
                   1950.42
                    1953.75                                                                           1950.00
                   1973.75
                                                                                                      1994.08
      2000
                                                                                                                                                                                Polymeric peaks are only observed, no Graphene oxide
                                               Case 1:21-cv-02228-RM-STV Document 17 Filed 09/24/21 USDC Colorado Page 265 of 269




M2, extracted
                                                        1101.08
           100

                         90                                                                                                                                                                   With HCCA matrix
                         80

                         70
    Relative Abundance




                         60
                                918.00
                                     962.08
                         50                   1006.08        1138.17 1182.25
                                                                                1270.25 1314.33
                                                                                                  1402.42                                                                    1891.75
                         40                                                                                 1446.42
                                                                                                                      1506.42
                         30                                                                                                     1594.50                                                       1996.00
                                                                                                                                          1638.58     1726.67 1770.67               1950.92
                         20                                                                                                                                             1862.83

                         10

             0
                                927.83
           100

                         90
                                                                      1207.75                                                                                           1858.42
                                                                                                                                                                                          Without matrix as optimized
                         80                                                        1298.17

                         70
                                                                                                                                                                                          in method development
                         60

                         50

                         40

                         30

                         20

                         10

                          0
                              900             1000       1100         1200           1300          1400           1500            1600              1700         1800             1900          2000
                                                                                                            m/z
                                                                                                       Relative Abundance




                                                                         100
                                                                                                                                            100




                 10
                      20
                           30
                                  40
                                        50
                                             60
                                                  70
                                                       80
                                                               90
                                                                                            10
                                                                                                  20
                                                                                                        30
                                                                                                             40
                                                                                                                  50
                                                                                                                        60
                                                                                                                             70
                                                                                                                                  80
                                                                                                                                       90




             0
                                                                                       0




      900
                                                                                                       913.25
                                                                                                       929.25

                                                                                                       957.25
                                                                                                       973.25




      1000
                                                                                                                         1018.08
                                                                                                        1022.08
                                                                                                    1061.33
                                1063.50                                                             1066.17

                                                                                                                                                1095.17




      1100
                                                                                                    1105.33              1101.08
                                       1133.42
                                                                                                   1149.42
                                                                                                                                                                PKI, extracted




                                                                                                   1193.42




      1200
                                                                                                    1229.08
                                                                                                     1237.33
                                                                                                   1242.25

                                                                                                   1281.50




      1300
                                                                                                                       1306.17
                                                                                                   1325.50
                                                                                                  1330.33
                                                                                                  1369.58
                                                                                                                       1383.33




      1400
                                                                                                 1402.42
                                                                                                 1413.67




m/z
                                                                                                 1457.58




      1500
                                                                                                 1506.50
                                                                                             1545.67
                                                                                             1550.50

                                                                                              1594.50
      1600



                                                                                                1602.58
                                                                                            1618.75
                                                                                            1633.75

                                                                                             1666.50
                                                                                             1677.83
                                                                                            1683.58
      1700




                                                                                            1721.92
                                                                                            1738.83


                                                                                            1782.92
      1800




                                                                                            1809.83
                                                                                             1826.92
                                                                                           1837.83
                                                                             1871.25              1871.00
                                                                                                     1885.83
      1900




                                                                                                       1915.00


                                                                                                         1959.08
                                                                                           1974.83
                                                                                           1988.08
      2000
                                                                                                                                                                                 Case 1:21-cv-02228-RM-STV Document 17 Filed 09/24/21 USDC Colorado Page 266 of 269




                                                                                           1991.92
                                                                                                                                             With HCCA matrix




                                                        in method development
                                                        Without matrix as optimized
                                                     Relative Abundance                                             100




                      10
                           15
                                20
                                     25
                                          30
                                               35
                                                      40
                                                             45
                                                                  50
                                                                       55
                                                                            60
                                                                                 65
                                                                                      70
                                                                                           75
                                                                                                80
                                                                                                     85
                                                                                                          90
                                                                                                               95




         0
               5


  200
                                                    203.75
             228.67
             275.83
             287.83




  300
                 311.92

                                                                                                                          365.75
              395.75




  400
             433.83
              455.00

                                     495.00




  500
                527.67
             549.83
             565.83




  600
             593.92

             653.92

              693.17




  700
                           733.17
             741.92
             785.92




  800
             830.00

             874.00




  900
             888.42




  1000
 m/z
1100
  1200




             1201.50
                                                                                                                                   M2 Vaccine spiked with GO




             1225.50
             1249.50
             1273.50
             1297.50
  1300




             1321.50
             1345.50
             1369.50
             1393.50
  1400




             1417.50
             1441.50
             1465.58
             1489.50
  1500




             1513.50
             1537.58
  1600
                                                                                                                                                               Case 1:21-cv-02228-RM-STV Document 17 Filed 09/24/21 USDC Colorado Page 267 of 269




  1700
  1800
  1900
  2000
                                                         Relative Abundance
                                                                                                                                                                       100




                     10
                          15
                               20
                                      25
                                              30
                                                    35
                                                          40
                                                                 45
                                                                         50
                                                                                55
                                                                                      60
                                                                                             65
                                                                                                     70
                                                                                                            75
                                                                                                                    80
                                                                                                                          85
                                                                                                                                 90
                                                                                                                                                       95




             0
                 5


      900
                                                                                      902.00
                                                                                                    918.00
                                                                                      936.42
                                                                          960.42
                                                                                      962.08
                                                                                984.50




      1000
                                                                                      1008.42



                                                                      1056.50

                                                                                 1080.42




      1100
                                                                                       1104.50

                                                                                           1128.50

                                                                                                  1152.42

                                                                                                   1177.50




      1200
                                                                                                             1201.50

                                                                                                            1225.50



                                                                                                                     1273.50

                                                                                                                          1297.50




      1300
                                                                                                                               1321.50

                                                                                                                                                               1345.50



                                                                                                                                                                 1393.50




      1400
                                                                                                                                                                             1417.50

                                                                                                                                                                      1441.50

m/z
                                                                                                                                                           1465.58

                                                                                                                                       1489.50
      1500



                                                                                                                         1513.50

                                                                                                                         1537.58

                                                                                                          1561.58
      1600




                                                                                                  1609.58

                                                                                     1633.58

                                                                              1657.58

                                                                      1681.58
      1700




                                                               1705.58

                                                         1729.58

                                                   1753.67

                                            1777.58
      1800




                                           1801.58

                                      1825.58
                                                                                                                                                                                                                                        Case 1:21-cv-02228-RM-STV Document 17 Filed 09/24/21 USDC Colorado Page 268 of 269




                                     1873.58

                                    1897.67
      1900




                                    1921.67

                                     1945.67



                                    1993.75
      2000
                                                                                                                                   Repeating pattern of 24 observed
                                                                                                                                                                                       M2 vaccine spiked with GO, mass range 900-2000
                                                                                                                 Relative Abundance




                                                                   100
                                                                                                                                                               100




                 10
                      20
                           30
                                 40
                                      50
                                            60
                                                 70
                                                        80
                                                              90
                                                                                                     10
                                                                                                          20
                                                                                                                 30
                                                                                                                       40
                                                                                                                              50
                                                                                                                                    60
                                                                                                                                           70
                                                                                                                                                  80
                                                                                                                                                        90




             0
                                                                                                 0




      900
                            912.17                                                                                                        918.00
                                 936.17                                                                                               936.42
                                                                                                                                      962.08
                                   984.17
                                  985.17




      1000
                                                                                                                                      1008.42
                                  1008.17
                                1032.17
                                                                                                                              1056.50
                                 1080.17                                                                                           1080.42




      1100
                                  1104.17                                                                                             1104.50
                                                                                                                                         1128.50
                                1153.17                                                                                                    1152.42
                                1177.17                                                                                                    1177.50
                                 1201.17                                                                                                         1201.50




      1200
                                      1225.17                                                                                                    1225.50
                                       1249.17
                                         1273.17
                                                                                                                                                   1273.50
                                         1296.08
                                          1297.25                                                                                                      1297.50




      1300
                                             1321.25                                                                                                    1321.50
                                                 1345.25                                                                                                      1345.50


                                                 1393.25                                                                                                      1393.50




      1400
                                                      1417.25                                                                                                        1417.50
                                                      1441.17                                                                                                  1441.50




m/z
                                                        1465.25                                                                                               1465.58
                                                        1489.25                                                                                              1489.50



      1500
                                                             1513.17                                                                                   1513.50
                                                             1537.25                                                                                   1537.58
                                                             1561.25                                                                            1561.58
                                                              1585.17                                                                      1585.58
      1600



                                                                         1609.17                                                           1609.58
                                                                                                                                    1633.58
                                                                   1657.25                                                         1657.58
                                                                1681.25                                                       1681.58
      1700




                                                                                                                            1705.58
                                                        1729.25                                                          1729.58
                                                       1753.25                                                        1753.67
                                                      1777.25                                                     1777.58
                                            1801.17                                                              1801.58
      1800




                                           1825.25                                                              1825.58
                                                                                                               1849.58
                                       1873.17                                                                 1873.58
                                 1898.33                                                                       1897.67
      1900




                            1921.33                                                                            1921.67
                            1945.25                                                                            1945.67
                                                                                                               1969.67
                                                                                                                                                                                                         Case 1:21-cv-02228-RM-STV Document 17 Filed 09/24/21 USDC Colorado Page 269 of 269




                           1993.33                                                                             1993.75
      2000
                                                                       Graphene oxide standard
                                                                                                                                                                      Spiked vaccine sample, extracted
